Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 1 of 85 Page ID
                                #:70729



   1
   2
   3
   4
   5
   6
   7
                            UNITED STATES DISTRICT COURT
   8
                           CENTRAL DISTRICT OF CALIFORNIA
   9
                                 SOUTHERN DIVISION
  10
     HSINGCHING HSU, Individually and       )   Case No. 8:15-cv-00865-DOC-SHK
  11 on Behalf of All Others Similarly      )
     Situated,                              )   CLASS ACTION
  12                                        )
                              Plaintiff,    )   JUDGMENT PURSUANT TO
  13                                        )   FEDERAL RULE OF CIVIL
            vs.                             )   PROCEDURE 54
  14                                        )
     PUMA BIOTECHNOLOGY, INC., et           )
  15 al.,                                   )
                                            )
  16                          Defendants.   )
                                            )
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

       4834-4307-5323.v1
Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 2 of 85 Page ID
                                #:70730



   1            This action was tried by a jury with the Honorable Andrew J. Guilford
   2 presiding. The jury rendered its verdict on February 4, 2019, finding that defendants
   3 Alan Auerbach and Puma Biotechnology, Inc. knowingly violated §10(b) of the
   4 Securities Exchange Act of 1934 and Rule 10b-5 promulgated thereunder. Pursuant to
   5 the parties’ joint stipulation, the jury’s finding of liability on Plaintiffs’ §10(b) claim
   6 results in a finding the defendant Alan Auerbach violated §20(a) of the Securities
   7 Exchange Act of 1934.
   8            IT IS ORDERED AND ADJUDGED that the claimants set forth in Exhibit A
   9 hereto shall recover from defendants Alan Auerbach and Puma Biotechnology, Inc.
  10 principal damages in the amount of $50,670,968.37 and prejudgment interest through
  11 September 17, 2021 in the amount of $3,577,405.53, as specified in Exhibit A, along
  12 with post-judgment interest and taxable costs.
  13            IT IS FURTHER ORDERED AND ADJUDGED that defendants Alan
  14 Auerbach and Puma Biotechnology, Inc. shall be jointly and severally liable for the
  15 judgment.
  16            IT IS FURTHER ORDERED AND ADJUDGED that post-judgment interest
  17 shall accrue on the principal and prejudgment interest awarded in this judgment from
  18 the date of entry of this judgment until paid in full.
  19            IT IS FURTHER ORDERED AND ADJUDGED that the Court shall retain
  20 jurisdiction over any claim for attorneys’ fees and costs, application to tax costs, any
  21 award or reimbursement to the Lead Plaintiff/Class Representative, and any motion
  22 pursuant to Federal Rule of Civil Procedure 37(c). In accordance with Federal Rule of
  23 Civil Procedure 54(d)(2) and Local Rule 58, the time for Lead Plaintiff/Class
  24 Representative and its counsel to make any such motion or application shall be
  25 extended until such time as the Court shall hereafter direct.
  26       IT IS SO ORDERED.
                October 29, 2021
  27    DATED:
                                           THE HONORABLE DAVID O. CARTER
  28                                       UNITED STATES DISTRICT JUDGE
                                                -1-
       4834-4307-5323.v1
Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 3 of 85 Page ID
                                #:70731




                       EXHIBIT A
      Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 4 of 85 Page ID
                                      #:70732
Puma Biotechnology Securities Litigation
Valid claims (including validated late claims)     Totals:
Pre-judgment interest through September 17, 2021   $ 50,670,968.37 $      3,577,405.53 $ 54,248,373.90

Claim #    Claimant                                Damages          PJI                 Damages + PJI
100001-2   ALVIN R ALBE JR                         $       283.50   $           20.02   $       303.52
100003-9   ROBERT G COOK                           $       450.00   $           31.77   $       481.77
100005-5   PAUL C O'CONNOR                         $       382.50   $           27.00   $       409.50
100006-3   KAREN A CHAKIRYAN                       $       450.00   $           31.77   $       481.77
100008-0   RENA COLE                               $       450.00   $           31.77   $       481.77
100010-1   PAUL BERMAN IRA                         $       450.00   $           31.77   $       481.77
100012-8   KRISS A KIRCHHOFF                       $        81.00   $            5.72   $         86.72
100013-6   HOWARD J SWIBEL                         $       517.50   $           36.54   $       554.04
100014-4   WILFRED R ROGERS                        $       297.00   $           20.97   $       317.97
100015-2   NOAH E WAISBROT                         $        31.50   $            2.22   $         33.72
100016-0   BRYAN M RITZ                            $    11,025.00   $          778.37   $    11,803.37
100017-9   MATTHEW J HOWLAND                       $        27.00   $            1.91   $         28.91
100019-5   REV TRUST OF SANDRA J ZECKEL            $       225.00   $           15.89   $       240.89
100025-0   RICHARD K GUNTHER                       $       450.00   $           31.77   $       481.77
100026-8   ELIZABETH SEBASTIAN                     $        40.50   $            2.86   $         43.36
100027-6   NELSON W WINTER                         $        63.00   $            4.45   $         67.45
100029-2   ROCHELLE M ROTGIN                       $        31.50   $            2.22   $         33.72
100030-6   PHILIP N ROTGIN                         $        22.50   $            1.59   $         24.09
100036-5   STEVEN J LEIBACH                        $       450.00   $           31.77   $       481.77
100037-3   NATALIE A BROWN                         $       202.50   $           14.30   $       216.80
100038-1   CONTRA COSTA COUNTY                     $    16,182.00   $        1,142.46   $    17,324.46
100040-3   DIANE W YEOMANS                         $        22.50   $            1.59   $         24.09
100041-1   NOURI ALIZY                             $       135.00   $            9.53   $       144.53
100046-2   JUDY FYFFE                              $        18.00   $            1.27   $         19.27
100048-9   ROBERT WROBLEWSKI                       $         4.50   $            0.32   $          4.82
100053-5   MARYEM S KIANINEJAD                     $        52.24   $            3.69   $         55.93
100057-8   MARC M LAWRENCE                         $       180.00   $           12.71   $       192.71
100058-6   WILLIAM J TSOULES                       $        22.50   $            1.59   $         24.09
100060-8   DREW G ALEXANDROU                       $        67.50   $            4.77   $         72.27
100061-6   TERESA C ALEXANDROU                     $        36.00   $            2.54   $         38.54
100062-4   DREW G ALEXANDROU                       $       288.00   $           20.33   $       308.33
100063-2   KAREN W CIFRESE                         $        45.00   $            3.18   $         48.18
100064-0   KAREN W CIFRESE                         $       337.50   $           23.83   $       361.33
100065-9   KAREN W CIFRESE                         $        22.50   $            1.59   $         24.09
100066-7   NANCY A MIWA                            $       153.00   $           10.80   $       163.80
100067-5   MICHAEL T MIWA                          $       180.00   $           12.71   $       192.71
100068-3   KATHRYN M HAMILTON                      $        13.50   $            0.95   $         14.45
100073-0   RUEGG FAMILY 2002 TRUST                 $     1,125.00   $           79.43   $     1,204.43
100077-2   DUANE K HALVERSON                       $       247.50   $           17.47   $       264.97
100084-5   MILES COVERDALE                         $       225.00   $           15.89   $       240.89
100085-3   RAJNEESH K SHARMA                       $       477.00   $           33.68   $       510.68
100087-0   GLADYS KUEHL                            $       225.00   $           15.89   $       240.89
100088-8   RICHARD J JIMENEZ                       $     2,250.00   $          158.85   $     2,408.85
100091-8   SCOTT M BURBANK                         $       900.00   $           63.54   $       963.54
100093-4   CHRISTINE A PARKER                      $        13.50   $            0.95   $         14.45
100094-2   WILLIAM D PARKER                        $        90.00   $            6.35   $         96.35
100095-0   ELIZABETH VELNOSKY                      $       450.00   $           31.77   $       481.77
100097-7   WILLIAM D PARKER                        $        18.00   $            1.27   $         19.27
100098-5   WILLIAM D PARKER                        $        45.00   $            3.18   $         48.18
100099-3   WILLIAM D PARKER                        $        22.50   $            1.59   $         24.09
100101-9   KIM HONG DUNN                           $       180.00   $           12.71   $       192.71
      Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 5 of 85 Page ID
                                      #:70733
Claim #    Claimant                              Damages          PJI              Damages + PJI
100102-7   KHALIL M HAMIDE                       $        90.00   $         6.35   $         96.35
100107-8   EDWARD J RAILEY                       $       900.00   $        63.54   $       963.54
100108-6   PATRICIA B SMITH                      $       450.00   $        31.77   $       481.77
100109-4   BRIDGET BAISS                         $         9.00   $         0.64   $          9.64
100111-6   SEAN C HOWARD                         $        27.00   $         1.91   $         28.91
100112-4   SEAN C HOWARD                         $        67.50   $         4.77   $         72.27
100113-2   MARY R GILMORE                        $       117.00   $         8.26   $       125.26
100114-0   DAVID COLDEN APC RET TR               $       450.00   $        31.77   $       481.77
100116-7   ARNOLD B ELKIND                       $       450.00   $        31.77   $       481.77
100117-5   RYAN L RABER                          $       202.50   $        14.30   $       216.80
100118-3   FIRST IMA LP                          $       904.50   $        63.86   $       968.36
100119-1   R BASS TTEE OREN BASS 2003 TR         $       130.50   $         9.21   $       139.71
100120-5   R BASS TTEE BEN BASS 2003 TRUST       $       162.00   $        11.44   $       173.44
100121-3   R BASS TTEE JON BASS 2003 TR          $       153.00   $        10.80   $       163.80
100123-0   RIVKAH S SEVELL                       $       157.50   $        11.12   $       168.62
100124-8   BENJAMIN J BASS                       $       157.50   $        11.12   $       168.62
100125-6   OREN N BASS                           $       166.50   $        11.76   $       178.26
100126-4   MARTIN A PLOTNIK                      $       562.50   $        39.71   $       602.21
100127-2   MAXINE M JACKSON                      $     1,350.00   $        95.31   $     1,445.31
100128-0   STEPHANIE J COHEN                     $       510.95   $        36.07   $       547.02
100129-9   CHRISSY M HENDERSON                   $       135.00   $         9.53   $       144.53
100130-2   EMILY PUNTILLO                        $       112.50   $         7.94   $       120.44
100131-0   ANGELO J CIONE                        $       337.50   $        23.83   $       361.33
100134-5   ROBERT T DAVEY                        $        90.00   $         6.35   $         96.35
100135-3   PETER GOFFIN                          $       225.00   $        15.89   $       240.89
100137-0   GARY M BICE                           $       450.00   $        31.77   $       481.77
100138-8   WENDY R BICE TRUST                    $       450.00   $        31.77   $       481.77
100139-6   JANINE MEREDITH                       $       333.00   $        23.51   $       356.51
100140-0   WILLIAM R ALLEN                       $        49.50   $         3.49   $         52.99
100142-6   DEBRA ANN SWANSON REV TRUST           $        40.50   $         2.86   $         43.36
100145-0   ANDY C DOLL                           $       450.00   $        31.77   $       481.77
100147-7   ANDY C DOLL                           $       900.00   $        63.54   $       963.54
100149-3   JUDY A DOLL                           $       450.00   $        31.77   $       481.77
100150-7   KEVIN JOHNSON                         $        36.00   $         2.54   $         38.54
100151-5   OVERLAKE REPRODUCTIVE HEALTH          $       135.00   $         9.53   $       144.53
100152-3   SAMPATH K PONNATHPURA SHEL            $     3,150.00   $       222.39   $     3,372.39
100154-0   CARLEEN F HALLSTEAD                   $       162.00   $        11.44   $       173.44
100155-8   ROBERT D LASKEY                       $       247.50   $        17.47   $       264.97
100156-6   ANN MARIE SIMONS                      $       337.50   $        23.83   $       361.33
100157-4   ROBERT GERLING                        $       225.00   $        15.89   $       240.89
100158-2   OLGA I PADILLA                        $         4.50   $         0.32   $          4.82
100159-0   MINAM PAAR GST EMEMPT FAMILY TRUST    $        81.00   $         5.72   $         86.72
100160-4   R BASS TTEE RIVAKA BASS 2003 TR       $        49.50   $         3.49   $         52.99
100161-2   CAROL BLANAS                          $        45.00   $         3.18   $         48.18
100164-7   MORTON B CONER DAUGHTERS TRUST        $     4,500.00   $       317.70   $     4,817.70
100166-3   HELEN HAWKINS                         $       675.00   $        47.66   $       722.66
100167-1   STEVEN J ALBERT TRUST                 $       369.00   $        26.05   $       395.05
100170-1   DAVID P CONNELLY                      $     1,125.00   $        79.43   $     1,204.43
100173-6   PETER X PROPHIT                       $     2,250.00   $       158.85   $     2,408.85
100174-4   EDWORKEN AND BERNSTEIN CO LPA PSP     $       436.50   $        30.82   $       467.32
100175-2   EMERALD BAY ASSETS LTD                $    45,000.00   $     3,177.03   $    48,177.03
100178-7   TIM E BRAXMEIER                       $       459.00   $        32.41   $       491.41
100179-5   STEVEN J BIALAS                       $     4,500.00   $       317.70   $     4,817.70
100180-9   NATIONAL METALS SEGREGATION           $     4,500.00   $       317.70   $     4,817.70
100181-7   JOHN M LENARD                         $        67.50   $         4.77   $         72.27
      Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 6 of 85 Page ID
                                      #:70734
Claim #    Claimant                              Damages          PJI              Damages + PJI
100183-3   JOHN -MICHAEL PETERS RRA              $       225.00   $        15.89   $       240.89
100185-0   JUAN C HENRIQUEZ                      $       225.00   $        15.89   $       240.89
100187-6   ROSEMARY RIEDY                        $       697.50   $        49.24   $       746.74
100190-6   CONNECTICUT GENERAL LIFE INS.CO OBO   $        67.50   $         4.77   $         72.27
100192-2   SAMUEL ANTILES IRA                    $       292.50   $        20.65   $       313.15
100193-0   THE KONG FAMILY LIMITED PARTNERSHIP   $        40.50   $         2.86   $         43.36
100194-9   VICTOR KONG                           $        40.50   $         2.86   $         43.36
100197-3   REGINA SAVIOR                         $     4,752.00   $       335.49   $     5,087.49
100198-1   U/W/O T.R. MCCOLLUM                   $        18.00   $         1.27   $         19.27
100199-0   LINDA R VAN TINE TTEE                 $       292.50   $        20.65   $       313.15
100200-7   CHERYL A MOYA                         $       657.00   $        46.38   $       703.38
100201-5   CHERYL A MOYA                         $       382.50   $        27.00   $       409.50
100202-3   JUDITH E GLASSER                      $        90.00   $         6.35   $         96.35
100205-8   ALBERT L QUINAN                       $     4,500.00   $       317.70   $     4,817.70
100206-6   DALE CERNUDA                          $        45.00   $         3.18   $         48.18
100211-2   VALERIE F JOHNSON                     $         4.50   $         0.32   $          4.82
100213-9   CRAIG D GOLZ                          $        49.50   $         3.49   $         52.99
100215-5   JOHN J MCINTYRE                       $       900.00   $        63.54   $       963.54
100220-1   INVESCO GLOBAL HEALTH CARE FUND       $    36,940.50   $     2,608.02   $    39,548.52
100221-0   MICHAEL B BIXLER                      $       450.00   $        31.77   $       481.77
100224-4   SUZANNE M PULVER                      $       180.00   $        12.71   $       192.71
100225-2   SHUJU C LIAO                          $       202.50   $        14.30   $       216.80
100239-2   ANA L ORTIZ                           $        90.00   $         6.35   $         96.35
100242-2   RICHARD A MOLLANDOR                   $       450.00   $        31.77   $       481.77
100243-0   JORDAN R BAILEY                       $     5,062.50   $       357.42   $     5,419.92
100244-9   MARK H RAILEY                         $       675.00   $        47.66   $       722.66
100245-7   RAZEL A KALLBERS                      $       450.00   $        31.77   $       481.77
100247-3   ELIZABETH M WORMWOOD                  $        45.00   $         3.18   $         48.18
100248-1   CARLYLE P THORSEN                     $       315.00   $        22.24   $       337.24
100249-0   ELISA M ROSSI                         $       315.00   $        22.24   $       337.24
100251-1   PATRICIA L BRUNDIGE                   $     2,452.50   $       173.15   $     2,625.65
100254-6   HENRY T HARRIS                        $       315.00   $        22.24   $       337.24
100255-4   STEVEN B KOHN                         $       112.50   $         7.94   $       120.44
100256-2   ELLEN S KOHN GST EXEMPT TRUST         $       112.50   $         7.94   $       120.44
100260-0   SCOTT R LUCARELI                      $       450.00   $        31.77   $       481.77
100262-7   TERENCE E MARK                        $       135.00   $         9.53   $       144.53
100264-3   ROBERT T IANNARONE                    $        45.00   $         3.18   $         48.18
100265-1   DAVID R VOLOSOV                       $        90.00   $         6.35   $         96.35
100267-8   DIANA M FREEBURG                      $       225.00   $        15.89   $       240.89
100269-4   HARVEY N SHAPIRO                      $       450.00   $        31.77   $       481.77
100272-4   TOLLIE H CHAVIS                       $       112.50   $         7.94   $       120.44
100273-2   KEVIN R MCKENNEY                      $       337.50   $        23.83   $       361.33
100276-7   JAMES P OATES                         $       405.00   $        28.59   $       433.59
100277-5   TRST LAST WILL OF ELLEN WARREN        $        99.00   $         6.99   $       105.99
100278-3   SARA SAXE                             $     1,125.00   $        79.43   $     1,204.43
100283-0   LAWRENCE J BAZINETT                   $       450.00   $        31.77   $       481.77
100284-8   DEBBIE MAZZULLA                       $        45.00   $         3.18   $         48.18
100285-6   RICHARD J DAVIS                       $       765.00   $        54.01   $       819.01
100288-0   MARKS QUALIFIED PERSONAL TR           $     1,080.00   $        76.25   $     1,156.25
100290-2   DOUGLAS LOBER                         $    11,250.00   $       794.26   $    12,044.26
100291-0   MICHAEL S MURPHY                      $       450.00   $        31.77   $       481.77
100293-7   STUART R DAVIS                        $       270.00   $        19.06   $       289.06
100296-1   JASON KATZ                            $       450.00   $        31.77   $       481.77
100298-8   LINDA PATERNOSTER                     $        45.00   $         3.18   $         48.18
100299-6   KEVIN N HANSEN                        $       112.50   $         7.94   $       120.44
      Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 7 of 85 Page ID
                                      #:70735
Claim #    Claimant                              Damages          PJI            Damages + PJI
100300-3   UNNATI SHAH                           $       109.45   $       7.73   $       117.18
100301-1   WILLIAM A HARWOOD TTEE 401K           $       135.00   $       9.53   $       144.53
100302-0   JAMES F MOORE                         $       202.50   $      14.30   $       216.80
100303-8   REA REAL ESTATE LLC                   $        90.00   $       6.35   $         96.35
100306-2   MANISH MEHTA                          $       225.00   $      15.89   $       240.89
100308-9   ROBERT S BROWNING                     $       225.00   $      15.89   $       240.89
100309-7   TONG LIANG                            $       450.00   $      31.77   $       481.77
100310-0   TONG LIANG                            $       450.00   $      31.77   $       481.77
100312-7   ZHUANG LI                             $       900.00   $      63.54   $       963.54
100313-5   MICHAEL P AMBIELLI                    $     2,250.00   $     158.85   $     2,408.85
100314-3   JOSEPH LALLY                          $       450.00   $      31.77   $       481.77
100316-0   CHRISTINE A FOLEY                     $        18.00   $       1.27   $         19.27
100319-4   STANTON B INGRAM III                  $        90.00   $       6.35   $         96.35
100320-8   JON S SOFRO                           $       225.00   $      15.89   $       240.89
100322-4   ROBERT D NICHOL                       $       450.00   $      31.77   $       481.77
100324-0   DANIEL J LAUER                        $       562.50   $      39.71   $       602.21
100328-3   KEVIN KAESVIHARN                      $       450.00   $      31.77   $       481.77
100329-1   JACK ZEHNER                           $       157.50   $      11.12   $       168.62
100332-1   MICHAEL G PALM                        $       225.00   $      15.89   $       240.89
100334-8   VERNON C HONSINGER                    $       220.50   $      15.57   $       236.07
100335-6   MATTHEW A FUMUSO                      $        22.50   $       1.59   $         24.09
100337-2   THOMAS SATURLEY                       $       225.00   $      15.89   $       240.89
100339-9   RALPH J SCOULAR                       $        99.45   $       7.02   $       106.47
100340-2   RALPH J SCOULAR                       $        66.14   $       4.67   $         70.81
100341-0   COMER FAMILY LIMITED PARTNERSHIP      $     2,700.00   $     190.62   $     2,890.62
100342-9   MORTON B COMER                        $       900.00   $      63.54   $       963.54
100343-7   JANICE SIMPSON                        $        45.00   $       3.18   $         48.18
100344-5   NICHOLAS MAUL                         $       562.50   $      39.71   $       602.21
100347-0   SPENCER H SEAMON                      $       225.00   $      15.89   $       240.89
100348-8   PAUL RUTSKY                           $       450.00   $      31.77   $       481.77
100349-6   STEPHEN SEIDEN                        $       900.00   $      63.54   $       963.54
100351-8   WESLEY R JOHNSON                      $       450.00   $      31.77   $       481.77
100352-6   JESSE L WHITE TRUST                   $     1,012.50   $      71.48   $     1,083.98
100353-4   SCOTT P SCHEMMEL                      $       450.00   $      31.77   $       481.77
100354-2   PETERFRANCISSMITH                     $       180.00   $      12.71   $       192.71
100356-9   RICHARD D WIGHT                       $       135.00   $       9.53   $       144.53
100361-5   TRUST U W O NORMA KELLY DTD 8 1 95    $       450.00   $      31.77   $       481.77
100362-3   ERIC D CLINE                          $       103.50   $       7.31   $       110.81
100363-1   ALESA ALLGOOD                         $        13.50   $       0.95   $         14.45
100364-0   HARVEY A WALTONS                      $        63.00   $       4.45   $         67.45
100366-6   PETER P KELLEY                        $       225.00   $      15.89   $       240.89
100367-4   MELFORD V MCCORMICK                   $       450.00   $      31.77   $       481.77
100368-2   CONSTANCE PAPASTRAT                   $       225.00   $      15.89   $       240.89
100369-0   SAMUEL P HAMMAR TTEE                  $       900.00   $      63.54   $       963.54
100370-4   RAUL C ESPEJO                         $       301.50   $      21.29   $       322.79
100373-9   ROBERT R REICH                        $       450.00   $      31.77   $       481.77
100374-7   CEDRIC H FURUKAWA                     $        40.50   $       2.86   $         43.36
100375-5   LAURYN R REINOSO                      $       157.50   $      11.12   $       168.62
100376-3   DARYL L PAIGE                         $        45.00   $       3.18   $         48.18
100377-1   ERIC O LENTZ                          $       283.50   $      20.02   $       303.52
100382-8   CAROLYN J BURNS                       $        58.50   $       4.13   $         62.63
100383-6   RUSSELL R HAINES III                  $       450.00   $      31.77   $       481.77
100384-4   LEI YU                                $       225.00   $      15.89   $       240.89
100385-2   GERALDINE WOLF                        $     1,063.56   $      75.09   $     1,138.65
100386-0   SCOTT G SAVAGE                        $       247.50   $      17.47   $       264.97
      Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 8 of 85 Page ID
                                      #:70736
Claim #    Claimant                              Damages          PJI              Damages + PJI
100387-9   DENISE D RUTHENBERG                   $       112.50   $         7.94   $       120.44
100388-7   DENISE D RUTHENBERG                   $       202.50   $        14.30   $       216.80
100389-5   SCOTT G SAVAGE                        $       202.50   $        14.30   $       216.80
100390-9   TERRY OSIPOW                          $       900.00   $        63.54   $       963.54
100391-7   PAUL J LATCHFORD                      $       283.50   $        20.02   $       303.52
100392-5   LESLIE H CLAYMAN REVOCABLE TR         $       450.00   $        31.77   $       481.77
100393-3   KAPLAN MARITAL TRUST                  $       450.00   $        31.77   $       481.77
100395-0   TERRENCE G COLE                       $        27.00   $         1.91   $         28.91
100396-8   BEVERLY A COLE                        $        13.50   $         0.95   $         14.45
100397-6   TERRENCE G COLE                       $         4.50   $         0.32   $          4.82
100398-4   WILLIAM D GREIF                       $       900.00   $        63.54   $       963.54
100399-2   MARTIN H LEMIEUX                      $       225.00   $        15.89   $       240.89
100400-0   WILLIAM O PELINO                      $         4.50   $         0.32   $          4.82
100401-8   JANET R LENTZ                         $       193.50   $        13.66   $       207.16
100402-6   JOY FAMILY LIVING TRUST               $        85.18   $         6.01   $         91.19
100404-2   RICHARD A JOHNSON                     $       900.00   $        63.54   $       963.54
100405-0   DAVID A MENDOZA                       $        45.00   $         3.18   $         48.18
100406-9   RICK EALAND                           $       450.00   $        31.77   $       481.77
100407-7   ROBERT A ADAMS                        $       270.00   $        19.06   $       289.06
100408-5   RONALD H OLSEN                        $     6,615.00   $       467.02   $     7,082.02
100409-3   ANDREA B GLADSTONE                    $       225.00   $        15.89   $       240.89
100410-7   THOMAS E THRASHER                     $       315.00   $        22.24   $       337.24
100411-5   HOWARD COLE                           $       900.00   $        63.54   $       963.54
100413-1   PUI-KAN LIAO                          $       450.00   $        31.77   $       481.77
100414-0   DOROTHY W CONNEALY                    $        90.00   $         6.35   $         96.35
100416-6   SIV G LY                              $       135.00   $         9.53   $       144.53
100417-4   ELYSSA KONSTANTIN                     $        22.50   $         1.59   $         24.09
100418-2   LAUREN KONSTANTIN                     $        45.00   $         3.18   $         48.18
100419-0   GAIL PURCHIA                          $       157.50   $        11.12   $       168.62
100422-0   BLYTHE S MANSON                       $        94.50   $         6.67   $       101.17
100423-9   BLYTHE S MANSON                       $        27.00   $         1.91   $         28.91
100424-7   ALEXANDER J TAFT                      $        67.50   $         4.77   $         72.27
100425-5   REVOCABLE LIVING TRUST                $       225.00   $        15.89   $       240.89
100426-3   REECE MACNAUGHTON KEMBALL-COOK TR     $       166.50   $        11.76   $       178.26
100427-1   CROSS ALEXANDER KEMBALL-COOK IRR TR   $       157.50   $        11.12   $       168.62
100428-0   KIMBERLY A KEMBALL-COOK               $       364.50   $        25.73   $       390.23
100431-0   CRAIG C THOMSON                       $       117.00   $         8.26   $       125.26
100432-8   CAROL A COOKE                         $        40.50   $         2.86   $         43.36
100437-9   ALFRED L BERNSTEIN                    $       202.50   $        14.30   $       216.80
100438-7   BRUCE & THERESA MEYER TRUST           $        67.50   $         4.77   $         72.27
100439-5   KAY BURK                              $       225.00   $        15.89   $       240.89
100440-9   JAMES NORTH-HEARN                     $       310.50   $        21.92   $       332.42
100441-7   JAMES NORTH-HEARN                     $       454.50   $        32.09   $       486.59
100442-5   ROBERT K LOWRY                        $        27.00   $         1.91   $         28.91
100443-3   LAWRENCE F HUELSMAN JR                $       450.00   $        31.77   $       481.77
100444-1   RAFAEL A ROCA                         $     4,500.00   $       317.70   $     4,817.70
100445-0   KENT L STREICHER                      $       477.00   $        33.68   $       510.68
100447-6   CRAIG C THOMSON                       $        58.50   $         4.13   $         62.63
100448-4   PAULA L HOW                           $       900.00   $        63.54   $       963.54
100449-2   HOLMES FAMILY TRUST                   $    21,600.00   $     1,524.97   $    23,124.97
100450-6   GEORGE J REYNOLDS                     $     2,250.00   $       158.85   $     2,408.85
100451-4   SHEILA R GORR                         $       337.50   $        23.83   $       361.33
100452-2   ANICE R REID FBO                      $     1,350.00   $        95.31   $     1,445.31
100456-5   HOWARD COLE                           $     1,350.00   $        95.31   $     1,445.31
100457-3   DENNIS K OKADA                        $        99.00   $         6.99   $       105.99
      Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 9 of 85 Page ID
                                      #:70737
Claim #    Claimant                              Damages          PJI            Damages + PJI
100458-1   RICHARD S PASKO                       $       171.00   $      12.07   $       183.07
100460-3   ELLEN MULLEN                          $        40.50   $       2.86   $         43.36
100462-0   LAWRENCE HELFANT                      $       900.00   $      63.54   $       963.54
100463-8   MARY E STANTON                        $       207.00   $      14.61   $       221.61
100464-6   CAROL I BRIGHTMAN                     $       900.00   $      63.54   $       963.54
100465-4   JOHN BUCXLEY                          $       112.50   $       7.94   $       120.44
100466-2   NICOLE M COST                         $     1,350.00   $      95.31   $     1,445.31
100467-0   JOANNE TUCKMAN                        $       270.00   $      19.06   $       289.06
100468-9   THOMAS W SMITH                        $       306.00   $      21.60   $       327.60
100469-7   ANNIE C SMITH                         $       130.50   $       9.21   $       139.71
100472-7   ALYSSA BROOK                          $        18.00   $       1.27   $         19.27
100473-5   RAYMOND MULLEN                        $        40.50   $       2.86   $         43.36
100474-3   SHARON ROMISHER-HOY                   $       450.00   $      31.77   $       481.77
100478-6   RONALD W CALLAN SR 401K               $       562.50   $      39.71   $       602.21
100479-4   RICHARD RUSSO                         $       900.00   $      63.54   $       963.54
100481-6   WILLIAM H ZHANG                       $       450.00   $      31.77   $       481.77
100482-4   PANKAJ PATEL                          $       157.50   $      11.12   $       168.62
100483-2   BARBARA CHANG                         $        90.00   $       6.35   $         96.35
100490-5   ANDREA AMALFITANO                     $       148.50   $      10.48   $       158.98
100491-3   DAVID ANTLE                           $       261.00   $      18.43   $       279.43
100492-1   MARTHA CHLEBORAD                      $        90.00   $       6.35   $         96.35
100494-8   ROBERTA E KAHAN                       $       540.00   $      38.12   $       578.12
100495-6   TYNETTA WETZEL                        $       144.00   $      10.17   $       154.17
100496-4   JAMES W NETZEL                        $       369.00   $      26.05   $       395.05
100497-2   MITCHELL D COHEN                      $       450.00   $      31.77   $       481.77
100500-6   ROBERT D ANNING                       $       112.50   $       7.94   $       120.44
100501-4   JUDITH A KRIEGER                      $       225.00   $      15.89   $       240.89
100505-7   KEMP BIDDULPH REVOCABLE TRUST         $     2,533.50   $     178.87   $     2,712.37
100507-3   ROBERT P GAUS                         $       810.00   $      57.19   $       867.19
100511-1   MARIAM MOURADJIAN                     $       225.00   $      15.89   $       240.89
100512-0   GRAHAM HENSTOCK                       $        31.50   $       2.22   $         33.72
100513-8   MATTHEW PESCHONG                      $        36.00   $       2.54   $         38.54
100514-6   GRAHAM HENSTOCK                       $       261.00   $      18.43   $       279.43
100516-2   JOHN CAPAZZI                          $     2,250.00   $     158.85   $     2,408.85
100517-0   SALVATORE F MALFITANO                 $       450.00   $      31.77   $       481.77
100518-9   NOEL T SHUMSKY                        $        45.00   $       3.18   $         48.18
100519-7   NOEL J SHUMSKY REV TR                 $        90.00   $       6.35   $         96.35
100520-0   MARTHA ALLEN                          $        22.50   $       1.59   $         24.09
100521-9   WILLIAM ALLEN                         $       283.50   $      20.02   $       303.52
100523-5   STEPHEN J SCHNERINGER                 $        27.00   $       1.91   $         28.91
100524-3   CHARLES P DARRAH                      $       292.50   $      20.65   $       313.15
100525-1   PRABHAKAR GOLLAPUDI                   $        22.50   $       1.59   $         24.09
100527-8   JAMES C HUBLY                         $        27.00   $       1.91   $         28.91
100528-6   JAMES C HUBLY                         $        36.00   $       2.54   $         38.54
100529-4   BRENDAN J CONTANT                     $        63.00   $       4.45   $         67.45
100530-8   RAYMOND J GLASS                       $     2,250.00   $     158.85   $     2,408.85
100531-6   SUSAN FOREMAN                         $        94.50   $       6.67   $       101.17
100535-9   ALLEN I ALPER                         $       675.00   $      47.66   $       722.66
100536-7   KATHRYN S WELLER                      $        67.50   $       4.77   $         72.27
100537-5   DAITCHMAN GST TRUST                   $       450.00   $      31.77   $       481.77
100538-3   DANIEL S SACHAU                       $       225.00   $      15.89   $       240.89
100539-1   THE OYLER FAMILY REVOCABLE TRUST      $     2,146.50   $     151.54   $     2,298.04
100540-5   FBO MICHAEL CURTIS SMITH              $       225.00   $      15.89   $       240.89
100543-0   CHRISTINA D EVANS                     $       247.50   $      17.47   $       264.97
100544-8   MENGDAN YU                            $       477.00   $      33.68   $       510.68
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 10 of 85 Page ID
                                     #:70738
Claim #    Claimant                              Damages          PJI            Damages + PJI
100545-6   THOMAS J TRAVERS                      $        79.00   $       5.58   $         84.58
100546-4   DAVID E IGNATIUS                      $         9.00   $       0.64   $          9.64
100547-2   EDYTHE D WHITE REV TRUST              $       337.50   $      23.83   $       361.33
100550-2   JESSE LIPCON                          $       450.00   $      31.77   $       481.77
100551-0   JENNIFER M BRENNOCK                   $        72.00   $       5.08   $         77.08
100553-7   CHESTER J KYLE                        $     4,500.00   $     317.70   $     4,817.70
100556-1   MARCO LUTHERAN CHURCH FOUNDATION      $        36.00   $       2.54   $         38.54
100569-3   LEON MALOWANCZYK                      $     2,317.50   $     163.62   $     2,481.12
100574-0   ELLEN M KILBOURNE                     $        90.00   $       6.35   $         96.35
100577-4   ROBERT LI                             $        90.00   $       6.35   $         96.35
100581-2   DAVID G YOON                          $        90.00   $       6.35   $         96.35
100582-0   KIA KHALEGHPOUR                       $       450.00   $      31.77   $       481.77
100585-5   ALEX YOUNG                            $        45.00   $       3.18   $         48.18
100596-0   NANCY WANG                            $        22.50   $       1.59   $         24.09
100597-9   GARY L GITNICK                        $       450.00   $      31.77   $       481.77
100602-9   ANTONY J DESORBO                      $       450.00   $      31.77   $       481.77
100603-7   DIN INVESTMENTS LLC                   $       562.50   $      39.71   $       602.21
100611-8   JOHN P SARGE                          $        45.00   $       3.18   $         48.18
100612-6   RONALD L HOMSHER                      $         9.00   $       0.64   $          9.64
100618-5   LEONA KEMBALL-COOK                    $       220.50   $      15.57   $       236.07
100619-3   DOROTHY M JONES                       $       225.00   $      15.89   $       240.89
100620-7   FONTENOX BST EXEMPT TRUST             $       900.00   $      63.54   $       963.54
100622-3   MARIE CONTENTO                        $       112.50   $       7.94   $       120.44
100626-6   ALLIDA STAUBER                        $        36.00   $       2.54   $         38.54
100627-4   BOROUGH OF KUTZTOWN                   $       148.50   $      10.48   $       158.98
100628-2   DOMINICAN CONVENT OF OUR LADY         $        22.50   $       1.59   $         24.09
100629-0   CHARLES V DREW                        $     1,125.00   $      79.43   $     1,204.43
100630-4   DAITCHMAN GST TRUST                   $       450.00   $      31.77   $       481.77
100633-9   DIANE M BEGG                          $       337.50   $      23.83   $       361.33
100639-8   ERIC W JOHNSON 2000 TRUST             $       450.00   $      31.77   $       481.77
100641-0   RANDY A GRAVES                        $        45.00   $       3.18   $         48.18
100642-8   KIMBERLY M LOUX                       $        90.00   $       6.35   $         96.35
100643-6   JOHN W WHITE                          $       225.00   $      15.89   $       240.89
100648-7   JANET PETERSON                        $         9.00   $       0.64   $          9.64
100652-5   MEI A YONG                            $     4,500.00   $     317.70   $     4,817.70
100655-0   FLORENCE I SAMELS                     $       112.50   $       7.94   $       120.44
100660-6   YI HERNG WANG                         $       562.50   $      39.71   $       602.21
100661-4   JAMES MESSING                         $       117.00   $       8.26   $       125.26
100663-0   UBS FINANCIAL SERVICES                $       112.50   $       7.94   $       120.44
100668-1   KAJORNDEJ KONUTANON                   $       765.00   $      54.01   $       819.01
100669-0   SHARAD M SHAH                         $       900.00   $      63.54   $       963.54
100672-0   NANCY J CAMUS                         $        90.00   $       6.35   $         96.35
100673-8   HOSSEIN KIANINEJAN                    $       675.00   $      47.66   $       722.66
100677-0   WENDY A MCGUIRE                       $        90.00   $       6.35   $         96.35
100681-9   KENNETH E CHAPIN                      $        85.50   $       6.04   $         91.54
100683-5   VINCENZA CHAPIN                       $        31.50   $       2.22   $         33.72
100685-1   CHARLES J CHUNG                       $        63.00   $       4.45   $         67.45
100687-8   ANNAMMA JACOB                         $       562.50   $      39.71   $       602.21
100688-6   DEBBIE SUE LLC                        $       135.00   $       9.53   $       144.53
100689-4   MARY A PARDO                          $       450.00   $      31.77   $       481.77
100691-6   GREGORY GRAJEK                        $       135.00   $       9.53   $       144.53
100694-0   DORIS WEIGEL                          $       337.50   $      23.83   $       361.33
100695-9   MARY A PARDO                          $     2,092.50   $     147.73   $     2,240.23
100696-7   MARY A PARDO                          $       603.00   $      42.57   $       645.57
100700-9   GERALD ROSZKOWSKI                     $       900.00   $      63.54   $       963.54
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 11 of 85 Page ID
                                     #:70739
Claim #    Claimant                              Damages          PJI              Damages + PJI
100702-5   PAUL VAN ACKER                        $       225.00   $        15.89   $       240.89
100703-3   DAITCHMAN GST TRUST                   $       450.00   $        31.77   $       481.77
100706-8   DIANE F SCHOLNICK                     $       225.00   $        15.89   $       240.89
100713-0   JIE YU                                $       126.00   $         8.90   $       134.90
100714-9   DANILO R REYES                        $       450.00   $        31.77   $       481.77
100716-5   MICHAEL D GREIF                       $       900.00   $        63.54   $       963.54
100718-1   MARVIN S SEGAL REV TR                 $        22.50   $         1.59   $         24.09
100719-0   LEANNE T HOSTETTER                    $        36.00   $         2.54   $         38.54
100723-8   JUDITH H TOMA                         $         4.50   $         0.32   $          4.82
100728-9   RICHARD REMY                          $       450.00   $        31.77   $       481.77
100730-0   CHERYL W WOODHAM                      $        49.50   $         3.49   $         52.99
100731-9   KIEFF FAMILY 2012 IRREVOCABLE TRUST   $       112.50   $         7.94   $       120.44
100732-7   INGRID M PETERSON                     $        45.00   $         3.18   $         48.18
100735-1   LAWRENCE ESTERMAN                     $       103.50   $         7.31   $       110.81
100736-0   SHIRLEY M PARKS                       $       135.00   $         9.53   $       144.53
100741-6   JANICE BROWN                          $        58.50   $         4.13   $         62.63
100743-2   PETERSON PROPERTIES                   $        31.50   $         2.22   $         33.72
100744-0   RONALD G KORTHALS                     $        36.00   $         2.54   $         38.54
100746-7   PAUL BROWN                            $        58.50   $         4.13   $         62.63
100747-5   JERRYA&JANELLESDIEBLING LIVINGTRUST   $       900.00   $        63.54   $       963.54
100748-3   RAYMOND H SAUNDERSON                  $       594.00   $        41.94   $       635.94
100749-1   RAYMOND H SAUNDERSON                  $       558.00   $        39.40   $       597.40
100750-5   ARIE BERGGRUN                         $       112.50   $         7.94   $       120.44
100751-3   MELISSA B WATERSTONE                  $        67.50   $         4.77   $         72.27
100753-0   FREDERICK B OLESON                    $       450.00   $        31.77   $       481.77
100757-2   DAVID P PICARILLO                     $       562.50   $        39.71   $       602.21
100763-7   SANFORD WEITZBUCH                     $       450.00   $        31.77   $       481.77
100764-5   RIAD N YAMMINE                        $        22.50   $         1.59   $         24.09
100765-3   MICHAEL T MCCABE                      $       126.00   $         8.90   $       134.90
100770-0   LAWRENCE G PINCUS                     $       202.50   $        14.30   $       216.80
100775-0   KIM B MOK                             $       225.00   $        15.89   $       240.89
100783-1   ELAINE L FIORINA                      $       225.00   $        15.89   $       240.89
100787-4   THE UNIVERSITY OF FINDLAY             $        67.50   $         4.77   $         72.27
100790-4   ROBERT SHORT                          $     1,035.00   $        73.07   $     1,108.07
100792-0   JOHN L RABY                           $       405.00   $        28.59   $       433.59
100794-7   LISA J BROWN                          $        13.50   $         0.95   $         14.45
100798-0   ANDREW M LASSAK                       $       225.00   $        15.89   $       240.89
100800-5   JAMES D NICHOLSON                     $        63.00   $         4.45   $         67.45
100802-1   FRANCES J RAILEY                      $       450.00   $        31.77   $       481.77
100804-8   FBO DOMINICAN CONVENT                 $        22.50   $         1.59   $         24.09
100805-6   FRED ALGER MANAGEMENT, LLC            $        22.50   $         1.59   $         24.09
100806-4   FBO PRES CAP ASSET PROGRAM            $        45.00   $         3.18   $         48.18
100807-2   URSULINE SISTERS OF TILDONK           $        18.00   $         1.27   $         19.27
100815-3   PHYLLIS PAWLOVSKY                     $       112.50   $         7.94   $       120.44
100816-1   JASON SPIELBERG                       $        22.50   $         1.59   $         24.09
100817-0   NEVILLE AND REID SUPER PTU LTD        $       967.50   $        68.31   $     1,035.81
100819-6   CANADA PENSION INVESTMENT BOARD       $    82,053.00   $     5,793.00   $    87,846.00
100823-4   KATHY DEVAULT                         $       157.50   $        11.12   $       168.62
100825-0   LEGAL AND GENERAL ASSURANCE           $       625.50   $        44.16   $       669.66
100826-9   LEGAL AND GENERAL ASSURANCE           $     3,492.00   $       246.54   $     3,738.54
100827-7   HANNELORE K CARSTENSEN                $       135.00   $         9.53   $       144.53
100828-5   MAURICE LIEBMAN                       $         9.00   $         0.64   $          9.64
100829-3   MOLLY J LIEBMAN                       $         9.00   $         0.64   $          9.64
100831-5   RONIE SHELAS                          $        31.50   $         2.22   $         33.72
100832-3   D'ANGELO IRREVOCABLE TRUST            $     1,800.00   $       127.08   $     1,927.08
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 12 of 85 Page ID
                                     #:70740
Claim #    Claimant                              Damages          PJI              Damages + PJI
100833-1   FBO CONG SRS OF SPRINGFIELD           $        22.50   $         1.59   $         24.09
100834-0   ALGER COLL TRUST CAP APP              $       540.00   $        38.12   $       578.12
100835-8   ALGER CAP APP PORTFOLIO               $     4,500.00   $       317.70   $     4,817.70
100836-6   WISDOM CHARITABLE TRUST               $        67.50   $         4.77   $         72.27
100840-4   MARY D EDWARDS                        $       450.00   $        31.77   $       481.77
100841-2   FRED S WEISS                          $        90.00   $         6.35   $         96.35
100845-5   EDEC2015GRANTORRETANTYTRUA22315       $     2,250.00   $       158.85   $     2,408.85
100846-3   OLIVIA KLEIMAN                        $        27.00   $         1.91   $         28.91
100847-1   AMIRA KLEIMAN                         $        27.00   $         1.91   $         28.91
100848-0   LEAH KLEIMAN                          $        27.00   $         1.91   $         28.91
100849-8   MELISSA A KLEIMAN                     $        31.50   $         2.22   $         33.72
100853-6   RAZILL C BEECHER                      $        22.50   $         1.59   $         24.09
100855-2   AMERIN FAMILY TR                      $       450.00   $        31.77   $       481.77
100856-0   RA CAPITAL HEALTHCARE FUND LP         $    11,754.00   $       829.84   $    12,583.84
100867-6   WASHINGTON STATE INVESTMENT BOARD     $     7,200.00   $       508.32   $     7,708.32
100868-4   STRS OHIO                             $    82,120.50   $     5,797.76   $    87,918.26
100869-2   SONIA RUIZ                            $        45.00   $         3.18   $         48.18
100872-2   MITCHELL J OLSEN                      $       162.00   $        11.44   $       173.44
100873-0   KARIM AMIRYANI                        $     1,125.00   $        79.43   $     1,204.43
100877-3   MICHAEL J MARLER                      $       225.00   $        15.89   $       240.89
100879-0   BRETT BENARDINO                       $        90.00   $         6.35   $         96.35
100880-3   SANDBAR PARTNERS INVESTMENT TR        $       148.50   $        10.48   $       158.98
100881-1   BRENDA C BERSTIS                      $       337.50   $        23.83   $       361.33
100884-6   MARSHALL H HOWARD III                 $        67.50   $         4.77   $         72.27
100886-2   HEIDI SPENNER BRANDON                 $       900.00   $        63.54   $       963.54
100887-0   DENISE HOWARD                         $     5,625.00   $       397.13   $     6,022.13
100889-7   STEPHEN I SILVERMAN                   $        67.50   $         4.77   $         72.27
100890-0   VANDE VOORT LIVING TRUST              $        32.82   $         2.32   $         35.14
100891-9   SHARON A DRAIN                        $        58.50   $         4.13   $         62.63
100892-7   JOHN C DRAIN                          $       207.00   $        14.61   $       221.61
100893-5   JOHN C DRAIN & SHARON A DRAIN         $       270.00   $        19.06   $       289.06
100895-1   ALAN S TORES                          $       900.00   $        63.54   $       963.54
100898-6   WILLIAM D PERRY                       $       265.50   $        18.74   $       284.24
100900-1   MICHAEL BRENNOCK                      $        67.50   $         4.77   $         72.27
100901-0   WILLIAM D PERRY                       $         4.50   $         0.32   $          4.82
100908-7   ANNE M PERRY                          $        72.00   $         5.08   $         77.08
100910-9   ALLEN BECKER                          $       450.00   $        31.77   $       481.77
100917-6   H J ZOFFER                            $       103.50   $         7.31   $       110.81
100919-2   DOUGLAS L WOLFE                       $       427.50   $        30.18   $       457.68
100921-4   JON M GOODMAN                         $       360.00   $        25.42   $       385.42
100922-2   MICHAEL MCPHERSON                     $        22.50   $         1.59   $         24.09
400001-3   MILES HEALEY                          $     4,500.00   $       317.70   $     4,817.70
400003-0   CRAIG A SLOTKIN                       $       301.50   $        21.29   $       322.79
400005-6   CHRISTOPHER J & ELIZABETH R ROGNIER   $     1,350.00   $        95.31   $     1,445.31
400007-2   JAMES S CHO                           $       112.50   $         7.94   $       120.44
400009-9   STAN WINTERS & LUANN WINTERS          $     1,080.00   $        76.25   $     1,156.25
400010-2   CHRISTOPHER M SPAHN                   $     2,250.00   $       158.85   $     2,408.85
400014-5   MARK SEARS & LISA SEARS               $       450.00   $        31.77   $       481.77
400016-1   NEIL A RAVITZ                         $       337.50   $        23.83   $       361.33
400017-0   ANDREW J CHANG                        $       405.00   $        28.59   $       433.59
400018-8   SHIOU YEAN CHWN                       $        67.50   $         4.77   $         72.27
400020-0   ADAM J BRINKLEY                       $       202.50   $        14.30   $       216.80
400021-8   SHIRLEY B BRINKLEY-MIZELLE            $       450.00   $        31.77   $       481.77
400022-6   LISA BRUNNER                          $       180.00   $        12.71   $       192.71
400023-4   MARIO LISTIAWAN                       $        90.00   $         6.35   $         96.35
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 13 of 85 Page ID
                                     #:70741
Claim #    Claimant                                   Damages          PJI               Damages + PJI
400025-0   MAUREEN VARCASIO                           $       135.00   $          9.53   $       144.53
400026-9   THOMAS G VARCASIO                          $        36.00   $          2.54   $         38.54
400027-7   MAUREEN VARCASIO                           $        58.50   $          4.13   $         62.63
400031-5   KENNETH H JENNISON                         $       157.50   $         11.12   $       168.62
400033-1   SARAH J BUSHONG WEEKS                      $     6,075.00   $        428.90   $     6,503.90
400037-4   JON D BRIDGWATER                           $       337.50   $         23.83   $       361.33
400038-2   DENNIS S DURZINSKY                         $       225.00   $         15.89   $       240.89
400042-0   DIANA L CHUNG                              $       675.00   $         47.66   $       722.66
400044-7   JANICE ALBERT                              $        45.00   $          3.18   $         48.18
400045-5   JENNIFER O KELLY                           $       121.50   $          8.58   $       130.08
400046-3   IAN D KELLY                                $        45.00   $          3.18   $         48.18
400047-1   JESSICA D KELLY                            $        45.00   $          3.18   $         48.18
400048-0   PULLIAM EXEMPT FAMILY TRUST                $       616.50   $         43.53   $       660.03
400049-8   JULIA D OLSON                              $       225.00   $         15.89   $       240.89
400059-5   MICHAEL A BURZYNSKI                        $        76.50   $          5.40   $         81.90
400062-5   SHAUN KELLY                                $        45.00   $          3.18   $         48.18
400063-3   RHANDY E REGULACION                        $       900.00   $         63.54   $       963.54
400064-1   ANN L EVANS                                $     2,250.00   $        158.85   $     2,408.85
400065-0   ANN L EVANS                                $     4,500.00   $        317.70   $     4,817.70
400066-8   DAVID G ALLEN                              $       900.00   $         63.54   $       963.54
400086-2   KEVIN H BROTSKI                            $       787.50   $         55.60   $       843.10
400087-0   DAVINA K MOUSSA                            $     1,350.00   $         95.31   $     1,445.31
400091-9   SCOTT D HICKMON                            $        45.00   $          3.18   $         48.18
400092-7   DAVID PETRARCA SEP IRA                     $       900.00   $         63.54   $       963.54
400093-5   JAMES P OBRIEN                             $        45.00   $          3.18   $         48.18
400094-3   SELCUK OZLER                               $        90.00   $          6.35   $         96.35
400095-1   PETER MOERSDORF                            $       225.00   $         15.89   $       240.89
400099-4   HELEN LIM                                  $       180.00   $         12.71   $       192.71
400101-0   ROBERT H GRIFFITH                          $       945.00   $         66.72   $     1,011.72
400102-8   PRASHANTH VASAN                            $       225.00   $         15.89   $       240.89
400109-5   HILLARY SONG                               $       238.50   $         16.84   $       255.34
400111-7   MIN-SUN SONG                               $       450.00   $         31.77   $       481.77
400115-0   WILLIAM J DODGE                            $       157.50   $         11.12   $       168.62
400118-4   RANDAL N DUPRE                             $     9,000.00   $        635.41   $     9,635.41
400119-2   MIN MAO                                    $        45.00   $          3.18   $         48.18
400123-0   MARK J FISCHER                             $       450.00   $         31.77   $       481.77
400124-9   SCOTT J LIPCON                             $       126.00   $          8.90   $       134.90
400126-5   TORAL ZUMKHAWALA                           $        22.50   $          1.59   $         24.09
400128-1   DAVID PETRARCA                             $       450.00   $         31.77   $       481.77
400129-0   LLOYD A OGILVIE                            $        27.00   $          1.91   $         28.91
400133-8   RYAN MALACHOWSKY                           $        58.50   $          4.13   $         62.63
400135-4   SPENCER MALACHOWSKY                        $        58.50   $          4.13   $         62.63
400137-0   PARKER MALACHOWSKY                         $        63.00   $          4.45   $         67.45
400139-7   JAMES P SAMPSON                            $    22,500.00   $      1,588.52   $    24,088.52
400143-5   RABINDRA MENEZES                           $     1,350.00   $         95.31   $     1,445.31
400145-1   JAMES B TANANBAUM                          $    17,550.00   $      1,239.04   $    18,789.04
400146-0   JM CULINAIRE LLC                           $   220,500.00   $     15,567.45   $   236,067.45
400148-6   BLAKE OIL AND GAS LIMITED                  $    94,500.00   $      6,671.77   $   101,171.77
400150-8   ROBERT A MEYER                             $       661.50   $         46.70   $       708.20
400154-0   STEVEN J BALDWIN                           $       180.00   $         12.71   $       192.71
400155-9   AVALON GLOBAL PARTNERS LLC                 $    18,900.00   $      1,334.35   $    20,234.35
400156-7   AVALON WORLDWIDE, LTD                      $     5,850.00   $        413.01   $     6,263.01
400160-5   LIONEL M GOLDBERG                          $     1,237.50   $         87.37   $     1,324.87
400161-3   JUDY GOLDBERG                              $       220.50   $         15.57   $       236.07
400166-4   ORBIS GLOBAL EQUITY FUND (AUSTRALIA REG)   $   230,548.50   $     16,276.88   $   246,825.38
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 14 of 85 Page ID
                                     #:70742
Claim #    Claimant                              Damages          PJI               Damages + PJI
400167-2   ASHISH SHANKAR                        $       450.00   $         31.77   $       481.77
400169-9   DOUGLAS A O'DONNELL                   $       112.50   $          7.94   $       120.44
400170-2   RICHARD H WRIGHT                      $       225.00   $         15.89   $       240.89
400172-9   ORBIS GLOBAL EQUITY FUND LIMITED      $   245,254.50   $     17,315.14   $   262,569.64
400173-7   ORBIS OPTIMAL GLOBAL FUND, L.P.       $     2,457.00   $        173.47   $     2,630.47
400174-5   ORBIS OPTIMAL SA FUND LIMITED         $    64,075.50   $      4,523.77   $    68,599.27
400175-3   ORBIS SICAV GLOBAL EQUITY FUND        $    79,587.00   $      5,618.90   $    85,205.90
400176-1   ORBIS OEIC GLOBAL EQUITY FUND         $       949.50   $         67.04   $     1,016.54
400180-0   BRIAN J BARRY                         $       553.50   $         39.08   $       592.58
400182-6   ASHISH SHANKAR                        $     4,050.00   $        285.93   $     4,335.93
400183-4   WALTER J LENEHAN                      $        99.00   $          6.99   $       105.99
400187-7   AYALON MUTUAL FUNDS                   $        90.00   $          6.35   $         96.35
400189-3   WILLIAM M TULLOCH                     $       112.50   $          7.94   $       120.44
400190-7   PROJECT MANAGEMENT INSTITUTE          $        40.50   $          2.86   $         43.36
400191-5   JEAN-MARIE MAIO                       $       450.00   $         31.77   $       481.77
400195-8   BOWDOIN COLLEGE                       $       801.00   $         56.55   $       857.55
400205-9   DANIEL D GRETLER                      $     1,350.00   $         95.31   $     1,445.31
400210-5   MAHAL MOHAN                           $    14,409.00   $      1,017.29   $    15,426.29
400211-3   MAHAL MOHAN                           $     2,902.50   $        204.92   $     3,107.42
400212-1   SANDHYA MOHAN                         $     2,407.50   $        169.97   $     2,577.47
400213-0   ANDREW BIENKOWSKI                     $       513.00   $         36.22   $       549.22
400214-8   SEAN M DALZIEL                        $       238.50   $         16.84   $       255.34
600009-6   UA LOCAL 322 PEN FD FRED ALGER        $       112.50   $          7.94   $       120.44
600010-0   LEBANON CEMETERY ASSN UMA             $        13.50   $          0.95   $         14.45
600011-8   PLUMB & STEAM LOCAL 486 ALGER         $       202.50   $         14.30   $       216.80
600014-2   N & D HOSTETTER CHARITABLE IUMA       $        13.50   $          0.95   $         14.45
600015-0   DAVIS MIRREL TUW FOR CHARI UMA        $        22.50   $          1.59   $         24.09
600016-9   DAVIS REBECCA TUW FOR CHARIUMA        $        31.50   $          2.22   $         33.72
600018-5   HUTTON & JOST MEMORIAL TRUS UMA       $        27.00   $          1.91   $         28.91
600025-8   M H BLAIR APPTD                       $        13.50   $          0.95   $         14.45
600026-6   HELEN P ROCKWELL T/W                  $        18.00   $          1.27   $         19.27
600031-2   OAK HILL TRUST IMA (PLEDGED LCGR      $         9.00   $          0.64   $          9.64
600040-1   AJ & SIGISMUNDA PALUMBO TR APWM       $         4.50   $          0.32   $          4.82
600045-2   LIFE SCIENCES GREENHOUSE OF UMA       $        18.00   $          1.27   $         19.27
600046-0   GSHPA - UNRESTRICTED PLEDGE APCO      $        13.50   $          0.95   $         14.45
600066-5   GAR FDN WESTFIELD CAPITAL MGMT        $     1,057.50   $         74.66   $     1,132.16
600067-3   SERVICE BENEFIT PLAN - ROXBURY        $       157.50   $         11.12   $       168.62
600068-1   NFL RECIP TR - COLUMBUS CIR SM        $       225.00   $         15.89   $       240.89
600069-0   MI & HJ KNOTT SCHOL-COLUMBUS CIR      $       562.50   $         39.71   $       602.21
600071-1   UIU-NPG PENSION ALGER                 $        90.00   $          6.35   $         96.35
600072-0   MILK DRIVS LOC 246 PEN FD-ALGER       $       135.00   $          9.53   $       144.53
600073-8   CAREFIRST INC RET PL ROXBURY          $     1,206.00   $         85.14   $     1,291.14
600075-4   BLUE CR BLUE SH OF DE ROXBURY         $     1,071.00   $         75.61   $     1,146.61
600076-2   MARC FISHER TR CUST WESTFIELD         $       157.50   $         11.12   $       168.62
600077-0   CATH COMM FDN WESTFIELD               $       630.00   $         44.48   $       674.48
600078-9   GHMSI RET PLAN - ROXBURY              $     1,431.00   $        101.03   $     1,532.03
600083-5   MOHELA UMA                            $        85.50   $          6.04   $         91.54
600084-3   WILLIAM & GRACE MCDIVITT TRUUMA       $        31.50   $          2.22   $         33.72
600085-1   GEORGE W ELKINS IRR UMA               $         9.00   $          0.64   $          9.64
600086-0   GEORGE ELKINS                         $         9.00   $          0.64   $          9.64
600087-8   GEORGE W. ELKINS                      $         9.00   $          0.64   $          9.64
600088-6   ROBERT M GRIFFITH T/W UMA             $         9.00   $          0.64   $          9.64
600089-4   WILLIAM H RITTER UMA                  $        18.00   $          1.27   $         19.27
600097-5   HPRS WESTFIELD CAP MGMT               $     1,575.00   $        111.20   $     1,686.20
600099-1   P&P 630 P&A-WESTFIELD SMID            $       652.50   $         46.07   $       698.57
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 15 of 85 Page ID
                                     #:70743
Claim #    Claimant                                                 Damages          PJI            Damages + PJI
600100-9   CATHOLIC DIOC-WESTFIELD                                  $     1,035.00   $      73.07   $     1,108.07
600102-5   BAKERY & CONF INTL- PENSION FUND- ALLIANCE CAPITAL MAN   $    13,135.50   $     927.38   $    14,062.88
600103-3   CATH DIOC OF CLEVE-WESTFIELD                             $     1,147.50   $      81.01   $     1,228.51
600108-4   THE CHUBASCO TRUST II REV MCCO                           $       171.00   $      12.07   $       183.07
600109-2   SRN & RCAN CHILDREN'S TRUST MCCO                         $        54.00   $       3.81   $         57.81
600110-6   LEBANON CITY POLICE UMA                                  $        31.50   $       2.22   $         33.72
600112-2   SISTERS OF CHARITY OF SETON HILL                         $        18.00   $       1.27   $         19.27
600114-9   WESTMORELAND COUNTY-EMERALD S/C                          $       981.00   $      69.26   $     1,050.26
600117-3   HEARTLAND FIDELITY INSURANCEUMA                          $        22.50   $       1.59   $         24.09
600118-1   C F HOLDSHIP CHARITABLE TRUSUMA                          $        31.50   $       2.22   $         33.72
600120-3   OPER ENGIN LOCAL 77 PEN - ALGER                          $        90.00   $       6.35   $         96.35
600121-1   TAYLOR POL & FIRE RET- ALGER                             $        90.00   $       6.35   $         96.35
600124-6   MIFFLIN CNTY RET - L MUNDER SMID                         $       162.00   $      11.44   $       173.44
600126-2   PA TURNPIKE RET MED-EMERALD                              $       270.00   $      19.06   $       289.06
600130-0   AMREP CO PE TR LEE MUNDER                                $        85.50   $       6.04   $         91.54
600132-7   THE KAPLEN BROS FUND-WEATHERBIE                          $     6,376.50   $     450.19   $     6,826.69
600133-5   KAPLEN FDN WEATHERBIE                                    $     3,028.50   $     213.81   $     3,242.31
600134-3   THERESA AND FRANK CAPLAN FDNUMA                          $        22.50   $       1.59   $         24.09
600135-1   JOINT PERPETUAL CARE WESTFIELD                           $       517.50   $      36.54   $       554.04
600136-0   DIOC OF CLEVE PRST WESTFIELD                             $       360.00   $      25.42   $       385.42
600137-8   BLDG TRADES OF WPA PENS-CIM EQ                           $       378.00   $      26.69   $       404.69
600143-2   THE LEARY RESEARCH FUND UMA                              $        18.00   $       1.27   $         19.27
600148-3   IHS FDN PARAMETRIC GLOBAL LOW VO                         $        13.50   $       0.95   $         14.45
600150-5   CALDWELL UNIVERSITY UMA                                  $        13.50   $       0.95   $         14.45
600153-0   THERESIA G KLINE TRUST IMA MCCO                          $        31.50   $       2.22   $         33.72
600163-7   ROBERT G SCHUMACHER JR TRUS MCCO                         $        63.00   $       4.45   $         67.45
600164-5   STUART F KLINE TRUST IMA MCCO                            $        31.50   $       2.22   $         33.72
600175-0   SMITH EARL E. T. TRUST-CUSTODY                           $       495.00   $      34.95   $       529.95
600176-9   GUIBORD DEBORAH A IRR TRUST-CUSTODY                      $       513.00   $      36.22   $       549.22
600177-7   DUROSS KIMBERLY L IRREV TR-CUST                          $       621.00   $      43.84   $       664.84
600178-5   DUFOR INV LP/NI-CUSTODY                                  $     1,201.50   $      84.83   $     1,286.33
600179-3   WILLIS WEST                                              $     2,745.00   $     193.80   $     2,938.80
600180-7   SM/MID CAPTIMES                                          $     4,050.00   $     285.93   $     4,335.93
600181-5   HAMLINE UNIVERSITY - ROXBURY                             $       639.00   $      45.11   $       684.11
600182-3   AZ SHEET METAL PEN - COLUMBUS                            $       454.50   $      32.09   $       486.59
600184-0   RESEARCH CORP TECH PLEDGED 1                             $    13,590.00   $     959.46   $    14,549.46
600191-2   DEL CO EE RETIREMENT EMERALD                             $     1,732.50   $     122.32   $     1,854.82
600192-0   BUCKS CO RETIREMENT EMERALD SM                           $     1,089.00   $      76.88   $     1,165.88
600196-3   LEH COUNTY P/P - EMERALD SC                              $       729.00   $      51.47   $       780.47
600197-1   NPPD SCGF - ROXBURY                                      $     2,016.00   $     142.33   $     2,158.33
600201-3   APTAR GROUP PENSION COLUMBUS CIRCLE                      $       540.00   $      38.12   $       578.12
600202-1   COPFRS - RUSSELL 2000 ETF                                $     8,415.00   $     594.10   $     9,009.10
600203-0   PGW FRED ALGER                                           $       270.00   $      19.06   $       289.06
600206-4   AMERICAN FAMILY 401(K)-JPM SM CAP G                      $       567.00   $      40.03   $       607.03
600210-2   NYX PENSION -TRANSITION ACCOUNT                          $     2,700.00   $     190.62   $     2,890.62
600211-0   CITY OF ATLANTA - LMCG                                   $     2,101.50   $     148.37   $     2,249.87
600212-9   MECT-WESTFIELD CAPITAL                                   $       337.50   $      23.83   $       361.33
600214-5   TORRANCE HEALTH ASSOC EAGLE:EQ                           $       126.00   $       8.90   $       134.90
600216-1   UNIVERSITY HEALTH- COLUMBUS CIRCLE                       $     1,773.00   $     125.18   $     1,898.18
600220-0   LOOMIS-SAYLES SMALL MID CAP GROWTH                       $    11,623.50   $     820.63   $    12,444.13
600221-8   DDMN FDN - WCM SMD GROWTH                                $       558.00   $      39.40   $       597.40
600242-0   LARKIN THOMAS D SR EAGLE TUW                             $         4.50   $       0.32   $          4.82
600246-3   RET PLN FOR HOSP EMPL-ING DB                             $     5,670.00   $     400.31   $     6,070.31
600264-1   WINSKILL NORMAN CRUT SUB A                               $         4.50   $       0.32   $          4.82
600266-8   GALINSKI P AND B JTEN AGY-EGL-SCG                        $         4.50   $       0.32   $          4.82
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 16 of 85 Page ID
                                     #:70744
Claim #    Claimant                                                 Damages          PJI               Damages + PJI
600269-2   JORST HENRIK TR AD AGY-EGL-SCG-PL                        $        54.00   $          3.81   $         57.81
600270-6   JORSTCAMILLA 2010 TR AD AGY-EGL-SCG                      $        27.00   $          1.91   $         28.91
600271-4   JORST C 2010 TR AD AGY-EGL-SCG                           $        27.00   $          1.91   $         28.91
600295-1   GEIGER DIANE Q POA TR - AGY EGL-SCG                      $         4.50   $          0.32   $          4.82
600302-8   FBO JTSB A.T.F. THE FUND 965-01202-3802                  $    46,791.00   $      3,303.48   $    50,094.48
600303-6   HGIF ECONOMIC SCALE US EQUITY                            $       486.00   $         34.31   $       520.31
600305-2   HSBC US EQUITY POOLED                                    $       630.00   $         44.48   $       674.48
600306-0   NORFOLK CAPITAL NORNOC10PF                               $    70,650.00   $      4,987.94   $    75,637.94
600311-7   MTBJ A/C 116110200-A-1002309                             $       504.00   $         35.58   $       539.58
600315-0   MTBJ A/C 140110230-A-1002309                             $    10,017.00   $        707.21   $    10,724.21
600341-9   GENERAL MOTORS HOURLY-RATE EMPLOYEES PENSION TRUST $           4,081.50   $        288.16   $     4,369.66
600344-3   PKA (MERGED FUNDS 2011)                                  $     4,203.00   $        296.73   $     4,499.73
600354-0   TTEES D F HARRIS JR ET AL U/A 1/4/96                     $       450.00   $         31.77   $       481.77
600355-9   LH-DF HARRIS UA                                          $     3,150.00   $        222.39   $     3,372.39
600356-7   LH-DF HARRIS UA                                          $     2,160.00   $        152.50   $     2,312.50
600357-5   LH-JOHN M. HARRIS CHILDREN'S TRUST                       $       900.00   $         63.54   $       963.54
600358-3   JOHN M. HARRIS 2012 TRUST                                $       270.00   $         19.06   $       289.06
600359-1   DAVID F. HARRIS JR. 2012 TRUST                           $       225.00   $         15.89   $       240.89
600361-3   JANUS VENTURE FUND                                       $    99,310.50   $      7,011.39   $   106,321.89
600362-1   JANUS TRITON FUND                                        $    16,587.00   $      1,171.05   $    17,758.05
600363-0   JANUS GLOBAL LIFE SCIENCES FUND                          $   697,032.00   $     49,210.94   $   746,242.94
600364-8   JCF US VENTURE FUND                                      $     6,633.00   $        468.29   $     7,101.29
600365-6   JCF GLOBAL LIFE SCIENCES FUND                            $   349,263.00   $     24,658.21   $   373,921.21
600369-9   V BURKE NICHOLAS INV PTNRS - CUS                         $       450.00   $         31.77   $       481.77
600380-0   CREDIT SUISSE (LUX) GLOBAL BIOTECH INNOVATORS EQUITY FU $     58,500.00   $      4,130.14   $    62,630.14
600382-6   SC US EQUITIES PASSIVE FUND                              $     1,800.00   $        127.08   $     1,927.08
600387-7   CSIF (CH) WORLD EX CH SMALL CAP INDEX BLUE               $     5,004.00   $        353.29   $     5,357.29
600392-3   CSIF III WORLD EX CH SMALL CAP INDEX BLUE - PENSION FUND $     8,586.00   $        606.18   $     9,192.18
600395-8   EMF WESTFIELD CAP MGMT (LAPP)                            $    18,045.00   $      1,273.99   $    19,318.99
600396-6   EMF WESTFIELD                                            $    71,482.50   $      5,046.71   $    76,529.21
600398-2   NIMELLO HOLDING                                          $    25,200.00   $      1,779.14   $    26,979.14
600399-0   QUARTIS TRADE & INVEST                                   $     4,990.99   $        352.37   $     5,343.36
600400-8   SEAWATER CAPITAL MANAGEMENT LLC                          $       900.00   $         63.54   $       963.54
600406-7   BRITISH COLUMBIA INVESTMENT MANAGEMENT CORPORATIO $           18,729.00   $      1,322.28   $    20,051.28
600415-6   S.C.A.A.                                                 $    11,475.00   $        810.14   $    12,285.14
600417-2   NEW ORLEANS EMPLOYERS - INTERNATIONAL LONGSHOREMEN $             157.50   $         11.12   $       168.62
600425-3   TWO SIGMA ACTIVE EXTENSION U.S. ALL CAP EQUITY PORTFOL $       2,250.00   $        158.85   $     2,408.85
600426-1   TWO SIGMA ACTIVE EXTENSION U.S. SMALL CAP EQUITY PORTF $      14,400.00   $      1,016.65   $    15,416.65
600432-6   MAGNETAR CAPITAL MASTER FUND LTD                         $     1,278.00   $         90.23   $     1,368.23
600459-8   ACHIEVEMENT MASTER FUND LTD.                             $    36,000.00   $      2,541.62   $    38,541.62
600465-2   ATLAS QUANTITATIVE TRADING FUND LTD.                     $     2,700.00   $        190.62   $     2,890.62
600475-0   CAN SMALL CAP GROWTH                                     $     9,396.00   $        663.36   $    10,059.36
600476-8   CCI HEALTHCARE PARTNERS DIVERSIFIED II LP                $       868.50   $         61.32   $       929.82
600477-6   CCI HEALTHCARE PARTNERS DIVERSIFIED MASTER FUND LTD. $        38,268.00   $      2,701.75   $    40,969.75
600495-4   DRIEHAUS ASSOCIATED FUND - DOMESTIC ACCOUNT 2            $       193.50   $         13.66   $       207.16
600496-2   DRIEHAUS ASSOCIATES FUND - SELECT                        $       247.50   $         17.47   $       264.97
600497-0   DRIEHAUS COMPANIES PROFIT SHARING PLAN AND TRUST - DO $          981.00   $         69.26   $     1,050.26
600498-9   DRIEHAUS COMPANIES PROFIT SHARING PLAN AND TRUST--SEL $        1,903.50   $        134.39   $     2,037.89
600499-7   DRIEHAUS DOMESTIC LLC                                    $     3,339.00   $        235.74   $     3,574.74
600500-4   DRIEHAUS FAMILY PARTNERSHIP LP - SELECT                  $       418.50   $         29.55   $       448.05
600501-2   DRIEHAUS GROWTH PARTNERS LLC - SELECT                    $       207.00   $         14.61   $       221.61
600502-0   DRIEHAUS INVESTMENTS LLC - SELECT                        $       391.50   $         27.64   $       419.14
600523-3   GREEN OWL CAPITAL MANAGEMENT MASTER FUND LP              $    18,000.00   $      1,270.81   $    19,270.81
600541-1   INVESTORS CAPITAL PARTNERS (PRIMARY)                     $     2,250.00   $        158.85   $     2,408.85
600544-6   JANE STREET GROUP LLC                                    $     7,258.50   $        512.46   $     7,770.96
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 17 of 85 Page ID
                                     #:70745
Claim #    Claimant                                              Damages          PJI               Damages + PJI
600547-0   JANE STREET GROUP LLC                                 $         4.50   $          0.32   $          4.82
600548-9   JANE STREET GROUP LLC                                 $     4,360.50   $        307.85   $     4,668.35
600551-9   JANE STREET GROUP LLC                                 $    47,299.50   $      3,339.38   $    50,638.88
600615-9   KERSHNER TRADING GROUP LLC                            $       900.00   $         63.54   $       963.54
600654-0   NOMURA INTERNATIONAL PLC                              $     4,275.00   $        301.82   $     4,576.82
600657-4   OKLAHOMA FIREFIGHTERS PENSION AND RETIREMENT SYSTEM   $     1,350.00   $         95.31   $     1,445.31
600671-0   PRIMAR LLC                                            $       225.00   $         15.89   $       240.89
600672-8   PRONGHORN FF&E LP                                     $    17,662.50   $      1,246.98   $    18,909.48
600686-8   RICHARD H. DRIEHAUS 2003 REVOCABLE TRUST - SELECT     $       589.50   $         41.62   $       631.12
600687-6   RICHARD H. DRIEHAUS IRA DOMESTIC ACCOUNT              $       436.50   $         30.82   $       467.32
600688-4   RICHARD H. DRIEHAUS IRA SELECT                        $       459.00   $         32.41   $       491.41
600753-8   TMT EAST LLC                                          $    40,551.00   $      2,862.93   $    43,413.93
600788-0   TURNER SMALL CAP GROWTH FUND                          $     2,250.00   $        158.85   $     2,408.85
600791-0   FEBRER DOATE CONCEPCION                               $       135.00   $          9.53   $       144.53
600807-0   INTEGRATED CORE STRAT US                              $    23,850.00   $      1,683.83   $    25,533.83
600814-3   INTEGRATED ASSETS LTD.                                $     5,999.59   $        423.58   $     6,423.17
600862-3   AUSTIN FIREFIGHTERS RELIEF AND RETIREMENT FUND        $     4,522.50   $        319.29   $     4,841.79
600863-1   BIOTECHTARGET NV                                      $   202,500.00   $     14,296.64   $   216,796.64
600874-7   MORGAN STANLEY & CO INTERNATIONAL PLC                 $     1,345.50   $         94.99   $     1,440.49
600877-1   FT. PIERCE CITY EMERALD CU                            $       580.50   $         40.98   $       621.48
600882-8   SUNTRUST PENSION BLACKROCK EQUITY                     $       607.50   $         42.89   $       650.39
600883-6   SCI HEIGHTS MERCHANDISE LLC-ROXBURY                   $    10,912.50   $        770.43   $    11,682.93
600887-9   JENNIFER B SMITH TIRA-NATIXIS                         $        13.50   $          0.95   $         14.45
600888-7   JANICE DINGLER TIRA - NATIXIS                         $        36.00   $          2.54   $         38.54
600889-5   HSF-ACT 156-MFS INST'L EQ                             $        81.00   $          5.72   $         86.72
600890-9   HRS 40-88 ENDOWMENT-MFS                               $        54.00   $          3.81   $         57.81
600891-7   HSF-ACT 175-MFS INST MULTI                            $        49.50   $          3.49   $         52.99
600892-5   HSF-UNRESTRICTED FUNDS-MFS                            $        31.50   $          2.22   $         33.72
600894-1   MAGELSSEN EXEMPT TRUST                                $        31.50   $          2.22   $         33.72
600896-8   SW OKLAHOMA STATE UNIV FDN-CH                         $       112.50   $          7.94   $       120.44
600898-4   CINDY K SMITH TIRA                                    $         9.00   $          0.64   $          9.64
600899-2   STEVEN ROBERTS MD TIRA-NATIXIS                        $         4.50   $          0.32   $          4.82
600901-8   JOHN AKINS TIRA - MFS                                 $       108.00   $          7.62   $       115.62
600902-6   DIANE M CLARK TIRA - MFS                              $        18.00   $          1.27   $         19.27
600903-4   WALLACE CHLDRN                                        $        13.50   $          0.95   $         14.45
600904-2   WALLACE CHLDRN                                        $         9.00   $          0.64   $          9.64
600905-0   PIETRINI A                                            $         4.50   $          0.32   $          4.82
600906-9   SUE AMES TIRA-MFS MF DOM                              $        18.00   $          1.27   $         19.27
600907-7   DICK AMES TIRA-MFS MF DOM                             $         9.00   $          0.64   $          9.64
600908-5   LARRY A CUNNINGHAM TIRA-MFS                           $        18.00   $          1.27   $         19.27
600910-7   TERRANCE G MAURER TIRA-MFS                            $        36.00   $          2.54   $         38.54
600911-5   RICHARD J TANGEMAN TIRA-NATIX                         $         9.00   $          0.64   $          9.64
600912-3   MICHAEL SKARUPA TR SETT-MFS                           $        27.00   $          1.91   $         28.91
600913-1   WILLIAM L DRIEHORST ROTH TIRA                         $         9.00   $          0.64   $          9.64
600914-0   MCJUNKIN CRUT-DIMA-NATIXIS                            $        18.00   $          1.27   $         19.27
600917-4   MARILYN HOOK CRT-NATIXIS                              $         9.00   $          0.64   $          9.64
600918-2   RUBY W. HOUSE TRUSTEED IRA                            $        18.00   $          1.27   $         19.27
600920-4   ALAN M. GOLDBERG TIRA                                 $        18.00   $          1.27   $         19.27
600921-2   CHARLES M BERGER TIRA-MFS                             $        18.00   $          1.27   $         19.27
600922-0   CHARLES P PARIANO TIRA-MFS                            $        36.00   $          2.54   $         38.54
600930-1   ROBERT B MCKAY TRUSTEED IRA                           $        36.00   $          2.54   $         38.54
600931-0   THOMSON FAMILY TR-MFS                                 $        13.50   $          0.95   $         14.45
600934-4   THOMAS A HEINIMANN TIRA-MFS                           $        27.00   $          1.91   $         28.91
600935-2   C RICHER DCD TIRA                                     $        13.50   $          0.95   $         14.45
600936-0   JACK CONFINO IRREV TR-DIMA-MFS                        $         9.00   $          0.64   $          9.64
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 18 of 85 Page ID
                                     #:70746
Claim #    Claimant                                   Damages          PJI               Damages + PJI
600937-9   HARRIS DAMASHEK 08 GRW TR-MFS              $         4.50   $          0.32   $          4.82
600938-7   JON DAMASHEK 2008 GRW TR-MFS               $        27.00   $          1.91   $         28.91
600939-5   ALAN DAMASHEK 2008 GRW TR-MFS              $        13.50   $          0.95   $         14.45
600940-9   ANNE ALONZO TRUSTEED IRA                   $        13.50   $          0.95   $         14.45
600941-7   LONG ISLAND LUTHERAN HS MEMFND             $         4.50   $          0.32   $          4.82
600942-5   CAMBRIDGE HOMES - EAGLE                    $       171.00   $         12.07   $       183.07
600943-3   U & R FRANK FDN - EAGLE                    $        99.00   $          6.99   $       105.99
600944-1   GRAM NON-EX TR                             $        63.00   $          4.45   $         67.45
600945-0   HUDSON RIVER HLTHCARE INC-EAG              $        36.00   $          2.54   $         38.54
600947-6   LESLIE L THORNE IRREV TR - MFS             $        22.50   $          1.59   $         24.09
600949-2   STEINER 2015 TR NO 3-A                     $        54.00   $          3.81   $         57.81
600950-6   HARRIS TRUST                               $        27.00   $          1.91   $         28.91
600951-4   FRICKEL ROBERT IRA                         $        58.50   $          4.13   $         62.63
600955-7   FORD MOTOR COMPANY OF CANADA LIMITED MA    $       450.00   $         31.77   $       481.77
600956-5   RED LIFE REINSURANCE LIMITED C/O GRANITE   $       135.00   $          9.53   $       144.53
600958-1   EMERSON ELECTRIC CO RETIREMENT MASTER TR   $    34,650.00   $      2,446.31   $    37,096.31
600961-1   ASSOCIATION POUR LE PLAN DE PENSION MONS   $     8,100.00   $        571.87   $     8,671.87
600965-4   NATIONAL WESTMINSTER BANK PLC AS TRUSTEE   $       135.00   $          9.53   $       144.53
600967-0   LEERINK PHARMACEUTICAL FUND LP             $     6,750.00   $        476.55   $     7,226.55
600970-0   MASTER TRUST AGREEMENT BETWEEN PFIZER IN   $     4,050.00   $        285.93   $     4,335.93
600973-5   GIC PRIVATE LIMITED                        $   362,700.00   $     25,606.87   $   388,306.87
600974-3   FUNDO DE PENSOES                           $    20,250.00   $      1,429.66   $    21,679.66
600984-0   TE CONNECTIVITY RETIREMENT SAVINGS AND I   $     7,497.00   $        529.29   $     8,026.29
600987-5   ITPTL - WELLINGTON / US ITP                $    16,713.00   $      1,179.95   $    17,892.95
600991-3   WHEELS COMMON INVESTMENT FUND              $     2,250.00   $        158.85   $     2,408.85
600992-1   CAPITAL INTL - GBL EQUITY CAPITAL          $    14,850.00   $      1,048.42   $    15,898.42
600996-4   STICHTING BLUE SKY GROUP-ACTIVE SMALL CA   $     2,970.00   $        209.68   $     3,179.68
600999-9   ROBUSTA COMMON CONTRACTUAL FUND            $     5,400.00   $        381.24   $     5,781.24
601006-7   WYOMING RETIREMENT SYSTEM                  $     2,308.50   $        162.98   $     2,471.48
601009-1   RED DISK INSURANCE COMPANY LTD             $        58.50   $          4.13   $         62.63
601012-1   STRATHCLYDE PENSION FUND                   $     5,013.00   $        353.92   $     5,366.92
601019-9   MICROSOFT CORPORATION MASTER CUSTODY AGR   $    10,039.50   $        708.80   $    10,748.30
601020-2   INTERNATIONAL MONETARY FUND STAFF RETIRE   $    45,450.00   $      3,208.80   $    48,658.80
601021-0   INTERNATIONAL MONETARY FUND RETIRED STAF   $     5,400.00   $        381.24   $     5,781.24
601023-7   HSBC INVESTOR FUNDS                        $    23,535.00   $      1,661.59   $    25,196.59
601028-8   DOW RETIREMENT GROUP TRUST                 $     4,500.00   $        317.70   $     4,817.70
601038-5   MASTER CUSTODY AGREEMENT BETWEEN COCA-CO   $       337.50   $         23.83   $       361.33
601040-7   MONETARY AUTHORITY OF SINGAPORE            $     1,066.50   $         75.30   $     1,141.80
601042-3   BLACKROCK NA PASS SMALL CA BL              $    16,798.50   $      1,185.99   $    17,984.49
601047-4   NTGI-QM COLLECTIVE DAILY RUSSELL 2000 GR   $    16,443.00   $      1,160.89   $    17,603.89
601048-2   NTGI-QM COLLECTIVE DAILY RUSSELL SMALLCA   $       400.50   $         28.28   $       428.78
601049-0   NTGI-QM COMMON DAILY RUSSELL 2000 GROWTH   $       558.00   $         39.40   $       597.40
601050-4   NTGI-QM COMMON DAILY UNITED STATES INVES   $        31.50   $          2.22   $         33.72
601051-2   NTGI-QM COMMON DAILY RUSSELL 2000 INDEX    $     1,692.00   $        119.46   $     1,811.46
601053-9   NORTHERN INSTITUTIONAL FUNDS               $       927.00   $         65.45   $       992.45
601054-7   NT SMALLCAP INDEX FUND                     $     6,453.00   $        455.59   $     6,908.59
601058-0   FORD MOTOR COMPANY DEFINED BENEFIT MASTE   $     1,350.00   $         95.31   $     1,445.31
601063-6   LIBERTY MUTUAL EMPLOYEES THRIFT-INCENTIV   $    21,082.50   $      1,488.44   $    22,570.94
601065-2   SUMMA HEALTH SYSTEM RETIREMENT INCOME PL   $       405.00   $         28.59   $       433.59
601068-7   MACANDREWS & FORBES INCORPORATED MASTER    $       450.00   $         31.77   $       481.77
601069-5   THE BLUE SHIELD OF CALIFORNIA EMPLOYEES'   $     2,110.50   $        149.00   $     2,259.50
601071-7   COMMONWEALTH OF PUERTO RICO ADMINISTRACI   $       337.50   $         23.83   $       361.33
601072-5   CATERPILLAR INVESTMENT TRUST               $    10,701.00   $        755.50   $    11,456.50
601073-3   UBS 401 (K) PLAN TRUST                     $    11,700.00   $        826.03   $    12,526.03
601075-0   HCSC MASTER PENSION TRUST-                 $    12,352.50   $        872.10   $    13,224.60
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 19 of 85 Page ID
                                     #:70747
Claim #    Claimant                                     Damages          PJI              Damages + PJI
601077-6   PRAXAIR INC PENSION PLAN TRUST               $     8,973.00   $       633.50   $     9,606.50
601078-4   CBI PENSION PLAN TRUST                       $     1,525.50   $       107.70   $     1,633.20
601079-2   TOYOTA DIRECTED RETIREMENT TRUST             $     3,532.50   $       249.40   $     3,781.90
601081-4   NESTLE IN THE USA PENSION TRUST              $       900.00   $        63.54   $       963.54
601082-2   AAR CORP. MASTER RETIREMENT TRUST            $       756.00   $        53.37   $       809.37
601084-9   DUKE ENERGY CORPORATION MASTER RETIREMEN     $     4,779.00   $       337.40   $     5,116.40
601085-7   NORTH BROWARD HOSPITAL DISTRICT PENSION      $     2,902.50   $       204.92   $     3,107.42
601086-5   STATE UNIVERSITIES RETIREMENT SYSTEM         $     4,500.00   $       317.70   $     4,817.70
601087-3   ILLINOIS TOOL WORKS INC MASTER PENSION       $     6,100.00   $       430.66   $     6,530.66
601088-1   THE CHAMBER OF COMMERCE OF THE UNITED ST     $       652.50   $        46.07   $       698.57
601093-8   ALLIANCE INSTITUTIONAL FUND                  $     7,411.50   $       523.26   $     7,934.76
601098-9   STATE UNIVERSITIES RETIREMENT SYSTEM         $     1,467.00   $       103.57   $     1,570.57
601106-3   UNION PACIFIC -COLUMBUS CIRCLE INVESTORS     $     1,530.00   $       108.02   $     1,638.02
601109-8   NISSAN NORTH AMERICA EMPLOYEE RETIREMENT     $       382.50   $        27.00   $       409.50
601111-0   MMC-FRONTIER CAPITAL                         $     5,688.00   $       401.58   $     6,089.58
601112-8   AMGEN RETIREMENT AND SAVINGS PLAN TRUST      $     3,861.00   $       272.59   $     4,133.59
601116-0   CARLE CLINIC ASSOCIATION MASTER RETIREME     $     3,015.00   $       212.86   $     3,227.86
601119-5   AON SAVINGS PLAN TRUST                       $     7,335.00   $       517.86   $     7,852.86
601120-9   ILLINOIS MUNICIPAL RETIREMENT FUND           $    40,536.00   $     2,861.87   $    43,397.87
601121-7   BRISTOL MYERS SQUIBB DEFINED BENEFIT P       $     5,112.00   $       360.91   $     5,472.91
601123-3   CENTURYLINK INC DEFINED BENEFIT MASTER       $     4,410.00   $       311.35   $     4,721.35
601124-1   JOHN MUIR HEALTH RETIREMENT PLAN             $       450.00   $        31.77   $       481.77
601130-6   DELANEY TR ANNE E.                           $        22.50   $         1.59   $         24.09
601135-7   REED EQUIPMENT LP                            $        63.00   $         4.45   $         67.45
601136-5   AEW REINSURANCE COMPANY                      $        22.50   $         1.59   $         24.09
601139-0   MARVIN NORTH EQUITY LLP                      $        99.00   $         6.99   $       105.99
601144-6   JOHN ROWE TRUST & JEANNE ROWE TRUST JTIC     $       162.00   $        11.44   $       173.44
601145-4   ROGER K MCCABE REVOCABLE TRUST               $         9.00   $         0.64   $          9.64
601147-0   BLANCHE MAUD & JOAN                          $        85.50   $         6.04   $         91.54
601148-9   BROWN TRUST RICHARD                          $        31.50   $         2.22   $         33.72
601149-7   OLIVARIUS HOSPITALITY CA LLC                 $       558.00   $        39.40   $       597.40
601150-0   TAV GAMING INC                               $        27.00   $         1.91   $         28.91
601151-9   WELTON INVESTMENTS L.P.                      $        99.00   $         6.99   $       105.99
601152-7   LECK P JEFFREY & GENEVIEVE IMA               $        27.00   $         1.91   $         28.91
601153-5   NORSOPH ELLIS BRADLEY TR IMA                 $        27.00   $         1.91   $         28.91
601154-3   SILK ROAD HOLDINGS III LP                    $        49.50   $         3.49   $         52.99
601155-1   MULLIN TERRY FAMILY TRUST                    $        27.00   $         1.91   $         28.91
601157-8   WAYCROSSE DOMESTIC EQUITY PSHIP              $       184.50   $        13.03   $       197.53
601160-8   UMWA 1985 CONSTRUCTION WORKERS PENSION       $        45.00   $         3.18   $         48.18
601161-6   UFCW LOCAL ONE PENSION FUND                  $       180.00   $        12.71   $       192.71
601164-0   THOMPSON & MURFF LP                          $       450.00   $        31.77   $       481.77
601169-1   EMPLOYEES' RETIREMENT SYSTEM OF PUERTO       $     1,800.00   $       127.08   $     1,927.08
601170-5   OKLAHOMA LAW ENFORCEMENT RETIREMENT SYSTEM   $     1,327.50   $        93.72   $     1,421.22
601171-3   THE INTER-AMERICAN DEVELOPMENT BANK STAF     $     6,628.50   $       467.98   $     7,096.48
601172-1   TEAMSTERS LOCAL 639 EMPLOYERS PENSION TR     $       652.50   $        46.07   $       698.57
601177-2   THE CHURCH PENSION FUND                      $     5,994.00   $       423.18   $     6,417.18
601178-0   LWIP II LLLP                                 $     2,214.00   $       156.31   $     2,370.31
601179-9   LOVETT-WOODSUM FOUNDATION INC                $       634.50   $        44.80   $       679.30
601182-9   SUMMA HEALTH                                 $       157.50   $        11.12   $       168.62
601183-7   MIDDLEBURY ASSURANCE COMPANY                 $        81.00   $         5.72   $         86.72
601184-5   STANISLAUS COUNTY EMPLOYEES RETIREMENT A     $     3,384.00   $       238.91   $     3,622.91
601186-1   SAHARA INVESTMENTS LLC                       $     1,237.50   $        87.37   $     1,324.87
601188-8   UFCW UNION AND PARTICIPATING FOOD INDUST     $       495.00   $        34.95   $       529.95
601190-0   SOBRATO FAMILY FOUNDATION                    $     1,192.50   $        84.19   $     1,276.69
601191-8   JEWISH COMMUNITY FEDERATION OF S.F.          $       126.00   $         8.90   $       134.90
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 20 of 85 Page ID
                                     #:70748
Claim #    Claimant                                   Damages          PJI              Damages + PJI
601197-7   ANDREW W. MELLON FOUNDATION FRONTI         $     4,828.50   $       340.90   $     5,169.40
601201-9   CITY OF LOS ANGELES FIRE AND POLICE PENS   $    31,198.50   $     2,202.64   $    33,401.14
601203-5   BUILDING SERVICE 32 BJ PENSION FUND        $     1,350.00   $        95.31   $     1,445.31
601207-8   GUIDESTONE FUNDS                           $     1,080.00   $        76.25   $     1,156.25
601209-4   THE CARLE FOUNDATION MASTER CUSTODY AGRE   $     2,839.50   $       200.47   $     3,039.97
601212-4   SHUN LEE DYNASTY LP - RUSSELL 2000         $       279.00   $        19.70   $       298.70
601214-0   ILLINOIS STUDENT ASSISTANCE COMMISSION     $       900.00   $        63.54   $       963.54
601215-9   JOHN MUIR HEALTH                           $     1,350.00   $        95.31   $     1,445.31
601216-7   CITY OF LOS ANGELES FIRE AND POLICE PENS   $       841.50   $        59.41   $       900.91
601219-1   OMEGA FFIP LIMITED PARTNERSHIP             $       225.00   $        15.89   $       240.89
601220-5   THE UNIVERSITY OF TOLEDO MEDICAL ASSURAN   $        31.50   $         2.22   $         33.72
601221-3   STEELWORKERS PENSION TRUST                 $       360.00   $        25.42   $       385.42
601222-1   CITY EMPLOYEES' RETIREMENT SYSTEM OF THE   $     6,183.00   $       436.52   $     6,619.52
601223-0   JONATHAN M. FRIST '91 VEST TR WILLIAM H    $        85.50   $         6.04   $         91.54
601224-8   W. HARRISON FRIST JR. '91 VESTED TRUSTW    $        27.00   $         1.91   $         28.91
601225-6   JANE BRADLEY UIHLEIN TRUSTS MASTER INVES   $       634.50   $        44.80   $       679.30
601227-2   FRONTIER SMALL CAP FUND LP                 $    12,523.50   $       884.17   $    13,407.67
601228-0   NORTHERN TRUST GLOBAL INVESTMENTS COLLEC   $    36,981.00   $     2,610.88   $    39,591.88
601229-9   NTGI-QM COLLECTIVE DAILY STRUCTURED SMAL   $       193.50   $        13.66   $       207.16
601230-2   NTGI-QM COLLECTIVE DAILY SMALLCAP EQUITY   $     7,308.00   $       515.95   $     7,823.95
601232-9   NTGI-QM COMMON DAILY US MARKETCAP EQUITY   $       198.00   $        13.98   $       211.98
601236-1   JTW TRUST NO. 3 UAD 9/19/02                $       549.00   $        38.76   $       587.76
601237-0   JTW TRUST NO. 4 UAD 9/19/02                $       558.00   $        39.40   $       597.40
601238-8   THE LANNAN FOUNDATION                      $       189.00   $        13.34   $       202.34
601240-0   BRYAN E. FRIST 1991 VESTED TRUST           $        58.50   $         4.13   $         62.63
601245-0   MEMLG-LMCG INVESTMENTS LLC                 $     1,593.00   $       112.47   $     1,705.47
601247-7   WOODCOCK INVESTMENT FUND NO. 1 LLC         $        58.50   $         4.13   $         62.63
601249-3   NORTHERN TRUST GLOBAL INVESTMENTS COLLEC   $     1,908.00   $       134.71   $     2,042.71
601250-7   NORTHERN TRUST GLOBAL INVESTMENTS COLLEC   $       427.50   $        30.18   $       457.68
601259-0   NJP FAMILY LLC--                           $     9,265.50   $       654.15   $     9,919.65
601260-4   NORWALK MUNICIPAL EMPLOYEES' PENSION FUN   $       787.50   $        55.60   $       843.10
601262-0   GENERAL BOARD OF THE CHURCH OF THE NAZAR   $       499.50   $        35.27   $       534.77
601263-9   CHURCH OF THE NAZARENE SINGLE DEFINED BE   $       765.00   $        54.01   $       819.01
601265-5   RETIREMENT AND SAVINGS PLAN FOR AMGEN MA   $       171.00   $        12.07   $       183.07
601266-3   CITY OF AUSTIN EMPLOYEE RETIREMENT         $     1,710.00   $       120.73   $     1,830.73
601267-1   LLC III - T. ROWE PRICE SMALL CAP          $     9,900.00   $       698.95   $    10,598.95
601268-0   LLC VI-T.ROWE PRICE LARGE GROWTH SRI       $       900.00   $        63.54   $       963.54
601273-6   NORTH BROWARD HOSPITAL DISTRICT            $     4,185.00   $       295.46   $     4,480.46
601274-4   SAN JOAQUIN COUNTY EMPLOYEES' RETIREMENT   $     3,262.50   $       230.33   $     3,492.83
601276-0   KERN COUNTY EMPLOYEE'S RETIREMENT ASSOCI   $     5,625.00   $       397.13   $     6,022.13
601280-9   NORTHERN TRUST GLOBAL INVESTMENTS COLLEC   $        40.50   $         2.86   $         43.36
601283-3   WILSHIRE MUTUAL FUNDS INC                  $       585.00   $        41.30   $       626.30
601287-6   COLORADO PUBLIC EMPLOYEES' RETIREMENT AS   $     2,250.00   $       158.85   $     2,408.85
601292-2   CITY OF LOS ANGELES FIRE AND POLICE PENS   $       468.00   $        33.04   $       501.04
601294-9   PALM HEALTHCARE FOUNDATION                 $       112.50   $         7.94   $       120.44
601295-7   PUBLIC EMPLOYEES'S RETIREMENT ASSOCIATIO   $     5,400.00   $       381.24   $     5,781.24
601296-5   LIFEWAY CHRISTIAN RESOURCES OF THE SOUTH   $     2,326.50   $       164.25   $     2,490.75
601306-6   DILLON MARKETABLE SECURITIES COMMON TRUS   $         9.00   $         0.64   $          9.64
601308-2   TEXAS PRE-PAID HIGHER EDUCATION TUITION    $       450.00   $        31.77   $       481.77
601313-9   THE UNIVERSITY OF TOLEDO FOUNDATION        $     1,395.00   $        98.49   $     1,493.49
601316-3   BAYCARE HLTH-TIMES SQUARE CAP MGT. LLC     $     2,250.00   $       158.85   $     2,408.85
601317-1   NORTHERN TRUST GLOBAL INVESTMENTS COLLEC   $     4,180.50   $       295.15   $     4,475.65
601320-1   AUGUSTA PACIFIC LIMITED BY GUARANTEE       $     1,291.50   $        91.18   $     1,382.68
601321-0   CALVERT VP RUSS2000 SMCAP PORT             $       513.00   $        36.22   $       549.22
601339-2   J.P. MORGAN SECURITIES LLC                 $    38,313.00   $     2,704.92   $    41,017.92
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 21 of 85 Page ID
                                     #:70749
Claim #    Claimant                                           Damages          PJI              Damages + PJI
601367-8   J.P. MORGAN SECURITIES LLC                         $    38,232.00   $     2,699.21   $    40,931.21
601371-6   J.P. MORGAN SECURITIES LLC                         $       270.00   $        19.06   $       289.06
601374-0   PUTNAM VT GLOBAL ASSET ALLOCATION FUND             $       324.00   $        22.87   $       346.87
601375-9   PUTNAM DYNAMIC ASSET ALLOCATION GROWTH FUND        $     4,257.00   $       300.55   $     4,557.55
601376-7   PUTNAM DYNAMIC ASSET ALLOCATION BALANCED FUND      $     3,015.00   $       212.86   $     3,227.86
601377-5   PUTNAM DYNAMIC ASSET ALLOCATION CONSERVATIVE FUND $        742.50   $        52.42   $       794.92
601378-3   PUTNAM SMALL CAP GROWTH FUND                       $    11,250.00   $       794.26   $    12,044.26
601379-1   PUTNAM VT GLOBAL HEALTH CARE FUND                  $       450.00   $        31.77   $       481.77
601380-5   PWT PUTNAM TOTAL RETURN FUND                       $       247.50   $        17.47   $       264.97
601381-3   PUTNAM TOTAL RETURN TRUST                          $       373.50   $        26.37   $       399.87
601382-1   PUTNAM RETIREMENT ADVANTAGE GAA BALANCED TRUST     $       400.50   $        28.28   $       428.78
601383-0   PUTNAM RETIREMENT ADVANTAGE GAA CONSERVATIVE TRUST $        63.00   $         4.45   $         67.45
601384-8   PUTNAM RETIREMENT ADVANTAGE GAA GROWTH TRUST       $       486.00   $        34.31   $       520.31
601385-6   PUTNAM RETIREMENT ADVANTAGE GAA ALL EQUITIES TRUST $       139.50   $         9.85   $       149.35
601386-4   PUTNAM RETIREMENT ADVANTAGE INCOME STRATEGIES TRUS $       121.50   $         8.58   $       130.08
601387-2   PUTNAM TOTAL RETURN FUND LLC                       $       108.00   $         7.62   $       115.62
601388-0   PUTNAM DYNAMIC RISK ALLOCATION FUND                $       207.00   $        14.61   $       221.61
601389-9   PUTNAM DYNAMIC ASSET ALLOCATION: EQUITY FUND       $        99.00   $         6.99   $       105.99
601390-2   PUTNAM SMALL CAP QUANT GROWTH TRUST                $     2,740.50   $       193.48   $     2,933.98
601391-0   PUTNAM 529 GAA ALL EQUITY PORTFOLIO                $        76.50   $         5.40   $         81.90
601392-9   PUTNAM 529 GAA BALANCED PORTFOLIO                  $       162.00   $        11.44   $       173.44
601393-7   PUTNAM 529 GAA CONSERVATIVE PORTFOLIO              $        36.00   $         2.54   $         38.54
601394-5   PUTNAM 529 GAA GROWTH PORTFOLIO                    $       126.00   $         8.90   $       134.90
601399-6   NUVEEN SMALL CAP INDEX                             $       472.50   $        33.36   $       505.86
601402-0   REYNOLDS BLUE CHIP GROWTH FUND                     $       900.00   $        63.54   $       963.54
601403-8   GMF - U.S. BANK/USB TTEE MICROCAP                  $       139.50   $         9.85   $       149.35
601404-6   NUVEEN SMALL CAP GROWTH OPPO                       $     4,257.00   $       300.55   $     4,557.55
601405-4   TOCQUEVILLE OPPORTUNITY FUND                       $     6,750.00   $       476.55   $     7,226.55
601406-2   JCI-COLUMBUS CIRCLE INVESTORS                      $     2,542.50   $       179.50   $     2,722.00
601408-9   CCF-REGIONAL SMALL CAP GROWTH-PCM                  $       135.00   $         9.53   $       144.53
601409-7   KU HOSPITAL AUTHORITY - CCI                        $       679.50   $        47.97   $       727.47
601412-7   CLARK UNIV ENDOW/WESTFIELD MGMT                    $     3,757.50   $       265.28   $     4,022.78
601413-5   UFCW LOCAL 1500 PEN-ALGER                          $       180.00   $        12.71   $       192.71
601414-3   WATERFRONT ILA PEN-ALGER                           $       202.50   $        14.30   $       216.80
601415-1   RONALD/CHRISTINE SAUER JRT UAD                     $       198.00   $        13.98   $       211.98
601416-0   ASHLAND UNIV.-WESTFIELD (SUB) PLG                  $       157.50   $        11.12   $       168.62
601417-8   WALL ST ASSOC. INSTL SMALL GROWTH                  $         9.00   $         0.64   $          9.64
601418-6   WHEATON FRANCISCAN SERVICES INC.                   $       886.50   $        62.59   $       949.09
601419-4   WHEATON FRANCISCAN RET-WELLINGTON                  $     1,687.50   $       119.14   $     1,806.64
601421-6   IUOE LOCAL 112 H&W RHUMBLINE                       $        90.00   $         6.35   $         96.35
601423-2   UFCW LOC 1262 PEN-FRED ALGER                       $       292.50   $        20.65   $       313.15
601424-0   QCC EMERALD SMALL CAP EQTY                         $     4,680.00   $       330.41   $     5,010.41
601425-9   SAN FRANCISCO BRICKLAYERS LOCAL #7                 $        45.00   $         3.18   $         48.18
601432-1   HYER LEWIS WILKINS TR U/ITEM TEN                   $        13.50   $         0.95   $         14.45
601433-0   SCENIC HUDSON LAND TR-MA WEATHERBIE                $       954.00   $        67.35   $     1,021.35
601437-2   ENTREPRENEUR US ALL CAP FUND                       $     6,714.00   $       474.01   $     7,188.01
601439-9   ENTREPRENEURSHARES GLOBAL FUND                     $       832.50   $        58.78   $       891.28
601440-2   FRONTIER SMALL CAP GR FD/SEI TRUSTEE               $     2,007.00   $       141.70   $     2,148.70
601443-7   OHIO NATL FD INC. CAPITAL GROWTH                   $     5,881.50   $       415.24   $     6,296.74
601444-5   OHIO NATL FD SMALL CAP GROWTH                      $    13,828.50   $       976.30   $    14,804.80
601445-3   OHIO NATL FD. BRYTON GRWTH PORTFOLIO               $    40,194.00   $     2,837.72   $    43,031.72
601446-1   QUAKER STRATEGIC GROWTH FUND                       $    19,890.00   $     1,404.25   $    21,294.25
601451-8   RYDEX SERIES TRUST HEALTH CARE FUND                $     8,550.00   $       603.64   $     9,153.64
601452-6   RYDEX SERIES TRUST BIOTECHNOLOGY FD                $   125,842.50   $     8,884.57   $   134,727.07
601453-4   RYDEX SERIES TR RUSSELL 2000 1.5X                  $       414.00   $        29.23   $       443.23
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 22 of 85 Page ID
                                     #:70750
Claim #    Claimant                                              Damages          PJI               Damages + PJI
601454-2   RYDEX ADVISOR VA ACCT HEALTH CARE                     $     1,710.00   $        120.73   $     1,830.73
601455-0   RYDEX ADVISOR VA ACCOUNT BIOTECH FD                   $     6,615.00   $        467.02   $     7,082.02
601456-9   RYDEX VA RUSSELL 2000 1.5X STRATEGY                   $       263.43   $         18.60   $       282.03
601457-7   RYDEX DYNAMIC RUSSELL 2000 FUND                       $     1,350.00   $         95.31   $     1,445.31
601458-5   RYDEX SERIES TR RUSSELL 2000 FUND                     $     1,498.50   $        105.80   $     1,604.30
601459-3   RYDEX VA RUSSELL 2000 2X STRATEGY                     $        76.50   $          5.40   $         81.90
601461-5   PUBLIC SCHOOL RET - WESTFIELD                         $     2,767.50   $        195.39   $     2,962.89
601463-1   U. S. BANK NATIONAL ASSOCIATION AS                    $       202.50   $         14.30   $       216.80
601466-6   FRANKLIN U.S. OPPORTUNITIES FUND                      $    18,000.00   $      1,270.81   $    19,270.81
601467-4   TRANSAMERICA FRANKLIN SMALL MID CAP GROWTH FUND       $     7,470.00   $        527.39   $     7,997.39
601468-2   FSS-FRANKLIN FLEX CAP GROWTH FUND                     $   225,000.00   $     15,885.16   $   240,885.16
601469-0   FSS-FRANKLIN SMALL-MID CAP GROWTH FUND                $   332,100.00   $     23,446.49   $   355,546.49
601470-4   FRANKLIN MPF US OPPORTUNITIES FUND                    $       913.50   $         64.49   $       977.99
601471-2   FCF-FRANKLIN DYNATECH FUND                            $   112,500.00   $      7,942.58   $   120,442.58
601472-0   FSS-FRANKLIN BIOTECHNOLOGY DISCOVERY FUND             $   514,800.00   $     36,345.24   $   551,145.24
601473-9   FTVIPT-FRANKLIN FLEX CAP GROWTH VIP FUND              $     9,000.00   $        635.41   $     9,635.41
601474-7   FSS-FRANKLIN GROWTH OPPORTUNITIES FUND                $   135,360.00   $      9,556.51   $   144,916.51
601475-5   FTVIPT-FRANKLIN SMALL-MID CAP GROWTH VIP FUND         $    60,750.00   $      4,288.99   $    65,038.99
601476-3   FTVIPT-FRANKLIN LARGE CAP GROWTH VIP FUND             $    39,019.50   $      2,754.80   $    41,774.30
601477-1   FTIF-FRANKLIN BIOTECHNOLOGY DISCOVERY FUND            $   858,150.00   $     60,585.99   $   918,735.99
601478-0   FTIF-FRANKLIN US OPPORTUNITIES FUND                   $   591,277.50   $     41,744.60   $   633,022.10
601479-8   FTIF-FRANKLIN US SMALL MID CAP GROWTH FUND            $    24,840.00   $      1,753.72   $    26,593.72
601480-1   FTF-FRANKLIN US OPPORTUNITIES FUND                    $    14,436.00   $      1,019.19   $    15,455.19
601483-6   VOYA SMALLCAP OPPORTUNITIES FUND                      $    72,900.00   $      5,146.79   $    78,046.79
601485-2   VOYA SMALLCAP OPPORTUNITIES PORTFOLIO                 $    33,750.00   $      2,382.77   $    36,132.77
601487-9   VY JPMORGAN SMALL CAP CORE EQUITY PORTFOLIO           $    45,450.00   $      3,208.80   $    48,658.80
601488-7   USAA EXTENDED MARKET INDEX FUND                       $       859.50   $         60.68   $       920.18
601489-5   MCLEAN BUDDEN CANADIAN GROWTH                         $       427.66   $         30.19   $       457.85
601490-9   SIT SMALL CAP GROWTH FUND                             $     4,050.00   $        285.93   $     4,335.93
601493-3   HEDGE FUND REASEARCH HEALTHCARE EQUITY SPHERA GLOBA   $     2,218.50   $        156.63   $     2,375.13
601496-8   SSGA SMALL CAP CORE                                   $     2,700.00   $        190.62   $     2,890.62
601498-4   MET SEPARATE ACCOUNT (75E2)                           $     1,476.00   $        104.21   $     1,580.21
601499-2   MET SEPARATE ACCOUNT (75E6)                           $     8,370.00   $        590.93   $     8,960.93
601500-0   MET SEPARATE ACCOUNT (75E8)                           $     2,497.50   $        176.33   $     2,673.83
601501-8   MET SEPARATE ACCOUNT (75G7)                           $       396.00   $         27.96   $       423.96
601508-5   THRIVENT AGGRESSIVE ALLOCATION FUND -EQUITY           $     7,758.00   $        547.72   $     8,305.72
601509-3   THRIVENT MODERATELY AGGRESSIVE ALLOCATION FUND -EQU   $     6,862.50   $        484.50   $     7,347.00
601510-7   THRIVENT MODERATE ALLOCATION FUND -EQUITY             $     4,792.50   $        338.35   $     5,130.85
601511-5   THRIVENT AGGRESSIVE ALLOCATION PORTFOLIO -EQUITY      $     8,491.50   $        599.51   $     9,091.01
601512-3   THRIVENT MODERATELY AGGRESSIVE ALLOCATION PORTFOLIO   $    12,172.50   $        859.39   $    13,031.89
601513-1   THRIVENT MODERATE ALLOCATION PORTFOLIO -EQUITY        $    13,005.00   $        918.16   $    13,923.16
601514-0   DEFINED BENEFIT PLAN TRUST - SMALL CAP GROWTH         $     2,218.50   $        156.63   $     2,375.13
601515-8   FEDERATED KAUFMANN FUND                               $     1,269.00   $         89.59   $     1,358.59
601517-4   FEDERATED KAUFMANN SMALL CAP FUND                     $     3,150.00   $        222.39   $     3,372.39
601518-2   FEDERATED MDT SMALL CAP GROWTH FUND                   $     6,876.00   $        485.45   $     7,361.45
601523-9   WILMINGTON SMALL-CAP STRATEGY FUND                    $     2,227.50   $        157.26   $     2,384.76
601524-7   MTB SMALL CAP GROWTH FUND                             $     6,534.00   $        461.30   $     6,995.30
601529-8   LORD ABBETT BOND DEBENTURE FUND                       $   394,444.98   $     27,848.09   $   422,293.07
601533-6   LORD ABBETT HIGH YIELD FUND                           $    98,932.50   $      6,984.70   $   105,917.20
601535-2   LORD ABBETT CONVERTIBLE FUND                          $    40,500.00   $      2,859.33   $    43,359.33
601536-0   LORD ABBETT SERIES FUND BOND DEBENTURE PORTFOLIO      $    40,932.00   $      2,889.83   $    43,821.83
601539-5   LORD ABBETT HIGH YIELD UCITS                          $     1,737.00   $        122.63   $     1,859.63
601540-9   LORD ABBETT MULTI-SECTOR INCOME FUND UCITS            $       441.00   $         31.13   $       472.13
601545-0   BERMAN REV TR-CS MCKEE SMALL CAP                      $       175.50   $         12.39   $       187.89
601546-8   5/3 TTE I GORR MGD EQTY LG GWTH                       $        27.00   $          1.91   $         28.91
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 23 of 85 Page ID
                                     #:70751
Claim #    Claimant                                              Damages          PJI              Damages + PJI
601547-6   CUST-DEACONESS WESTFIELD CAP MGT                      $     2,182.50   $       154.09   $     2,336.59
601548-4   AGT/CRAIG WOLF REV TR CS MCKEE                        $        40.50   $         2.86   $         43.36
601549-2   M STEWARD REV TR CS MCKEE SMALL                       $        76.50   $         5.40   $         81.90
601550-6   AGT CARL JACOBS FDN-RIVERBRIDGE                       $        81.00   $         5.72   $         86.72
601551-4   CROWN EQUIPMENT - WESTFIELD CAP                       $       765.00   $        54.01   $       819.01
601552-2   D STEWARD COLL CS MCKEE SM *RST*                      $        36.00   $         2.54   $         38.54
601554-9   MERCY HOSPITAL CAD FDNSMA LEE MU                      $        22.50   $         1.59   $         24.09
601556-5   DAVID K. CLEVERDON                                    $        49.50   $         3.49   $         52.99
601557-3   DAVID K. CLEVERDON                                    $        49.50   $         3.49   $         52.99
601558-1   FEIRER FAM B NE MARK SMID                             $        94.50   $         6.67   $       101.17
601559-0   FEIRER NE NINA OBERWEIS                               $        90.00   $         6.35   $         96.35
601560-3   J & L KLUNK LEE MUNDER SC SUB                         $        40.50   $         2.86   $         43.36
601561-1   DELTA NATURAL GAS- SMALL CAP                          $       378.00   $        26.69   $       404.69
601562-0   RATHJE S. LOUIS IRA-LEE MUNDE                         $        22.50   $         1.59   $         24.09
601563-8   LANGE ALLISON/LEE MUNDER CAP                          $        22.50   $         1.59   $         24.09
601565-4   FEIRER FAM B E MARK SMID                              $        81.00   $         5.72   $         86.72
601566-2   RITTMANN LEE MUNDER SCG SMA                           $        22.50   $         1.59   $         24.09
601567-0   MOLITOR GERARD J SMID                                 $        99.00   $         6.99   $       105.99
601568-9   ARCH LOU-CATH FOUND-SM CAP EQ                         $        58.50   $         4.13   $         62.63
601569-7   YOUNG RD FARMS - LEE MUNDER SC                        $        49.50   $         3.49   $         52.99
601571-9   PROVIDENCE 1ST TTEE                                   $       400.50   $        28.28   $       428.78
601572-7   SCHMIDT STEVEN IRA LEE MUNDER                         $        18.00   $         1.27   $         19.27
601573-5   K LARSON LEE MUNDER SC *RST*                          $        27.00   $         1.91   $         28.91
601574-3   B. LARSON LEE MUNDER SC *RST*                         $        49.50   $         3.49   $         52.99
601575-1   GIFT OF LIFE - LEE MUNDER SC                          $        54.00   $         3.81   $         57.81
601576-0   MOSLEM TEMPLE HOSP-LEE MUNDER SC                      $        27.00   $         1.91   $         28.91
601577-8   M TUCKER LEE MUNDER SM CAP                            $        22.50   $         1.59   $         24.09
601578-6   MOSLEM TEMPLE BLDG PROC MUNDER                        $        67.50   $         4.77   $         72.27
601579-4   L AGOSTON LIVTRT LEEMUNDER*RST*                       $        27.00   $         1.91   $         28.91
601580-8   IMA DUF HOLDINGS LLC- L MUNDER                        $        40.50   $         2.86   $         43.36
601581-6   LOVING CARE TRANSITIONAL IMA                          $        13.50   $         0.95   $         14.45
601582-4   LOVING CARE IMA -SMALL CAP SMA                        $         9.00   $         0.64   $          9.64
601583-2   IMA A ZUBI LEE MUNDER SC                              $        27.00   $         1.91   $         28.91
601584-0   ARCH OF LOU- LMSCG                                    $       684.00   $        48.29   $       732.29
601585-9   L GEORGE INMAN TR AGY LEE SC                          $        27.00   $         1.91   $         28.91
601587-5   DCP SMALL CAP VALUE FD SA-NJ2                         $       751.50   $        53.06   $       804.56
601588-3   LRG CAP GRWTH/MFS                                     $     3,015.00   $       212.86   $     3,227.86
601589-1   PHA-WESTFIELD CAPITAL                                 $     1,147.50   $        81.01   $     1,228.51
601590-5   NC MID CAP GR TIMESSQUARE                             $     4,950.00   $       349.47   $     5,299.47
601591-3   SMALL CAP GROWTH/EMERALD                              $    11,520.00   $       813.32   $    12,333.32
601592-1   SMALL CAP GROWTH/COLUMBUS                             $     2,655.00   $       187.44   $     2,842.44
601593-0   EAGLE SMALL CAP GROWTH                                $       567.00   $        40.03   $       607.03
601594-8   SMALL CAP GROWTH /PALISADE CAP                        $     1,395.00   $        98.49   $     1,493.49
601595-6   VAILSBURG NICHOLAS SM CAP GROW                        $     4,836.00   $       341.42   $     5,177.42
601598-0   THE TARGET PORTFOLIO TRUST: SMALL CAPITALIZATION GROW $     4,896.00   $       345.66   $     5,241.66
601599-9   PGIM QMA US BROAD MARKET INDEX FUND                   $    90,000.00   $     6,354.06   $    96,354.06
601603-0   JENNISON SMALL COMPANY FUND INC. (9/30):              $     4,896.00   $       345.66   $     5,241.66
601606-5   THE TARGET PORTFOLIO TRUST: LARGE CAPITALIZATION GROW $       670.50   $        47.34   $       717.84
601607-3   THE TARGET PORTFOLIO TRUST: SMALL CAPITALIZATION GROW $     6,768.00   $       477.83   $     7,245.83
601609-0   AST RCM WORLD TRENDS PORT PDBF                        $        85.50   $         6.04   $         91.54
601610-3   AST TRP GWTH OPP PORT BAL PDRB                        $     1,485.00   $       104.84   $     1,589.84
601611-1   AST TRP DIVERS REAL GWTH PORT PDMO                    $        49.50   $         3.49   $         52.99
601613-8   AST SMALL CAP GROWTH OPPS - WE                        $    94,518.00   $     6,673.04   $   101,191.04
601614-6   ADVANCED SERIES TRUST SMALL CAP GROWTH - EMERALD      $    26,230.50   $     1,851.89   $    28,082.39
601615-4   AST T.PRICE GROWTH-COMBINED                           $     1,485.00   $       104.84   $     1,589.84
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 24 of 85 Page ID
                                     #:70752
Claim #    Claimant                                               Damages          PJI               Damages + PJI
601623-5   SPECIAL GROWTH STOCK ACCOUNT NO. 3                     $     1,890.00   $        133.44   $     2,023.44
601624-3   ALLIANCE BERNSTEIN US SMALL & MID CAP GROWTH CIT       $    25,663.50   $      1,811.86   $    27,475.36
601626-0   DAA-TAX AWARE OVERLAY A SMID GROWTH                    $    11,956.50   $        844.14   $    12,800.64
601627-8   DAA OVERLAY A PORTFOLIO SMID GROWTH                    $     5,224.50   $        368.85   $     5,593.35
601628-6   ADYAR PARTNERS LP - SMID GROWTH                        $       670.50   $         47.34   $       717.84
601629-4   SANDCASTLE I LLC                                       $       711.00   $         50.20   $       761.20
601630-8   ACM INTERNATIONAL HEALTHCARE FUND                      $    36,720.00   $      2,592.46   $    39,312.46
601631-6   ALLIANCE BERNSTEIN SMALL CAP GROWTH FUND               $   293,868.00   $     20,747.28   $   314,615.28
601632-4   AB DISCOVERY GROWTH FUND INC.                          $   367,794.00   $     25,966.51   $   393,760.51
601633-2   EQUITABLE SMALL CAP PENSION FUND (207)X                $    35,227.59   $      2,487.09   $    37,714.68
601634-0   AB VARIABLE PRODUCT SERIESFUND INC - AB SMALL CAP GROW $     9,558.00   $        674.80   $    10,232.80
601635-9   WTFSC SMALL COMPANY GRWTH PORT                         $       315.00   $         22.24   $       337.24
601636-7   STICHTING PGGM DEPOSITARY                              $    52,951.50   $      3,738.41   $    56,689.91
601638-3   JOHN HANCOCK FUNDS II - MID CAP STOCK FUND             $    50,247.00   $      3,547.47   $    53,794.47
601641-3   JOHN HANCOCK VARIABLE INSURANCE TRUST- HEALTH SCIENCE $     21,150.00   $      1,493.20   $    22,643.20
601642-1   JOHN HANCOCK FUNDS II - TECHNICAL OPPORTUNITIES FUND $     208,363.50   $     14,710.61   $   223,074.11
601643-0   JOHN HANCOCK FUNDS II - MID CAP STOCK FUND             $    13,734.00   $        969.63   $    14,703.63
601645-6   JOHN HANCOCK VARIABLE INSURANCE TRUST-SMALL CAP STOC $      28,030.50   $      1,978.97   $    30,009.47
601646-4   JOHN HANCOCK VARIABLE INSURANCE TRUST-MID CAP STOCK $       21,595.50   $      1,524.66   $    23,120.16
601650-2   JOHN HANCOCK FUNDS II - STRATEGIC EQUITY ALLOCATION FU $     5,544.00   $        391.41   $     5,935.41
601651-0   PACIFIC SELECT FUND PACIFIC DYNAMIX SMALL-CAP GROWTH I $     3,222.00   $        227.48   $     3,449.48
601652-9   PACIFIC SELECT SMALL-CAP INDEX PORTFOLIO               $    19,098.00   $      1,348.33   $    20,446.33
601653-7   PACIFIC SELECT GROWTH PORTFOLIO                        $    16,866.00   $      1,190.75   $    18,056.75
601656-1   PF GROWTH LT FUND                                      $     2,344.50   $        165.52   $     2,510.02
601660-0   ^DOB-LP (WESTFIELD)                                    $       652.50   $         46.07   $       698.57
601661-8   ^DOB-PP (WESTFIELD)                                    $       135.00   $          9.53   $       144.53
601662-6   ST JOSEPH FUND (WESTFIELD)                             $       472.50   $         33.36   $       505.86
601663-4   THE SAGE COLLEGES ENDOWMENT FUND - WESTFIELD           $       157.50   $         11.12   $       168.62
601665-0   ^PINNACLE HEALTH SYS ALLIANCE-IC                       $     1,485.00   $        104.84   $     1,589.84
601666-9   CENTRE COUNTY RETIREMENT FUND AGENCY (EMERALD ADVIS $          360.00   $         25.42   $       385.42
601670-7   INVAGT TT/KL RAVENEL REV EQUITY                        $       585.00   $         41.30   $       626.30
601671-5   THE CHARLES A MASTRONARDI FOUNDATION - HOOD RIVER      $       166.50   $         11.76   $       178.26
601674-0   W DUP ROSS/JOAN R BOLLING/WESTFIELD                    $       427.50   $         30.18   $       457.68
601679-0   ^NORTHEAST HEALTH ENDOWMENT-WEST CAP                   $       103.50   $          7.31   $       110.81
601680-4   IBEW #43 ELECTRICAL CONTRACTORS PENSION FUND COLUMB $        1,462.50   $        103.25   $     1,565.75
601682-0   CHRISTINA CARE HEALTH SERVICES UNRESTRICTED INVESTMEN $      1,170.00   $         82.60   $     1,252.60
601683-9   THE MEMBERS OF SYLVAN PARTNERS LLC SERIES II - SSGA    $       900.00   $         63.54   $       963.54
601684-7   CITY OF WILM PENSION - MFS INSTNL AD                   $       153.00   $         10.80   $       163.80
601685-5   CONFEDERATED TRIBES OF GRAND RONDE - MANAGED BY PIER $         702.00   $         49.56   $       751.56
601690-1   THE TEAMSTERS LOCAL 677 HEALTH SERVICES & INSURANCE PL $        90.00   $          6.35   $         96.35
601693-6   CONNOR CLARK & LUNN Q MARKET NEUTRAL FUND              $    18,900.00   $      1,334.35   $    20,234.35
601695-2   CONNOR CLARK & LUNN Q US EQUITY FUND                   $     1,350.00   $         95.31   $     1,445.31
601696-0   CONNOR CLARK & LUNN Q EQUITY EXTENSION FUND            $       450.00   $         31.77   $       481.77
601697-9   CONNOR CLARK & LUNN U.S. Q MARKET NEUTRAL ONSHORE FU $      10,350.00   $        730.72   $    11,080.72
601698-7   HARMONY CANADIAN EQUITY POOL (CC&L)                    $       900.00   $         63.54   $       963.54
601699-5   CONNOR CLARK & LUNN ALL STRATEGIES FUND                $     7,200.00   $        508.32   $     7,708.32
601700-2   CONNOR CLARK & LUNN U.S. Q MARKET NEUTRAL ONSHORE FU $       8,798.00   $        621.14   $     9,419.14
601701-0   QUEEN'S UNIVERSITY                                     $     5,400.00   $        381.24   $     5,781.24
601702-9   CONNOR CLARK & LUNN Q 130/30 FUND II                   $    43,650.00   $      3,081.72   $    46,731.72
601703-7   CONNOR CLARK & LUNN Q 140/40 FUND                      $     3,600.00   $        254.16   $     3,854.16
601704-5   CONNOR CLARK & LUNN Q GLOBAL EQUITY FUND               $     3,150.00   $        222.39   $     3,372.39
601705-3   CONNOR CLARK & LUNN Q GROUP GLOBAL EQUITY FUND         $     4,050.00   $        285.93   $     4,335.93
601706-1   CONNOR CLARK & LUNN Q MARKET NEUTRAL FUND              $     9,900.00   $        698.95   $    10,598.95
601707-0   CONNOR CLARK & LUNN ALL STRATEGIES FUND                $     2,250.00   $        158.85   $     2,408.85
601709-6   SCHEER ROWLETT & ASSOCIATES US EQUITY FUND             $     2,700.00   $        190.62   $     2,890.62
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 25 of 85 Page ID
                                     #:70753
Claim #    Claimant                                               Damages          PJI               Damages + PJI
601712-6   SMALL CAP GROWTH FUND                                  $     1,647.00   $        116.28   $     1,763.28
601713-4   STRATEGIC ALLOCATION: CONSERVATIVE FUND                $        22.50   $          1.59   $         24.09
601716-9   STRATEGIC ALLOCATION: AGGRESSIVE FUND                  $       108.00   $          7.62   $       115.62
601718-5   STRATEGIC ALLOCATION: MODERATE FUND                    $        76.50   $          5.40   $         81.90
601719-3   DWS BIOTECH-AKTIEN TYP O                               $    18,000.00   $      1,270.81   $    19,270.81
601720-7   DWS GLOBAL SMALL/MID CAP                               $     3,780.00   $        266.87   $     4,046.87
601723-1   XTRACKERS RUSSELL 2000 UCITS ETF                       $       153.00   $         10.80   $       163.80
601725-8   NVIT MULTI-MANAGER SMALL CAP GROWTH FUND - WELLINGT $        2,115.00   $        149.32   $     2,264.32
601727-4   NVIT MULTI-MANAGER MID CAP GROWTH FUND                 $    54,000.00   $      3,812.44   $    57,812.44
601732-0   WELLS FARGO DIVERSIFIED STOCK PORTFOLIO                $    53,028.00   $      3,743.81   $    56,771.81
601744-4   RUSSELL INVESTMENTS COMPANY TAX                        $     1,282.50   $         90.55   $     1,373.05
601749-5   MAC PLUS-SCAP US EQTN++                                $       306.00   $         21.60   $       327.60
601751-7   RIIFL GL EQUITY PLUS FUND                              $       157.50   $         11.12   $       168.62
601764-9   TWO RAVENS CAPITAL LLC                                 $    43,650.00   $      3,081.72   $    46,731.72
601767-3   DREYFUS SELECT MANAGERS SMALL CAP GROWTH FUND NICHO$        15,700.50   $      1,108.47   $    16,808.97
601768-1   STRATEGIC FUNDS INC. DREYFUS SELECT MANAGERS SMALL CA $      1,957.50   $        138.20   $     2,095.70
601773-8   LIBERTY ALL-STAR GROWTH                                $    14,548.50   $      1,027.13   $    15,575.63
601774-6   MISSOURI EPT - COLUMBUS CIRCLE SMALL CAP GROWTH        $     2,452.50   $        173.15   $     2,625.65
601777-0   JACKSON NATIONAL/EAGLE SMALL CAP EQUITY FUND           $   102,204.00   $      7,215.67   $   109,419.67
601778-9   JACKSON NATIONAL/MELLON CAPITAL HEALTHCARE SECTOR FU $     104,139.00   $      7,352.29   $   111,491.29
601779-7   JACKSON NATIONAL LIFE/MELLON CAPITAL SMALL CAP INDEX F $     4,644.00   $        327.87   $     4,971.87
601781-9   JNL/BLACKROCK GLOBAL ALLOCATION FUND                   $     7,137.00   $        503.88   $     7,640.88
601782-7   JNL SERIES TRUST JNL/DFA US CO                         $     2,299.50   $        162.35   $     2,461.85
601783-5   AMG FRONTIER SMALL CAP GROWTH FUND                     $     1,723.50   $        121.68   $     1,845.18
601786-0   AMG MANAGERS LMCG SMALL CAP GROWTH FUND                $    19,840.50   $      1,400.75   $    21,241.25
601794-0   DWS SMALL CAP GROWTH FUND                              $     4,747.50   $        335.18   $     5,082.68
601795-9   DWS CROCI-N U.S. VIP                                   $    90,405.00   $      6,382.66   $    96,787.66
601796-7   DWS SMALL CAP INDEX VIP                                $     1,152.00   $         81.33   $     1,233.33
601797-5   DWS CROCI US FUND                                      $   322,083.00   $     22,739.28   $   344,822.28
601799-1   DWS SMALL CAP GROWTH FUND                              $    32,485.50   $      2,293.50   $    34,779.00
601800-9   VCA-GI-100-7-RUSSELL 2000 INDEX (BEL / YT4G)           $       450.00   $         31.77   $       481.77
601801-7   VCA-GI-100-7-RUSSELL 3000 INDEX (BEM / YT4H)           $       135.00   $          9.53   $       144.53
601803-3   ALLIANZ BIOTECHNOLOGIE                                 $    92,047.50   $      6,498.62   $    98,546.12
601816-5   TIAA                                                   $    18,279.00   $      1,290.51   $    19,569.51
601818-1   TIAA                                                   $     4,374.00   $        308.81   $     4,682.81
601819-0   TIAA                                                   $       112.50   $          7.94   $       120.44
601821-1   TIAA                                                   $    12,424.50   $        877.18   $    13,301.68
601825-4   VICTORY RS SMALL CAP EQUITY FUND                       $    55,845.00   $      3,942.70   $    59,787.70
601828-9   GUARDIAN PENSION TRUST - SMALL CAP                     $    25,749.00   $      1,817.90   $    27,566.90
601829-7   VICTORY RS SMALL CAP GROWTH EQUITY VIP SERIES          $    53,559.00   $      3,781.30   $    57,340.30
601830-0   WYOMING RETIREMENT SYSTEM SMALL CAP GROWTH PORTFO $         19,530.00   $      1,378.83   $    20,908.83
601834-3   AGFIQ US MARKET NEUTRAL ANTI-BETA FUND                 $       171.00   $         12.07   $       183.07
601837-8   ARIZONA STATE RETIREMENT SYSTEMS                       $    20,191.50   $      1,425.53   $    21,617.03
601845-9   WELLS FARGO/SSGA GLOBAL EQUITY INDEX CIT               $    33,448.50   $      2,361.49   $    35,809.99
601848-3   PENN SER SMALL CAP GROWTH FUND                         $     3,699.00   $        261.15   $     3,960.15
601849-1   EDWARD C. AND ELIZABETH H. BRAINARD                    $       180.00   $         12.71   $       192.71
601850-5   ELIZABETH H. BRAINARD                                  $        90.00   $          6.35   $         96.35
601851-3   DAVID M. BRAINARD TRUST                                $        90.00   $          6.35   $         96.35
601852-1   HARMAN TRUST UTD DATED 6/20/1942                       $       180.00   $         12.71   $       192.71
601860-2   PNC SMALL CAP INDEX FUND                               $       337.50   $         23.83   $       361.33
601866-1   AMERICAN ELECTRIC POWER SERVICE CORPORATION            $     1,372.50   $         96.90   $     1,469.40
601867-0   AT&T SBC MASTER PENSION                                $    22,968.00   $      1,621.56   $    24,589.56
601882-3   COMMUNITY OF CHRIST CHURCH                             $       112.50   $          7.94   $       120.44
601883-1   COMM OF CHRIST PENSION - RLDS RETIRMENT TRUST          $        13.50   $          0.95   $         14.45
601884-0   TEAMSTERS -TAPP                                        $       697.50   $         49.24   $       746.74
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 26 of 85 Page ID
                                     #:70754
Claim #    Claimant                                               Damages          PJI               Damages + PJI
601894-7   PG AND E VEBA                                          $        36.00   $          2.54   $         38.54
601902-1   GIUDE DOGS FOR THE BLIND                               $     1,188.00   $         83.87   $     1,271.87
601903-0   RTS SMALL AND MID CAP ACCESS FUND LP                   $       720.00   $         50.83   $       770.83
601907-2   ORIENTAL BANK AND TRUST                                $     5,400.00   $        381.24   $     5,781.24
601911-0   UNIVERSITY OF KANSAS HOSPITAL AUTHORITY                $       679.50   $         47.97   $       727.47
601917-0   SCHWAN'S SHARED SERVICES LLC                           $       112.50   $          7.94   $       120.44
601918-8   GAM INVESTMENT MANAGEMENT (SWITZERLAND) LTD. - REUS    $     2,857.50   $        201.74   $     3,059.24
601922-6   APTAR SMALL CAP                                        $       270.00   $         19.06   $       289.06
601924-2   LCO INVESTMENTS LTD.                                   $     1,638.00   $        115.64   $     1,753.64
601927-7   CHESTNUT INVESTORS IV                                  $     1,206.00   $         85.14   $     1,291.14
601928-5   BANCA INTESA QIF VIA GS-HC                             $     4,518.00   $        318.97   $     4,836.97
601932-3   THE CATHOLIC DIOCESE OF ARLINGTON                      $       702.00   $         49.56   $       751.56
601933-1   THE COMMISSARIAT OF THE HOLY LAND OF THE USA           $       162.00   $         11.44   $       173.44
601934-0   FRANCISCAN MONASTERY USA                               $        36.00   $          2.54   $         38.54
601937-4   QUAD GRAPHICS INC MASTER PEN TRUST FUND                $     1,305.00   $         92.13   $     1,397.13
601938-2   RUSSELL NPS SMALL COMPANIES                            $     7,627.50   $        538.51   $     8,166.01
601939-0   ONE GAS INC RETIREMENT PLAN                            $       315.00   $         22.24   $       337.24
601948-0   MAINSTAY VARIABLE PORTFOLIO EAGLE SMALL CAP GROWTH P   $    31,545.00   $      2,227.10   $    33,772.10
601950-1   NEW YORK LIFE INSURANCE COMPANY                        $    16,650.00   $      1,175.50   $    17,825.50
601951-0   BLACKSTONE ALTERNATIVE MULTI-MANAGER FUND              $       900.00   $         63.54   $       963.54
601952-8   BLACKSTONE ALTERNATIVE MULTI-STRATEGY FUND             $       450.00   $         31.77   $       481.77
601956-0   HARBOR SMALL CAP GROWTH                                $    64,867.50   $      4,579.69   $    69,447.19
601962-5   ALAN D. REYNOLDS IRA                                   $        18.00   $          1.27   $         19.27
601965-0   EPIC SYSTEMS CUST - NORTHERN CAPITAL                   $     1,237.50   $         87.37   $     1,324.87
601966-8   HARLEY- DAVIDSON M/T-RA RUSS 2000 GR                   $     2,749.50   $        194.12   $     2,943.62
601969-2   MILW DRIVERS - ALLIANCE                                $     2,493.00   $        176.01   $     2,669.01
601971-4   STRAND ASSOCIATES-NORTHERN CAPITAL                     $     1,125.00   $         79.43   $     1,204.43
601972-2   MACET - HEALTH & WELFARE PLAN                          $       450.00   $         31.77   $       481.77
601974-9   NEMO-TIMESSQUARE CAPITAL MGMT                          $       450.00   $         31.77   $       481.77
601979-0   CREIGHTON - WESTFIELD CAPITAL                          $     1,462.50   $        103.25   $     1,565.75
601981-1   G1 EXECUTION SERVICES LLC                              $    41,706.00   $      2,944.47   $    44,650.47
601992-7   SUSQUEHANNA CAPITAL GROUP                              $     4,743.00   $        334.86   $     5,077.86
601997-8   SUSQUEHANNA CAPITAL GROUP                              $     6,750.00   $        476.55   $     7,226.55
601998-6   SUSQUEHANNA CAPITAL GROUP                              $    66,226.50   $      4,675.64   $    70,902.14
602002-0   SUSQUEHANNA CAPITAL GROUP                              $    11,322.00   $        799.34   $    12,121.34
602004-6   SUSQUEHANNA CAPITAL GROUP                              $       904.50   $         63.86   $       968.36
602007-0   SUSQUEHANNA INVESTMENT GROUP                           $    15,300.00   $      1,080.19   $    16,380.19
602008-9   SUSQUEHANNA INVESTMENT GROUP                           $    15,295.50   $      1,079.87   $    16,375.37
602009-7   SUSQUEHANNA SECURITIES                                 $    44,977.50   $      3,175.44   $    48,152.94
602011-9   SUSQUEHANNA SECURITIES                                 $       360.00   $         25.42   $       385.42
602015-1   SUSQUEHANNA SECURITIES                                 $    19,521.00   $      1,378.20   $    20,899.20
602021-6   SUSQUEHANNA SECURITIES                                 $   389,863.50   $     27,524.63   $   417,388.13
602028-3   SUSQUEHANNA SECURITIES                                 $    19,594.26   $      1,383.37   $    20,977.63
602036-4   SUSQUEHANNA SECURITIES                                 $    24,750.00   $      1,747.37   $    26,497.37
602044-5   SUSQUEHANNA SECURITIES                                 $     5,895.00   $        416.19   $     6,311.19
602046-1   SUSQUEHANNA SECURITIES                                 $     1,350.00   $         95.31   $     1,445.31
602058-5   SUSQUEHANNA SECURITIES                                 $     7,650.00   $        540.10   $     8,190.10
602068-2   PARVEST OPPORTUNITIE WLD                               $    13,185.00   $        930.87   $    14,115.87
602075-5   THE HARTFORD SMALLCAP GROWTH FUND (MF) (MM)            $   107,104.50   $      7,561.65   $   114,666.15
602076-3   THE HARTFORD SMALL COMPANY FUND                        $    54,310.50   $      3,834.36   $    58,144.86
602077-1   THE HARTFORD MIDCAP FUND                               $   327,505.50   $     23,122.12   $   350,627.62
602078-0   THE HARTFORD CAPITAL APPRECIATION FUND                 $    76,527.00   $      5,402.86   $    81,929.86
602080-1   HARTFORD SMALL CAP CORE FUND                           $     3,150.00   $        222.39   $     3,372.39
602081-0   HARTFORD GLOBAL CAPTIAL APPRECIATION FUND              $    15,399.00   $      1,087.18   $    16,486.18
602082-8   HARTFORD SMALL COMPANY HLS FUND                        $    74,079.00   $      5,230.03   $    79,309.03
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 27 of 85 Page ID
                                     #:70755
Claim #    Claimant                                   Damages          PJI              Damages + PJI
602084-4   HARTFORD SMALL COMPANY HLS FUND            $     4,810.50   $       339.62   $     5,150.12
602085-2   HARTFORD SMALL/MID CAP EQUITY HLS FUND     $     3,977.44   $       280.81   $     4,258.25
602086-0   HARTFORD SMALLCAP GROWTH HLS FUND (MM)     $    54,810.00   $     3,869.62   $    58,679.62
602087-9   HARTFORD MIDCAP HLS FUND                   $   129,690.00   $     9,156.20   $   138,846.20
602091-7   FJARDE AP-FONDEN                           $     5,796.00   $       409.20   $     6,205.20
602093-3   BEAVER COUNTY EMPLOYEES RETIREMENT FUND    $     2,956.50   $       208.73   $     3,165.23
602094-1   CAMBRIA COUNTY EMPLOYEES' PENSION          $       855.00   $        60.36   $       915.36
602095-0   DANSKE INV INST DANICA PENSION-OFFENSIV    $    20,259.00   $     1,430.30   $    21,689.30
602096-8   DANSKE INV INST GLOBAL EQUITY PORT-DC      $     2,025.00   $       142.97   $     2,167.97
602098-4   DANSKE INV INST TRYGHEDSGRUPPEN AKTIER     $     1,489.50   $       105.16   $     1,594.66
602099-2   DANSKE INVEST SELECT FLEXINVEST AKT        $     1,953.00   $       137.88   $     2,090.88
602100-0   DANSKE INVEST SELECT GL EQ SOL 2-AKK       $       544.50   $        38.44   $       582.94
602105-0   ERIE COUNTY EMPLOYEES' RETIREMENT SYSTEM   $     1,701.00   $       120.09   $     1,821.09
602108-5   LVIP DIMENSIONAL U.S. CORE EQUITY 2 FUND   $       603.00   $        42.57   $       645.57
602109-3   LVIP SSGA SMALL-CAP INDEX FUND             $    17,100.00   $     1,207.27   $    18,307.27
602110-7   LVIP DIMENSIONAL U.S. CORE EQUITY 1 FUND   $     5,481.00   $       386.96   $     5,867.96
602112-3   STICHTING PENSIOENFONDS PGB                $     7,582.50   $       535.33   $     8,117.83
602114-0   SCHUYLKILL COUNTY RETIREMENT FUND          $       441.00   $        31.13   $       472.13
602115-8   GAMLA LIVFORSAKRINGSAKTIEBOLAGET (PUBL)    $     1,800.00   $       127.08   $     1,927.08
602116-6   INV SPARINVEST INDEX USA SMALL CAP KL      $     1,350.00   $        95.31   $     1,445.31
602117-4   IM RAD HERITAGE PTNRS LP-PAL-SCG           $       130.50   $         9.21   $       139.71
602119-0   CO TUA SECOND D POLEN #1-PAL-SCG           $        31.50   $         2.22   $         33.72
602120-4   CO TUA SECOND D POLEN #2-PAL-SCG           $        31.50   $         2.22   $         33.72
602121-2   IM BOYS/GIRLS CLUBS-BROW-PAL-SCG           $        85.50   $         6.04   $         91.54
602122-0   IM R/B HORWITZ JT ENT-PAL-SCG              $        99.00   $         6.99   $       105.99
602123-9   IM BALZEBRE ALPHA LP -PAL-SCG              $        72.00   $         5.08   $         77.08
602124-7   IM R & T STERN JT ENT - PAL-SCG            $        90.00   $         6.35   $         96.35
602125-5   IM E & M STERN TR                          $        94.50   $         6.67   $       101.17
602126-3   IM E & M STERN TR                          $        90.00   $         6.35   $         96.35
602127-1   IM E & M STERN TR                          $       108.00   $         7.62   $       115.62
602128-0   M A FORTIN FDN INC-NIC ADV                 $       972.00   $        68.62   $     1,040.62
602129-8   IM RUANE IRR GST TR OF 2007-TESE           $       135.00   $         9.53   $       144.53
602130-1   CO TUA J WEINTRAUB/JOANN LOO-LCG           $        63.00   $         4.45   $         67.45
602131-0   TUA COMMUNITY FOUNDATION-ACM-SCG           $        54.00   $         3.81   $         57.81
602132-8   MAKE-A-WISH FDN S FL-ACM-SCG               $        27.00   $         1.91   $         28.91
602134-4   IM JOHN I SMITH CHARITIES-GRTSCG           $       175.50   $        12.39   $       187.89
602135-2   IM ROBERT H MORRISON FDN-GRT-SCG           $        54.00   $         3.81   $         57.81
602138-7   IM WATSON W WISE FND - PAL-SCG             $        58.50   $         4.13   $         62.63
602139-5   SUC CO TUA C DOOLIN 66 TR-TESE             $       270.00   $        19.06   $       289.06
602140-9   SUC CO TUA E DOOLIN 66 TR-TESE             $       270.00   $        19.06   $       289.06
602141-7   SUC TUA K DOOLIN 66 TR-TESE                $       270.00   $        19.06   $       289.06
602142-5   SUC TUA W DOOLIN 66 TR-TESE                $       270.00   $        19.06   $       289.06
602143-3   IM KAD PROPERTY COMPANY LTD-TESE           $       585.00   $        41.30   $       626.30
602144-1   IM CWD PROPERTY COMPANY LTD-TESE           $       225.00   $        15.89   $       240.89
602145-0   IM ELD PROPERTY COMPANY LTD-TESE           $       450.00   $        31.77   $       481.77
602146-8   IM WD ASSET COMPANY LTD - TESE             $       225.00   $        15.89   $       240.89
602147-6   IM M E & C SPEESE-PAL-SCG-PL               $        81.00   $         5.72   $         86.72
602148-4   IM LBB CAPITAL PTNRS LP-ACM-SCG            $        90.00   $         6.35   $         96.35
602149-2   CO TR U/W A L STEVENS - PER-SCG            $        58.50   $         4.13   $         62.63
602150-6   IM SPEESE PROPERTIES LTD-PAL-SCG           $        90.00   $         6.35   $         96.35
602151-4   IM RACHEL ROHR IRREV TR PAL-SCG            $        49.50   $         3.49   $         52.99
602152-2   IM DAVID P CRADICK ESTATE-PALSCG           $        27.00   $         1.91   $         28.91
602153-0   IM G & R C FLOWERS-PAL-SCG                 $        22.50   $         1.59   $         24.09
602154-9   TUW C LIGHTNER-LARRY LIGHT-EGL             $        76.50   $         5.40   $         81.90
602155-7   GILLIN INVESTMENT CO MCKINLEY              $       225.00   $        15.89   $       240.89
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 28 of 85 Page ID
                                     #:70756
Claim #    Claimant                              Damages          PJI           Damages + PJI
602156-5   IM R YIP 12 C S TR-PALSCG-PLDG        $        58.50   $      4.13   $         62.63
602157-3   IM DIRK & KATIE DOZIER PER-SCG        $        67.50   $      4.77   $         72.27
602158-1   IM B & J SHACKOULS - PAL-SCG          $        72.00   $      5.08   $         77.08
602159-0   IM SAM L SUSSER - TESE                $        22.50   $      1.59   $         24.09
602161-1   IM SAAF - RAPIER EDU FDN-PAL-SCG      $        54.00   $      3.81   $         57.81
602162-0   IM L&L FINANCIAL INV LLC-PAL          $       135.00   $      9.53   $       144.53
602163-8   IM KTP INVESTMENTS LLC - PAL PLD      $       148.50   $     10.48   $       158.98
602164-6   IM VBLF - PER-SCG                     $       292.50   $     20.65   $       313.15
602166-2   TUW C STURGIS CHARITABLE-GRT-SCG      $       130.50   $      9.21   $       139.71
602168-9   IM UNVRSTY OF THE INC WRD-PALSCG      $       477.00   $     33.68   $       510.68
602169-7   DIOCESAN INVEST TR OF RI-PER-SCG      $       310.50   $     21.92   $       332.42
602170-0   MEM HOSP DB PEN PLAN-GRT-SCG          $       472.50   $     33.36   $       505.86
602171-9   CNE P/P - WESTFIELD                   $       742.50   $     52.42   $       794.92
602172-7   IM CHARLES LARRY POPE-PAL-SCG PL      $       148.50   $     10.48   $       158.98
602173-5   IM C LARRY & MARY F POPE-PAL-SCG      $        45.00   $      3.18   $         48.18
602175-1   IM VIRGINIA ST UNIV FDN-PAL-SCG       $        85.50   $      6.04   $         91.54
602176-0   IM ROANOKE COLLEGE - PAL-SCG          $       531.00   $     37.49   $       568.49
602177-8   IM BETH ERTEL 2012 TR-TESE            $        22.50   $      1.59   $         24.09
602178-6   IM BURSTEN FLP - PAL-SCG              $       657.00   $     46.38   $       703.38
602184-0   UW EUGENE HIGGINS CHAR TR-PALSCG      $     1,017.00   $     71.80   $     1,088.80
602186-7   AMCAR DIV ACF EMP PEN PL-EAM-SCG      $        76.50   $      5.40   $         81.90
602189-1   FRANK FULLER R TR ART X-ACM-SCG       $        18.00   $      1.27   $         19.27
602191-3   IM MALEK HOTELS LLC - PAL-SCG         $        94.50   $      6.67   $       101.17
602192-1   IM ALEXANDER T MASON - PAL-SCG        $        63.00   $      4.45   $         67.45
602193-0   IRA JOHN POWER - GRT-SCG              $        27.00   $      1.91   $         28.91
602196-4   CO TUW D T SEWARD EX TR ACM-SCG       $        58.50   $      4.13   $         62.63
602197-2   F D SEWARD JR RSDRY TR-ACM-SCG        $        63.00   $      4.45   $         67.45
602198-0   EVELYN B OLIN TRUST-ENW-TESE          $       157.50   $     11.12   $       168.62
602200-6   J S MCDONNELL CAT B-DEUTSCHE PLD      $     1,350.00   $     95.31   $     1,445.31
602201-4   IM SCHWARTZ FAM LTD PTNR-PAL-SCG      $        94.50   $      6.67   $       101.17
602202-2   TUW E H LUEHRMANN FB WU-ACM-SCG       $        94.50   $      6.67   $       101.17
602203-0   TUW JOHN S LEHMANN CHAR-ACM-SCG       $        81.00   $      5.72   $         86.72
602204-9   SOUERS CHARITABLE TRUST-ACM-SCG       $       342.00   $     24.15   $       366.15
602205-7   IM KANSAS CITY HOSPICE - PAL-SCG      $       139.50   $      9.85   $       149.35
602206-5   TUA ELIZABETH A HULL - PAL-SCG        $       175.50   $     12.39   $       187.89
602207-3   IR TUA KD&ML STEADLEY MEM PALSCG      $       162.00   $     11.44   $       173.44
602208-1   TUA VICTOR E SPEAS FDN - GRT-SCG      $       153.00   $     10.80   $       163.80
602209-0   TUW EDWARD F SWINNEY - ACM-SCG        $        90.00   $      6.35   $         96.35
602210-3   ROCKEFELLER GRP INTL PEN-PER-SCG      $       405.00   $     28.59   $       433.59
602211-1   JOHANNA FOODS FLEMINGTON-PAL-SCG      $        99.00   $      6.99   $       105.99
602212-0   REL TEACHERS FILIPP RET-PAL-SCG       $       148.50   $     10.48   $       158.98
602213-8   REL TEACHERS FILIPP BLDG-PAL-SCG      $       103.50   $      7.31   $       110.81
602214-6   REL TEACHERS FILIP ENDOW-PAL-SCG      $       103.50   $      7.31   $       110.81
602215-4   ISRAEL TENNIS CENTERS-PAL-SCG PL      $        94.50   $      6.67   $       101.17
602216-2   IM H & M OWENS CH FDN - ACM-SCG       $        18.00   $      1.27   $         19.27
602220-0   IM COLQUITT REG MED CTR-GRT-SCG       $       126.00   $      8.90   $       134.90
602221-9   IM COLQUITT REG MED FDN-GRT-SCG       $        36.00   $      2.54   $         38.54
602222-7   NYSEG CORP-VEBA TRUST-GRT-SCG         $       508.50   $     35.90   $       544.40
602223-5   IM ROBERT A LURIE TR - PAL-SCG        $       193.50   $     13.66   $       207.16
602224-3   IM N BURNETT 2012 GST TR-GRT-SCG      $        45.00   $      3.18   $         48.18
602225-1   IM SARAH STEPHENS GST TR PAL-SCG      $        27.00   $      1.91   $         28.91
602226-0   IM LOUISE STEPHENS GST TR PALSCG      $        36.00   $      2.54   $         38.54
602227-8   IM LOUISE STEPHENS TR - PAL-SCG       $       103.50   $      7.31   $       110.81
602228-6   IM D M ORR 2012 GST TR - PAL-SCG      $       103.50   $      7.31   $       110.81
602229-4   IM KATHERINE E ORR GST TR-PALSCG      $        81.00   $      5.72   $         86.72
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 29 of 85 Page ID
                                     #:70757
Claim #    Claimant                                               Damages          PJI               Damages + PJI
602230-8   IM SARAH STEPHENS 2012 TR PALSCG                       $        85.50   $          6.04   $         91.54
602232-4   IM KATHERINE ORR 1989 TR PAL-SCG                       $        94.50   $          6.67   $       101.17
602233-2   IM DAVID M ORR 1989 TR - PAL-SCG                       $        27.00   $          1.91   $         28.91
602234-0   IM J E PACKARD 2011 TR 4 PAL-SCG                       $        72.00   $          5.08   $         77.08
602235-9   IM J E PACKARD 2011 TR 6 PAL-SCG                       $        94.50   $          6.67   $       101.17
602236-7   IM J E PACKARD 2011 TR 5 PAL-SCG                       $        58.50   $          4.13   $         62.63
602237-5   IM J & B PUSATERI TR - PAL-SCG                         $        63.00   $          4.45   $         67.45
602239-1   IM PECHANGA 7TH GEN EF - GRT-SCG                       $        36.00   $          2.54   $         38.54
602240-5   IM SUSAN E BRIGGS TR - PAL-SCG                         $        36.00   $          2.54   $         38.54
602241-3   IM JOHN D BRIGGS 2010 TR-PAL-SCG                       $        36.00   $          2.54   $         38.54
602242-1   IM LOUISE STEPHENS 89 TR-PAL-SCG                       $        27.00   $          1.91   $         28.91
602243-0   IM SARAH STEPHENS 1989 TR-PALSCG                       $        27.00   $          1.91   $         28.91
602244-8   IM NANCY BURNETT LIV TR-PAL-SCG                        $       126.00   $          8.90   $       134.90
602245-6   IM T J SCHILLING REV TR PAL-SCG                        $        90.00   $          6.35   $         96.35
602246-4   IM REBECCA A NOLAN TR-PAL-SCG PL                       $        72.00   $          5.08   $         77.08
602247-2   IM F & D HEITMAN TR-ACM-SCG                            $       103.50   $          7.31   $       110.81
602248-0   IM TENEBAUM FAMILY TRUST-PAL-SCG                       $        40.50   $          2.86   $         43.36
602249-9   IM NORTHROP GRUMMAN FDN-PAL-SCG                        $       144.00   $         10.17   $       154.17
602252-9   IM S&J SPANGLER REV-TESE R2500                         $       135.00   $          9.53   $       144.53
602254-5   IM GRAETTINGER TR/WILLIAM-COLSCG                       $        13.50   $          0.95   $         14.45
602255-3   IM GRAETTINGER TR/G-COLSCG(PLDG)                       $        22.50   $          1.59   $         24.09
602256-1   IRA HOWARD S GOSS - PAL-SCG                            $        72.00   $          5.08   $         77.08
602257-0   IM SHAHID R KHAN TR-PAL-SCG PLD                        $        99.00   $          6.99   $       105.99
602258-8   IM MCSHANE FAMILY IRRV TR-CLESCG                       $        76.50   $          5.40   $         81.90
602259-6   IM JAMES A MCSHANE TR - CLE-SCG                        $        58.50   $          4.13   $         62.63
602260-0   E & M GLICK FDN-TJG                                    $       450.00   $         31.77   $       481.77
602263-4   KERN FAMILY FDN INC-FRED ALGER                         $       225.00   $         15.89   $       240.89
602264-2   PERFORMING ARTS CTR R/P-GRT-SCG                        $        58.50   $          4.13   $         62.63
602265-0   PIGOTT DOUGLAS FLOOD - PAL-SCG                         $        99.00   $          6.99   $       105.99
602266-9   TRIMBLE GEORGE W FDN TUW-PAL-SCG                       $        81.00   $          5.72   $         86.72
602267-7   WELLS A Z FOUNDATION - PAL-SCG                         $        85.50   $          6.04   $         91.54
602268-5   STUART CE CHARITABLE FDN-GRT-SCG                       $       369.00   $         26.05   $       395.05
602269-3   TEMPLE BETH SHALOM - PAL-SCG                           $        40.50   $          2.86   $         43.36
602271-5   IM DRANE ASSOC LP-EAM-SCG                              $         4.50   $          0.32   $          4.82
602272-3   IM J TEDFORD III TR-PAL-SCG PL                         $       198.00   $         13.98   $       211.98
602273-1   IM J TEDFORD III GRAT II-PAL-SCG                       $        27.00   $          1.91   $         28.91
602274-0   IM J TEDFORD III GRAT III-PALSCG                       $        31.50   $          2.22   $         33.72
602275-8   TUW LLOYD G BALFOUR - PER-SCG                          $       823.50   $         58.14   $       881.64
602278-2   TRP SICAV US SMALLER COMPANIES EQ FUND                 $    13,950.00   $        984.88   $    14,934.88
602280-4   NYC 457/401K SMALL CAP ACCOUNT                         $    23,850.00   $      1,683.83   $    25,533.83
602281-2   MERCK & CO INC. - SMALL CAP GROWTH                     $     8,550.00   $        603.64   $     9,153.64
602282-0   T. ROWE PRICE NEW HORIZONS TRUST                       $    64,060.14   $      4,522.69   $    68,582.83
602287-1   T. ROWE PRICE NEW HORIZONS FUND                        $   481,950.00   $     34,026.00   $   515,976.00
602288-0   T. ROWE PRICE NEW AMERICA GROWTH FUND                  $   248,850.00   $     17,568.98   $   266,418.98
602291-0   TRP NEW AMERICA GROWTH PORTFOLIO                       $     9,900.00   $        698.95   $    10,598.95
602292-8   T. ROWE PRICE HEALTH SCIENCES FUND                     $ 1,126,152.00   $     79,507.11   $ 1,205,659.11
602295-2   TRP QM U.S. SMALL-CAP GROWTH EQUITY FUND               $    33,300.00   $      2,351.00   $    35,651.00
602296-0   TRP TAX-EFFICIENT EQ FD-SMALLER CO. GR                 $     2,250.00   $        158.85   $     2,408.85
602297-9   T. ROWE PRICE HEALTH SCIENCES PORTFOLIO                $    78,666.00   $      5,553.87   $    84,219.87
602299-5   T. ROWE PRICE GLOBAL ALLOCATION FUND                   $       387.00   $         27.32   $       414.32
602300-2   OPEC FUND FOR INTERNATIONAL DEVELOPMENT                $    27,450.00   $      1,937.99   $    29,387.99
602302-9   D. E. SHAW ASYMPTOTE PORTFOLIOS L.L.C.                 $       130.50   $          9.21   $       139.71
602303-7   D. E. SHAW BMCAE SPECIAL FUND L.P.                     $     3,865.50   $        272.91   $     4,138.41
602304-5   D. E. SHAW OCULUS PORTFOLIOS L.L.C.                    $   144,884.10   $     10,228.92   $   155,113.02
602306-1   D. E. SHAW U.S. BROAD MARKET CORE ALPHA EXTENSION PORT $     3,699.00   $        261.15   $     3,960.15
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 30 of 85 Page ID
                                     #:70758
Claim #    Claimant                                                Damages          PJI               Damages + PJI
602307-0   D. E. SHAW U.S. BROAD MARKET CORE ALPHA EXTENSION SPEC $        720.00   $         50.83   $       770.83
602308-8   D. E. SHAW U.S. LARGE CAP CORE ALPHA EXTENSION PORTFOLIO$     1,350.00   $         95.31   $     1,445.31
602310-0   D. E. SHAW VALUE ALL COUNTRY ALPHA EXTENSION FUND L.P. $      2,250.00   $        158.85   $     2,408.85
602311-8   D. E. SHAW WORLD ALPHA EXTENSION PORTFOLIOS L. L. C.    $     3,150.00   $        222.39   $     3,372.39
602312-6   D.E.SHAW VALENCE PORTFOLIOS L.L.C.                      $   359,419.50   $     25,375.27   $   384,794.77
602313-4   INVESCO HEALTH CARE FUND OF AIM INVESTMENT FUNDS (INV $     116,523.00   $      8,226.60   $   124,749.60
602314-2   INVESCO V.I. HEALTH CARE FUND OF AIM VARIABLE INSURANCE $    19,611.00   $      1,384.55   $    20,995.55
602315-0   INVESCO OPPENHEIMER MAIN STREET MID CAP FUND OF AIM G $     365,715.00   $     25,819.73   $   391,534.73
602316-9   INVESCO OPPENHEIMER V.I. CONSERVATIVE BALANCED FUND O $       8,100.00   $        571.87   $     8,671.87
602322-3   SUNRISE PARTNERS LIMITED PARTNERSHIP                    $   137,106.00   $      9,679.78   $   146,785.78
602323-1   CENTRAL PENNSYLVANIA TEAMSTERS PENSION FUND - DEFINED $       1,845.00   $        130.26   $     1,975.26
602324-0   CENTRAL PENNSYLVANIA TEAMSTERS PENSION FUND - RETIREM$        2,925.00   $        206.51   $     3,131.51
602325-8   CHICAGO LABORERS' PENSION FUND                          $     8,793.00   $        620.79   $     9,413.79
602330-4   TEAMSTERS LOCAL 237 ADDITIONAL SECURITY BENEFIT FUND $          148.50   $         10.48   $       158.98
602331-2   TEAMSTERS LOCAL 237 SUPPLEMENTAL FUND FOR HOUSING A $            76.50   $          5.40   $         81.90
602334-7   TEAMSTERS PENSION TRUST FUND OF PHILADELPHIA AND VICIN$         360.00   $         25.42   $       385.42
602359-2   AMT TACT OFF EQY FD/SSGA R2000                          $     1,350.00   $         95.31   $     1,445.31
602361-4   SCHWAB TOTAL STOCK MARKET INDEX FUND                    $     6,300.00   $        444.78   $     6,744.78
602362-2   SCHWAB SMALL-CAP INDEX FUND                             $    17,550.00   $      1,239.04   $    18,789.04
602370-3   MFS GLOBAL ALTERNATIVE STRATEGY FUND - MFS SERIES TRUS $      2,646.00   $        186.81   $     2,832.81
602371-1   MFS GROWTH EQUITY FUND - MFS HERITAGE TRUST COMPANY $         5,982.56   $        422.37   $     6,404.93
602372-0   MFS GROWTH FUND - MFS SERIES TRUST II                   $    78,183.00   $      5,519.77   $    83,702.77
602373-8   MFS GROWTH SERIES MFS VARIABLE INSURANCE TRUST          $     7,092.00   $        500.70   $     7,592.70
602376-2   MFS NEW DISCOVERY FUND - MFS SERIES TRUST I             $   246,442.50   $     17,399.01   $   263,841.51
602377-0   MFS NEW DISCOVERY SERIES - MFS VARIABLE INSURANCE TRUS $    135,958.50   $      9,598.76   $   145,557.26
602378-9   SLGI MFS-MB U.S. GROWTH FUND                            $     8,567.21   $        604.85   $     9,172.06
602386-0   VIRTU FINANCIAL BROKER DEALER                           $       144.00   $         10.17   $       154.17
602389-4   US LC FRED ALGER                                        $     1,147.50   $         81.01   $     1,228.51
602395-9   CLIFFORD G. FOX AND NORMA J. FOX AS JOINT TENANTS WITH $         90.00   $          6.35   $         96.35
602396-7   0256003179 - BANKERS TRUST                              $     4,140.00   $        292.29   $     4,432.29
602397-5   THE SHINING PEARL IRREVOCABLE TRUST - APERIO            $        18.00   $          1.27   $         19.27
602409-2   CAPITAL INTERNATIONAL S A                               $     2,700.00   $        190.62   $     2,890.62
602410-6   FRANKLIN TEMPLETON INVESTMENTS                          $    45,000.00   $      3,177.03   $    48,177.03
602411-4   GOLDMAN SACHS & COMPANY                                 $    13,500.00   $        953.11   $    14,453.11
602412-2   CITIGROUP GLOBAL MARKETS FAO                            $    90,000.00   $      6,354.06   $    96,354.06
602419-0   BLACKROCK INDEX                                         $     1,147.50   $         81.01   $     1,228.51
602420-3   BLACKROCK EXECUTION SERVICES                            $     4,405.50   $        311.03   $     4,716.53
602422-0   LINDGREN RICHARD - ROTH IRA                             $       292.50   $         20.65   $       313.15
602423-8   SEARLE TR LP XI EQTY-SMALL CAP-F                        $     2,236.50   $        157.90   $     2,394.40
602424-6   SEARLE J G CHAR TR PTNRSP A/C F                         $       279.00   $         19.70   $       298.70
602425-4   SEARLE F C CHAR TR PTNRSP A/C F                         $       432.00   $         30.50   $       462.50
602428-9   CA COMMUNITY FOUNDATION - LA EQUITY                     $     1,372.50   $         96.90   $     1,469.40
602447-5   QUINNIPIAC UNIVERSITY-WESTFIELD                         $     2,880.00   $        203.33   $     3,083.33
602453-0   DELTA STAR INC PP SALARIED-LORD ABBETT                  $         9.00   $          0.64   $          9.64
602460-2   SISTEMA UNIVERSITARIO UMA                               $        27.00   $          1.91   $         28.91
602466-1   HATTERAS LONG SHORT EQUITY                              $    12,195.00   $        860.98   $    13,055.98
602477-7   ^MAD RAD P/S                                            $        45.00   $          3.18   $         48.18
602491-2   COMMUNITY WORK SERVICES FOUNDATION INC.                 $        45.00   $          3.18   $         48.18
602492-0   BATTLE CREEK PUBLIC SCHOOLS TRUST FUNDS                 $        67.50   $          4.77   $         72.27
602493-9   CALLAHAN FLANAGAN & SMITH ORTHODONTICS P.C. - DEF. SAV $        450.00   $         31.77   $       481.77
602494-7   CALLAHAN JR. JOHN D. - IRA                              $        45.00   $          3.18   $         48.18
602496-3   STULA GOJKO ROLLOVER IRA                                $        67.50   $          4.77   $         72.27
602497-1   LAKESIDE LUTHERAN FOUNDATION INC.                       $        67.50   $          4.77   $         72.27
602499-8   LINDGREN DR. RICHARD - ROTH IRA                         $       292.50   $         20.65   $       313.15
602500-5   MADISON RADIOLOGISTS S.C. PENSION & PROFIT SHARING - DR $        45.00   $          3.18   $         48.18
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 31 of 85 Page ID
                                     #:70759
Claim #    Claimant                                               Damages          PJI               Damages + PJI
602502-1   WISCONSIN LAW FOUNDATION                               $        45.00   $          3.18   $         48.18
602503-0   CALLAHAN FLANAGAN & SMITH ORTHODONTIC P.C. - EMP PENS $        157.50   $         11.12   $       168.62
602504-8   FRANCIE SILVERMAN FOUNDATION                           $       450.00   $         31.77   $       481.77
602514-5   LEOTA TARLTON TRUST                                    $        27.00   $          1.91   $         28.91
602515-3   KAREN M. KRANER 2009 TRUST                             $       108.00   $          7.62   $       115.62
602516-1   KILLER B MANAGEMENT LLC                                $       157.50   $         11.12   $       168.62
602517-0   NICHOLAS HECKER TRUST                                  $        27.00   $          1.91   $         28.91
602523-4   GERTRUDE S PEARSON TR                                  $        63.00   $          4.45   $         67.45
602524-2   FIRE/POLICE RET-LEE MUNDER CAPITAL                     $       549.00   $         38.76   $       587.76
602531-5   CREDIT SUISSE SECURITIES USA LLC                       $    12,946.50   $        914.03   $    13,860.53
602532-3   CREDIT SUISSE SECURITIES USA LLC                       $       166.50   $         11.76   $       178.26
602534-0   CREDIT SUISSE SECURITIES USA LLC                       $     1,521.00   $        107.38   $     1,628.38
602542-0   CREDIT SUISSE SECURITIES USA LLC                       $       535.50   $         37.81   $       573.31
602549-8   CREDIT SUISSE SECURITIES USA LLC                       $     3,154.50   $        222.71   $     3,377.21
602565-0   CREDIT SUISSE SECURITIES USA LLC                       $       130.50   $          9.21   $       139.71
602572-2   CREDIT SUISSE SECURITIES USA LLC                       $         4.50   $          0.32   $          4.82
602575-7   CREDIT SUISSE SECURITIES USA LLC                       $     9,243.00   $        652.56   $     9,895.56
602577-3   CREDIT SUISSE SECURITIES USA LLC                       $       229.50   $         16.20   $       245.70
602581-1   CLEAR STREET MARKETS LLC                               $       706.50   $         49.88   $       756.38
602671-0   DAVID P. LEWIS                                         $        45.00   $          3.18   $         48.18
602672-9   LITA LUVERA & PAUL LUVERA COMMPROP                     $        45.00   $          3.18   $         48.18
602673-7   MELVIN A. BLOCK FAMILY LP (SM TESTAMENTARY)            $       135.00   $          9.53   $       144.53
602674-5   CARACAL VENTURES LLC                                   $        45.00   $          3.18   $         48.18
602677-0   DAVID ALAN BEITEL & JOANNA JAMES BEITEL COMM PROP      $        45.00   $          3.18   $         48.18
602679-6   THE BARTON DESCENDANTS' TR DTD12/30/04 RICHARD N.BART $         45.00   $          3.18   $         48.18
602680-0   SUJAL M. PATEL & MEERA M. PATEL COMM PROP              $        90.00   $          6.35   $         96.35
602681-8   DAVID SHAPIRO & ABIGAIL POGREBIN JTWROS                $         4.50   $          0.32   $          4.82
602682-6   TRUST U/A DTD. 1/1/93                                  $        45.00   $          3.18   $         48.18
602683-4   JAMES P. HARRIS & PAMELA P. HARRIS TEN COM             $         4.50   $          0.32   $          4.82
602684-2   SELWYN P. OSKOWITZ & LAURA OSKOWITZ JTIC               $         4.50   $          0.32   $          4.82
602685-0   ROBERT LUCKOW                                          $        45.00   $          3.18   $         48.18
602686-9   RONALD W. HOLDEN REV TRUST & ARLENE M. HOLDEN REV TRU$          45.00   $          3.18   $         48.18
602689-3   STAHURA FAMILY REVOCABLE TRUSTU/A DTD 04/15/2005 PAU $           4.50   $          0.32   $          4.82
602690-7   THE SANCTIS FAMILY TRUST DTD 08/23/2000 EDMOND P. SANC $         4.50   $          0.32   $          4.82
602693-1   THOMAS A MINK 2012 FAMILY TRUST MRS. LINDA H. MINK TRU $         4.50   $          0.32   $          4.82
602694-0   MICH MATHEWS-SPRADLIN                                  $        45.00   $          3.18   $         48.18
602698-2   LEO KAHN REVOCABLE TRUST DTD 12/10/01 JOSEPH KAHN EMI $        135.00   $          9.53   $       144.53
602700-8   FUKUROU LLC PLEDGE ACCT                                $        76.50   $          5.40   $         81.90
602701-6   THE JAMES J. MAGUIRE REVOCABLETRUST DTD 11/29/2011 JAM$         90.00   $          6.35   $         96.35
602702-4   C PAYNE II FAMILY LIMITED PARTNERSHIP                  $         4.50   $          0.32   $          4.82
602705-9   NOORIL-IMAN TRUST U/A/D 4/5/00GS TRUST CO. OF DEL FATEM$         9.00   $          0.64   $          9.64
602720-2   ALPINE GLOBAL MANAGEMENT LLC                           $    42,426.00   $      2,995.31   $    45,421.31
602722-9   ALPINE GLOBAL MANAGEMENT LLC                           $       256.50   $         18.11   $       274.61
602726-1   ALPINE GLOBAL MANAGEMENT LLC                           $       450.00   $         31.77   $       481.77
602729-6   ALPINE GLOBAL MANAGEMENT LLC                           $        49.50   $          3.49   $         52.99
602825-0   SET TRADING PARTNERS                                   $     1,350.00   $         95.31   $     1,445.31
602826-8   SET TRADING PARTNERS                                   $    11,700.00   $        826.03   $    12,526.03
602841-1   SCHONFELD GROUP HOLDINGS LLC                           $       427.50   $         30.18   $       457.68
602842-0   SCHONFELD GROUP HOLDINGS LLC                           $        90.00   $          6.35   $         96.35
602843-8   STIFEL NICOLAUS & CO. INC.                             $     5,557.50   $        392.36   $     5,949.86
602845-4   STIFEL NICOLAUS & CO. INC.                             $     1,480.50   $        104.52   $     1,585.02
602846-2   STIFEL NICOLAUS & CO. INC.                             $        27.00   $          1.91   $         28.91
602852-7   WOLVERINE TRADING LLC                                  $        85.50   $          6.04   $         91.54
602874-8   GOLDMAN SACHS & CO. LLC                                $        90.00   $          6.35   $         96.35
602876-4   GOLDMAN SACHS & CO. LLC                                $   151,429.50   $     10,691.03   $   162,120.53
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 32 of 85 Page ID
                                     #:70760
Claim #    Claimant                                                  Damages          PJI              Damages + PJI
602892-6   GOLDMAN SACHS & CO. LLC                                   $    90,652.50   $     6,400.13   $    97,052.63
602893-4   GOLDMAN SACHS & CO. LLC                                   $    28,525.50   $     2,013.92   $    30,539.42
602900-0   GOLDMAN SACHS & CO. LLC                                   $    40,189.50   $     2,837.41   $    43,026.91
602904-3   GOLDMAN SACHS & CO. LLC                                   $         4.50   $         0.32   $          4.82
602915-9   GOLDMAN SACHS & CO. LLC                                   $     2,119.50   $       149.64   $     2,269.14
602925-6   GOLDMAN SACHS & CO. LLC                                   $    59,400.00   $     4,193.68   $    63,593.68
602939-6   GOLDMAN SACHS & CO. LLC                                   $    35,550.00   $     2,509.85   $    38,059.85
602945-0   GOLDMAN SACHS & CO. LLC                                   $     2,245.50   $       158.53   $     2,404.03
602946-9   GOLDMAN SACHS & CO. LLC                                   $     1,197.00   $        84.51   $     1,281.51
602963-9   WESTFIELD CAPITAL MGMT IRA ROLLOVER                       $       135.00   $         9.53   $       144.53
602965-5   HOLLOW METAL PENSION FUND                                 $        90.00   $         6.35   $         96.35
602967-1   TWU WESTCHESTER PRIVATE BUSLINES PENSION FUND 80 WES $             90.00   $         6.35   $         96.35
602969-8   PENSION TRUST FUND FOR OPERATING ENGINEERS                $       553.50   $        39.08   $       592.58
602971-0   LONGVIEW BROAD MARKET 3000 INDEX FUND                     $       594.00   $        41.94   $       635.94
602972-8   RIVIERA BCH POLICE / FRED ALGER                           $        58.50   $         4.13   $         62.63
602973-6   NCSRCC PENSION-BERNSTEIN SMID CAP                         $    13,990.50   $       987.74   $    14,978.24
602974-4   BARCLAYS CAPITAL INC.                                     $    23,400.00   $     1,652.06   $    25,052.06
602975-2   MR THOMAS F KEARNS JR                                     $     1,467.00   $       103.57   $     1,570.57
602984-1   DEUTSCHE B                                                $    35,100.00   $     2,478.08   $    37,578.08
602985-0   XIAOGUANG XU                                              $    36,000.00   $     2,541.62   $    38,541.62
602987-6   BPPR RETIREMENT - FORTALEZA ASSET                         $     1,395.00   $        98.49   $     1,493.49
602988-4   BPPR RESTORATION - FORTALEZA ASSET                        $        67.50   $         4.77   $         72.27
602991-4   ALIDOD.SHIRINBEKOV                                        $     7,533.00   $       531.84   $     8,064.84
602992-2   2 PLUS 3 HOLDINGS LP SMA PALISADE                         $        36.00   $         2.54   $         38.54
602993-0   RAY BRECK & SHANNON REV TR PAL SCG                        $        27.00   $         1.91   $         28.91
603004-1   CAVANAUGHJAMES AND SUZANA EAGLE AST                       $         4.72   $         0.33   $          5.05
603023-8   COFCH - COLUMBUS CIRCLE                                   $       643.50   $        45.43   $       688.93
603024-6   RLDS-AERPT - COLUMBUS CIRCLE                              $        99.00   $         6.99   $       105.99
603027-0   WEATHERBIE                                                $     2,524.50   $       178.23   $     2,702.73
603043-2   CITY PENSION FUND FOR POLICE & FIRE PEMBROKE PINES-LEE M$       1,548.00   $       109.29   $     1,657.29
603045-9   CITY OF PEMBROKE PINES POST-EMPLOYMENT BENEFIT TRUST $            207.00   $        14.61   $       221.61
603048-3   ALTON & CHERYL BACKES GROWTH STOCK AGENCY POD TO BR $             171.00   $        12.07   $       183.07
603050-5   COUNTY OF GREENE - CIM MGD                                $       148.50   $        10.48   $       158.98
603051-3   GERALD & SUSAN BEREIKA TIC / LEE MUNDER CAPITAL / FRSC: A $        67.50   $         4.77   $         72.27
603052-1   CARITAS CHRISTI RP&T - FRONTIER CAPITAL MANAGEMENT / SS $       8,190.00   $       578.22   $     8,768.22
603053-0   HOWARD D RESSLER / LEE MUNDER CAPITAL / FRSC: A9G06957 $           45.00   $         3.18   $         48.18
603055-6   CUNNINGHAM IRRE                                           $        27.00   $         1.91   $         28.91
603056-4   CUNNINGHAM BRIG                                           $        27.00   $         1.91   $         28.91
603073-4   WEAVER FOUNDATION INC.                                    $    45,000.00   $     3,177.03   $    48,177.03
603075-0   JENKINS KIRA U                                            $     1,800.00   $       127.08   $     1,927.08
603647-3   ELIZABETH V. HUMES THE GLENMEDE TRUST COMPANY N.A. IN $           450.00   $        31.77   $       481.77
603649-0   ELI LILLY US ACT EQ                                       $     9,364.50   $       661.14   $    10,025.64
603650-3   GREAT POINT CAPITAL LLC                                   $     8,572.50   $       605.22   $     9,177.72
603652-0   HAP TRADING LLC                                           $     4,500.00   $       317.70   $     4,817.70
603655-4   HAP TRADING LLC                                           $     1,143.00   $        80.70   $     1,223.70
603657-0   HAP TRADING LLC                                           $     1,800.00   $       127.08   $     1,927.08
603659-7   DR ELIZABETHD2                                            $       432.00   $        30.50   $       462.50
603660-0   KENDALL C4C2                                              $       202.50   $        14.30   $       216.80
603662-7   ROBSON KAYE                                               $       162.00   $        11.44   $       173.44
603663-5   KENNETH J HOUSTON                                         $       450.00   $        31.77   $       481.77
603664-3   ALLERGAN PLC ORD                                          $       270.00   $        19.06   $       289.06
603665-1   TRINITY INDS INC                                          $       112.50   $         7.94   $       120.44
603667-8   ALLERGAN PLC ORD                                          $        90.00   $         6.35   $         96.35
603669-4   RYAN MCRAE                                                $        72.00   $         5.08   $         77.08
603670-8   COLE SHELLEY6A1                                           $       373.50   $        26.37   $       399.87
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 33 of 85 Page ID
                                     #:70761
Claim #    Claimant                              Damages          PJI            Damages + PJI
603671-6   MO ARMSTRONG                          $        90.00   $       6.35   $         96.35
603672-4   NEUFFER HEIN5C1                       $        72.00   $       5.08   $         77.08
603673-2   HAYWOOD SECURITIES                    $       319.50   $      22.56   $       342.06
603674-0   HUGGETT VAL 5B1                       $       220.50   $      15.57   $       236.07
603676-7   GARCIA EILEE2A1                       $       180.00   $      12.71   $       192.71
603679-1   TEMPLETON EAFE DEV MKTS A-DSC         $       180.00   $      12.71   $       192.71
603682-1   IVERSON S&K 4A1                       $       337.50   $      23.83   $       361.33
603683-0   NOEL TAYLOR                           $       450.00   $      31.77   $       481.77
603684-8   TEXTOR ELFR3A1                        $       157.50   $      11.12   $       168.62
603685-6   DRANCHUK JAM6B1                       $       117.00   $       8.26   $       125.26
603686-4   ALLERGAN PLC ORD                      $       112.50   $       7.94   $       120.44
603687-2   BURKE NIGEL 8A1                       $        99.00   $       6.99   $       105.99
603688-0   LEWIS KAAREN6C2                       $        99.00   $       6.99   $       105.99
603689-9   ID PEARSON HA1                        $       171.00   $      12.07   $       183.07
603690-2   LAFEK L & N 3C1                       $       495.00   $      34.95   $       529.95
603691-0   MUZIO J & G 4C2                       $       103.50   $       7.31   $       110.81
603692-9   WRIGHT STEPH4C2                       $        90.00   $       6.35   $         96.35
603696-1   NIMMO W & J 5B2                       $       315.00   $      22.24   $       337.24
603699-6   FANTOLI A&T 2A2                       $       180.00   $      12.71   $       192.71
603701-1   ABRAMSON NEI5C2                       $       126.00   $       8.90   $       134.90
603703-8   AALBORG GORD4B1                       $       135.00   $       9.53   $       144.53
603704-6   WESTON M&S 5B2                        $       450.00   $      31.77   $       481.77
603705-4   BUMP JOHN 4A2                         $        81.00   $       5.72   $         86.72
603706-2   PARFITT W&Y 2B3                       $       112.50   $       7.94   $       120.44
603707-0   WOLFE FRANKL4C1                       $       157.50   $      11.12   $       168.62
603708-9   HAYWOOD SECURITIES                    $       135.00   $       9.53   $       144.53
603709-7   GLUSKIN SHEFF & ASSOC INC             $        81.00   $       5.72   $         86.72
603713-5   MARGARET E LUCAS                      $       337.50   $      23.83   $       361.33
603714-3   KOSH DENNIS 4A2                       $       166.50   $      11.76   $       178.26
603717-8   HANDY PAUL 5B2                        $       135.00   $       9.53   $       144.53
603720-8   PARK THOMAS 5B1                       $        81.00   $       5.72   $         86.72
603721-6   ALLERGAN PLC ORD                      $        90.00   $       6.35   $         96.35
603722-4   ALLERGAN PLC ORD                      $       144.00   $      10.17   $       154.17
603724-0   LARRY SPENCE                          $       117.00   $       8.26   $       125.26
603725-9   VAN DER GEES6D1                       $       135.00   $       9.53   $       144.53
603726-7   COMEY CHRIST5B2                       $        90.00   $       6.35   $         96.35
603727-5   SHIKANO HARU5A2                       $       360.00   $      25.42   $       385.42
603728-3   CALLAGHAN N 6C2                       $       103.50   $       7.31   $       110.81
603729-1   COMEY KEVIN 5B3                       $       135.00   $       9.53   $       144.53
603730-5   COOK DANIEL 5B1                       $       225.00   $      15.89   $       240.89
603732-1   GILLAN CHARL6B2                       $        67.50   $       4.77   $         72.27
603733-0   NIMMO A WILL5A1                       $       360.00   $      25.42   $       385.42
603734-8   BASS BRYAN 5C2                        $        90.00   $       6.35   $         96.35
603735-6   FONTAINE TRA7A2                       $        81.00   $       5.72   $         86.72
603736-4   NIMMO JOAN 5A2                        $       198.00   $      13.98   $       211.98
603737-2   HAYWOOD SECURITIES                    $        90.00   $       6.35   $         96.35
603738-0   GRIFFITHS KI5A2                       $       135.00   $       9.53   $       144.53
603739-9   MAYZELL SAND5C1                       $        90.00   $       6.35   $         96.35
603742-9   TEIBE ARLENE5B1                       $       225.00   $      15.89   $       240.89
603743-7   ADRIAN COLLE6A2                       $       112.50   $       7.94   $       120.44
603744-5   CHANDLER ROB6B2                       $        90.00   $       6.35   $         96.35
603745-3   CONNELL DOUG4D1                       $       225.00   $      15.89   $       240.89
603746-1   VANDERBYL L 5A2                       $       450.00   $      31.77   $       481.77
603747-0   TERRY LEBLANC                         $       180.00   $      12.71   $       192.71
603749-6   STEINHOFF G 4D5                       $     1,935.00   $     136.61   $     2,071.61
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 34 of 85 Page ID
                                     #:70762
Claim #    Claimant                                             Damages          PJI              Damages + PJI
603751-8   DOMINELLI M 5C1                                      $        36.00   $         2.54   $         38.54
603752-6   STEPHENSON A5A2                                      $       135.00   $         9.53   $       144.53
603753-4   BALANCA HEID4A2                                      $       202.50   $        14.30   $       216.80
603754-2   VAN DER GEES5A2                                      $       270.00   $        19.06   $       289.06
603755-0   GOULD JOHN 5A2                                       $       121.50   $         8.58   $       130.08
603756-9   SPENCE ROBE6B2                                       $       337.50   $        23.83   $       361.33
603757-7   CALLAGHAN S 6A2                                      $        90.00   $         6.35   $         96.35
603759-3   RESIDE BONNI6A1                                      $       477.00   $        33.68   $       510.68
603760-7   ALLERGAN PLC ORD                                     $       360.00   $        25.42   $       385.42
603761-5   HAYWOOD SECURITIES                                   $       112.50   $         7.94   $       120.44
603762-3   HAYWOOD SECURITIES                                   $        94.50   $         6.67   $       101.17
603763-1   LEIGHTON RON2B2                                      $       148.50   $        10.48   $       158.98
603764-0   ROGERS COMMS INC CL B                                $        90.00   $         6.35   $         96.35
603765-8   GRANT ELIZ 5D2                                       $        94.50   $         6.67   $       101.17
603766-6   MICRON TECH INC                                      $        72.00   $         5.08   $         77.08
603768-2   SCHLATTER D 2A1                                      $       112.50   $         7.94   $       120.44
603770-4   SCHLATTER A 2A2                                      $       112.50   $         7.94   $       120.44
603771-2   HAYWOOD SECURITIES                                   $       135.00   $         9.53   $       144.53
603773-9   BARATTA DOROTHY                                      $       121.50   $         8.58   $       130.08
603774-7   DAY KATHERIN3A2                                      $        90.00   $         6.35   $         96.35
603775-5   HAYWOOD SECURITIES                                   $        90.00   $         6.35   $         96.35
603776-3   CZAR GIOVANN6A2                                      $       135.00   $         9.53   $       144.53
603777-1   HAYWOOD SECURITIES                                   $        94.50   $         6.67   $       101.17
603779-8   WOLFE FRANKL4C1                                      $       135.00   $         9.53   $       144.53
603780-1   NORFOLK STHN CORP                                    $       112.50   $         7.94   $       120.44
603781-0   HAYWOOD SECURITIES                                   $       450.00   $        31.77   $       481.77
603782-8   DAVENPORT & CO                                       $     9,450.00   $       667.18   $    10,117.18
603790-9   THOMSON HELEN                                        $        36.00   $         2.54   $         38.54
603805-0   AULTMAN H.F. - WESTFLD MID/SM CAP PLD                $       270.00   $        19.06   $       289.06
603806-9   SCHMIDT R.K.-PAL                                     $        36.00   $         2.54   $         38.54
603807-7   UNIVERSITY OF FINDLAY                                $       157.50   $        11.12   $       168.62
603808-5   BEAV CNT/CIM                                         $     1,894.50   $       133.75   $     2,028.25
603809-3   BEAVER CO/EMERAL                                     $     1,062.00   $        74.98   $     1,136.98
603812-3   ROSE PAPP IRA                                        $     1,800.00   $       127.08   $     1,927.08
603827-1   MAP 300 SEGREGATED PORTFOLIO A SEGREGATED PORTFOLIO $      3,177.00   $       224.30   $     3,401.30
603830-1   MAP 300 SEGREGATED PORTFOLIO A SEGREGATED PORTFOLIO $      3,177.00   $       224.30   $     3,401.30
603831-0   MAP 300 SEGREGATED PORTFOLIO A SEGREGATED PORTFOLIO $      3,177.00   $       224.30   $     3,401.30
603834-4   MCGOWAN GROUP ASSET MANAGEMENT RET PL                $       234.00   $        16.52   $       250.52
603835-2   ANDREW ORTON                                         $       409.50   $        28.91   $       438.41
603853-0   SM CAP GRWTH                                         $       117.00   $         8.26   $       125.26
603854-9   IU BMH SC GROWTH (PALISADES)                         $       855.00   $        60.36   $       915.36
603855-7   BALL BROTHERS FDN SUBACCT SM CAP GRO                 $       994.50   $        70.21   $     1,064.71
603856-5   LCF GRANITE                                          $       139.50   $         9.85   $       149.35
603857-3   GRANITE SCG                                          $       211.50   $        14.93   $       226.43
603858-1   T SCOTT LAW - SMALL CAP GRWTH PLDG                   $       108.00   $         7.62   $       115.62
603860-3   SILVERMAN - R/TRUST - APERIO                         $        31.50   $         2.22   $         33.72
603862-0   NORWICH UNIV - FRONTIER CAPITAL                      $       495.00   $        34.95   $       529.95
603865-4   BINNS STEVEN                                         $       450.00   $        31.77   $       481.77
603866-2   DAN W. LORIMER TRUSTEE                               $       450.00   $        31.77   $       481.77
603886-7   JANNET MAGERAS TRUST UAD 02/22/06 JANNET MAGERAS TTE $        31.50   $         2.22   $         33.72
603889-1   SABBY HEALTHCARE MASTER-FUND LTD/TRADING             $    88,074.00   $     6,218.09   $    94,292.09
603891-3   PROPRIETARY ACCOUNT                                  $     1,080.00   $        76.25   $     1,156.25
603893-0   IRVING BUSSEL IRREVOCABLE TRUST UNDER WILL           $        22.50   $         1.59   $         24.09
603897-2   OLYMPUS FOUR LRGE GRWTH MODEL OB1                    $     2,241.00   $       158.22   $     2,399.22
603903-0   TRUST U/W/O HELEN S. WILLI                           $       225.00   $        15.89   $       240.89
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 35 of 85 Page ID
                                     #:70763
Claim #    Claimant                                                Damages          PJI               Damages + PJI
603904-9   THADDEUS GRAY                                           $       562.50   $         39.71   $       602.21
603905-7   THE THOMPSON FAMILY FOUNDATION                          $     1,800.00   $        127.08   $     1,927.08
603908-1   WV LABORERS PENS ALLIANCE BERNSTEIN                     $     3,748.50   $        264.65   $     4,013.15
603913-8   WAITTCORP PUBLIC SECURITIES LLC - WESTFIELD CAP MGMT SC $     1,440.00   $        101.66   $     1,541.66
603914-6   STATE STREET GLOBAL MARKETS LLC                         $     1,462.50   $        103.25   $     1,565.75
603918-9   ZYDECO TRADING LLC                                      $     7,650.00   $        540.10   $     8,190.10
603919-7   BB ADAMENT BIOTECH FUND                                 $    13,500.00   $        953.11   $    14,453.11
603921-9   ABSOLUTE RETURN CAPITAL PARTNERS LP                     $    22,131.00   $      1,562.46   $    23,693.46
603928-6   APIS GLOBAL DEEP VALUE LP GS                            $     2,922.00   $        206.30   $     3,128.30
603929-4   APIS CAPITAL LP GS                                      $    11,385.00   $        803.79   $    12,188.79
603930-8   PARSIMONY GLOBAL HEALTHCARE FUND LP                     $       900.00   $         63.54   $       963.54
603932-4   AQR LARGE CAP MOMENTUM STYLE FUND                       $    32,413.50   $      2,288.42   $    34,701.92
603933-2   AQR SMALL CAP CORE FUND L.P.                            $       450.00   $         31.77   $       481.77
603937-5   AQR TM LARGE CAP MOMENTUM STYLE FUND                    $       625.50   $         44.16   $       669.66
603952-9   CGCM SMALL-MID CAP / WESTFIELD                          $    13,972.50   $        986.47   $    14,958.97
603953-7   CGCM SMALL-MID CAP/WALL STREET                          $    14,400.00   $      1,016.65   $    15,416.65
603954-5   MEDICAL SCIENCE FUND                                    $   251,154.00   $     17,731.65   $   268,885.65
603955-3   CATHOLIC DIOCESE ARL-PRIESTS PLAN                       $        22.50   $          1.59   $         24.09
603956-1   E AND R MOORE ITUA                                      $         4.50   $          0.32   $          4.82
603957-0   CATHOLIC DIOCESE OPERATING ACCT                         $        45.00   $          3.18   $         48.18
603958-8   JOSEPH T LIVERMAN                                       $        45.00   $          3.18   $         48.18
603963-4   E AND R MOORE ITUA                                      $         4.50   $          0.32   $          4.82
603964-2   PALMETTO HEALTH FDN ENDOWMENT EQUITY                    $        67.50   $          4.77   $         72.27
603965-0   E AND R MOORE ITUA                                      $         4.50   $          0.32   $          4.82
603968-5   ROBERT B MYERS JR SEP IRA                               $        22.50   $          1.59   $         24.09
603969-3   BABSON COLLEGE                                          $     1,935.00   $        136.61   $     2,071.61
603970-7   US SMALL/MID CAP EQUITY INDEX                           $       900.00   $         63.54   $       963.54
603971-5   SMCAP GROWTH FUND                                       $     1,440.00   $        101.66   $     1,541.66
603974-0   BLACKROCK HEALTH SCIENCES OPPORTUNITIES PORTFOLIO       $     4,050.00   $        285.93   $     4,335.93
603975-8   BLACKROCK ADVANTAGE SMALL CAP GROWTH FUND               $    65,209.50   $      4,603.84   $    69,813.34
603976-6   BLACKROCK GLOBAL ALLOCATION PORTFOLIO OF BLACKROCK S $          508.50   $         35.90   $       544.40
603977-4   BLACKROCK GLOBAL ALLOCATION V.I. FUND (US)              $    23,499.00   $      1,659.05   $    25,158.05
603978-2   GLOBAL ALLOCATION FUND                                  $   108,247.50   $      7,642.35   $   115,889.85
604012-8   BLACKROCK GLOBAL ALLOCATION FUND (AUST) - ACTIVE        $     1,984.50   $        140.11   $     2,124.61
604013-6   BOEING AGGREGATE                                        $     8,100.00   $        571.87   $     8,671.87
604014-4   BOEING - D.E. SHAW US LARGE CAP EQUITY                  $     6,750.00   $        476.55   $     7,226.55
604016-0   BRIDGE BUILDER SM/MID CAP GROW/BLACKROCK-SC             $    10,269.00   $        725.00   $    10,994.00
604044-6   JANE DOOLY PORTER CLAT                                  $         9.00   $          0.64   $          9.64
604049-7   SAHAKIAN-KROCHIAN FAM TR                                $         4.50   $          0.32   $          4.82
604072-1   JAMES DUKE JOHNSON REV LIV TR                           $         4.50   $          0.32   $          4.82
604076-4   SCOTT T. BARBER                                         $         9.00   $          0.64   $          9.64
604086-1   LINDA M. BROIN LIVING TRUST ESTATE                      $        13.50   $          0.95   $         14.45
604088-8   ST. IGNATIUS NURSING HOME                               $         4.50   $          0.32   $          4.82
604089-6   ROBERT L. STOTT JR. REV. TR.                            $        27.00   $          1.91   $         28.91
604092-6   ELLIS & YVETTE LANDAU JTWROS                            $       135.00   $          9.53   $       144.53
604093-4   GEORGE W & SHERYL A. MARTZ JTWROS EM                    $        90.00   $          6.35   $         96.35
604098-5   KP SMALL CAP - COLUMBUS                                 $    12,312.00   $        869.24   $    13,181.24
604099-3   KP SMALL CAP - TRANSITION                               $     5,850.00   $        413.01   $     6,263.01
604100-0   KP SMALL CAP EQ - SSGA                                  $       738.00   $         52.10   $       790.10
604101-9   CALSTRS AGGREGATE                                       $    50,350.50   $      3,554.78   $    53,905.28
604105-1   CITADEL EQUITY FUND LTD                                 $    21,213.00   $      1,497.65   $    22,710.65
604106-0   CITADEL QUANTITATIVE STRATEGIES MASTER FUND LTD         $    77,928.10   $      5,501.78   $    83,429.88
604125-6   GREATER ORLANDO - FRED ALGER                            $       157.50   $         11.12   $       168.62
604126-4   COMERICA RETIREMENT PLAN COLUMBUS CIRCLE                $     1,575.00   $        111.20   $     1,686.20
604127-2   CITY OF READING FIREMEN/EMERALD                         $       418.50   $         29.55   $       448.05
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 36 of 85 Page ID
                                     #:70764
Claim #    Claimant                                               Damages          PJI               Damages + PJI
604129-9   COMMUNITY FDN SE MI-WESTFIELD MGMT                     $     2,092.50   $        147.73   $     2,240.23
604131-0   GCC/IBT NPF - COLUMBUS CIRCLE                          $     3,973.50   $        280.53   $     4,254.03
604132-9   FREY FOUNDATION WESTFIELD                              $       765.00   $         54.01   $       819.01
604136-1   NAVISTAR RETIREE SUPPL - WESTFIELD                     $     4,297.50   $        303.41   $     4,600.91
604137-0   ST THOMAS CHURCH FRED ALGER-GF II                      $       157.50   $         11.12   $       168.62
604139-6   GRAND LODGE MT EMERALD ADV                             $       382.50   $         27.00   $       409.50
604147-7   RET. PLAN FOR EMP OF CEDAR CHEMICAL                    $     1,759.50   $        124.22   $     1,883.72
604152-3   HIXON R IRREV TR                                       $       432.00   $         30.50   $       462.50
604153-1   PETERSON EDWIN R LEAD TRUST-PMP                        $       310.50   $         21.92   $       332.42
604154-0   GILLESPIE/KINGDON II-MEGAN-PMP                         $        76.50   $          5.40   $         81.90
604155-8   GILLESPIE/KINGDOM I-CHRISTINE-PMP                      $        76.50   $          5.40   $         81.90
604156-6   GILLESPIE/KINGDOM I-ROBERT-PMP                         $        58.50   $          4.13   $         62.63
604157-4   GILLESPIE/KINGDOM II ERIN-PMP                          $        76.50   $          5.40   $         81.90
604158-2   GILLESPIE/KINGDOM I-AMY-PMP                            $       117.00   $          8.26   $       125.26
604163-9   MERRICK FAMILY IRREV                                   $       103.50   $          7.31   $       110.81
604164-7   MERRICK IRREV TR                                       $        72.00   $          5.08   $         77.08
604166-3   MERRICK IRREV TR                                       $        67.50   $          4.77   $         72.27
604183-3   WELLS PHYLLIS NON-GST EX FAM                           $         9.00   $          0.64   $          9.64
604192-2   DE LA COUR TUW                                         $       585.00   $         41.30   $       626.30
604200-7   LANDO MAXINE C IRREV TR                                $        45.00   $          3.18   $         48.18
604202-3   LANCASHIRE CRUT - PMP                                  $       490.50   $         34.63   $       525.13
604213-9   WALTERS ROLLOVER                                       $       414.00   $         29.23   $       443.23
604216-3   ST LUKES RETIREMENT PLAN HOOD RIVER CAPITAL MANAGEME $         333.00   $         23.51   $       356.51
604217-1   SAINT LUKES HOSPITAL-ROXBURY 1                         $       832.50   $         58.78   $       891.28
604218-0   SAINT LUKES HOSPITAL-ROXBURY 2                         $        31.50   $          2.22   $         33.72
604226-0   THE AQUARIUS TRUST-APERIO                              $        40.50   $          2.86   $         43.36
604227-9   BRAINERD CRUT- PARA RUSSELL - JULIE DAVIS TRUSTEE      $         9.00   $          0.64   $          9.64
604229-5   BELLEAIR/WESTFIELD CAPITAL                             $       270.00   $         19.06   $       289.06
604230-9   CITY MEMPHIS RET - NICHOLAS                            $     4,275.00   $        301.82   $     4,576.82
604231-7   ST THOMAS HEALTH - LMCG                                $       652.50   $         46.07   $       698.57
604240-6   TAMESIDE MBC-2 GMPF MAIN (CAPITAL)                     $   112,050.00   $      7,910.81   $   119,960.81
604268-6   VOYA SMALL CAP GROWTH TRUST FUND                       $    38,700.00   $      2,732.25   $    41,432.25
604277-5   JOHN A FARRILL                                         $         4.50   $          0.32   $          4.82
604281-3   JEFFREY PONTIFF AND VALERIE PONTIFF                    $       157.50   $         11.12   $       168.62
604292-9   ALEXANDER VON LOCKNER                                  $       152.16   $         10.74   $       162.90
604363-1   STRATEGIC INTERNATIONAL EQUITY FUND - DIMENSIONAL STRA $       234.00   $         16.52   $       250.52
604365-8   VICTORY MUNDER SMALL CAP GROWTH PRI USD                $       427.50   $         30.18   $       457.68
604367-4   ALBANY MED CTR-WESTFIELD CAP MGT PRI USD               $     1,575.00   $        111.20   $     1,686.20
604368-2   SUNRISE FIRE-MUNDER PRI USD                            $       396.00   $         27.96   $       423.96
604370-4   MT SINAI FDN - WESTFIELD PRI USD                       $       337.50   $         23.83   $       361.33
604372-0   BRANDYWINE HLTH FDN L MUNDER CUS PRI USD               $       225.00   $         15.89   $       240.89
604380-1   DCMT TDF SMID - PALISADE                               $     7,627.50   $        538.51   $     8,166.01
604381-0   LOCKHEED-PAL SMALL CAP GROWTH                          $    19,710.00   $      1,391.54   $    21,101.54
604382-8   DCMT US EQ - PALISADE                                  $    18,819.00   $      1,328.63   $    20,147.63
604389-5   THE PERKINS SCHOOL FOR THE BLIND - S10115              $     1,116.00   $         78.79   $     1,194.79
604396-8   GUARDIAN LIFE INS CO OF AMERICA MASTER INVESTMENT      $       688.50   $         48.61   $       737.11
604402-6   NB MID CAP GROWTH                                      $   112,500.00   $      7,942.58   $   120,442.58
604404-2   AMT MID-CAP GROWTH PORTFOLIO                           $    22,500.00   $      1,588.52   $    24,088.52
604405-0   WELLINGTON MIDCAP OP                                   $    29,173.50   $      2,059.67   $    31,233.17
604408-5   NBIM PF EQ AS GLB INDEX                                $   148,050.00   $     10,452.43   $   158,502.43
604410-7   SMALL CAP GROWTH STOCK PORTFOLIO                       $    30,451.50   $      2,149.90   $    32,601.40
604411-5   CADUCEUS CAPITAL II L.P.                               $   445,500.00   $     31,452.61   $   476,952.61
604412-3   BIOTECH GROWTH TRUST (FEBT)                            $   493,200.00   $     34,820.26   $   528,020.26
604415-8   ORBIMED GLOBAL HEALTHCARE                              $   282,150.00   $     19,919.99   $   302,069.99
604416-6   ORBIMED PARTNERS MASTER FUND LIMITED                   $   508,050.00   $     35,868.68   $   543,918.68
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 37 of 85 Page ID
                                     #:70765
Claim #    Claimant                                                 Damages          PJI              Damages + PJI
604417-4   AXE - HOUGHTON ASSOCIATE INVESTMENT FUND LLC. (SCG) 96 $         292.50   $        20.65   $       313.15
604418-2   SEI TRUST CO.                                            $    12,861.00   $       908.00   $    13,769.00
604420-4   POINT72 ASSOCIATES LLC                                   $     1,800.00   $       127.08   $     1,927.08
604425-5   POINTSTATE FUND LP                                       $    23,310.00   $     1,645.70   $    24,955.70
604426-3   STEELMILL MASTER FUND LP                                 $    64,300.50   $     4,539.66   $    68,840.16
604427-1   CONFLUX FUND LP                                          $     2,389.50   $       168.70   $     2,558.20
604432-8   PRELUDE OPPORTUNITY FUND LP - SA000121                   $     7,600.50   $       536.60   $     8,137.10
604433-6   SSGA RUSSELL 2500                                        $     4,050.00   $       285.93   $     4,335.93
604434-4   BOS PAT CNGRS MS                                         $     5,004.00   $       353.29   $     5,357.29
604436-0   COWEN OVERSEAS INVESTMENT LP                             $     1,350.00   $        95.31   $     1,445.31
604440-9   REDMILE CAPITAL OFFSHORE I                               $    31,104.00   $     2,195.96   $    33,299.96
604445-0   LAKE WORTH GENERAL                                       $        67.50   $         4.77   $         72.27
604447-6   CHAT RP-MUNDER                                           $       927.00   $        65.45   $       992.45
604448-4   CLEARVIEW PN LLC HOOD RIVER CAPITAL                      $     6,822.00   $       481.64   $     7,303.64
604451-4   COMMUNITY FDN CUSTODY - LMCG                             $       891.00   $        62.91   $       953.91
604457-3   WEATHERBIE CAP INC (DOM EQTY)                            $    23,386.50   $     1,651.10   $    25,037.60
604458-1   SGMF US SMALL COMPANIES FD/AB                            $    14,839.30   $     1,047.66   $    15,886.96
604459-0   COMPASS OFFSHORE MAV LIMITED                             $       483.84   $        34.16   $       518.00
604460-3   SIO PARTNERS LP                                          $     2,544.35   $       179.63   $     2,723.98
604461-1   SIO PARTNERS OFFSHORE LTD                                $     4,641.53   $       327.70   $     4,969.23
604462-0   COMPASS MAV LLC                                          $       645.97   $        45.61   $       691.58
604463-8   SIO PARTNERS QP LP                                       $     2,304.49   $       162.70   $     2,467.19
604465-4   SWISS NATIONAL BANK                                      $    10,350.00   $       730.72   $    11,080.72
604468-9   TRUSTMARK NATIONAL BANK CUSTODIAN FOR MAURY HOSPIT $             306.00   $        21.60   $       327.60
604469-7   SAM HOUSTON STATE UNIVERSITY ENDOWMENT/COLUMBUS C $            1,165.50   $        82.29   $     1,247.79
604475-1   FOITH INVESTMENTS LP                                     $     2,250.00   $       158.85   $     2,408.85
604482-4   JAMES L PAYNE ARLENE H PAYNE TEN COMM                    $       450.00   $        31.77   $       481.77
604483-2   JAMES L PAYNE ROTH IRA                                   $     3,150.00   $       222.39   $     3,372.39
604484-0   JAMES L PAYNE ARLENE H PAYNE TEN COMM                    $     3,150.00   $       222.39   $     3,372.39
604488-3   THE DUNDON CHILDRENS TRUST JASON KULAS TRUSTEE           $     4,500.00   $       317.70   $     4,817.70
604489-1   ACR INSURANCE INC                                        $     1,125.00   $        79.43   $     1,204.43
604492-1   BARBARA T SCHNEIDER ROTH IRA                             $        81.00   $         5.72   $         86.72
604493-0   REEVES FAMILY INVESTMENT LP                              $     2,250.00   $       158.85   $     2,408.85
604494-8   DANIEL J DONOVAN                                         $     1,350.00   $        95.31   $     1,445.31
604500-6   KAREN CAIRONE ROLLOVER IRA                               $       135.00   $         9.53   $       144.53
604502-2   JAY WILLIAM DECKER                                       $     2,250.00   $       158.85   $     2,408.85
604504-9   DAVID J. FARRELL ROTH IRA                                $        45.00   $         3.18   $         48.18
604509-0   JOHN A STALUPPI                                          $    22,500.00   $     1,588.52   $    24,088.52
604511-1   JARRETT EATON SHADDAY                                    $     2,700.00   $       190.62   $     2,890.62
604521-9   MARK FENDRICK                                            $     8,325.00   $       587.75   $     8,912.75
604522-7   MARK FENDRICK                                            $     1,800.00   $       127.08   $     1,927.08
604523-5   FRANCES SPIEGEL TTEE FRANCES SPIEGEL MARITAL TRUST U/A $         450.00   $        31.77   $       481.77
604524-3   FRANCES SPIEGEL TRADITIONAL IRA                          $     1,800.00   $       127.08   $     1,927.08
604531-6   ALAN M NON DDS PC 401K PROFIT SHARING                    $       364.50   $        25.73   $       390.23
604532-4   GIANNA STANLEY TRADITIONAL IRA                           $       675.00   $        47.66   $       722.66
604533-2   LISA HANGES SEP IRA                                      $     1,395.00   $        98.49   $     1,493.49
604535-9   CINDY ENI YINGLING STEPHEN J YINGLING JTWROS             $     1,800.00   $       127.08   $     1,927.08
604536-7   CHRISTOPHER ENI JENNIFER ENI JTWROS                      $     1,800.00   $       127.08   $     1,927.08
604537-5   DIETZ & WATSON INC. MARYLAND EMPLOYEE PENSION PLAN $           2,227.50   $       157.26   $     2,384.76
604541-3   CINDY YINGLING TTEE CHRISTOPHER YINGLING PERS TR DTD 3/ $        927.00   $        65.45   $       992.45
604545-6   MARY ALICE GURDA TRADITIONAL IRA                         $     2,250.00   $       158.85   $     2,408.85
604550-2   FOX MCCARTHY FAMILY LTD PARTNERSHIP                      $     2,250.00   $       158.85   $     2,408.85
604555-3   ERNEST A BECKER IV AND KATHLEEN C BECKER FAMILY TRUST $          450.00   $        31.77   $       481.77
604557-0   JEFFREY H. ROSEN REVOCABLE TR U/T/A DTD 03/02/2012 JEFFR $       180.00   $        12.71   $       192.71
604559-6   GERALD FENDRICK TTEE DISCLAIMER TR DTD 1/6/2012 UW OF G $      1,350.00   $        95.31   $     1,445.31
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 38 of 85 Page ID
                                     #:70766
Claim #    Claimant                                                Damages          PJI            Damages + PJI
604560-0   GERALD M. FENDRICK SEP-IRA                              $     3,600.00   $     254.16   $     3,854.16
604562-6   ALEC FENDRICK                                           $       900.00   $      63.54   $       963.54
604565-0   MICHAELA FENDRICK                                       $       900.00   $      63.54   $       963.54
604566-9   JEFFREY S TAYLOR                                        $        81.00   $       5.72   $         86.72
604567-7   JACLYN L COMER TTEE DOUGLAS FENDRICK TTEE CAREN COMER $       3,600.00   $     254.16   $     3,854.16
604568-5   GERALD M. FENDRICK ROTH IRA                             $     2,250.00   $     158.85   $     2,408.85
604569-3   FITERMAN FAMILY 2012 GST BRADLEY FRANK TRUSTEE          $        63.00   $       4.45   $         67.45
604575-8   LYNN BIRNBERG ROLLOVER IRA                              $       112.50   $       7.94   $       120.44
604576-6   CAROLINE B GOTTSCHALK TRADITIONAL IRA                   $       157.50   $      11.12   $       168.62
604577-4   STEVEN WHEELER ROLLOVER IRA                             $        45.00   $       3.18   $         48.18
604578-2   PETER RISAFI ROLLOVER IRA                               $       112.50   $       7.94   $       120.44
604579-0   DONNA L DISEND IRREVOCABLE TRUST DTD 10/25/95           $        67.50   $       4.77   $         72.27
604580-4   DONNA L DISEND                                          $        90.00   $       6.35   $         96.35
604581-2   CAROLINE F GOTTSCHALK TOD BENEFICIARIES ON FILE         $       337.50   $      23.83   $       361.33
604582-0   CAROLINE F GOTTSCHALK TOD BENEFICIARIES ON FILE         $       180.00   $      12.71   $       192.71
604583-9   LAUREN KAMENS ROLLOVER IRA                              $        67.50   $       4.77   $         72.27
604584-7   LAUREN KAMENS                                           $        67.50   $       4.77   $         72.27
604585-5   JONAH DISEND                                            $       135.00   $       9.53   $       144.53
604586-3   THOMAS V O'NEIL BARBARA A O'NEIL JTWROS                 $        90.00   $       6.35   $         96.35
604587-1   KAHANE COOPERMAN SEP-IRA                                $        22.50   $       1.59   $         24.09
604588-0   BARBARA A O'NEIL ROLLOVER IRA                           $        45.00   $       3.18   $         48.18
604589-8   JEFF COOPERMAN SEP-IRA                                  $        45.00   $       3.18   $         48.18
604591-0   MANISH MEHTA REVOCABLE LIVING TRUST DATED NOVEMBER $            225.00   $      15.89   $       240.89
604592-8   LESLIE S JACOBSON TOD BENEFICIARIES ON FILE             $       382.50   $      27.00   $       409.50
604593-6   MICHAEL ALAN ZINN NANCY FRIEDMAN JTWROS                 $        22.50   $       1.59   $         24.09
604594-4   MICHAEL ALAN ZINN NANCY FRIEDMAN JTWROS                 $       225.00   $      15.89   $       240.89
604595-2   CAROLINE GOTTSCHALK BENEFICIAR OF ALLAN H BERGMAN RO $          135.00   $       9.53   $       144.53
604596-0   JILL FRIEDMAN TRADITIONAL IRA                           $        45.00   $       3.18   $         48.18
604597-9   CHRISTINE GOVAN                                         $       450.00   $      31.77   $       481.77
604598-7   STEVEN ALLEN GROSSMAN ROLLOVER IRA                      $     1,197.00   $      84.51   $     1,281.51
604607-0   JEFFREY MELESKI ROLLOVER IRA                            $        90.00   $       6.35   $         96.35
604608-8   PAMELA LIEBMAN MICHAEL KROUSE JTWROS                    $       945.00   $      66.72   $     1,011.72
604609-6   STEVE MARKOV ROLLOVER IRA                               $        67.50   $       4.77   $         72.27
604610-0   MARC LEONARD ROLLOVER IRA                               $       112.50   $       7.94   $       120.44
604611-8   LEONARD SHABASON TRADITIONAL IRA                        $       333.00   $      23.51   $       356.51
604612-6   EILEEN G CLAIBORNE                                      $        90.00   $       6.35   $         96.35
604617-7   WILLIAM B PRESTON ROTH IRA                              $       883.00   $      62.34   $       945.34
604619-3   JOHN P SICKLESTEEL & ANN MARIE G SICKLESTEEL LVG TR UAD $        81.00   $       5.72   $         86.72
604621-5   STEPHEN J FISH ROTH IRA                                 $     2,250.00   $     158.85   $     2,408.85
604622-3   MICHAEL S BRIDGES SEP/IRA                               $       225.00   $      15.89   $       240.89
604624-0   STOCKTON M SCHULTZ AND COURTNEY B SCHULTZ JTWROS        $       112.50   $       7.94   $       120.44
604627-4   MARCY KORNBLUM                                          $       450.00   $      31.77   $       481.77
604628-2   MARVIN L CRAVETZ SUSAN CRAVETZ JTWROS                   $     1,350.00   $      95.31   $     1,445.31
604630-4   COPPER BEECH LLC                                        $       112.50   $       7.94   $       120.44
604631-2   THOMAS F FRANKE TRUST THOMAS F FRANKE TRUSTEE           $       450.00   $      31.77   $       481.77
604633-9   DAVID E THUN MGR: EAGLE                                 $       157.50   $      11.12   $       168.62
604635-5   NARESH JULKA & KAMLESH JULKA TTEES FOR THE NARESH JULK $        450.00   $      31.77   $       481.77
604636-3   KAMLESH JULKA & NARESH JULKA TTEE KAMLESH JULKA LIV TR $        450.00   $      31.77   $       481.77
604641-0   HARVEY KRAMER TRADITIONAL IRA                           $       756.00   $      53.37   $       809.37
604642-8   HARVEY KRAMER TRUSTEE HARVEY KRAMER LIVING TRUST DTD $        2,250.00   $     158.85   $     2,408.85
604643-6   PEDRO A CRUZ MD PA 401(K) PLAN DATED 01/01/2008         $       117.00   $       8.26   $       125.26
604650-9   JEFFREY D DILBONE SEP-IRA                               $        45.00   $       3.18   $         48.18
604653-3   FRANK W REES JR.                                        $       900.00   $      63.54   $       963.54
604656-8   DAVID M BRETHEN TTEE BY JOAN BRETHEN JACQUELINE M BRE $           4.50   $       0.32   $          4.82
604657-6   ROBERT H BRETHEN TTEE                                   $       225.00   $      15.89   $       240.89
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 39 of 85 Page ID
                                     #:70767
Claim #    Claimant                                                  Damages          PJI            Damages + PJI
604658-4   DAVID M BRETHEN TTEE BY JOAN BRETHEN CHRISTINA J BRETH $            4.50   $       0.32   $          4.82
604659-2   RONALD SWERS TRADITIONAL IRA                              $       450.00   $      31.77   $       481.77
604660-6   MURRAY ELLIS SEP-IRA                                      $       364.50   $      25.73   $       390.23
604664-9   AVRIL LEVY ROTH IRA                                       $       180.00   $      12.71   $       192.71
604665-7   MICHAEL S. LIBRATY AND AMY K. LIBRATY TTEES OF THE LIBRAT $       225.00   $      15.89   $       240.89
604667-3   JOSEPH KAMERLING SUSAN N. KAMERLING JTWROS                $       135.00   $       9.53   $       144.53
604671-1   JACK E BROWN TRADITIONAL IRA                              $       450.00   $      31.77   $       481.77
604672-0   JOSEPH CERBONE CUST FOR MATTHEW E CERBONE UTMA OF N $              45.00   $       3.18   $         48.18
604673-8   MICHAEL BRAINE TRADITIONAL IRA                            $       112.50   $       7.94   $       120.44
604674-6   MICHAEL BRAINE                                            $       450.00   $      31.77   $       481.77
604677-0   ELIZABETH BENEDICT TTEE                                   $         4.50   $       0.32   $          4.82
604678-9   DOUG FENDRICK TRADITIONAL IRA                             $     1,350.00   $      95.31   $     1,445.31
604679-7   ROBYN L. KRAMER                                           $       675.00   $      47.66   $       722.66
604680-0   ARTHUR SIMONS TRADITIONAL IRA                             $     1,237.50   $      87.37   $     1,324.87
604681-9   THEODORE LEVY                                             $       900.00   $      63.54   $       963.54
604683-5   EARL HELSTROM SEP-IRA                                     $       675.00   $      47.66   $       722.66
604688-6   MICHAEL H. BLANK MARLENE J. BLANK TEN COMM                $       900.00   $      63.54   $       963.54
604689-4   JANICE BOURQUE                                            $     2,025.00   $     142.97   $     2,167.97
604690-8   SCOTT AKMAN                                               $     1,350.00   $      95.31   $     1,445.31
604691-6   FRANK A LICAUSI                                           $       900.00   $      63.54   $       963.54
604692-4   TERRI B AKMAN                                             $       900.00   $      63.54   $       963.54
604693-2   LAWRENCE M WALD                                           $       432.00   $      30.50   $       462.50
604694-0   RICHARD BROOKS ROLLOVER IRA                               $        45.00   $       3.18   $         48.18
604696-7   JOSEPH STEVEN KRASHES TRADITIONAL IRA                     $       225.00   $      15.89   $       240.89
604697-5   MARCIA WAITZMAN BENEFICIARY OF ELAINE KASS TRADITIONA $            22.50   $       1.59   $         24.09
604698-3   DAVID WAITZMAN TRADITIONAL IRA                            $        45.00   $       3.18   $         48.18
604699-1   MARCIA WAITZMAN TRADITIONAL IRA                           $        90.00   $       6.35   $         96.35
604702-5   MICHAEL J ROMISHER SIVYA ROMISHER JTWROS                  $       562.50   $      39.71   $       602.21
604709-2   ANDREW MARK RATNER                                        $       562.50   $      39.71   $       602.21
604710-6   AMY FRIEDMAN DAVID APPELBAUM JTWROS                       $       247.50   $      17.47   $       264.97
604711-4   RUTHI BYRNE TOD BENEFICIARIES ON FILE                     $       540.00   $      38.12   $       578.12
604712-2   RUTHI BYRNE                                               $        22.50   $       1.59   $         24.09
604714-9   DEAN & ELIZABETH JONES TTEES DEAN & ELIZABETH JONES LVG $         450.00
                                                                                 0    $      31.77   $       481.77
604715-7   DAVID SUSSMAN SEP-IRA                                     $     2,250.00   $     158.85   $     2,408.85
604717-3   ELIZABETH R JONES TRADITIONAL IRA                         $     1,350.00   $      95.31   $     1,445.31
604718-1   RICHARD JON ELKINS ROLLOVER IRA                           $        90.00   $       6.35   $         96.35
604719-0   JEFFREY KNIGHT FRENCH TRADITIONAL IRA                     $       112.50   $       7.94   $       120.44
604720-3   JEFFREY KNIGHT FRENCH TOD GLENN MICHAEL GORDON            $       315.00   $      22.24   $       337.24
604721-1   EUGENIO MARTINEZ-HUET ROLLOVER IRA                        $       112.50   $       7.94   $       120.44
604722-0   DEBRA ANN SWANSON TTEE DEBRA ANN SWANSON REV LIVING $              40.50   $       2.86   $         43.36
604725-4   DAVID APPELBAUM PSY.D. 401 (K)                            $        22.50   $       1.59   $         24.09
604726-2   REDHEAD CONSULTING LLC 401 (K)                            $        22.50   $       1.59   $         24.09
604727-0   AMY FRIEDMAN ROLLOVER IRA                                 $       112.50   $       7.94   $       120.44
604728-9   PIPER KERMAN LAURENCE SMITH JTWROS                        $        22.50   $       1.59   $         24.09
604729-7   LAURENCE SMITH SEP-IRA                                    $        22.50   $       1.59   $         24.09
604730-0   H PATRICK MCCARREN ROLLOVER IRA                           $       112.50   $       7.94   $       120.44
604731-9   JUDITH ELLENZWEIG TTEE UAD 07/27/05 ADAM KLAPPER NEED $            45.00   $       3.18   $         48.18
604732-7   MARC WEINHOUSE DORA SOMOSI JTWROS                         $        90.00   $       6.35   $         96.35
604733-5   DORA SOMOSI ROLLOVER IRA                                  $        22.50   $       1.59   $         24.09
604735-1   PATRICIA H WHITE TRADITIONAL IRA                          $       225.00   $      15.89   $       240.89
604736-0   SCOTT DORSTEN CUST FOR IAN S DORSTEN UTMA OF OH           $       225.00   $      15.89   $       240.89
604737-8   ANNE H . STEIN TOD SYDNEY STEIN MCLAFFERTY                $        45.00   $       3.18   $         48.18
604742-4   ROBERT JOSSEN TTEE RONI B JOSSEN 2012 FAMILY TRUST DTD $          315.00   $      22.24   $       337.24
604743-2   RONI JOSSEN                                               $        90.00   $       6.35   $         96.35
604744-0   IRA S GLASSER TRUDE GLASSER TEN COMM                      $       270.00   $      19.06   $       289.06
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 40 of 85 Page ID
                                     #:70768
Claim #    Claimant                                                Damages          PJI               Damages + PJI
604747-5   TING MA TTEE PREMIER TRUST TTEE UA DTD 11/6/2012 BY THE $       112.50   $          7.94   $       120.44
604748-3   FRANCIS CHARLES AUDENINO ROLLOVER IRA                   $       180.00   $         12.71   $       192.71
604749-1   STEPHEN BROWER ROLLOVER IRA                             $        90.00   $          6.35   $         96.35
604750-5   CHRISSY M HENDERSON SEP-IRA                             $       135.00   $          9.53   $       144.53
604751-3   VINCENT VITIELLO ROLLOVER IRA                           $     1,057.50   $         74.66   $     1,132.16
604752-1   EDWARD J CONNOLLY JR. JEANNE M CONNOLLY JTWROS          $     3,150.00   $        222.39   $     3,372.39
604753-0   NANCY C KLUGER TRADITIONAL IRA                          $       450.00   $         31.77   $       481.77
604754-8   ROBERT JOSSEN ROTH IRA                                  $       337.50   $         23.83   $       361.33
604756-4   ROSS MARTIN JORDANA MARTIN JTWROS                       $        67.50   $          4.77   $         72.27
604757-2   SETH HULKOWER AND LISSA PERLMAN TIC                     $       270.00   $         19.06   $       289.06
604758-0   PATRICIA DEGEORGES TRADITIONAL IRA                      $       180.00   $         12.71   $       192.71
604761-0   UC GLOBAL MASTERS                                       $    40,050.00   $      2,827.56   $    42,877.56
604762-9   UC RUSSELL 3000 TF POOLED ACC                           $     1,800.00   $        127.08   $     1,927.08
604763-7   FIT-EMERALD GROWTH FUND                                 $    24,403.50   $      1,722.90   $    26,126.40
604766-1   FVIT-WMC RESEARCH MANAGED/WELLINGTON                    $       270.00   $         19.06   $       289.06
604767-0   TWIN CITY CARPENTERS & JOINERS PENSION FUND ALLIANCE B $     11,443.50   $        807.92   $    12,251.42
604768-8   VANDHAM SECURITIES CORPORATION VNDS DMA ACCOUNT $               450.00   $         31.77   $       481.77
604770-0   BIOTECH ETF                                             $   182,781.00   $     12,904.47   $   195,685.47
604772-6   WELLINGTON US RESEARCH EQUITY FUND                      $        99.00   $          6.99   $       105.99
604777-7   WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION MULT $            180.00   $         12.71   $       192.71
604778-5   WESTCORE MIDCO GROWTH FUND                              $    19,350.00   $      1,366.12   $    20,716.12
604779-3   WESTCORE SMALL-CAP GROWTH FUND                          $     2,259.00   $        159.49   $     2,418.49
604780-7   WVIMB-WESTFIELD                                         $    40,522.50   $      2,860.92   $    43,383.42
604781-5   IRON WORKERS MID SOUTH PENSION FUND - FRED ALGER MAN $           90.00   $          6.35   $         96.35
604782-3   L C TAX MANAGED-IMA                                     $        22.50   $          1.59   $         24.09
604783-1   C C F TAX MANAGED RUSSELL 2500-IMA                      $        49.50   $          3.49   $         52.99
604784-0   F F T C TAX MANAGED-IMA                                 $        31.50   $          2.22   $         33.72
604785-8   BRESNAHAN A & R TRS BRESNAHAN TR-IMA                    $        58.50   $          4.13   $         62.63
604786-6   BRESNAHAN R & A TRS BRESNAHAN TR-IMA                    $        36.00   $          2.54   $         38.54
604787-4   PAUL S AMOS-CRUT-PMTRC-SUB                              $         4.50   $          0.32   $          4.82
604788-2   DANIEL P AMOS CRUT-SUB                                  $         9.00   $          0.64   $          9.64
604789-0   AMOS DANIEL P.-IRAR-CUST-SUB                            $         9.00   $          0.64   $          9.64
604790-4   MARTHA A MADER 2000 REV TR-WESTFIELD                    $        90.00   $          6.35   $         96.35
604791-2   JAMES A PROGIN 2007 REV TR-WESTFIELD                    $       270.00   $         19.06   $       289.06
604792-0   ROLAND GRAY III REV TR                                  $       337.50   $         23.83   $       361.33
604793-9   ST FRANCIS UNIV-EMERALD ADVISORS INC                    $       171.00   $         12.07   $       183.07
604794-7   SUSAN GULLIA REVOCABLE TRUST                            $       450.00   $         31.77   $       481.77
604795-5   BRYANT COLLEGE/WESTFIELD                                $       247.50   $         17.47   $       264.97
604796-3   CHR TR DTD 1-14-61-PARAMETRIC-SUB                       $       139.50   $          9.85   $       149.35
604797-1   EAGLE VENTURE CAPITAL II LLC-PARA                       $       477.00   $         33.68   $       510.68
604798-0   CCC TAX MANAGED FUND LLC                                $     4,018.50   $        283.71   $     4,302.21
604799-8   GOVT OF SINGAPORE INVEST CORP AC C8                     $     2,025.00   $        142.97   $     2,167.97
604800-5   GUGGENHEIM VARIABLE                                     $       769.50   $         54.33   $       823.83
604802-1   WW CARUTH JR FOUNDATION                                 $       315.00   $         22.24   $       337.24
604804-8   NOMURA BK HESPERANGE                                    $     6,624.00   $        467.66   $     7,091.66
604805-6   GELIFE CAP INTL SING                                    $     4,950.00   $        349.47   $     5,299.47
604806-4   FIDELITY CAP MKT TRANSITION                             $     2,295.00   $        162.03   $     2,457.03
604808-0   PRINCIPAL VARIABLE CONTRACTS FUNDS INC. -               $       585.00   $         41.30   $       626.30
604809-9   PRINCIPAL FUNDS INC. - SMALLCAP FUND                    $     5,535.00   $        390.77   $     5,925.77
604810-2   PRINCIPAL FUNDS INC. - SMALLCAP GROWTH FUND I           $   119,592.00   $      8,443.28   $   128,035.28
604811-0   PFI SMALLCAP GROWTH FD I EMERALD                        $    17,451.00   $      1,232.05   $    18,683.05
604812-9   PFI SMALLCAP GROWTH FUND I CCI                          $     3,375.00   $        238.28   $     3,613.28
604813-7   PGIT SMALL CAP GROWTH EQUITY FD CCI                     $     2,160.00   $        152.50   $     2,312.50
604814-5   PRINCIPAL GLOBAL INVESTORS TRUST - SMALL CAP            $        45.00   $          3.18   $         48.18
604815-3   PRINCIPAL FUNDS INC. - SMALLCAP GROWTH FUND I           $     1,399.50   $         98.81   $     1,498.31
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 41 of 85 Page ID
                                     #:70769
Claim #    Claimant                                           Damages          PJI              Damages + PJI
604816-1   PRINCIPAL VARIABLE CONTRACTS FUNDS INC SMALLCAP    $     3,150.00   $       222.39   $     3,372.39
604817-0   PRINCIPAL VARIABLE CONTRACTS FUNDS INC SMALLCAP    $     4,950.00   $       349.47   $     5,299.47
604818-8   PRINCIPAL FUNDS INC - GLOBAL MULTI-STRATEGY FUND   $     7,200.00   $       508.32   $     7,708.32
604819-6   STANLIB FUNDS LIMITED                              $    32,850.00   $     2,319.23   $    35,169.23
604820-0   OCALA POLICE PENS HOOD RIVER                       $       337.50   $        23.83   $       361.33
604821-8   INTERNATIONAL EQUITY                               $     3,213.00   $       226.84   $     3,439.84
604822-6   INVESCO S&P SMALLCAP 600 EQUAL WEIGHT ETF          $        67.50   $         4.77   $         72.27
604824-2   IVZ DWA SMALLCAP MOMENTUM ETF                      $   137,911.50   $     9,736.65   $   147,648.15
604825-0   BLACKROCK GLOBAL FUNDS                             $    46,332.00   $     3,271.07   $    49,603.07
604826-9   BLACKROCK GLOBAL FUNDS                             $     3,091.50   $       218.26   $     3,309.76
604827-7   RAYMOND JAMES FINANCIAL INC                        $         9.00   $         0.64   $          9.64
604828-5   BIOSHARES BIOTECHNOL                               $       211.50   $        14.93   $       226.43
604829-3   ROXBURY/HOOD RIVER SMALL-CAP GROWTH FUND           $    12,051.00   $       850.81   $    12,901.81
604830-7   EUROBANK PRIVATE ATH                               $        22.50   $         1.59   $         24.09
604831-5   NOMURA BK HESPERANGE                               $     6,520.50   $       460.35   $     6,980.85
604832-3   IBEW LOCAL 351 PEN FD                              $       225.00   $        15.89   $       240.89
604833-1   PUBLIC EMPLOYEES RETIREMENT ASSOCIATION OF NEW     $     3,600.00   $       254.16   $     3,854.16
604835-8   BANK OF ISRAEL                                     $    11,470.50   $       809.83   $    12,280.33
604836-6   BK ISRAEL SS US EQ                                 $     4,086.00   $       288.47   $     4,374.47
604837-4   AGL RESOURCES                                      $       112.50   $         7.94   $       120.44
604838-2   AGL RESOURCES                                      $        22.50   $         1.59   $         24.09
604839-0   ALLEGHENY COUNTY RETIREMENT                        $     1,102.50   $        77.84   $     1,180.34
604840-4   ALLEGHENY COUNTY RETIREMENT                        $       805.50   $        56.87   $       862.37
604841-2   OF THE ARCHDIOCESE OF NEW YORK                     $       157.50   $        11.12   $       168.62
604842-0   ARCHDIOCESE OF NY MASTER TRUST                     $     5,760.00   $       406.66   $     6,166.66
604843-9   CATHEDRAL RESERVE & PERPETUAL                      $       607.50   $        42.89   $       650.39
604844-7   ST. JOSEPH'S SEMINARY & COLLEGE                    $       202.50   $        14.30   $       216.80
604845-5   CATHOLIC INDEMNITY INSURANCE                       $       247.50   $        17.47   $       264.97
604846-3   NEW YORK CATHOLIC FOUNDATION                       $       990.00   $        69.89   $     1,059.89
604847-1   MEDICA HEALTH PLAN                                 $     1,350.00   $        95.31   $     1,445.31
604848-0   CARPENTERS ANNUITY TRUST FUND                      $       283.50   $        20.02   $       303.52
604849-8   ANADARKO PETROLEUM PENSION                         $     2,988.00   $       210.95   $     3,198.95
604850-1   AMEREN SERVICES UNION                              $     2,245.50   $       158.53   $     2,404.03
604851-0   AMEREN CORPORATION                                 $     4,891.50   $       345.34   $     5,236.84
604852-8   INVESTMENTS TRUST                                  $     1,597.50   $       112.78   $     1,710.28
604853-6   INVESTMENTS TRUST                                  $     1,944.00   $       137.25   $     2,081.25
604854-4   BOARD OF PENSION PRESBYTERIAN CHURCH               $     2,101.50   $       148.37   $     2,249.87
604855-2   CITY OF BOSTON TRUST FUNDS                         $       315.00   $        22.24   $       337.24
604856-0   PARISH OF EAST BATON ROUGE                         $     4,090.50   $       288.79   $     4,379.29
604857-9   BELLSOUTH RFA VEBA TRUST                           $       450.00   $        31.77   $       481.77
604858-7   CHRISTIAN BROTHERS INVESTMENT SERVICES             $     1,377.00   $        97.22   $     1,474.22
604859-5   CLEVELAND CLINIC FOUNDATION                        $     6,232.50   $       440.02   $     6,672.52
604860-9   CLEVELAND CLINIC FOUNDATION                        $       990.00   $        69.89   $     1,059.89
604861-7   CF ENHANCED ASSET ALLOCATION                       $       189.00   $        13.34   $       202.34
604862-5   CF RUSSELL 2000 STOCK INDEX                        $       540.00   $        38.12   $       578.12
604863-3   GOLDMAN SACHS - CENTRAL STATES                     $     7,731.00   $       545.81   $     8,276.81
604864-1   CATHOLIC HEALTH INITIATIVES-NON PENSION            $     3,060.00   $       216.04   $     3,276.04
604865-0   CATHOLIC HEALTH INITIATIVES-PENSION                $     1,867.50   $       131.85   $     1,999.35
604866-8   COOPER INDUSTRIES INC PENSION PLAN                 $     1,903.50   $       134.39   $     2,037.89
604867-6   CITIGROUP PENSION PLAN TRUST                       $     6,277.50   $       443.20   $     6,720.70
604868-4   CONOCOPHILLIPS PEN MASTER TR                       $       153.00   $        10.80   $       163.80
604869-2   COMM OF PA - PMRS                                  $     6,475.50   $       457.17   $     6,932.67
604870-6   COMM OF PA - SWIF                                  $     1,660.50   $       117.23   $     1,777.73
604871-4   CATHOLIC FOREIGN MISSION COMMON FUND               $        67.50   $         4.77   $         72.27
604872-2   D61-TIMES SQUARE CAP                               $       450.00   $        31.77   $       481.77
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 42 of 85 Page ID
                                     #:70770
Claim #    Claimant                                        Damages          PJI              Damages + PJI
604873-0   SOUTHWEST GAS CORPORATION                       $     3,577.50   $       252.57   $     3,830.07
604874-9   DIVERSIFIED ALPHA GROUP TRUST                   $     3,186.00   $       224.93   $     3,410.93
604875-7   CHI DIST COUNSEL OF CARPENTERS PENSION FD       $    18,076.50   $     1,276.21   $    19,352.71
604876-5   GENERAL RETIREMENT SYSTEM CITY OF DETROIT       $     6,322.50   $       446.37   $     6,768.87
604877-3   DEL MONTE FOODS INC RET PLAN                    $       450.00   $        31.77   $       481.77
604878-1   DELTA LLOYD LEVENSVERZEKERINGEN NV              $    18,774.00   $     1,325.46   $    20,099.46
604879-0   EB COMPLETION STOCK INDEX FUND                  $     1,957.50   $       138.20   $     2,095.70
604880-3   EB COMPLETION STOCK INDEX FUND                  $     1,305.00   $        92.13   $     1,397.13
604881-1   ERIE INDEMNITY CO. AS ATTY.                     $     5,274.00   $       372.35   $     5,646.35
604882-0   ERIE INDEMNITY CO. AS ATTY.                     $     2,110.50   $       149.00   $     2,259.50
604883-8   EB RUSSELL 2000 STOCK INDEX                     $    14,004.00   $       988.69   $    14,992.69
604884-6   EB RUSSELL 2000 STOCK INDEX                     $     1,867.50   $       131.85   $     1,999.35
604885-4   F87-WELLINGTON GEN                              $       751.50   $        53.06   $       804.56
604886-2   FAIRFAX CO PUBLIC SCHOOLS                       $     5,287.50   $       373.30   $     5,660.80
604887-0   FIRST INITIATIVES INSURANCE LTD                 $        90.00   $         6.35   $         96.35
604888-9   FL NEUROLOGICAL INJURY COMP PL                  $     1,930.50   $       136.29   $     2,066.79
604890-0   GMI/DRI INV TR PENSION & SAVINGS                $    10,701.00   $       755.50   $    11,456.50
604891-9   GENERAL MILLS VEBA                              $     1,458.00   $       102.94   $     1,560.94
604892-7   CITY OF HARTFORD MUNICIPAL                      $     2,385.00   $       168.38   $     2,553.38
604893-5   HEWLETT PACKARD COMPANY 401K PLAN               $    13,500.00   $       953.11   $    14,453.11
604894-3   INTEGRYS ENERGY GROUP RETIREMENT PLAN TRUST     $     4,140.00   $       292.29   $     4,432.29
604895-1   INLAND INC. PENSION TRUST                       $     1,642.50   $       115.96   $     1,758.46
604896-0   IOWA PUBLIC EMPLOYEES RET SYS                   $       922.50   $        65.13   $       987.63
604897-8   GREEN-WOOD PERPETUAL CARE FUND                  $     1,048.50   $        74.02   $     1,122.52
604898-6   JOHN DEERE PENSION TRUST                        $    22,464.00   $     1,585.97   $    24,049.97
604899-4   KENT COUNTY MEMORIAL HOSP MED MALPRACTICE TR    $       450.00   $        31.77   $       481.77
604900-1   PUBLIC SCHOOL RETIREMENT SYSTEM OF THE SCHOOL   $     1,012.50   $        71.48   $     1,083.98
604901-0   TEACHERS RETIREMENT SYSTEM                      $    21,064.50   $     1,487.17   $    22,551.67
604902-8   COUNTY OF LOS ANGELES 457 PLAN                  $    45,171.00   $     3,189.10   $    48,360.10
604903-6   RESERVED FOR SHEET METAL WORKERS                $     2,137.50   $       150.91   $     2,288.41
604904-4   LABORERS COMBINED - PESNION                     $     1,597.50   $       112.78   $     1,710.28
604905-2   LOS ANGELES DEPT OF WATER AND POWER RET         $    56,070.00   $     3,958.58   $    60,028.58
604906-0   LOS ANGELES DEPT OF WATER AND POWER RET         $     9,540.00   $       673.53   $    10,213.53
604907-9   ARCHDIOCESE OF PHILADELPHIA                     $       450.00   $        31.77   $       481.77
604909-5   RESERVED FOR JAMES W BURNS                      $    37,566.00   $     2,652.19   $    40,218.19
604910-9   TEACHERS RETIREMENT SYSTEM OF LOUISIANA         $       427.50   $        30.18   $       457.68
604911-7   TEACHERS RETIREMENT SYSTEM OF LOUISIANA         $    46,557.00   $     3,286.96   $    49,843.96
604913-3   UNIVERSITY OF MASSACHUSETTS                     $     4,774.50   $       337.08   $     5,111.58
604914-1   UNIVERSITY OF MASSACHUSETTS                     $     2,052.00   $       144.87   $     2,196.87
604915-0   UNIVERSITY OF MAINE SYSTEM ENDOWMENT            $       652.50   $        46.07   $       698.57
604916-8   MINISTERS AND MISSIONARIES                      $     4,050.00   $       285.93   $     4,335.93
604917-6   MANVILLE SETTLEMENT TRUST                       $       450.00   $        31.77   $       481.77
604918-4   MET WATER RECLAM DIST RETRMNT                   $     3,289.50   $       232.24   $     3,521.74
604920-6   EXCHANGE INDEMNITY COMPANY                      $     1,692.00   $       119.46   $     1,811.46
604921-4   NORTHEAST UTILITIES SERVICE CO.                 $     4,644.00   $       327.87   $     4,971.87
604922-2   NEW HAMPSHIRE RETIREMENT SYS                    $    20,641.50   $     1,457.30   $    22,098.80
604923-0   NEW JERSEY CARPENTERS PENSION                   $     4,162.50   $       293.88   $     4,456.38
604924-9   ROGERSCASEY TARGET SOLUTIONS                    $        31.50   $         2.22   $         33.72
604925-7   SHEET METAL WORKERS NPF                         $     9,180.00   $       648.11   $     9,828.11
604927-3   BA MASTER TRUST                                 $    14,044.83   $       991.57   $    15,036.40
604928-1   OPERATING ENGINEERS LOCAL 101                   $     3,105.00   $       219.22   $     3,324.22
604931-1   RESERVED FOR BURNS JAMES W                      $     5,625.00   $       397.13   $     6,022.13
604932-0   RESERVED FOR BURNS JAMES W                      $    15,111.00   $     1,066.85   $    16,177.85
604933-8   POLYONE CORPORATION MASTER TRUST                $     3,285.00   $       231.92   $     3,516.92
604934-6   PURDUE INVESTMENT POOL                          $       810.00   $        57.19   $       867.19
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 43 of 85 Page ID
                                     #:70771
Claim #    Claimant                                        Damages          PJI              Damages + PJI
604935-4   DEVELOPED EQUITIES POOL 2009                    $    25,650.00   $     1,810.91   $    27,460.91
604936-2   PORT AUTHORITY OF ALLEGHENY CO-LOCAL 85 TRUST   $     2,691.00   $       189.99   $     2,880.99
604937-0   FPL ENERGY POINT BEACH LLC                      $       450.00   $        31.77   $       481.77
604938-9   PG&E RETIREMENT PLAN                            $       787.50   $        55.60   $       843.10
604939-7   PENSIOENFONDS HORECA & CATERING                 $     1,557.00   $       109.93   $     1,666.93
604940-0   PIC MID-CAP INVESTMENT TR (DBT)                 $     3,375.00   $       238.28   $     3,613.28
604941-9   PFAFFINGER FOUNDATION                           $       292.50   $        20.65   $       313.15
604942-7   PACIFIC GAS & ELECTRIC CO                       $       450.00   $        31.77   $       481.77
604943-5   PG&E POST RET MED COL-BAR VEBA                  $        36.00   $         2.54   $         38.54
604944-3   CARPENTERS PENSION TRUST FUND                   $     1,350.00   $        95.31   $     1,445.31
604945-1   CARPENTERS PENSION TRUST FUND                   $       553.50   $        39.08   $       592.58
604946-0   PNC FINANCIAL SERVICES GROUP INC.               $     1,867.50   $       131.85   $     1,999.35
604947-8   INDIANA PUBLIC EMPLOYEES                        $     1,170.00   $        82.60   $     1,252.60
604948-6   PRUDENTIAL RETIREMENT ACCTS                     $     5,620.50   $       396.81   $     6,017.31
604949-4   PUBLIC EMPLOYEE RET SYS OF IDAHO                $     1,521.00   $       107.38   $     1,628.38
604950-8   PACIFIC SPECIALTY INSURANCE                     $       229.50   $        16.20   $       245.70
604956-7   SO CAROLINA RETIREMENT SYSTEMS                  $    17,100.00   $     1,207.27   $    18,307.27
604958-3   SOUTHERN CALIFORNIA EDISON RET PLAN             $     1,489.50   $       105.16   $     1,594.66
604959-1   SMITHFIELD FOODS MASTER TRUST                   $       576.00   $        40.67   $       616.67
604960-5   SEPTA-EMPLOYEE PENSION                          $     2,122.72   $       149.87   $     2,272.59
604961-3   SHANDS TEACHING HOSPITAL/PENSION                $     2,209.50   $       155.99   $     2,365.49
604963-0   ADMIN OFFICE OF NORTHERN CA                     $         9.00   $         0.64   $          9.64
604964-8   FPL NDT SEABROOK                                $     2,700.00   $       190.62   $     2,890.62
604967-2   TD HEALTH SCIENCES FUND                         $    86,674.41   $     6,119.27   $    92,793.68
604968-0   AT&T SAVINGS GROUP INVESTMENT TRUST             $    12,154.50   $       858.12   $    13,012.62
604969-9   EMPLOYEES RETIREMENT SYSTEM OF TEXAS            $     1,449.00   $       102.30   $     1,551.30
604970-2   TELUS FOREIGN EQUITY ACTIVE                     $    82,800.00   $     5,845.74   $    88,645.74
604971-0   NORTHERN LIGHTS FUND TRUST III                  $     1,264.50   $        89.27   $     1,353.77
604972-9   UNION BANK RETIREMENT PLAN                      $    13,005.00   $       918.16   $    13,923.16
604973-7   UNITED CHURCH FUNDS INC.                        $     1,665.00   $       117.55   $     1,782.55
604974-5   UCLA FOUNDATION                                 $     1,350.00   $        95.31   $     1,445.31
604975-3   UNIVERSITY OF MICHIGAN ENDOWMENT FUND           $    54,900.00   $     3,875.98   $    58,775.98
604976-1   THE UNITED METHODIST CHURCH                     $    30,334.50   $     2,141.64   $    32,476.14
604977-0   THE UNITED METHODIST CHURCH                     $        49.50   $         3.49   $         52.99
604978-8   UNITED TECHNOLOGIES CORP                        $       342.00   $        24.15   $       366.15
604979-6   UNITED TECHNOLOGIES CORP                        $     8,514.00   $       601.09   $     9,115.09
604980-0   VIRGINIA HIGHER EDUCATION                       $    11,452.50   $       808.55   $    12,261.05
604981-8   VEBA PARTNERSHIP N LP                           $     4,986.00   $       352.02   $     5,338.02
604982-6   VIRGINIA SUPPLEMENTAL RETIREMENT SYSTEM         $       450.00   $        31.77   $       481.77
604983-4   VIRGINIA SUPPLEMENTAL RETIREMENT SYSTEM         $    18,000.00   $     1,270.81   $    19,270.81
604984-2   VERIZON MASTER TRUST                            $    71,617.50   $     5,056.25   $    76,673.75
604985-0   THE SALVATION ARMY                              $     1,350.00   $        95.31   $     1,445.31
604986-9   WORCESTERSHIRE COUNTY COUNCIL                   $    21,307.50   $     1,504.32   $    22,811.82
604987-7   WHEATON COLLEGE OF ILLINOIS                     $    14,004.00   $       988.69   $    14,992.69
604988-5   WISCONSIN PUBLIC SERVICE                        $       450.00   $        31.77   $       481.77
604989-3   CIBC U.S. BROAD MARKET INDEX                    $       297.00   $        20.97   $       317.97
604990-7   J C MITCHELL - PARA LARGE CAP RUSS              $        54.00   $         3.81   $         57.81
604992-3   EX FAM TR UA L STEARNS - RUSSELL                $        31.50   $         2.22   $         33.72
604993-1   TOM KARTSOTIS - OAP GHS                         $       139.50   $         9.85   $       149.35
604994-0   THE BURGESS FAMILY TR - OAP GHS                 $       139.50   $         9.85   $       149.35
604995-8   DAVID AND JANE ALBERT-OAP GHS                   $       139.50   $         9.85   $       149.35
604996-6   STEPHEN A SCHWARZMAN - OAP GHS                  $     2,781.00   $       196.34   $     2,977.34
604997-4   JOHN CANDACE OLDS 02 TR -OAP GHS                $        67.50   $         4.77   $         72.27
604998-2   BERNBAUM FAMILY LP-OAP GHS                      $        40.50   $         2.86   $         43.36
604999-0   MICHAEL E SHADE - OAP GHS                       $        27.00   $         1.91   $         28.91
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 44 of 85 Page ID
                                     #:70772
Claim #    Claimant                               Damages            PJI           Damages + PJI
605000-0   SANDRA L STONER REV TR-OAP GHS         $          27.00   $      1.91   $         28.91
605001-8   JOHN T AND IOANNA DONOHUE - OAP GHS    $          27.00   $      1.91   $         28.91
605002-6   STEPHANIE A HOLMES - OAP GHS           $          54.00   $      3.81   $         57.81
605003-4   CATHERINE N CABRERA TOD - OAP GHS      $          81.00   $      5.72   $         86.72
605004-2   REV TR OF MONTAGUE P WOLFSON-OAP GHS   $          40.50   $      2.86   $         43.36
605005-0   DAVID J ADAMS TOD - OAP GHS            $          27.00   $      1.91   $         28.91
605006-9   WEIGUANG SHAO AND ZHEN CHEN- OAP GHS   $          27.00   $      1.91   $         28.91
605007-7   JOSHUA NEUBAUER - OAP GHS              $          27.00   $      1.91   $         28.91
605008-5   KAMBIZ COHEN-KASHI - OAP GHS           $          27.00   $      1.91   $         28.91
605009-3   ANN E. SILVERMAN REV TRUST - OAP GHS   $          27.00   $      1.91   $         28.91
605010-7   DEL GATTO TRUST - OAP GHS              $          27.00   $      1.91   $         28.91
605011-5   THE J T CORSINITA FAMILY TR- OAP GHS   $          27.00   $      1.91   $         28.91
605012-3   KRIS A NICHOLSON REVOCABLE-OAP GHS     $          67.50   $      4.77   $         72.27
605013-1   EHTERAM ALIMASHRAB TOD-OAP GHS         $          27.00   $      1.91   $         28.91
605014-0   FRANK EILAM AND DIANA EILAM-OAP GHS    $          27.00   $      1.91   $         28.91
605015-8   MARK J CHRISTIANSEN TOD-OAP GHS        $          27.00   $      1.91   $         28.91
605016-6   ROBERT A ELYA LIVING TR - OAP GHS      $          27.00   $      1.91   $         28.91
605017-4   STEVEN CADWALLADER TOD - OAP GHS       $          36.00   $      2.54   $         38.54
605018-2   BETH M TANELLI -OAP GHS                $          40.50   $      2.86   $         43.36
605019-0   MAI N AND KEITH THOMAS-OAP GHS         $          40.50   $      2.86   $         43.36
605020-4   JERRY AND BARBARA BURKE TOD-OAP GHS    $          27.00   $      1.91   $         28.91
605021-2   JOHN D AND MICHELE M ATKINS- OAP GHS   $          27.00   $      1.91   $         28.91
605022-0   DOLORES BILLOTE TOD - OAP GHS          $          27.00   $      1.91   $         28.91
605023-9   CHAN FAMILY TRUST-OAP GHS              $          27.00   $      1.91   $         28.91
605024-7   BESTWOOD TRUST II - OAP GHS            $         144.00   $     10.17   $       154.17
605025-5   T J S S WATTAWA REV LIV TR-OAP GHS     $          40.50   $      2.86   $         43.36
605026-3   NIAZAHMED P SHAIKH LIV TRUST-OAP GHS   $          72.00   $      5.08   $         77.08
605027-1   SUKETU A GANDHI - OAP GHS              $          27.00   $      1.91   $         28.91
605028-0   JAMES JOAN GARBOSKI - OAP GHS          $          27.00   $      1.91   $         28.91
605029-8   THE WEEKES FAMILY TRUST - OAP GHS      $          27.00   $      1.91   $         28.91
605030-1   HAMARA VENTURES LTD - OAP GHS          $          27.00   $      1.91   $         28.91
605031-0   RONALD DELGAUDIO - OAP GHS             $         108.00   $      7.62   $       115.62
605032-8   MATTHEW AND LISA ROSE - OAP GHS        $         760.50   $     53.69   $       814.19
605033-6   LEWIS TEPPER- OAP GHS                  $         220.50   $     15.57   $       236.07
605034-4   THE WONG FAMILY TRUST - OAP GHS        $          45.00   $      3.18   $         48.18
605035-2   JJ MANN TR                             $          31.50   $      2.22   $         33.72
605036-0   ALAN AND LEE ANN WHITE - OAP GHS       $          76.50   $      5.40   $         81.90
605037-9   KRISTEN K HABICH MGMT TR- OAP GHS      $          31.50   $      2.22   $         33.72
605038-7   M S KORNWASSER FAM TR-OAP GHS          $          58.50   $      4.13   $         62.63
605039-5   RICHARD RUBEN 1996 FAMILY TR-OAP GHS   $         459.00   $     32.41   $       491.41
605040-9   STEVEN J SIMMONS - OAP GHS             $         130.50   $      9.21   $       139.71
605041-7   DIPO C SANI - OAP GHS                  $          72.00   $      5.08   $         77.08
605042-5   MICHAEL A. DOWNS REV TR-OAP GHS        $          58.50   $      4.13   $         62.63
605043-3   RICHARD J. COLOMBO REV TR RE-OAP GHS   $          40.50   $      2.86   $         43.36
605044-1   ALTROCK LIVING TRUST - OAP GHS         $         153.00   $     10.80   $       163.80
605045-0   DONALD A SMITH-OAP GHS                 $          45.00   $      3.18   $         48.18
605046-8   Q ZHANG M NAN QU - OAP GHS             $          58.50   $      4.13   $         62.63
605047-6   LAWRENCE ANDREA WOLFE-OAP GHS          $         175.50   $     12.39   $       187.89
605048-4   JOSEPH A SIMON JR. TRUST-OAP GHS       $          72.00   $      5.08   $         77.08
605049-2   SIMON P LEVINE- OAP GHS                $          27.00   $      1.91   $         28.91
605050-6   RITCHIE INV PTNRSHP LLLP-OAP GHS       $          40.50   $      2.86   $         43.36
605051-4   ELYSIA HOLT RAGUSA - OAP GHS           $          54.00   $      3.81   $         57.81
605052-2   D B SCHEIDEMAN TRUST A - OAP GHS       $          27.00   $      1.91   $         28.91
605053-0   ROBERT VERDE TOD - OAP GHS             $          31.50   $      2.22   $         33.72
605054-9   R AND S ANGELO REV TR - OAP GHS        $          31.50   $      2.22   $         33.72
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 45 of 85 Page ID
                                     #:70773
Claim #    Claimant                               Damages          PJI           Damages + PJI
605055-7   STEVEN CLARE WARSHAVSKY - OAP GHS      $        31.50   $      2.22   $         33.72
605056-5   KEVIN D JILL C PLEIN - OAP GHS         $        31.50   $      2.22   $         33.72
605057-3   ADRIEN ALLEZ - OAP GHS                 $        31.50   $      2.22   $         33.72
605058-1   MICHAEL INA SCHNEIDERMAN - OAP GHS     $        36.00   $      2.54   $         38.54
605059-0   SUZE R BRUTUS - OAP GHS                $        67.50   $      4.77   $         72.27
605060-3   RONALD CAROL S CLARK TOD - OAP GHS     $        31.50   $      2.22   $         33.72
605061-1   RICHARD A MARTHA A SABOL - OAP GHS     $        31.50   $      2.22   $         33.72
605062-0   JAMES CYNTHIA OLEARY - OAP GHS         $        31.50   $      2.22   $         33.72
605063-8   E J MUFSON C A CRAIG TOD - OAP GHS     $        31.50   $      2.22   $         33.72
605064-6   VINCENT W WONG -OAP GHS                $        31.50   $      2.22   $         33.72
605065-4   WASSIM SAIKALI - OAP GHS               $        31.50   $      2.22   $         33.72
605066-2   THE MARION WEINZWEIG REV TR-OAP GHS    $        36.00   $      2.54   $         38.54
605067-0   MATTHEW ONOFRIETTI FAM REV TR-GHS      $        31.50   $      2.22   $         33.72
605068-9   MICHAEL S MINIKES - OAP GHS            $        76.50   $      5.40   $         81.90
605069-7   ROBERT H PEARLMAN-OAP GHS              $        90.00   $      6.35   $         96.35
605070-0   THE SCHEEL LIVING TRUST-OAP GHS        $        45.00   $      3.18   $         48.18
605071-9   BEVERLY STEDMAN-OAP GHS                $        27.00   $      1.91   $         28.91
605072-7   HANS GRASS REV TR -OAP GHS             $        85.50   $      6.04   $         91.54
605073-5   ANTHONY G SANDRA L LOUCAS- OAP GHS     $        85.50   $      6.04   $         91.54
605074-3   MLS TRUST - OAP GHS                    $        27.00   $      1.91   $         28.91
605075-1   LANA KANG-OAP GHS                      $        27.00   $      1.91   $         28.91
605076-0   MARTIN SNOW - OAP GHS                  $        27.00   $      1.91   $         28.91
605077-8   PEGAH B ETESSAMI TOD-OAP GHS           $        72.00   $      5.08   $         77.08
605078-6   ZHENHAI GUO - OAP GHS                  $        27.00   $      1.91   $         28.91
605079-4   LINDA J BELLSTROM LIV TR - OAP GHS     $        27.00   $      1.91   $         28.91
605080-8   S SAWALHA AND A MASANNAT TOD-OAP GHS   $        27.00   $      1.91   $         28.91
605081-6   ANTHONY D MULLOZZI JR FAM TR-OAP GHS   $        27.00   $      1.91   $         28.91
605082-4   RICHARD MARGARET SCOTT-OAP GHS         $        31.50   $      2.22   $         33.72
605083-2   TODD LANGER -OAP GHS                   $       112.50   $      7.94   $       120.44
605084-0   PRAMILA K KOLISETTY TOD - OAP GHS      $        27.00   $      1.91   $         28.91
605085-9   EDWARD M PEINE TOD -OAP GHS            $        27.00   $      1.91   $         28.91
605086-7   KAREN SOLOROW - OAP GHS                $        27.00   $      1.91   $         28.91
605087-5   RENEE CIPRIANO TOD - OAP GHS           $        27.00   $      1.91   $         28.91
605088-3   MARCIA M PFEFFERLE-OAP GHS             $        27.00   $      1.91   $         28.91
605089-1   MARCIO ROBERTA KAISER - OAP GHS        $        81.00   $      5.72   $         86.72
605090-5   ROBERT N MORGAN BYPASS TRUST-OAP GHS   $        27.00   $      1.91   $         28.91
605091-3   HONG B TAN - OAP GHS                   $        27.00   $      1.91   $         28.91
605092-1   SNAPDRAGON TRUST-OAP GHS               $        27.00   $      1.91   $         28.91
605093-0   KATY HAUN TOD - OAP GHS                $        27.00   $      1.91   $         28.91
605094-8   MICHAEL CHIU TOD-OAP GHS               $        27.00   $      1.91   $         28.91
605095-6   LAURA AND YUEH S YANG -OAH GHS         $        54.00   $      3.81   $         57.81
605096-4   IRIS D PODOLSKY REV TRUST-OAP GHS      $        27.00   $      1.91   $         28.91
605097-2   JOSHUA R WEINER - OAP GHS              $        27.00   $      1.91   $         28.91
605098-0   LAM FINANCIAL HOLDINGS LTD - OAP GHS   $     1,372.50   $     96.90   $     1,469.40
605099-9   MARC KYLE LAURICELLA - OAP GHS         $        54.00   $      3.81   $         57.81
605100-6   STEVEN B WARSAW REV TRUST-OAP GHS      $        54.00   $      3.81   $         57.81
605101-4   ANDREW ROBIN STAMELMAN -OAP GHS        $        36.00   $      2.54   $         38.54
605102-2   GEOFFREY A. ORLEY REV TR-OAP GHS       $        58.50   $      4.13   $         62.63
605103-0   SALZMAN REVOCABLE TRUST - OAP GHS      $        54.00   $      3.81   $         57.81
605104-9   THE LYDIA W FALK TR - OAP GHS          $        31.50   $      2.22   $         33.72
605105-7   MANISH AND INA PATEL - OAP GHS         $        54.00   $      3.81   $         57.81
605106-5   DENNIS AND BRENDA SHEPHERD-OAP GHS     $        27.00   $      1.91   $         28.91
605107-3   MICHAEL AND FREIDA PHILLIPS-OAP GHS    $        27.00   $      1.91   $         28.91
605108-1   THE GUTMAN FAMILY REV TRUST-OAP GHS    $        27.00   $      1.91   $         28.91
605109-0   Z T AND A ALIKHAN TOD - OAP GHS        $        27.00   $      1.91   $         28.91
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 46 of 85 Page ID
                                     #:70774
Claim #    Claimant                               Damages            PJI           Damages + PJI
605110-3   CHARLES F III AND MJ MARTIN- OAP GHS   $          27.00   $      1.91   $         28.91
605111-1   ROBERT AND JANET GRAF REV TR-OAP GHS   $          85.50   $      6.04   $         91.54
605112-0   DARRYL NANCI THOMANDER TOD-OAP GHS     $          31.50   $      2.22   $         33.72
605113-8   ISMAEL LEYVA - OAP GHS                 $          27.00   $      1.91   $         28.91
605114-6   PHILIPE DELOUVRIER- OAP GHS            $          27.00   $      1.91   $         28.91
605115-4   DONALD AND SHAUNA POLLMANN-OAP GHS     $          27.00   $      1.91   $         28.91
605116-2   RONALD AND GLORIA SAVIN - OAP GHS      $          27.00   $      1.91   $         28.91
605117-0   BROOKS H BOWER-OAP GHS                 $          81.00   $      5.72   $         86.72
605118-9   RANDALL C. ORLEY REV TR-OAP GHS        $         144.00   $     10.17   $       154.17
605119-7   JJ MANN TR                             $          31.50   $      2.22   $         33.72
605120-0   HELEN JUE DU-OAP GHS                   $         225.00   $     15.89   $       240.89
605121-9   GALLAGHER FAMILY TRUST -OAP GHS        $         135.00   $      9.53   $       144.53
605122-7   CHARLES AND CYNTHIA HADDAD - OAP GHS   $          76.50   $      5.40   $         81.90
605123-5   JAMES I PERKINS - OAP GHS              $         450.00   $     31.77   $       481.77
605124-3   STEPHEN J KASZYNSKI -OAP GHS           $          31.50   $      2.22   $         33.72
605125-1   JOYCE 2011 DESCENDANTS TR - OAP GHS    $          90.00   $      6.35   $         96.35
605126-0   DMT FINANCIAL LLC - OAP GHS            $          63.00   $      4.45   $         67.45
605127-8   LISA MERRITT-OAP GHS                   $          27.00   $      1.91   $         28.91
605128-6   BARBARA B RILEY REV TR - OAP GHS       $          72.00   $      5.08   $         77.08
605129-4   CATHRYN KUSAKA FRASER - OAP GHS        $          45.00   $      3.18   $         48.18
605130-8   CARL W. VON BERNUTH - OAP GHS          $         315.00   $     22.24   $       337.24
605131-6   GUTHRIE 2012 INVESTMENTS LP-OAP GHS    $          31.50   $      2.22   $         33.72
605132-4   RICHARD BARBARA JOSEPHSON-OAP GHS      $          31.50   $      2.22   $         33.72
605133-2   DEAN MUELLER REV TR - OAP GHS          $         148.50   $     10.48   $       158.98
605134-0   ARMAND AND LYNN SHAPIRO - OAP GHS      $          58.50   $      4.13   $         62.63
605135-9   LARRY I AND FERN KANE-OAP GHS          $         139.50   $      9.85   $       149.35
605136-7   AMIT ARPITA BHANDARI - OAP GHS         $          54.00   $      3.81   $         57.81
605137-5   GABRIELLE DE KUYPER BEKINK - OAP GHS   $         139.50   $      9.85   $       149.35
605138-3   LOIS D JULIBER - OAP GHS               $         274.50   $     19.38   $       293.88
605139-1   CERVANTES PORTFOLIO LLC-OAP GHS        $         279.00   $     19.70   $       298.70
605140-5   GEORGE B FOUSSIANES - OAP GHS          $          58.50   $      4.13   $         62.63
605141-3   JOSEPH KATHLEEN CAPRARO JR-OAP GHS     $          54.00   $      3.81   $         57.81
605142-1   BARTH EDWARD WHITHAM - OAP GHS         $         558.00   $     39.40   $       597.40
605143-0   JOSEPH M ODILE F YACOUB-OAP GHS        $          36.00   $      2.54   $         38.54
605144-8   BONNIE SILVERMAN TOD - OAP GHS         $          31.50   $      2.22   $         33.72
605145-6   KOTA NAKASHIMA TOD - OAP GHS           $          31.50   $      2.22   $         33.72
605146-4   M ZENG W LIU LIV TR-OAP GHS            $          63.00   $      4.45   $         67.45
605147-2   JAMES R AND SYLVIA M SAGAT-OAP GHS     $          31.50   $      2.22   $         33.72
605148-0   ETON VANESSA HO FAM TR-OAP GHS         $          27.00   $      1.91   $         28.91
605149-9   DANIEL A GREEN TOD - OAP GHS           $          49.50   $      3.49   $         52.99
605150-2   THE CHO TRUST-OAP GHS                  $          31.50   $      2.22   $         33.72
605151-0   DEIN L AND MAGDALENE BOYLE-OAP GHS     $          31.50   $      2.22   $         33.72
605152-9   M RECTO AND C M ALCID - OAP GHS        $          45.00   $      3.18   $         48.18
605153-7   LOTUS I 2010 FAMILY TRUST OAP - GHS    $          31.50   $      2.22   $         33.72
605154-5   J M B J DARLING JT LIV TR- OAP GHS     $          45.00   $      3.18   $         48.18
605155-3   DENNIS J LOOTENS - OAP GHS             $          31.50   $      2.22   $         33.72
605156-1   JOE W CONANT TOD-OAP GHS               $          72.00   $      5.08   $         77.08
605157-0   RANDALL DEBORAH RIGGS - OAP GHS        $          31.50   $      2.22   $         33.72
605158-8   L R PURTELL ESTATE RED TR-OAP GHS      $          36.00   $      2.54   $         38.54
605159-6   GLENN P. /OR MARTHA GODART -OAP GHS    $          31.50   $      2.22   $         33.72
605160-0   DALE S LOUANNA J NEPSA - OAP GHS       $          31.50   $      2.22   $         33.72
605161-8   STEVEN A ANTOLINE -OAP GHS             $         162.00   $     11.44   $       173.44
605162-6   STEPHAN W JAKLITSCH - OAP GHS          $          31.50   $      2.22   $         33.72
605163-4   WOLFE FAMILY TRUST - OAP GHS           $          27.00   $      1.91   $         28.91
605164-2   SANDRA E OWENS FARROW LIV TR-OAP GHS   $          31.50   $      2.22   $         33.72
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 47 of 85 Page ID
                                     #:70775
Claim #    Claimant                               Damages            PJI           Damages + PJI
605165-0   A FAISAL-JIMENEZ R JIMENEZ-OAP GHS     $          31.50   $      2.22   $         33.72
605166-9   JOEL D GINGISS TRUST - OAP GHS         $          31.50   $      2.22   $         33.72
605167-7   ROBERT F YOUNG REV TRUST-OAP GHS       $          27.00   $      1.91   $         28.91
605168-5   LIANG ZHOU WEI WU - OAP GHS            $          27.00   $      1.91   $         28.91
605169-3   VASSAL SR AND DORIS JOHNSON- OAP GHS   $          27.00   $      1.91   $         28.91
605170-7   LYNN MILLER SOCOL REV TR - OAP GHS     $          72.00   $      5.08   $         77.08
605171-5   FRED AND MIRIAM ANTONINI - OAP GHS     $          27.00   $      1.91   $         28.91
605172-3   W AND M CICCARELLI-OAP GHS             $          40.50   $      2.86   $         43.36
605173-1   JOHN J AND DINA A KRITSAS - OAP GHS    $          27.00   $      1.91   $         28.91
605174-0   JOHN R AND SHARON TARVIN-OAP GHS       $          85.50   $      6.04   $         91.54
605175-8   DMS PARTNERS - OAP GHS                 $          27.00   $      1.91   $         28.91
605176-6   JOSEPH P. SANZO TRUST- OAP GHS         $          27.00   $      1.91   $         28.91
605177-4   RICHARD J FISCHEL - OAP GHS            $          54.00   $      3.81   $         57.81
605178-2   ROBERT M OLSHEVER - OAP GHS            $          67.50   $      4.77   $         72.27
605179-0   THE RONALDO J FLANK TR - OAP GHS       $          27.00   $      1.91   $         28.91
605180-4   JOANNE BERKE -OAP GHS                  $          27.00   $      1.91   $         28.91
605181-2   BEN MAR LTD-OAP GHS                    $         544.50   $     38.44   $       582.94
605182-0   STANLEY AND MADELEIN TITLE -GHS        $          40.50   $      2.86   $         43.36
605183-9   C K FARMER - OAP GHS                   $          90.00   $      6.35   $         96.35
605184-7   GARY BARBER LIVING TRUST-OAP GHS       $         553.50   $     39.08   $       592.58
605185-5   S MEKENIAN L DAVIDIAN-OAP GHS          $          36.00   $      2.54   $         38.54
605186-3   WILLIAM F. HOLT- OAP GHS               $          58.50   $      4.13   $         62.63
605187-1   HHB HOLDINGS LLC- OAP GHS              $          36.00   $      2.54   $         38.54
605188-0   RIMA LAL - OAP GHS                     $          58.50   $      4.13   $         62.63
605189-8   SMDUDEK FAMILY TRUST                   $          40.50   $      2.86   $         43.36
605190-1   JACK STRAW PARTNERS LLC - OAP GHS      $          72.00   $      5.08   $         77.08
605191-0   WALLACE DARLENE NUTTER-OAP GHS         $         211.50   $     14.93   $       226.43
605192-8   B NAHEY 2012 DESC TR                   $          85.50   $      6.04   $         91.54
605193-6   SUNIL L. SANI LT TRUST - OAP GHS       $          72.00   $      5.08   $         77.08
605194-4   JOSE AND DONNA JACOBO TOD - OAP GHS    $          27.00   $      1.91   $         28.91
605195-2   RAJ URMILA BHAKTA REV TR-OAP GHS       $          27.00   $      1.91   $         28.91
605196-0   HAITHAM J KONJA LIVING TRUST-OAP GHS   $          27.00   $      1.91   $         28.91
605197-9   HANNAH I WIER 2013 GIFT TR-OAP GHS     $          27.00   $      1.91   $         28.91
605198-7   DOUGLAS L MUMMERT- OAP GHS             $          27.00   $      1.91   $         28.91
605199-5   ANDREA PINES TOD- OAP GHS              $          49.50   $      3.49   $         52.99
605200-2   NEMETH FAMILY TRUST - OAP GHS          $          31.50   $      2.22   $         33.72
605201-0   PRAKASH MANJEET RAO TOD-OAP GHS        $          27.00   $      1.91   $         28.91
605202-9   BINA HOLDINGS LP - OAP GHS             $          27.00   $      1.91   $         28.91
605203-7   JAMES H CASPI - OAP GHS                $          27.00   $      1.91   $         28.91
605204-5   EDITH L MORRILL TOD - OAP GHS          $          27.00   $      1.91   $         28.91
605205-3   DHANANJAY SUCHITA D RAWAL-OAP GHS      $          27.00   $      1.91   $         28.91
605206-1   J L OWENS CRUZ REV LIV TR-OAP GHS      $          27.00   $      1.91   $         28.91
605207-0   PETER AND KIMBERLY HARTY-OAP GHS       $          27.00   $      1.91   $         28.91
605208-8   ALI M RAMMAL TOD-OAP GHS               $          40.50   $      2.86   $         43.36
605209-6   ELIZABETH SCHAPER - OAP GHS            $          27.00   $      1.91   $         28.91
605210-0   MACK POGUE - OAP GHS                   $         895.50   $     63.22   $       958.72
605211-8   MADIE IVY HEAD - OAP GHS               $         198.00   $     13.98   $       211.98
605212-6   THOMAS M SANDRA K ROUSE-OAP GHS        $         153.00   $     10.80   $       163.80
605213-4   VOLUNTEER INVESTMENTS LLC-OAP GHS      $          76.50   $      5.40   $         81.90
605214-2   GREG J LOVASZ - OAP GHS                $          31.50   $      2.22   $         33.72
605215-0   DESAI ADMIN TRUST - HKD - OAP GHS      $         144.00   $     10.17   $       154.17
605216-9   R B GRAHAM TR DTD 3 7 2008-OAP GHS     $          31.50   $      2.22   $         33.72
605217-7   GARY BARBARA SHAPIRA - OAP GHS         $          36.00   $      2.54   $         38.54
605218-5   D SCHLOSSER T KOPCZYNSKI-OAP GHS       $         144.00   $     10.17   $       154.17
605219-3   JEFFREY HELLER SURVIVORS TR-OAP-GHS    $          31.50   $      2.22   $         33.72
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 48 of 85 Page ID
                                     #:70776
Claim #    Claimant                               Damages            PJI           Damages + PJI
605220-7   GREGORY MELISSA MURPHY-OAP GHS         $          31.50   $      2.22   $         33.72
605221-5   RICK KAMINER - OAP GHS                 $          72.00   $      5.08   $         77.08
605222-3   DAVID R MCHALE JR-OAP GHS              $          72.00   $      5.08   $         77.08
605223-1   KFFF LP-OAP GHS                        $          54.00   $      3.81   $         57.81
605224-0   FRANK 2012 FAMILY LLC - OAP GHS        $         144.00   $     10.17   $       154.17
605225-8   AHEARN MAYER - OAP GHS                 $          27.00   $      1.91   $         28.91
605226-6   JOHN PATRICIA NALLEN-OAP GHS           $          85.50   $      6.04   $         91.54
605227-4   C V BUSH-JOSEPH-OAP GHS                $          54.00   $      3.81   $         57.81
605228-2   LEONARD AND ROBYN KOVEN - OAP GHS      $          54.00   $      3.81   $         57.81
605229-0   ROBERT F CYNTHIA A RYAN-OAP GHS        $          36.00   $      2.54   $         38.54
605230-4   DAVID BARRY - OAP GHS                  $         274.50   $     19.38   $       293.88
605231-2   DANIEL P CUNNINGHAM - OAP GHS          $          54.00   $      3.81   $         57.81
605232-0   JAMES D. DUNNING JR. - OAP GHS         $         234.00   $     16.52   $       250.52
605233-9   RICHARD HAMILTON - OAP GHS             $          63.00   $      4.45   $         67.45
605234-7   MARYANN F MADL TRUST-OAP GHS           $          31.50   $      2.22   $         33.72
605235-5   YUGUO DONG LI ZHUANG TOD-OAP GHS       $          49.50   $      3.49   $         52.99
605236-3   FANTASY ISLE LLC-OAP GHS               $         175.50   $     12.39   $       187.89
605237-1   KATHLEEN S GOULD TOD - OAP GHS         $          54.00   $      3.81   $         57.81
605238-0   RAVY TRUCHOT - OAP GHS                 $          63.00   $      4.45   $         67.45
605239-8   WILLIAM X ALZOS REV TR - OAP GHS       $          58.50   $      4.13   $         62.63
605240-1   REV TR OF KATHLEEN M ALZOS-OAP GHS     $          31.50   $      2.22   $         33.72
605241-0   JAMES H HUTCHISON REV TR- OAP GHS      $          76.50   $      5.40   $         81.90
605242-8   CLARK BOB HSU - OAP GHS                $          31.50   $      2.22   $         33.72
605243-6   CECILIA OLIYAI - OAP GHS               $          31.50   $      2.22   $         33.72
605244-4   AJAY V AND SUJATA S RAMAN-OAP GHS      $          31.50   $      2.22   $         33.72
605245-2   ANDREA L ROBERT FREZZA - OAP GHS       $          40.50   $      2.86   $         43.36
605246-0   DAVID A ERICKSON 2004 TR - OAP GHS     $          31.50   $      2.22   $         33.72
605247-9   ELIZABETH VAN ELLA LIV TR-OAP GHS      $          31.50   $      2.22   $         33.72
605248-7   MARC WILENE DENNISON - OAP GHS         $          31.50   $      2.22   $         33.72
605249-5   MARION HARNIK TOD - OAP GHS            $          31.50   $      2.22   $         33.72
605250-9   MARMOR REVOCABLE TRUST - OAP GHS       $          36.00   $      2.54   $         38.54
605251-7   DANIEL HILTON-OAP GHS                  $          72.00   $      5.08   $         77.08
605252-5   GENENDER FAMILY LLC-OAP GHS            $          31.50   $      2.22   $         33.72
605253-3   VIJAY BHAGIA 2012 FAM TR - OAP GHS     $          72.00   $      5.08   $         77.08
605254-1   F P MCKULKA REV TR-OAP GHS             $          31.50   $      2.22   $         33.72
605255-0   JOHN A HAYAT GULIANA TOD - OAP GHS     $          45.00   $      3.18   $         48.18
605256-8   WENLI G LEE TOD - OAP GHS              $          31.50   $      2.22   $         33.72
605257-6   E J K MENDRZYCKI -OAP GHS              $          31.50   $      2.22   $         33.72
605258-4   GALE HELLER TOD - OAP GHS              $          45.00   $      3.18   $         48.18
605259-2   M J AND L A FRANGIPANE -OAP GHS        $          27.00   $      1.91   $         28.91
605260-6   GARY J BRANNON - OAP GHS               $          36.00   $      2.54   $         38.54
605261-4   WALTER D BARBARA L HUBER-OAP GHS       $          36.00   $      2.54   $         38.54
605262-2   L M A M A CARRASCO LIV TR-OAP GHS      $          40.50   $      2.86   $         43.36
605263-0   JEAN ANDERSON - OAP GHS                $          27.00   $      1.91   $         28.91
605264-9   TRUST                                  $         198.00   $     13.98   $       211.98
605265-7   THOMAS J SAXTON - OAP GHS              $          27.00   $      1.91   $         28.91
605266-5   HARISH P JAIN TOD - OAP GHS            $          27.00   $      1.91   $         28.91
605267-3   MAURICE AND DEBORAH BLAIS - OAP GHS    $          27.00   $      1.91   $         28.91
605268-1   GUY B AND DEBRA M WILSON - OAP GHS     $          40.50   $      2.86   $         43.36
605269-0   CLIFFORD AND DIANE NOLL TR - OAP GHS   $          31.50   $      2.22   $         33.72
605270-3   JOHN LAGRATTA - OAP GHS                $          54.00   $      3.81   $         57.81
605271-1   ROBERT P DOWD DEC OF TRUST - OAP GHS   $          36.00   $      2.54   $         38.54
605272-0   BMW PROPERTIES LP - OAP GHS            $         207.00   $     14.61   $       221.61
605273-8   L MICHAEL DILLARD REV LVG TR-OAP GHS   $          27.00   $      1.91   $         28.91
605274-6   BERNARD N ROBINOWITZ REV TR-OAP GHS    $          40.50   $      2.86   $         43.36
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 49 of 85 Page ID
                                     #:70777
Claim #    Claimant                               Damages            PJI          Damages + PJI
605275-4   SIDNEY TASSIN - OAP GHS                $          85.50   $     6.04   $         91.54
605276-2   JOSHUA DURST DISC TR-OAP GHS           $         139.50   $     9.85   $       149.35
605277-0   LAURA MCFARLANE - OAP GHS              $          27.00   $     1.91   $         28.91
605278-9   THE MOTWANI FAMILY TRUST - OAP GHS     $          27.00   $     1.91   $         28.91
605279-7   TOM VICKIE HUTTON FAM TR-OAP GHS       $          54.00   $     3.81   $         57.81
605280-0   PHYLLIS A KENNEDY TOD -OAP GHS         $          27.00   $     1.91   $         28.91
605281-9   SAMUEL SO RUBY NG REV TR-OAP GHS       $          67.50   $     4.77   $         72.27
605282-7   LUCAS VAN PRAAG-OAP GHS                $          27.00   $     1.91   $         28.91
605283-5   JAVIER AND JULIANA VIJIL TOD-OAP GHS   $          27.00   $     1.91   $         28.91
605284-3   RONALD H SCHLOSSER-OAP GHS             $          27.00   $     1.91   $         28.91
605285-1   JOANN KUKENIS TOD - OAP GHS            $          27.00   $     1.91   $         28.91
605286-0   POWOROZNEK FALBO-POWOROZNEK-GHS        $          27.00   $     1.91   $         28.91
605287-8   M J AND M P BEFFEL TOD - OAP GHS       $          27.00   $     1.91   $         28.91
605288-6   GEORGE AND KATHLEEN CONNELLY-OAP GHS   $          27.00   $     1.91   $         28.91
605289-4   GONGLIANG GUO AND AIWU ZHENG-OAP GHS   $          27.00   $     1.91   $         28.91
605290-8   TOD SCHILD - OAP GHS                   $          45.00   $     3.18   $         48.18
605291-6   G MELVIN MILLS JR REV TRUST-OAP GHS    $          27.00   $     1.91   $         28.91
605292-4   ANITA LEWALLEN REV LIV TRUST-OAP GHS   $          31.50   $     2.22   $         33.72
605293-2   VALERIE S DAIDAH - OAP GHS             $          27.00   $     1.91   $         28.91
605294-0   JAMES G BESSIE B TSIPAKIS- OAP GHS     $          27.00   $     1.91   $         28.91
605295-9   ERIC S ENGLESTEIN-OAP GHS              $          27.00   $     1.91   $         28.91
605296-7   THE SCOTT T HOAG TRUST - OAP GHS       $          27.00   $     1.91   $         28.91
605297-5   HAIHONG QIAN TOD - OAP GHS             $          27.00   $     1.91   $         28.91
605298-3   PETER BELTRAME - OAP GHS               $          36.00   $     2.54   $         38.54
605299-1   DENNY H AND JENNY M CHEN TOD-OAP GHS   $          85.50   $     6.04   $         91.54
605300-9   MARTIN ONEILL - OAP GHS                $          27.00   $     1.91   $         28.91
605301-7   JASON P HEATHER L CORPUS- OAP GHS      $          27.00   $     1.91   $         28.91
605302-5   MCDERMOTT KROEKER FAM TR-OAP GHS       $          40.50   $     2.86   $         43.36
605303-3   TR UNDER MAX KNOPF INS TR - OAP GHS    $          81.00   $     5.72   $         86.72
605304-1   FG TOTAL INVESTMENTS LLC - OAP GHS     $          31.50   $     2.22   $         33.72
605305-0   CHRISTOPHER BROOKE BRINK - OAP GHS     $          90.00   $     6.35   $         96.35
605306-8   M MAROSCHAK - OAP GHS                  $          72.00   $     5.08   $         77.08
605307-6   DAVID I. STONE TRUST - OAP GHS         $          31.50   $     2.22   $         33.72
605308-4   PAUL LISA PERRAULT- OAP GHS            $          76.50   $     5.40   $         81.90
605309-2   SCOTT AND CYNTHIA PRINCE-OAP GHS       $          72.00   $     5.08   $         77.08
605310-6   JAMES B KNIGHT REV TR-OAP GHS          $          67.50   $     4.77   $         72.27
605311-4   A P E A GOTTSACKER- OAP GHS            $         139.50   $     9.85   $       149.35
605312-2   STEPHEN L RITCHIE REV TR-OAP GHS       $          85.50   $     6.04   $         91.54
605313-0   JAMES M MCGUINNIS TOD - OAP GHS        $          49.50   $     3.49   $         52.99
605314-9   EDWARD J. NEMANIC REV TR -OAP GHS      $          31.50   $     2.22   $         33.72
605315-7   JEAN CHRISTOPHE LAPIERE - OAP GHS      $          31.50   $     2.22   $         33.72
605316-5   APOSTOLOS TAMBAKIS TOD - OAP GHS       $          31.50   $     2.22   $         33.72
605317-3   MONZON-SERHAN FAMILY TRUST-OAP GHS     $          31.50   $     2.22   $         33.72
605318-1   DAVID LEE TOD - OAP GHS                $          31.50   $     2.22   $         33.72
605319-0   RICHARD L BARON REVOCABLE TR-OAP GHS   $          58.50   $     4.13   $         62.63
605320-3   JAMES DULICK KRISTIN SCOTT-OAP GHS     $          40.50   $     2.86   $         43.36
605321-1   THE RENATE STOLZER TRUST-OAP GHS       $          31.50   $     2.22   $         33.72
605322-0   THE DOROTHY FRANKEL REV TR - OAP GHS   $          40.50   $     2.86   $         43.36
605323-8   ALEXANDER DARLENE PORTEUS- OAP GHS     $          36.00   $     2.54   $         38.54
605324-6   CAMERON FAMILY REV TRUST - OAP GHS     $          31.50   $     2.22   $         33.72
605325-4   ODELL TR UA DTD 05/11/2005- OAP GHS    $          31.50   $     2.22   $         33.72
605326-2   DANIEL BONOFF-OAP GHS                  $          94.50   $     6.67   $       101.17
605327-0   WILLIAM R FISHER LIV TR - OAP GHS      $          45.00   $     3.18   $         48.18
605328-9   LINDA M SCHUMACHER LIV TR-OAP GHS      $          45.00   $     3.18   $         48.18
605329-7   WALTER S BALDWIN TRUST - OAP GHS       $          31.50   $     2.22   $         33.72
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 50 of 85 Page ID
                                     #:70778
Claim #    Claimant                               Damages            PJI           Damages + PJI
605330-0   SAADEH SULIC-SADDEH TOD-OAP GHS        $          58.50   $      4.13   $         62.63
605331-9   HARRY PAM N RIESENBERG - OAP GHS       $          31.50   $      2.22   $         33.72
605332-7   THE STERN STEFAN TRUST - OAP GHS       $          94.50   $      6.67   $       101.17
605333-5   ROSA C JOSEPH SHU TOD - OAP GHS        $          31.50   $      2.22   $         33.72
605334-3   R J COVERDALE REV TRUST-OAP GHS        $          36.00   $      2.54   $         38.54
605335-1   WILLIAM H MCCRACKEN TOD - OAP GHS      $          31.50   $      2.22   $         33.72
605336-0   DAVID THURMAN TOD - OAP GHS            $          31.50   $      2.22   $         33.72
605337-8   PATRICK N LIN TOD - OAP GHS            $          31.50   $      2.22   $         33.72
605338-6   P SHIMER D CONNER DECD TOD OAP         $          31.50   $      2.22   $         33.72
605339-4   STEPHEN J GUIHAN - OAP GHS             $          27.00   $      1.91   $         28.91
605340-8   DUSTIN SABRINA N WARD - OAP GHS        $          31.50   $      2.22   $         33.72
605341-6   ANITA MANDIA TRUST - OAP GHS           $          31.50   $      2.22   $         33.72
605342-4   EILEEN WENSTRUP TRUST - OAP GHS        $          45.00   $      3.18   $         48.18
605343-2   GOWRIHARAN THAIYANANTHAN -OAP GHS      $          31.50   $      2.22   $         33.72
605344-0   PAUL MARINI -OAP GHS                   $          67.50   $      4.77   $         72.27
605345-9   JASON AND ALEXANDRA STULL - OAP GHS    $          27.00   $      1.91   $         28.91
605346-7   DANIEL AND SUSAN WECKER - OAP GHS      $          27.00   $      1.91   $         28.91
605347-5   THE FERREIRA FAMILY TRUST - OAP GHS    $          27.00   $      1.91   $         28.91
605348-3   MAUREEN MCDONNELL TOD - OAP GHS        $          27.00   $      1.91   $         28.91
605349-1   ALTON J CHERYL BACKES TOD-OAP GHS      $          27.00   $      1.91   $         28.91
605350-5   HOLLY O SKEKLOFF TOD-OAP GHS           $          27.00   $      1.91   $         28.91
605351-3   NELSON FAMILY TRUST - OAP GHS          $          40.50   $      2.86   $         43.36
605352-1   JEFF D AND KATHY CARLSON -OAP GHS      $          27.00   $      1.91   $         28.91
605353-0   MENGYUE QIU CHAO PENG FENG-OAP GHS     $          27.00   $      1.91   $         28.91
605354-8   C PLUS B KING TRUST - OAP GHS          $          27.00   $      1.91   $         28.91
605355-6   HAROLD T III TRACY HUNTER-OAP GHS      $          27.00   $      1.91   $         28.91
605356-4   M K WILSON AND B L WARINER - OAP GHS   $          27.00   $      1.91   $         28.91
605357-2   ALEXANDER KARP IRREV TR-OAP GHS        $         108.00   $      7.62   $       115.62
605358-0   OGUNLESI 2011 INVESTMNT TR - OAP GHS   $         270.00   $     19.06   $       289.06
605359-9   BARBER GIRLS INV PART-OAP GHS          $         553.50   $     39.08   $       592.58
605360-2   SARAH T STEPHENSON - OAP GHS           $          40.50   $      2.86   $         43.36
605361-0   ABA 2011 TRUST - OAP GHS               $          27.00   $      1.91   $         28.91
605362-9   BROOKE D BARRETT - OAP GHS             $          67.50   $      4.77   $         72.27
605363-7   MARY KAY THANOS ZORDANI-OAP GHS        $          81.00   $      5.72   $         86.72
605364-5   B NAHEY DESC TR                        $          58.50   $      4.13   $         62.63
605365-3   JOHN LIANG - OAP GHS                   $          27.00   $      1.91   $         28.91
605366-1   MASOUD AZARBAIJANI TOD - OAP GHS       $          27.00   $      1.91   $         28.91
605367-0   DEBRA D JONATHAN D BELL - OAP GHS      $          27.00   $      1.91   $         28.91
605368-8   ASHIT JAIN - OAP GHS                   $          40.50   $      2.86   $         43.36
605369-6   CHRISTIAN G BJONE TOD -OAP GHS         $          27.00   $      1.91   $         28.91
605370-0   BRIAN H HELM -OAP GHS                  $          27.00   $      1.91   $         28.91
605371-8   KATHY S SEGULJA DYN TR 2013-OAP GH     $          31.50   $      2.22   $         33.72
605372-6   HARRIS M SANDI L KALISH - OAP GHS      $          27.00   $      1.91   $         28.91
605373-4   JOHN M MILLER - OAP GHS                $          45.00   $      3.18   $         48.18
605374-2   RAUL F SANCHEZ-ELIA REV TR - OAP GHS   $          27.00   $      1.91   $         28.91
605375-0   DANIEL AND ANN MARIE DUDA - OAP GHS    $          27.00   $      1.91   $         28.91
605376-9   WILLIAM P SUSAN J LINK - OAP GHS       $          27.00   $      1.91   $         28.91
605377-7   JAMES R AND COURTNEY A TRENT-OAP GHS   $          27.00   $      1.91   $         28.91
605378-5   MICHAEL J AND LISA B IZBICKI-OAP GHS   $          27.00   $      1.91   $         28.91
605379-3   ELINOR K SPOKES TOD - OAP GHS          $          27.00   $      1.91   $         28.91
605380-7   MARK AND SAUNDRA KINSER - OAP GHS      $          27.00   $      1.91   $         28.91
605381-5   E L AND B A SCANLON - OAP GHS          $          85.50   $      6.04   $         91.54
605382-3   EMYLENE ROGELIO DEJESUS TOD-GHS        $          27.00   $      1.91   $         28.91
605383-1   CHARLES A CUSUMANO TOD - OAP GHS       $          27.00   $      1.91   $         28.91
605384-0   EDWARD J PITT TOD -OAP GHS             $          58.50   $      4.13   $         62.63
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 51 of 85 Page ID
                                     #:70779
Claim #    Claimant                               Damages          PJI           Damages + PJI
605385-8   LARRY ADRIENNE MILLER TR-OAP GHS       $        27.00   $      1.91   $         28.91
605386-6   REV LIV TR OF D J CONDON-OAP GHS       $        27.00   $      1.91   $         28.91
605387-4   MAL HOLDINGS LP - OAP GHS              $        76.50   $      5.40   $         81.90
605388-2   STEVEN B GROPPI - OAP GHS              $        31.50   $      2.22   $         33.72
605389-0   HADAC TRUST DTD 01/25/2012 - OAP GHS   $       391.50   $     27.64   $       419.14
605390-4   JAY KESTENBAUM-OAP GHS                 $       157.50   $     11.12   $       168.62
605391-2   DARVIN R KNAPP - OAP GHS               $        45.00   $      3.18   $         48.18
605392-0   BRIAN L NAHEY - OAP GHS                $     1,138.50   $     80.38   $     1,218.88
605393-9   KONRAD AND JULIE TESTWUIDE - OAP GHS   $        31.50   $      2.22   $         33.72
605394-7   JANET F. JAGGI 2001 REV TR-OAP GHS     $        27.00   $      1.91   $         28.91
605395-5   J. FRANK D. KIM LIVING TR-OAP GHS      $       148.50   $     10.48   $       158.98
605396-3   JEFFREY B CHERYL L REITMAN-OAP GHS     $       112.50   $      7.94   $       120.44
605397-1   SUSAN J GULMAN 2013 REV TRUST - GHS    $        58.50   $      4.13   $         62.63
605398-0   J J COHEN - OAP GHS                    $        67.50   $      4.77   $         72.27
605399-8   JKL PERPETUAL TRUST-OAP GHS            $        63.00   $      4.45   $         67.45
605400-5   G C YU M NEWHALL TRUST - OAP GHS       $        81.00   $      5.72   $         86.72
605401-3   MARY K ONEAL INTERVIVOS TR-OAP GHS     $        31.50   $      2.22   $         33.72
605402-1   DAVID A DEBORAH ISAAC - OAP GHS        $        36.00   $      2.54   $         38.54
605403-0   THE JOHN AND JANE WILLS TR - OAP GHS   $        54.00   $      3.81   $         57.81
605404-8   GUSTAVE L LEVY - OAP GHS               $        49.50   $      3.49   $         52.99
605405-6   RAMON L NIEVES TOD - OAP GHS           $        63.00   $      4.45   $         67.45
605406-4   SADONO C DJUMIN TOD - OAP GHS          $        27.00   $      1.91   $         28.91
605407-2   ALIZA LEVINE - OAP GHS                 $        31.50   $      2.22   $         33.72
605408-0   SCOTT AND TRACY C DALTON-OAP GHS       $        49.50   $      3.49   $         52.99
605409-9   FORREST R BUGGE - OAP GHS              $        90.00   $      6.35   $         96.35
605410-2   PHILIPPE ESTHER KATZ - OAP GHS         $        31.50   $      2.22   $         33.72
605411-0   N L BRADLEY REV TR TIC-OAP GHS         $        31.50   $      2.22   $         33.72
605412-9   STANLEY D WELLMAN - OAP GHS            $        36.00   $      2.54   $         38.54
605413-7   K M WEISSMAN TR-OAP GHS                $        36.00   $      2.54   $         38.54
605414-5   PAULMARIANNE PELLEGRINO FAM REV TR     $        58.50   $      4.13   $         62.63
605415-3   SHEILA E PRUZANSKY-OAP GHS             $       117.00   $      8.26   $       125.26
605416-1   MELDRYN AND KAREN RAY-OAP GHS          $        45.00   $      3.18   $         48.18
605417-0   VICKI G DICKERSON-OAP GHS              $        58.50   $      4.13   $         62.63
605418-8   THE PATERNO FAM TR-OAP GHS             $        31.50   $      2.22   $         33.72
605419-6   WALTER J MORRIS REVOCABLE TR-OAP GHS   $        72.00   $      5.08   $         77.08
605420-0   EDWARD BROWN - OAP GHS                 $        31.50   $      2.22   $         33.72
605421-8   L AND R SIEGEL JOINT REV TR- OAP GHS   $        31.50   $      2.22   $         33.72
605422-6   KEITH E MOFFATT-OAP GHS                $        31.50   $      2.22   $         33.72
605423-4   HOWARD N ARONSON-OAP GHS               $        27.00   $      1.91   $         28.91
605424-2   HOWARD MINIGH 2007 GST TRUST-OAP GHS   $        85.50   $      6.04   $         91.54
605425-0   SAMIR S TOTAH TOD - OAP GHS            $        27.00   $      1.91   $         28.91
605426-9   MELINDA LEWANDOWSKI TOD - OAP GHS      $        36.00   $      2.54   $         38.54
605427-7   PHILIP J VENTON TOD - OAP GHS          $        40.50   $      2.86   $         43.36
605428-5   Z F N Z STEPHAN TOD- OAP GHS           $        27.00   $      1.91   $         28.91
605429-3   BRETT MORRIS TOD - OAP GHS             $        27.00   $      1.91   $         28.91
605430-7   LINDA M SNYDER TRUST - OAP GHS         $        27.00   $      1.91   $         28.91
605431-5   TIMOTHY J MORRIS REV TRUST-OAP GHS     $        54.00   $      3.81   $         57.81
605432-3   ROBERT A REMPLE - OAP GHS              $        27.00   $      1.91   $         28.91
605433-1   JAYARAM SADASIVAM TOD - OAP GHS        $        27.00   $      1.91   $         28.91
605434-0   THOMAS T RITTER - OAP GHS              $        85.50   $      6.04   $         91.54
605435-8   THE LARRY F PRATT LIVING TR -OAP GHS   $       144.00   $     10.17   $       154.17
605436-6   YOGENDRA AND KAVITA BHARAT-OAP GHS     $        54.00   $      3.81   $         57.81
605437-4   B NAHEY DESC TR                        $        58.50   $      4.13   $         62.63
605438-2   CHARLES S JONES REV TR-OAP GHS         $       139.50   $      9.85   $       149.35
605439-0   JAMES NORMA J FLEAGANE TOD-OAP GHS     $        27.00   $      1.91   $         28.91
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 52 of 85 Page ID
                                     #:70780
Claim #    Claimant                               Damages            PJI           Damages + PJI
605440-4   JEFFREY M COHEN TOD - OAP GHS          $          27.00   $      1.91   $         28.91
605441-2   A M MENACHEM REV TR - OAP GHS          $          27.00   $      1.91   $         28.91
605442-0   1ST AMND COMP RSTMT FORGE 98 TR-GHS    $          27.00   $      1.91   $         28.91
605443-9   PHYLLIS MACK- OAP GHS                  $          27.00   $      1.91   $         28.91
605444-7   J CHU J CHEN REV TR- OAP GHS           $          27.00   $      1.91   $         28.91
605445-5   SURESH AND ASHA RAO-OAP GHS            $          27.00   $      1.91   $         28.91
605446-3   ROBERT J AND SUSAN GIARRUSSO-OAP GHS   $          27.00   $      1.91   $         28.91
605447-1   SAGAR Y VIRA TOD - OAP GHS             $          27.00   $      1.91   $         28.91
605448-0   DONALD PHILLIPS TOD - OAP GHS          $          27.00   $      1.91   $         28.91
605449-8   STEVEN P ERIN M NOTHEL - OAP GHS       $          27.00   $      1.91   $         28.91
605450-1   H E AND J ROTHENBERG TOD - OAP GHS     $          36.00   $      2.54   $         38.54
605451-0   THE CHAN FAMILY TRUST - OAP GHS        $          27.00   $      1.91   $         28.91
605452-8   GEOFFREY I HENDERSON - OAP GHS         $          27.00   $      1.91   $         28.91
605453-6   DAS GST TRUST OF 1999- OAP GHS         $          27.00   $      1.91   $         28.91
605454-4   KEVIN MSZANOWSKI TOD - OAP GHS         $          54.00   $      3.81   $         57.81
605455-2   TRAVIS W SCHULER TOD -OAP GHS          $         108.00   $      7.62   $       115.62
605456-0   KAREN L CLEMANS TOD-OAP GHS            $          27.00   $      1.91   $         28.91
605457-9   J FITCH JR AND D FITCH TOD-OAP GHS     $          27.00   $      1.91   $         28.91
605458-7   MASAAKI MIHOKO HIGASHITANI-OAP GHS     $          27.00   $      1.91   $         28.91
605459-5   WESLEY C MILLS TOD - OAP GHS           $          27.00   $      1.91   $         28.91
605460-9   T C AND J W NORRINGTON-OAP GHS         $          27.00   $      1.91   $         28.91
605461-7   MARCUS SOWINSKI TR 2011-OAP GHS        $          90.00   $      6.35   $         96.35
605462-5   NATHANIEL R COHEN - OAP GHS            $          63.00   $      4.45   $         67.45
605463-3   MAEDGEN WHITE LTD - OAP GHS            $         234.00   $     16.52   $       250.52
605464-1   KYM ARNONE - OAP GHS                   $          76.50   $      5.40   $         81.90
605465-0   M DARRIN REV TR- OAP GHS               $         301.50   $     21.29   $       322.79
605466-8   CYE FAMILY TRUST- OAP GHS              $          31.50   $      2.22   $         33.72
605467-6   STEPHEN J ZIFFER - OAP GHS             $          90.00   $      6.35   $         96.35
605468-4   GARY L VERPLANK TR-OAP GHS             $         189.00   $     13.34   $       202.34
605469-2   CHRISTINE L VISNER TRUST-OAP GHS       $          31.50   $      2.22   $         33.72
605470-6   BRUCE JANE HANNON - OAP GHS            $         148.50   $     10.48   $       158.98
605471-4   PATRICK J STEWART REV TR-OAP GHS       $          40.50   $      2.86   $         43.36
605472-2   BENNET AND JUDYTHE SCHONFELD-OAP GHS   $          45.00   $      3.18   $         48.18
605473-0   MAIDEN LANE INVESTMENT - OAP GHS       $         144.00   $     10.17   $       154.17
605474-9   D POMBERG 2012 FAM TR - OAP GHS        $          27.00   $      1.91   $         28.91
605475-7   THOMAS R REEDY REV TR-OAP GHS          $          27.00   $      1.91   $         28.91
605476-5   JDMORITZ INVESTMENTS LLC - OAP GHS     $         261.00   $     18.43   $       279.43
605477-3   ALEXANDER WARNER 2013 REV TR-OAP GHS   $          27.00   $      1.91   $         28.91
605478-1   RODERICK CLAUDIA STEPP-OAP GHS         $          54.00   $      3.81   $         57.81
605479-0   DAVID W LAUTZ DECL OF TR-OAP GHS       $          40.50   $      2.86   $         43.36
605480-3   OLIVER S. YU REVOCABLE TR - OAP GHS    $          63.00   $      4.45   $         67.45
605481-1   LATINI TRUST - OAP GHS                 $          31.50   $      2.22   $         33.72
605482-0   JOB VARGHESE SICILY JOB - OAP GHS      $          94.50   $      6.67   $       101.17
605483-8   RUBY YAO DANIEL HING TOD-OAP GHS       $          31.50   $      2.22   $         33.72
605484-6   Y S MUN H YOON MUN - OAP GHS           $          63.00   $      4.45   $         67.45
605485-4   KANE S LAI - OAP GHS                   $          45.00   $      3.18   $         48.18
605486-2   MICHAEL ABRAHAMSON LIVING TR-OAP GHS   $          31.50   $      2.22   $         33.72
605487-0   XIAODONG HAN REVOCABLE TRUST-OAP GHS   $          58.50   $      4.13   $         62.63
605488-9   LEILA G CONWAY - OAP GHS               $          40.50   $      2.86   $         43.36
605489-7   EKMAN LIVING TRUST - OAP GHS           $         126.00   $      8.90   $       134.90
605490-0   S D WYNN AND N ANDERSON - OAP GHS      $          49.50   $      3.49   $         52.99
605491-9   PAUL LYNN KLASSMAN -OAP GHS            $          72.00   $      5.08   $         77.08
605492-7   PAULA J WEISSMAN TRUST-OAP GHS         $          36.00   $      2.54   $         38.54
605493-5   GRAEME FINLAYSON-OAP GHS               $          27.00   $      1.91   $         28.91
605494-3   FRED SPEICHER - OAP GHS                $          31.50   $      2.22   $         33.72
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 53 of 85 Page ID
                                     #:70781
Claim #    Claimant                               Damages            PJI           Damages + PJI
605495-1   P DAVIES K A VIRSHBO TOD-OAP GHS       $          58.50   $      4.13   $         62.63
605496-0   JOHN WILLIAM WOLF REV TRUST-OAP GHS    $          31.50   $      2.22   $         33.72
605497-8   MHAEL J AND Z M MIRACLE - OAP GHS      $          31.50   $      2.22   $         33.72
605498-6   ANN S ROWE TR - OAP GHS                $          31.50   $      2.22   $         33.72
605499-4   R AND A STEVENSON JAWROS -OAP GHS      $         144.00   $     10.17   $       154.17
605500-1   HE LIN AND TIANRUI HUANG - OAP GHS     $          58.50   $      4.13   $         62.63
605501-0   THE STAFFON FAMILY TRUST-OAP GHS       $          67.50   $      4.77   $         72.27
605502-8   MANUEL MARTA ABETE LIV TR-OAP GHS      $          27.00   $      1.91   $         28.91
605503-6   ELIZABETH H THOMAS TOD - OAP GHS       $          31.50   $      2.22   $         33.72
605504-4   PATTY A KUSH - OAP GHS                 $          31.50   $      2.22   $         33.72
605505-2   JOHN S RANDY I MITCHELL - OAP GHS      $          27.00   $      1.91   $         28.91
605506-0   E W ROCKEFELLER JONES TOD - OAP GHS    $          76.50   $      5.40   $         81.90
605507-9   REV TR OF MADELINE A WOLFSON-OAP GHS   $          90.00   $      6.35   $         96.35
605508-7   BRUCE E ANDERSEN LIVING TR-OAP GHS     $          31.50   $      2.22   $         33.72
605509-5   JEFF R SAGAN -OAP GHS                  $          58.50   $      4.13   $         62.63
605510-9   DAVID V CASTELLI TOD - OAP GHS         $          27.00   $      1.91   $         28.91
605511-7   TERRY ABENDROTH - OAP GHS              $          31.50   $      2.22   $         33.72
605512-5   DAVID KROP TOD- OAP GHS                $          27.00   $      1.91   $         28.91
605513-3   ANDREW J SNYDER TRUST -OAP GHS         $          27.00   $      1.91   $         28.91
605514-1   PEDRO PELAEZ TOD - OAP GHS             $          27.00   $      1.91   $         28.91
605515-0   RAYMOND AND SANDRA SASSOON-OAP GHS     $         130.50   $      9.21   $       139.71
605516-8   MICHAEL L TIDUS TOD - OAP GHS          $          54.00   $      3.81   $         57.81
605517-6   JEFFREY D HOUGH LIVING TRUST-OAP GHS   $          27.00   $      1.91   $         28.91
605518-4   GARY AND DENISE BRANNING TOD-OAP GHS   $          27.00   $      1.91   $         28.91
605519-2   FRANCIS C ESPOSITO TOD - OAP GHS       $          40.50   $      2.86   $         43.36
605520-6   IRWIN L KATHY COSKEY TOD - OAP GHS     $          27.00   $      1.91   $         28.91
605521-4   HARRY A SCHOENFELD TOD - OAP GHS       $          27.00   $      1.91   $         28.91
605522-2   MICHAEL DREYER REV TRUST-OAP GHS       $         270.00   $     19.06   $       289.06
605523-0   ZACHARY AMANDA ZEITLIN - OAP GHS       $          27.00   $      1.91   $         28.91
605524-9   MARCIA A COBLE REV LIVING TR OAP GHS   $          40.50   $      2.86   $         43.36
605525-7   BIRDWOOD ASSOCIATES LP - OAP GHS       $          27.00   $      1.91   $         28.91
605526-5   JOHN Q BARNIDGE - OAP GHS              $          72.00   $      5.08   $         77.08
605527-3   SURESH L. SANI LT TR - OAP GHS         $          72.00   $      5.08   $         77.08
605528-1   RALPH C AMELIO TOD - OAP GHS           $          58.50   $      4.13   $         62.63
605529-0   GERHARD WOORT-MENKER - OAP GHS         $          54.00   $      3.81   $         57.81
605530-3   SUSAN POPLINSKI - OAP GHS              $          27.00   $      1.91   $         28.91
605531-1   DOMINICK AND FRED MCLAIN-OAP GHS       $          27.00   $      1.91   $         28.91
605532-0   KELLY L MANKIN REV LIV TR-OAP GHS      $          27.00   $      1.91   $         28.91
605533-8   HELEN M POMEROY TOD - OAP GHS          $          54.00   $      3.81   $         57.81
605534-6   JITENDRA MIKSHA PATEL TOD- OAP GHS     $          27.00   $      1.91   $         28.91
605535-4   LAWRENCE E MEES - OAP GHS              $          27.00   $      1.91   $         28.91
605536-2   ALEXANDER Y FIL TOD - OAP GHS          $          27.00   $      1.91   $         28.91
605537-0   GREGORY SCHEIDEMAN DYN TR 13-OAP GHS   $          31.50   $      2.22   $         33.72
605538-9   JIANWEI HUO TOD- OAP GHS               $          27.00   $      1.91   $         28.91
605539-7   MARK L KARNO - OAP GHS                 $          36.00   $      2.54   $         38.54
605540-0   MICHAEL SHIMKIN- OAP GHS               $          27.00   $      1.91   $         28.91
605541-9   THE SHI REVOCABLE LIV TRUST-OAP GHS    $          99.00   $      6.99   $       105.99
605542-7   SHARON W GANGE DEC OF TRUST-OAP GHS    $          27.00   $      1.91   $         28.91
605543-5   THE JACOB PALLATHRA REV TR-OAP GHS     $          27.00   $      1.91   $         28.91
605544-3   ROSE WATER TRUST 2011-101              $          27.00   $      1.91   $         28.91
605545-1   BARBARA J PLACE TOD-OAP GHS            $          54.00   $      3.81   $         57.81
605546-0   MARIO PORTANOVA DEC OF TRST-OAP GHS    $          31.50   $      2.22   $         33.72
605547-8   JEAN X YIN TOD- OAP GHS                $          27.00   $      1.91   $         28.91
605548-6   RYAN R POLOKOFF - OAP GHS              $          27.00   $      1.91   $         28.91
605549-4   SALVATORE PERRECA -OAP GHS             $          27.00   $      1.91   $         28.91
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 54 of 85 Page ID
                                     #:70782
Claim #    Claimant                               Damages            PJI           Damages + PJI
605550-8   ADAM WADE POTTER REV TR- OAP GHS       $         144.00   $     10.17   $       154.17
605551-6   SIMISOLA O FASEHUN TOD -OAP GHS        $          27.00   $      1.91   $         28.91
605552-4   STEPHEN AND CHIN H PAPA- OAP GHS       $          27.00   $      1.91   $         28.91
605553-2   KIM S WENNESLAND DECL TR-OAP HEALTH    $         162.00   $     11.44   $       173.44
605554-0   BELLE K RIBICOFF TRUST - OAP GHS       $          49.50   $      3.49   $         52.99
605555-9   HILL FAMILY 2002 TRUST - OAP GHS       $          76.50   $      5.40   $         81.90
605556-7   D AND L WESTERFELD-OAP GHS             $          40.50   $      2.86   $         43.36
605557-5   MARK SHARON SCHER FAM LP- OAP GHS      $          99.00   $      6.99   $       105.99
605558-3   N/S HAYES FAMILY LP - OAP GHS          $          72.00   $      5.08   $         77.08
605559-1   E MICHAEL C F POMPIZZI - OAP GHS       $          27.00   $      1.91   $         28.91
605560-5   MARSHALLARLENE MEIER REV TR-OAP GHS    $         144.00   $     10.17   $       154.17
605561-3   W L RICHTER LVG TR-OAP GHS             $          27.00   $      1.91   $         28.91
605562-1   DANA AND KARLA DEASY - OAP GHS         $          72.00   $      5.08   $         77.08
605563-0   GERALD FRIEDMAN 2014 REV TR-OAP GHS    $          40.50   $      2.86   $         43.36
605564-8   S FRIEDMAN 2014 REV TR-OAP GHS         $          40.50   $      2.86   $         43.36
605565-6   JEROME ROBBINS FDN - OAP GHS           $          27.00   $      1.91   $         28.91
605566-4   RS NORTON REV TR - OAP GHS             $          27.00   $      1.91   $         28.91
605567-2   THE A L WOLFE FAM FDN-OAP GHS          $          85.50   $      6.04   $         91.54
605568-0   GELIEBTER LIVING TRUST - OAP GHS       $         675.00   $     47.66   $       722.66
605569-9   ADEBAYO AMELIA OGUNLESI - OAP GHS      $         882.00   $     62.27   $       944.27
605570-2   J T MOSLEY REV TRUST 1 - OAP GHS       $          72.00   $      5.08   $         77.08
605571-0   BRUCE SCHNITTMAN TOD - OAP GHS         $          31.50   $      2.22   $         33.72
605572-9   ALLAN FRANCES BELMONT TOD -OAP GHS     $          31.50   $      2.22   $         33.72
605573-7   THE MILLER FAMILY TRUST- OAP GHS       $          31.50   $      2.22   $         33.72
605574-5   CHARLES BONNIE MERRITT TR-OAP GHS      $          31.50   $      2.22   $         33.72
605575-3   CONNIE CHEN SOLE PROPERTY - OAP GHS    $          31.50   $      2.22   $         33.72
605576-1   VICTOR J TERINA M SALERNO- OAP GHS     $          31.50   $      2.22   $         33.72
605577-0   LEA VON KAENEL REVOCABLE TR- OAP GHS   $          31.50   $      2.22   $         33.72
605578-8   THELMA FRIEDMAN REV TRUST-OAP GHS      $          31.50   $      2.22   $         33.72
605579-6   ERIC D ROCHELLE L COOPER - OAP GHS     $          31.50   $      2.22   $         33.72
605580-0   ARTHUR C SCHNEIDER TRUST-OAP GHS       $          31.50   $      2.22   $         33.72
605581-8   WAYNE D PALMER TOD - OAP GHS           $          31.50   $      2.22   $         33.72
605582-6   STEVEN SWANBERG - OAP GHS              $          31.50   $      2.22   $         33.72
605583-4   FRANK PHYLLIS ANGELLO TOD-OAP GHS      $          31.50   $      2.22   $         33.72
605584-2   RALPH KATZ REVOCABLE TRUST-OAP GHS     $          76.50   $      5.40   $         81.90
605585-0   PETER DELIA JR TOD-OAP GHS             $          31.50   $      2.22   $         33.72
605586-9   THE BHAKTA FAMILY REV TR - OAP GHS     $          36.00   $      2.54   $         38.54
605587-7   REBELL FAMILY TRUST - OAP GHS          $          31.50   $      2.22   $         33.72
605588-5   P AND S BRANDT RAUF TOD-OAP GHS        $          31.50   $      2.22   $         33.72
605589-3   CAROL D HOLDEN TOD - OAP GHS           $          31.50   $      2.22   $         33.72
605590-7   MARK G MOISANT - OAP GHS               $          31.50   $      2.22   $         33.72
605591-5   TROYER FAMILY TRUST - OAP GHS          $          31.50   $      2.22   $         33.72
605592-3   HUGH A WADDELL LIV TRUST-OAP GHS       $          31.50   $      2.22   $         33.72
605593-1   PATRICK J HENEGHAN -OAP GHS            $          58.50   $      4.13   $         62.63
605594-0   KENNETH A BIANCHI TOD-OAP GHS          $          36.00   $      2.54   $         38.54
605595-8   KEVIN MCDONOUGH - OAP GHS              $          27.00   $      1.91   $         28.91
605596-6   CAROLE MARK GINGISS TRUST-OAP GHS      $          31.50   $      2.22   $         33.72
605597-4   KEVIN H SANDRA K HARRISON-OAP GHS      $          27.00   $      1.91   $         28.91
605598-2   RICHARD AND MARGARET PYLE-OAP GHS      $          27.00   $      1.91   $         28.91
605599-0   THE AMY HILL DEC OF TRUST - OAP GHS    $          27.00   $      1.91   $         28.91
605600-8   MIDTUN REVOCABLE LIVING TR-OAP GHS     $          27.00   $      1.91   $         28.91
605601-6   SUMMERS REVOCABLE TRUST - OAP GHS      $          36.00   $      2.54   $         38.54
605602-4   CLAUDE LEBLANC-OAP GHS                 $         108.00   $      7.62   $       115.62
605603-2   ARPANRAJ M KOTHARI - OAP GHS           $          27.00   $      1.91   $         28.91
605604-0   CARL AND SHIRLEY CHEN - OAP GHS        $          31.50   $      2.22   $         33.72
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 55 of 85 Page ID
                                     #:70783
Claim #    Claimant                               Damages          PJI           Damages + PJI
605605-9   THE DAVIS TRUST- OAP GHS               $        27.00   $      1.91   $         28.91
605606-7   FRANK L ROSE TOD - OAP GHS             $        31.50   $      2.22   $         33.72
605607-5   NIKKI ZHEYA ZHU TOD-OAP GHS            $       166.50   $     11.76   $       178.26
605608-3   M A BANKS REV DECLN OF TR - OAP GHS    $        40.50   $      2.86   $         43.36
605609-1   RICHARD KWAN TOD-OAP GHS               $        27.00   $      1.91   $         28.91
605610-5   RICE STREET TRUST - OAP GHS            $       135.00   $      9.53   $       144.53
605611-3   DAVID AMINI AND DORA AMINI - OAP GHS   $        67.50   $      4.77   $         72.27
605612-1   ARI CAPITAL PARTNERS LLLP - OAP GHS    $     1,372.50   $     96.90   $     1,469.40
605613-0   VICTORIA WOODWARD REV TR-OAP GHS       $        40.50   $      2.86   $         43.36
605614-8   B K GERSOWSKY - OAP GHS                $        27.00   $      1.91   $         28.91
605615-6   ZUAITER CAPITAL HOLDINGS LLC-OAP GHS   $        27.00   $      1.91   $         28.91
605616-4   KBA 2011 TRUST - OAP GHS               $        27.00   $      1.91   $         28.91
605617-2   KENNETH L SCOTT FAM TR-OAP GHS         $        36.00   $      2.54   $         38.54
605618-0   E G RILEY 2010 8 YR GRAT-OAP GHS       $       868.50   $     61.32   $       929.82
605619-9   D L CLARK FAMILY ENT LP-OAP GHS        $        27.00   $      1.91   $         28.91
605620-2   GUY K JOHNSON- OAP GHS                 $       139.50   $      9.85   $       149.35
605621-0   AUDIE M AND EILEEN I ROLNICK-OAP GHS   $        27.00   $      1.91   $         28.91
605622-9   BENJAMIN AND BERTHA GOMEZ -OAP GHS     $        27.00   $      1.91   $         28.91
605623-7   DEREK S BERGESON -OAP GHS              $        40.50   $      2.86   $         43.36
605624-5   MATERNA LIVING TRUST - OAP GHS         $        27.00   $      1.91   $         28.91
605625-3   RICHARD R REDALEN REV LIV TR-OAP GHS   $       265.50   $     18.74   $       284.24
605626-1   THE LAZY BEE TRUST - OAP GHS           $        40.50   $      2.86   $         43.36
605627-0   SCOTT W LIVING TRUST-OAP GHS           $        27.00   $      1.91   $         28.91
605628-8   PAIGE A AND LORI W KESTER - OAP GHS    $        27.00   $      1.91   $         28.91
605629-6   HARVEY AND MORGAN YUDELL-OAP GHS       $        27.00   $      1.91   $         28.91
605630-0   D S AND B A MUELLER TOD - OAP GHS      $        40.50   $      2.86   $         43.36
605631-8   WILLIAM L STEWART TOD - OAP GHS        $        27.00   $      1.91   $         28.91
605632-6   WYETTA FREDERICKS - OAP GHS            $        27.00   $      1.91   $         28.91
605633-4   FIONA LI - OAP GHS                     $        27.00   $      1.91   $         28.91
605634-2   MARNELL FAMILY TRUST- OAP GHS          $        27.00   $      1.91   $         28.91
605635-0   J C JR. AND SHARON BARBER- OAP GHS     $        45.00   $      3.18   $         48.18
605636-9   JESSICA C SMITH TOD-OAP GHS            $        27.00   $      1.91   $         28.91
605637-7   WILLIAM D GERST TOD - OAP GHS          $        27.00   $      1.91   $         28.91
605638-5   RAY F SOHN LIVING TRUST - OAP GHS      $        27.00   $      1.91   $         28.91
605639-3   ROBERT E WILHELM LIVING TR-OAP GHS     $       292.50   $     20.65   $       313.15
605640-7   GORDON ROSS MARKS REV - OAP GHS        $        31.50   $      2.22   $         33.72
605641-5   ROBERT M CLAUDIA AMEN - OAP GHS        $        76.50   $      5.40   $         81.90
605642-3   APPEL AND COLLINS FAM TR- OAP GHS      $       621.00   $     43.84   $       664.84
605643-1   JJ MANN TR                             $        31.50   $      2.22   $         33.72
605644-0   ZEV POLLAK - OAP GHS                   $        81.00   $      5.72   $         86.72
605645-8   THOMAS M HAYTHE-OAP GHS                $        31.50   $      2.22   $         33.72
605646-6   PETER GOLDMAN TR -OAP GHS              $        45.00   $      3.18   $         48.18
605647-4   CAHILL COMPANY LLC- OAP GHS            $        72.00   $      5.08   $         77.08
605648-2   GUY CHIARELLO - OAP GHS                $        72.00   $      5.08   $         77.08
605649-0   EPESA LP LLLP - OAP GHS                $        45.00   $      3.18   $         48.18
605650-4   J JACKSON AND S WARREN-OAP GHS         $       112.50   $      7.94   $       120.44
605651-2   FRANCES MANLEY 2014 GST TR-GHS         $       139.50   $      9.85   $       149.35
605652-0   ROBERT M STERN-OAP GHS                 $        27.00   $      1.91   $         28.91
605653-9   VICTOR C FARACI TR AGRMNT-OAP GHS      $       144.00   $     10.17   $       154.17
605654-7   JOSEPH V FABRIZIO-OAP GHS              $        36.00   $      2.54   $         38.54
605655-5   PAUL A HSU - OAP GHS                   $        63.00   $      4.45   $         67.45
605656-3   EUGENE GARBER TOD - OAP GHS            $        31.50   $      2.22   $         33.72
605657-1   MENDY SOKOL TOD - OAP GHS              $        31.50   $      2.22   $         33.72
605658-0   KEI WAH CHUA - OAP GHS                 $        94.50   $      6.67   $       101.17
605659-8   PETER A SCHER -OAP GHS                 $        45.00   $      3.18   $         48.18
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 56 of 85 Page ID
                                     #:70784
Claim #    Claimant                                                 Damages          PJI           Damages + PJI
605660-1   ANDREW SARA ALDERMAN TOD-GHS                             $        40.50   $      2.86   $         43.36
605661-0   DEBRA L EISENSTADT -OAP GHS                              $        72.00   $      5.08   $         77.08
605662-8   D M AND A G ADDIEGO TOD - OAP GHS                        $        31.50   $      2.22   $         33.72
605663-6   JOHN JOSEPH KING REV TRUST-OAP GHS                       $        45.00   $      3.18   $         48.18
605664-4   GUY B LAWRENCE - OAP GHS                                 $        31.50   $      2.22   $         33.72
605665-2   LILA QUEN LIM SURVIVORS TR-OAP GHS                       $        31.50   $      2.22   $         33.72
605666-0   KYRIAKOS IOANNIDES LIV TR-OAP GHS                        $        36.00   $      2.54   $         38.54
605667-9   ANDREW D OWENS JR TOD -OAP GHS                           $        54.00   $      3.81   $         57.81
605668-7   SIEW K ANG SUILUN LAM - OAP GHS                          $        31.50   $      2.22   $         33.72
605669-5   G D P D MARTINO - OAP GHS                                $        31.50   $      2.22   $         33.72
605670-9   YISHI SHAO MU-LUN HUA - OAP GHS                          $        31.50   $      2.22   $         33.72
605671-7   JOHN FOGARTY TOD - OAP GHS                               $        31.50   $      2.22   $         33.72
605672-5   LEIF LYNN JOHNSON REV TR-OAP GHS                         $        31.50   $      2.22   $         33.72
605673-3   JASON M ROSENTHAL REV TR-OAP GHS                         $        31.50   $      2.22   $         33.72
605674-1   S HAR POWER SEPARATE PROP TR-OAP GHS                     $        58.50   $      4.13   $         62.63
605675-0   MORRIS ZLATANA GADZO - OAP GHS                           $        27.00   $      1.91   $         28.91
605676-8   THOMAS THERESA SOUFARAPIS-OAP GHS                        $        31.50   $      2.22   $         33.72
605677-6   WILLIAM G SCHNEIDER TOD-OAP GHS                          $        45.00   $      3.18   $         48.18
605678-4   BRUCE J ALTMAN - OAP GHS                                 $        36.00   $      2.54   $         38.54
605679-2   FABIAN ILANA STREINGER                                   $        27.00   $      1.91   $         28.91
605680-6   MARIO MALERBA-OAP GHS                                    $        45.00   $      3.18   $         48.18
605681-4   QI ZHANG AND SHUOQI CHEN-OAP GHS                         $        27.00   $      1.91   $         28.91
605682-2   STANLEY ORR TOD - OAP GHS                                $        58.50   $      4.13   $         62.63
605683-0   NANCY Y TAN TOD - OAP GHS                                $        27.00   $      1.91   $         28.91
605684-9   BRUCE AND MARILYN T GORDON - OAP GHS                     $        27.00   $      1.91   $         28.91
605685-7   TOTAL SOLAR SOLUTIONS LLC - OAP GHS                      $        27.00   $      1.91   $         28.91
605686-5   NANDA N KALE LIVING TRUST-OAP GHS                        $        27.00   $      1.91   $         28.91
605687-3   MARILYN H GORDON IRREV TRUST-OAP GHS                     $        27.00   $      1.91   $         28.91
605688-1   SARO HARTOUNIAN - OAP GHS                                $        63.00   $      4.45   $         67.45
605689-0   DR WINFIELD M CRAVEN AND ANDA L CRAVEN TIC               $        36.00   $      2.54   $         38.54
605691-1   DOUGLAS R & LYNN M WILLINGER BY WILLINGER FAMILY         $       103.50   $      7.31   $       110.81
605695-4   SANDRA R ANCELEITZ TOD BENEFICIARIES ON FILE             $        13.50   $      0.95   $         14.45
605696-2   TIMOTHY B HOGLE TTEE BY RUTHANNE HOGLE ET AL             $        13.50   $      0.95   $         14.45
605701-2   BROWNING KALECZYC BERRY & HOVEN PC PROFIT SHARING PLA $           49.50   $      3.49   $         52.99
605702-0   CARMEN S PAYNE MD                                        $        49.50   $      3.49   $         52.99
605703-9   JOHN C LINCOLN HEALTH NETWORK                            $     1,156.50   $     81.65   $     1,238.15
605704-7   LARRY R KNAPP BREEDING SEP                               $        22.50   $      1.59   $         24.09
605705-5   MICHAEL J EBERSOLD TTEE BY JANET RAE EBERSOLD ET AL      $        18.00   $      1.27   $         19.27
605709-8   PETER SULLIVAN STACY SULLIVAN SULLIVAN CHILDREN'S 2004 T $        67.50   $      4.77   $         72.27
605710-1   MILDRED D SISK TTEE BY JAMES N STRIMBU                   $        18.00   $      1.27   $         19.27
605711-0   ROBERT C METIVIER AND SYLVIA J METIVIER JTWROS           $        18.00   $      1.27   $         19.27
605713-6   JAMES LOWELL ADAMS TTEE THE ADAMS FAMILY TRUST           $         9.00   $      0.64   $          9.64
605714-4   PHILIP D'AMICO IRRA                                      $        13.50   $      0.95   $         14.45
605715-2   SHAUNA A SCHNEIDER IRA                                   $        13.50   $      0.95   $         14.45
605719-5   CAROLYN B PFEIFER                                        $        22.50   $      1.59   $         24.09
605720-9   GREGORY J SKAHILL AND PATRICIA A SKAHILL JTWROS          $       135.00   $      9.53   $       144.53
605721-7   GRACEY P WEISBROD                                        $        13.50   $      0.95   $         14.45
605722-5   GARY STAUB AND PAULA J STAUB JTWROS                      $         4.50   $      0.32   $          4.82
605723-3   CHARLETTE J HOLT ROBERT HOLT CHARLETTE J HOLT REV TR     $        13.50   $      0.95   $         14.45
605726-8   JAMES A MAISH IRA                                        $        36.00   $      2.54   $         38.54
605727-6   MARK C VAUGHN                                            $        22.50   $      1.59   $         24.09
605728-4   MICHAEL S WEISS AND CATHY E. WEISS JTWROS                $         9.00   $      0.64   $          9.64
605729-2   HAMPTON ROADS RADIOLOGY                                  $        99.00   $      6.99   $       105.99
605730-6   HAMPTON ROADS RADIOLOGY                                  $       229.50   $     16.20   $       245.70
605731-4   FBO JOHN PADOVANO                                        $        18.00   $      1.27   $         19.27
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 57 of 85 Page ID
                                     #:70785
Claim #    Claimant                                               Damages            PJI           Damages + PJI
605732-2   BET KAHILA CONGREGATION                                $         225.00   $     15.89   $       240.89
605735-7   GLENN L MAUST TTEE BY NORMA L MAUST                    $          22.50   $      1.59   $         24.09
605736-5   LINDA R DUFFY TTEE BY LINDA R DUFFY                    $         742.50   $     52.42   $       794.92
605737-3   BARBARA D BASS IRRA                                    $           9.00   $      0.64   $          9.64
605738-1   SUSAN E. HICKS SEP                                     $          27.00   $      1.91   $         28.91
605739-0   NEIL R VANCE TTEE BY RAYMOND J SPENCER                 $           4.50   $      0.32   $          4.82
605741-1   NEIL R VANCE TTEE HOVE PERPETUAL TRUST                 $           4.50   $      0.32   $          4.82
605742-0   ROBERT W KRUEGER AND CAROL A KRUEGER JTWROS            $          36.00   $      2.54   $         38.54
605743-8   MRS SUSAN T MARTIN IRRA                                $          45.00   $      3.18   $         48.18
605745-4   ELIAS J AROUS TTEE BY ELIAS J AROUS                    $           4.50   $      0.32   $          4.82
605746-2   MICHELLE S AROUS                                       $          22.50   $      1.59   $         24.09
605751-9   JOEL S KARP AND JANET J KARP JTWROS                    $          22.50   $      1.59   $         24.09
605752-7   ARIANE ZURCHER                                         $           9.00   $      0.64   $          9.64
605753-5   PETER PRIVATEER AND JANICE A PRIVATEER JTWROS          $          22.50   $      1.59   $         24.09
605754-3   WALTER ANDERSON IRA                                    $           4.50   $      0.32   $          4.82
605757-8   STEPHEN SELTZER TTEE BARBARA G KATZ TTEE U/W ROBERT B G$           4.50   $      0.32   $          4.82
605758-6   LINDA KAHWATY IRRA                                     $           4.50   $      0.32   $          4.82
605760-8   MARK A TROIANO IRRA                                    $           9.00   $      0.64   $          9.64
605763-2   ROSEMARIE IGNATOWICZ IRRA                              $          13.50   $      0.95   $         14.45
605764-0   THE SIGMUND COHN FAMILY FOUNDATION INC                 $           4.50   $      0.32   $          4.82
605765-9   DIOCESE IF PALM BEACH. ENDOWMENT TRUST- SAINT VINCENT $            4.50   $      0.32   $          4.82
605766-7   DONALD D'AMOUR TTEE MICHAEL D'AMOUR TRUST              $          45.00   $      3.18   $         48.18
605767-5   MICHAEL R MEYERS TTEE BY MICHAEL R MEYERS ET AL        $          13.50   $      0.95   $         14.45
605769-1   RICHARD R KIMBALL IRA                                  $          13.50   $      0.95   $         14.45
605772-1   CHRISTOPHER S FRANCIS                                  $           9.00   $      0.64   $          9.64
605773-0   MARK LINDSEY MAUND TTEE THE MARK ADAM MAUND TRUST $               13.50   $      0.95   $         14.45
605774-8   DOUG CHARLES MAUND TTEE U/W HELEN L MAUND              $          13.50   $      0.95   $         14.45
605775-6   DON W DAVIS                                            $          18.00   $      1.27   $         19.27
605776-4   WARREN L ANDERSON IRRA                                 $           9.00   $      0.64   $          9.64
605777-2   ROBERT W SPENCER JR DCSD                               $         337.50   $     23.83   $       361.33
605779-9   JEFFREY A PERRY IRRA                                   $           4.50   $      0.32   $          4.82
605780-2   RANA ZAKI TOD BENEFICIARIES ON FILE                    $          13.50   $      0.95   $         14.45
605782-9   GRISELDA B APPLE AND BILLY R APPLE JTWROS              $           4.50   $      0.32   $          4.82
605785-3   MR THOMAS W BARRON                                     $         225.00   $     15.89   $       240.89
605787-0   MONA D CLINE IRRA                                      $           9.00   $      0.64   $          9.64
605788-8   JOHN T FLANAGAN                                        $          22.50   $      1.59   $         24.09
605789-6   PETER C FLANAGAN TOD BENEFICIARIES ON FILE             $          22.50   $      1.59   $         24.09
605790-0   PAYSON S PERKINS IRA                                   $           9.00   $      0.64   $          9.64
605791-8   FBO GEORGE S TOLLEY                                    $          13.50   $      0.95   $         14.45
605792-6   PETER G BOYNTON TTEE UAD 1/7/2004 BOYNTON FAM TR       $           4.50   $      0.32   $          4.82
605795-0   JOHN T. WILLIAMS III IRA                               $           4.50   $      0.32   $          4.82
605796-9   NANCY Y TREASTER IRRA                                  $          18.00   $      1.27   $         19.27
605797-7   SAVERIO J FILI TTEE THE FILI TRUST                     $          22.50   $      1.59   $         24.09
605799-3   THOMAS W MCCREARY III IRA                              $          13.50   $      0.95   $         14.45
605801-9   CYNTHIA VAN HISE                                       $          13.50   $      0.95   $         14.45
605802-7   ELIAS GEDEON AND ISABEL GEDEON JTWROS                  $           9.00   $      0.64   $          9.64
605803-5   SUZANNE BACH IRRA                                      $           9.00   $      0.64   $          9.64
605804-3   ROCHELLE WEINSTOCK TTEE BY HAROLD DICHTER              $          13.50   $      0.95   $         14.45
605806-0   ERIC & SIMONE LANG TTEES BY ERIC & SIMONE LANG TRUST 1 $          13.50   $      0.95   $         14.45
605809-4   ELLINGTON DENTAL ASSOCIATES PC 401(K) PLAN & TRUST     $          13.50   $      0.95   $         14.45
605810-8   BRIAN A KIMBALL                                        $          13.50   $      0.95   $         14.45
605811-6   DONALD D'AMOUR TTEE NICOLE D'AMOUR TRUST               $          54.00   $      3.81   $         57.81
605812-4   DONALD D'AMOUR TTEE MATHIEU D'AMOUR TRUST              $          54.00   $      3.81   $         57.81
605813-2   MITCHELL S ASKENAS IRA                                 $          18.00   $      1.27   $         19.27
605814-0   ALAN SIVEK IRRA                                        $          13.50   $      0.95   $         14.45
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 58 of 85 Page ID
                                     #:70786
Claim #    Claimant                                            Damages          PJI            Damages + PJI
605816-7   CHARLES E DEPAUW TOD BENEFICIARIES ON FILE          $         9.00   $       0.64   $          9.64
605817-5   ROSLYN CAROL SACHS TOD BENEFICIARIES ON FILE        $        22.50   $       1.59   $         24.09
605818-3   TREVELYAN E PALMER IRRA                             $        36.00   $       2.54   $         38.54
605819-1   ROGER A KELE IRRA                                   $        67.50   $       4.77   $         72.27
605820-5   DONALD L MATZ TTEE BY DONALD L MATZ                 $         4.50   $       0.32   $          4.82
605834-5   LEO A PARE DCSD TTEE BY LEO A PARE                  $       450.00   $      31.77   $       481.77
605835-3   MICHAEL RIEGER                                      $       112.50   $       7.94   $       120.44
605838-8   CHARLES K NULSEN III AND JOANN K NULSEN JTWROS      $     1,462.50   $     103.25   $     1,565.75
605844-2   MARK SILBER IRA                                     $        13.50   $       0.95   $         14.45
605845-0   PAUL HASKEL AND CELESTE K HASKEL TIC                $        31.50   $       2.22   $         33.72
605847-7   ROY L LIPPINCOTT AND SALLY L LIPPINCOTT JTWROS      $        18.00   $       1.27   $         19.27
605848-5   MACON SURGICAL ASSOC 401K PS                        $        18.00   $       1.27   $         19.27
605849-3   RICHARD S PONTIN IRRA                               $        13.50   $       0.95   $         14.45
605850-7   ANNE PONTIN IRA                                     $        18.00   $       1.27   $         19.27
605851-5   DONALD D'AMOUR TTEE DED TRUST                       $        58.50   $       4.13   $         62.63
605852-3   DR ARTHUR LESTER IRA                                $        22.50   $       1.59   $         24.09
605853-1   MARIANNA O'DWYER IRA                                $         9.00   $       0.64   $          9.64
605854-0   MICHAEL E KINNE IRRA                                $        18.00   $       1.27   $         19.27
605855-8   MRS CRYSTALOU DELIS TTEE BY MRS CRYSTALOU DELIS     $         9.00   $       0.64   $          9.64
605856-6   TERRY HARRIS IRRA                                   $        13.50   $       0.95   $         14.45
605857-4   ANN FUDGE SEP                                       $        49.50   $       3.49   $         52.99
605858-2   ANN FUDGE IRRA                                      $        18.00   $       1.27   $         19.27
605859-0   FRANCES TICKER                                      $         4.50   $       0.32   $          4.82
605860-4   HOY CONSTRUCTION INC                                $         9.00   $       0.64   $          9.64
605861-2   JAMES T O'BRIEN IRA                                 $       288.00   $      20.33   $       308.33
605868-0   W EARL WINDOM IRRA                                  $        40.50   $       2.86   $         43.36
605876-0   RICHARD B LEVINE IRRA                               $       225.00   $      15.89   $       240.89
605879-5   4 D SERVICES INC SEP                                $       337.50   $      23.83   $       361.33
605881-7   PATRICK MANAGEMNT COMPANY                           $       450.00   $      31.77   $       481.77
605893-0   STEPHEN M. WERNIKOFF TTEE BY STEPHEN M. WERNIKOFF   $       225.00   $      15.89   $       240.89
605896-5   DR TOM V DAVID DVM IRRA                             $        31.50   $       2.22   $         33.72
605897-3   GENE A CARSTENS IRA                                 $        45.00   $       3.18   $         48.18
605898-1   JOHN HOLLY AND TOD BENEFICIARIES ON FILE            $         9.00   $       0.64   $          9.64
605899-0   JOHN F PATERNOSTER IRRA                             $        13.50   $       0.95   $         14.45
605900-7   CRISTEN S KEMAK IRA                                 $         9.00   $       0.64   $          9.64
605902-3   MANUEL B MEDINA IRRA                                $        18.00   $       1.27   $         19.27
605903-1   WILLIAM H CLARK IRRA                                $        22.50   $       1.59   $         24.09
605906-6   ROBERT W. SPENCER JR IRRA                           $       337.50   $      23.83   $       361.33
605909-0   J DOUGLAS BURKE IRA                                 $       135.00   $       9.53   $       144.53
605910-4   BARBARA M DUDA IRRA                                 $         9.00   $       0.64   $          9.64
605912-0   BRADLEY O BEST JR TTEE BY BRADLEY O BEST JR         $        18.00   $       1.27   $         19.27
605913-9   GWEN M OGLE IRRA                                    $        18.00   $       1.27   $         19.27
605917-1   JOSEPH W KATZ IRA                                   $        36.00   $       2.54   $         38.54
605918-0   MRS DOROTHY R GILL TOD BENEFICIARIES ON FILE        $        22.50   $       1.59   $         24.09
605919-8   WILLIAM KRONENBERG III (STOCK ACCOUNT)              $        72.00   $       5.08   $         77.08
605922-8   SUSAN A OKULA TTEE DOUGLAS H BIGELOW GST-EXEMPT     $         9.00   $       0.64   $          9.64
605923-6   MR WILLIAM R KLESSE                                 $        63.00   $       4.45   $         67.45
605925-2   DAVID J HIRSH AND SUZANNE M HIRSH JTWROS            $         4.50   $       0.32   $          4.82
605927-9   GEORGE THOMAS MARSH IRRA                            $        40.50   $       2.86   $         43.36
605928-7   DR KATHRYN V PRUDEN AND DR CHARLES H PRUDEN ATBE    $        22.50   $       1.59   $         24.09
605936-8   M KEEFE GORMAN AND SUSAN GORMAN JTWROS              $         4.50   $       0.32   $          4.82
605937-6   PATRICIA A ROCHE AND TIMOTHY M ROCHE ATBE           $     1,350.00   $      95.31   $     1,445.31
605944-9   ALESSIO LEASING INC PROFIT SHARING PLAN             $         4.50   $       0.32   $          4.82
605945-7   C INDIRA MD DEFINED BENEFIT PLAN                    $       225.00   $      15.89   $       240.89
605946-5   SKYROCK FAMILY PARTNERSHIP LP                       $         4.50   $       0.32   $          4.82
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 59 of 85 Page ID
                                     #:70787
Claim #    Claimant                                                    Damages          PJI            Damages + PJI
605947-3   ANTHONY D BUENAFLOR IRRA                                    $         4.50   $       0.32   $          4.82
605948-1   TOLESCO LLC                                                 $        22.50   $       1.59   $         24.09
605957-0   CJC&S INVESTMENTS GROUPL.P.                                 $       562.50   $      39.71   $       602.21
605958-9   JOANN K NULSEN                                              $     1,462.50   $     103.25   $     1,565.75
605959-7   STEVEN C WHITE TTEE BY BARBARA C HARMON                     $         4.50   $       0.32   $          4.82
605960-0   STEVE C WHITE TTEE BY BARBARA C HARMON                      $         4.50   $       0.32   $          4.82
605961-9   R. J. GROSSMAN TTE BY R.J.G. J.A.G. TRUSTS TIC UAD 12/29/04 $        13.50   $       0.95   $         14.45
605962-7   LINDA MARKOW IRRA                                           $         9.00   $       0.64   $          9.64
605966-0   MARVINE HOWE TTEE BY MARVINE HOWE                           $       229.50   $      16.20   $       245.70
605967-8   DON RATH TTEE BY DON RATH                                   $        31.50   $       2.22   $         33.72
605968-6   JASON L SMITH FAMILY LTD PART                               $        18.00   $       1.27   $         19.27
605969-4   SCOTT F RUDIE AND LINDA M RUDIE JTWROS                      $        13.50   $       0.95   $         14.45
605970-8   DAVID R GOODE TTEE BY DAVID R GOODE                         $        18.00   $       1.27   $         19.27
605971-6   DR RICHARD L BUCK AND SUJATA C BUCK JTWROS                  $         9.00   $       0.64   $          9.64
605972-4   HAMPTON ROADS RADIOLOGY PC PSP                              $        27.00   $       1.91   $         28.91
605973-2   MARY C BASSETT TTEE BY MARY C BASSETT                       $        22.50   $       1.59   $         24.09
605974-0   ROBERT M SHONKOFF IRRA                                      $        13.50   $       0.95   $         14.45
605975-9   DANIEL MOORE TTEE BY DANIEL MOORE ANTONINA ESPIRITU U $              13.50   $       0.95   $         14.45
605976-7   MS MARIE BUNCOMBE                                           $        22.50   $       1.59   $         24.09
605979-1   LOUIS O SCHUELER IRA                                        $        13.50   $       0.95   $         14.45
605980-5   RICHARD G AMES TOD BENEFICIARIES ON FILE                    $         9.00   $       0.64   $          9.64
605981-3   DEBBIE BECK TOD BENEFICIARIES ON FILE                       $        13.50   $       0.95   $         14.45
605982-1   EVAN GERARD                                                 $         9.00   $       0.64   $          9.64
605983-0   DR HENRY E BLACK IRA                                        $         9.00   $       0.64   $          9.64
605984-8   MARGARET BLACK TTEE BY MARGARET BLACK REV TRUST             $        13.50   $       0.95   $         14.45
605985-6   RICHARD D BOEHMKE IRRA                                      $        18.00   $       1.27   $         19.27
605986-4   DR ADAM P SAFFER AND ALISON D SAFFER JTWROS                 $        18.00   $       1.27   $         19.27
605987-2   ELLEN SIROT TTEE U/A DTD 11/1/2005 AS AMENDED 12/9/2015 $            45.00   $       3.18   $         48.18
605988-0   RUSSELL M BLAIR ISABEL M BLAIR BY RUSSELL M BLAIR           $        40.50   $       2.86   $         43.36
605989-9   JERRI ANN KRAUSS                                            $        13.50   $       0.95   $         14.45
605990-2   VIRGINIA IAMPIETRO IRA                                      $         9.00   $       0.64   $          9.64
605991-0   PATSY G DELLINGER DCSD                                      $        13.50   $       0.95   $         14.45
605992-9   JENNIFER MAUND TTEE BY DOUGLAS C MAUND                      $        13.50   $       0.95   $         14.45
605993-7   JOSEPH CASALE JR IRA                                        $        13.50   $       0.95   $         14.45
605995-3   ELIZABETH FRIEDMAN IRRA                                     $        22.50   $       1.59   $         24.09
605997-0   BARBARA LEIGH KOSNIK IRA                                    $        18.00   $       1.27   $         19.27
605998-8   SHARON L BROUILLARD AND MICHAEL J BROUILLARD JTWROS $                 9.00   $       0.64   $          9.64
605999-6   DEBORAH M GAFFNEY SEP                                       $        22.50   $       1.59   $         24.09
606000-5   BOBBIE T HASTINGS TOD BENEFICIARIES ON FILE                 $       450.00   $      31.77   $       481.77
606002-1   ROBERT D. LOUGHNEY                                          $        36.00   $       2.54   $         38.54
606005-6   WILLIAMS PROPERTIES MFS CDP CONSULTS                        $        36.00   $       2.54   $         38.54
606006-4   GARY A GIRARD IRRA                                          $        18.00   $       1.27   $         19.27
606008-0   WYNNE & DAVID BARUCH TTEES BY WYNNE E BARUCH TRUST $                 40.50   $       2.86   $         43.36
606009-9   LINDA VAN DEN EEDEN                                         $         9.00   $       0.64   $          9.64
606010-2   JACK L ALTEKRUSE IRRA                                       $        18.00   $       1.27   $         19.27
606012-9   NEIL D OLSEN IRRA                                           $       900.00   $      63.54   $       963.54
606015-3   DENNIS M PATRICK TTEE BY DENNIS M PATRICK                   $        13.50   $       0.95   $         14.45
606016-1   DONALD D'AMOUR TTEE PHILIP D'AMOUR TRUST                    $        67.50   $       4.77   $         72.27
606017-0   MR MARVIN E POUND IRA                                       $        27.00   $       1.91   $         28.91
606019-6   BOB VAN SCHUYVER IRRA                                       $       225.00   $      15.89   $       240.89
606022-6   RICHARD S PENTON TTEE BY RICHARD S PENTON                   $       450.00   $      31.77   $       481.77
606024-2   CYNTHIA VAN HISE                                            $        13.50   $       0.95   $         14.45
606025-0   CAROLE STUART IRRA                                          $         9.00   $       0.64   $          9.64
606026-9   MR THOMAS H BROWN                                           $       225.00   $      15.89   $       240.89
606027-7   LYNN L HARRIS                                               $        13.50   $       0.95   $         14.45
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 60 of 85 Page ID
                                     #:70788
Claim #    Claimant                                              Damages            PJI           Damages + PJI
606030-7   M D HILES & M A HILES TTEE MARK D HILES TRUST         $          22.50   $      1.59   $         24.09
606032-3   ELIZABETH T ROSSI IRA                                 $           9.00   $      0.64   $          9.64
606034-0   W EARL WINDOM DCSD AND WILLETTE K WINDOM TIC          $          40.50   $      2.86   $         43.36
606039-0   MICHAEL J SAUER SEP                                   $          27.00   $      1.91   $         28.91
606040-4   M D HILES & M A HILES TTEE BY MARK D HILES            $          22.50   $      1.59   $         24.09
606041-2   SHIRLEY WEINER TOD BENEFICIARIES ON FILE              $          18.00   $      1.27   $         19.27
606042-0   C DOUGLAS WATTS JR AND CHERYL R WATTS JTWROS          $          36.00   $      2.54   $         38.54
606043-9   EUGENE R JUDD TOD BENEFICIARIES ON FILE               $          22.50   $      1.59   $         24.09
606044-7   ROBERT S WENSTRUP JR TTEE BY ROBERT S WENSTRUP JR     $           9.00   $      0.64   $          9.64
606045-5   VALERIY SAVINKIN DCSD AND VALENTINA SAVINKIN JTWROS   $          13.50   $      0.95   $         14.45
606046-3   VERA MANDELL                                          $           4.50   $      0.32   $          4.82
606047-1   GILBERT E SELVIN IRRA                                 $           4.50   $      0.32   $          4.82
606048-0   JOHN L HEGARD IRRA                                    $           9.00   $      0.64   $          9.64
606049-8   GENEVIEVE G STUBBS IRRA                               $          13.50   $      0.95   $         14.45
606050-1   PETER C MILLER IRRA                                   $          27.00   $      1.91   $         28.91
606052-8   BARTLE WELLS ASSOCIATES SEP                           $          40.50   $      2.86   $         43.36
606054-4   MR ALBERT J RITZ TTEE BY MR ALBERT J RITZ             $           4.50   $      0.32   $          4.82
606055-2   CHRISTOPHER CHAN AND JOHN P CHAN JTWROS               $         450.00   $     31.77   $       481.77
606058-7   CLIFFORD LUSTER AND JILL RITTER TIC                   $           9.00   $      0.64   $          9.64
606059-5   INDIANA UNITED METHODIST CHILDREN'S HOME INC.         $          27.00   $      1.91   $         28.91
606060-9   FBO MIKE KOZIKOWSKI TRST TR MARK D KOZIKOWSKI TTEE    $          36.00   $      2.54   $         38.54
606061-7   EUGENE D MYSLENSKI IRRA                               $          22.50   $      1.59   $         24.09
606062-5   ALLEN F HYMAN IRRA                                    $          18.00   $      1.27   $         19.27
606063-3   MODESTO RAD MEDICAL GROUP INC 401K PSP                $          22.50   $      1.59   $         24.09
606064-1   GARY T STOKOE TTEE BY GARY T STOKOE                   $          54.00   $      3.81   $         57.81
606065-0   DARA BERGER TTEE JORDAN BERGER 2008 TRUST             $          18.00   $      1.27   $         19.27
606066-8   DAVID BLACKMAN IRA                                    $          36.00   $      2.54   $         38.54
606067-6   STUART DROBNY AND LORRAINE DROBNY ATBE                $           9.00   $      0.64   $          9.64
606068-4   DOROTHY V WHITICAR TTEE BY DOROTHY V WHITICAR         $           4.50   $      0.32   $          4.82
606069-2   ANTHONY SAIKOWSKI SEP                                 $           4.50   $      0.32   $          4.82
606070-6   FREDERICK T HILL JR IRA                               $          13.50   $      0.95   $         14.45
606071-4   HAMPTON ROADS RADIOLOGY                               $          31.50   $      2.22   $         33.72
606072-2   MARILYN I LAMB                                        $          49.50   $      3.49   $         52.99
606073-0   HERBERT HEIMERL III AND MELISSA HEIMERL JTWROS        $          63.00   $      4.45   $         67.45
606074-9   SANDRA RIZZI DCSD                                     $          36.00   $      2.54   $         38.54
606077-3   DEBORAH FRYER                                         $          18.00   $      1.27   $         19.27
606078-1   JAMES N STRIMBU IRRA                                  $          18.00   $      1.27   $         19.27
606079-0   MATTHEW J BARNABY SR IRA                              $          45.00   $      3.18   $         48.18
606080-3   ANNETTE OBRIEN IRA                                    $          49.50   $      3.49   $         52.99
606085-4   W THEODORE BOURKE AND KATHLEEN BOURKE TIC             $         450.00   $     31.77   $       481.77
606088-9   J PATRICK MULLAN DCSD                                 $           9.00   $      0.64   $          9.64
606090-0   MILLS PENIN HSP-FND TTEE BY GWENDOLYN VANDERBUR       $         225.00   $     15.89   $       240.89
606091-9   MILLS PENIN HSP TTEE CHARITABLE REMAINDER UNIT TR     $         225.00   $     15.89   $       240.89
606094-3   JACK KOROL TTEE BY JACK KOROL                         $         112.50   $      7.94   $       120.44
606095-1   ANTHONY NICODEMO                                      $          22.50   $      1.59   $         24.09
606096-0   LINDA K JOHNSON TTEE BY LINDA K JOHNSON               $          13.50   $      0.95   $         14.45
606097-8   JOHN J MAHONEY AND ANDREA M MAHONEY TIC               $          18.00   $      1.27   $         19.27
606098-6   RETAIL CONFECTIONERS INTERNATIONAL                    $          13.50   $      0.95   $         14.45
606101-0   NANCY J GALIANI                                       $          85.50   $      6.04   $         91.54
606104-4   JOHN C CALLENBACH IRRA                                $           9.00   $      0.64   $          9.64
606105-2   JOHN WILLIAMSON AND MELISSA A WILLIAMSON TIC          $          49.50   $      3.49   $         52.99
606107-9   MOIRA A HARDING TTEE BY RAYMOND C PARMER              $           4.50   $      0.32   $          4.82
606110-9   ALJO L SCHERF                                         $           9.00   $      0.64   $          9.64
606111-7   WILLIAM M SMITH IRRA                                  $           4.50   $      0.32   $          4.82
606112-5   MDJ INVESTMENTS LLC                                   $           9.00   $      0.64   $          9.64
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 61 of 85 Page ID
                                     #:70789
Claim #    Claimant                                                Damages          PJI            Damages + PJI
606113-3   DBJ INVESTMENTS LLC                                     $         9.00   $       0.64   $          9.64
606114-1   ELIZABETH S BIZIC                                       $       450.00   $      31.77   $       481.77
606115-0   PAUL S SELVIN                                           $        18.00   $       1.27   $         19.27
606116-8   JANE H HUMPSTONE                                        $        31.50   $       2.22   $         33.72
606117-6   MR DONALD N CAMPAGNA AND MRS RUTH A CAMPAGNA JTW $               58.50   $       4.13   $         62.63
606119-2   JOSEPH AGOSTINO TOD BENEFICIARIES ON FILE               $        22.50   $       1.59   $         24.09
606120-6   JOEL D NEIGH TOD BENEFICIARIES ON FILE                  $        18.00   $       1.27   $         19.27
606121-4   J DEWEY MANUFACTURING INC 401K                          $        13.50   $       0.95   $         14.45
606122-2   RICHARD ABATECOLA AND TEREZ ABATECOLA JTWROS            $        31.50   $       2.22   $         33.72
606127-3   AMY M DONOHUE                                           $         4.50   $       0.32   $          4.82
606131-1   CHRISTOPHER W BIRD                                      $        13.50   $       0.95   $         14.45
606132-0   PHILIP J PROBST IRA                                     $        18.00   $       1.27   $         19.27
606134-6   GERALD J SNYDER TTEE BY GERALD J SNYDER                 $        27.00   $       1.91   $         28.91
606138-9   CLEARWATER CARDIOVASCULAR CONSULTANTS MD PA             $        13.50   $       0.95   $         14.45
606139-7   MARGARET M HOGAN TOD BENEFICIARIES ON FILE              $       414.00   $      29.23   $       443.23
606140-0   ELIZABETH ANNE SANFORD                                  $         9.00   $       0.64   $          9.64
606149-4   MICHAEL MURPHY AND KELLY MURPHY JTWROS                  $         9.00   $       0.64   $          9.64
606152-4   MR THOMAS N SHOPOFF                                     $       112.50   $       7.94   $       120.44
606154-0   KIMBERLY P DEFFEBACH TTEE BY KIMBERLY P DEFFEBACH       $        45.00   $       3.18   $         48.18
606155-9   NANCY A HARNER IRA                                      $         9.00   $       0.64   $          9.64
606157-5   ANDREW N WILSON TTEE ANDREW N. WILSON TRUST             $        49.50   $       3.49   $         52.99
606162-1   LORRAINE F FOLEY                                        $        13.50   $       0.95   $         14.45
606163-0   AZIZ JAMALUDDIN TOD BENEFICIARIES ON FILE               $       450.00   $      31.77   $       481.77
606164-8   TIMOTHY BLACK MD                                        $       225.00   $      15.89   $       240.89
606166-4   CHURCH OF THE ADVENT GENERAL ENDOWMENT FUND             $         4.50   $       0.32   $          4.82
606168-0   GARY L GRAMMENS IRA                                     $        36.00   $       2.54   $         38.54
606172-9   RICHARD C PFLAGER TTEE RICHARD C PFLAGER REV TRUST      $        27.00   $       1.91   $         28.91
606173-7   DUANE & MARILYN WINDHORST TTEE BY DUANE H WINDHORS $              4.50   $       0.32   $          4.82
606174-5   FELBRO INC NON-UNION TST PSP                            $        18.00   $       1.27   $         19.27
606175-3   LINDA M LIPTROT IRA                                     $         9.00   $       0.64   $          9.64
606176-1   MR ALAN L BECK IRRA                                     $         4.50   $       0.32   $          4.82
606177-0   PAMELA KAY LEE IRA                                      $         9.00   $       0.64   $          9.64
606179-6   TERRI L LUDWIG RRA                                      $         9.00   $       0.64   $          9.64
606184-2   ROBERT C HUSS DCSD AND MARGARET C HUSS JTWROS           $         9.00   $       0.64   $          9.64
606185-0   MARTHA JANE LENT IRA                                    $         4.50   $       0.32   $          4.82
606187-7   ROSE M KROGH TTEE BY ROSE M KROGH                       $       112.50   $       7.94   $       120.44
606190-7   JOHN GELL JR IRA                                        $       337.50   $      23.83   $       361.33
606192-3   DUONGVANNAK J.B. KEO TTEE BY DUONGVANNAK J.B. KEO       $     1,800.00   $     127.08   $     1,927.08
606193-1   BARBARA J BUTRUM IRRA                                   $        18.00   $       1.27   $         19.27
606194-0   RICHARD C SNYDER TTEE BY RICHARD C SNYDER               $       450.00   $      31.77   $       481.77
606195-8   MARK D HILES TTEE BY MARK D HILES                       $        22.50   $       1.59   $         24.09
606201-6   GUERRINI LANDSCAPE INC PROFIT SHARING PLAN              $         9.00   $       0.64   $          9.64
606203-2   ELLEN GOULD                                             $        90.00   $       6.35   $         96.35
606204-0   RICHARD D GORDON MD PA PROFIT SHARING DTD 10/15/82      $        72.00   $       5.08   $         77.08
606205-9   NEIL FROMER                                             $        18.00   $       1.27   $         19.27
606206-7   ELLEN L BENSON IRRA                                     $        31.50   $       2.22   $         33.72
606208-3   NATALIE ISSER                                           $         9.00   $       0.64   $          9.64
606209-1   ROBERT HOGAN IRA                                        $       117.00   $       8.26   $       125.26
606210-5   THOMAS E HOVERSEN IRRA                                  $         9.00   $       0.64   $          9.64
606211-3   FRANCES J BROWN TTEE U/A DTD REV LIV TR AMENDED 4/15/2 $          9.00   $       0.64   $          9.64
606215-6   PATRICIA A ZACKOWSKI TTEE BY PATRICIA A ZACKOWSKI ET AL $        27.00   $       1.91   $         28.91
606216-4   ROBERT M NOWAK TTEE BY ROBERT M NOWAK                   $        13.50   $       0.95   $         14.45
606217-2   THOMAS G ELICKER AND LESLIE ELICKER JTWROS              $        18.00   $       1.27   $         19.27
606221-0   CHRISTOPHER D MALONEY TTEE CHRISTOPHER D MALONEY TRU$            45.00   $       3.18   $         48.18
606224-5   WILLIAM H LAMBERT IRRA                                  $        31.50   $       2.22   $         33.72
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 62 of 85 Page ID
                                     #:70790
Claim #    Claimant                                                Damages            PJI          Damages + PJI
606225-3   WILLIAM S STAMPS                                        $          54.00   $     3.81   $         57.81
606226-1   ET ALEE NAIM SARA LEAH ARNO JACOB NAIM                  $          27.00   $     1.91   $         28.91
606227-0   PATRICIA S HUMPHRIES TOD BENEFICIARIES ON FILE          $          18.00   $     1.27   $         19.27
606228-8   ROBERT L LEIDNER IRA                                    $          13.50   $     0.95   $         14.45
606229-6   YVONNE L IRICK TTEE BY JOHN IRICK - TRUST A             $           9.00   $     0.64   $          9.64
606230-0   ROBIN R MACPHERSON TTEE ROBIN R. MACPHERSON REV TRUS $             18.00   $     1.27   $         19.27
606231-8   STACI LEVICK                                            $          13.50   $     0.95   $         14.45
606232-6   KATHLEEN CAPARO IRA                                     $          13.50   $     0.95   $         14.45
606233-4   DAVID CREINER SEP                                       $          22.50   $     1.59   $         24.09
606234-2   JEFFRY STEVEN SANDBERG TOD BENEFICIARIES ON FILE        $          18.00   $     1.27   $         19.27
606235-0   MR WILLIAM MARTIN JR AND MRS MARCIA E MARTIN JTWROS $              22.50   $     1.59   $         24.09
606236-9   DANIEL A ROSENBERG                                      $           9.00   $     0.64   $          9.64
606237-7   EDWARD MORGANSTEIN IRRA                                 $          40.50   $     2.86   $         43.36
606238-5   CRAIG FITZGERALD AND RONDA FITZGERALD JTWROS            $          13.50   $     0.95   $         14.45
606239-3   GEORGE G MCCANN TTEE U/W MARY M MCCANN                  $           4.50   $     0.32   $          4.82
606240-7   RICHARD M KOSNIK IRA                                    $          13.50   $     0.95   $         14.45
606241-5   LEE KING IRRA                                           $           4.50   $     0.32   $          4.82
606242-3   MR JOHN P WILDER IRRA                                   $          22.50   $     1.59   $         24.09
606243-1   JEAN PRICE IRA                                          $          13.50   $     0.95   $         14.45
606244-0   JANET R THOMAS                                          $          18.00   $     1.27   $         19.27
606245-8   CHARLES RAITZ DECD IRA                                  $           9.00   $     0.64   $          9.64
606246-6   ROSEMARY BURKE IRA                                      $          13.50   $     0.95   $         14.45
606247-4   KENNETH J BURKE IRA                                     $          18.00   $     1.27   $         19.27
606248-2   SHIRLEY M NG IRRA                                       $          27.00   $     1.91   $         28.91
606249-0   MICHAEL & JANICE SIMONE TTEES BY MICHAEL R SIMONE ET AL $          27.00   $     1.91   $         28.91
606250-4   BEATRICE M MULLEN DCSD TTEE JOHN J MULLEN SR U/A 9/26/9 $          13.50   $     0.95   $         14.45
606251-2   MICHAEL J CROSBY IRA                                    $          18.00   $     1.27   $         19.27
606252-0   MARK N KOPPES IRRA                                      $          18.00   $     1.27   $         19.27
606253-9   SCOTT PFEFFER AND MARGIE PFEFFER ATBE                   $          18.00   $     1.27   $         19.27
606254-7   MICHAEL POLAVIEJA AND ERICA POLAVIEJA JTWROS            $          18.00   $     1.27   $         19.27
606255-5   DR MICHAEL R TEKAUTZ TTEE BY DR MICHAEL R TEKAUTZ ET AL $          18.00   $     1.27   $         19.27
606256-3   S. CRAIG MUMA IRRA                                      $          13.50   $     0.95   $         14.45
606257-1   WEERAPAN KUYAKANON BASIC                                $          31.50   $     2.22   $         33.72
606258-0   DEBORAH J. MITCHELL IRRA                                $           9.00   $     0.64   $          9.64
606259-8   MRS GAIL L GROSSFELD TTEE BY MRS GAIL L GROSSFELD ET AL $          13.50   $     0.95   $         14.45
606260-1   ALEXIS GIBSON                                           $          18.00   $     1.27   $         19.27
606261-0   PELHAM O'NEAL RANCHES LTD                               $           4.50   $     0.32   $          4.82
606262-8   EDWARD G HANELL                                         $           9.00   $     0.64   $          9.64
606263-6   JONATHAN METCALFE                                       $         135.00   $     9.53   $       144.53
606267-9   BILLIE F CHAPMAN IRRA                                   $           9.00   $     0.64   $          9.64
606268-7   JONATHAN GELMAN AND STACEY GELMAN JTWROS                $          13.50   $     0.95   $         14.45
606271-7   BRENT WOLGAST TTEE BY LYNN R WOLGAST                    $          22.50   $     1.59   $         24.09
606273-3   GLEN J HOTTE RRA                                        $          22.50   $     1.59   $         24.09
606274-1   MR ROBERT M NOWAK TTEE BY SUSAN B NOWAK                 $          13.50   $     0.95   $         14.45
606275-0   ADRIANA P DAKIN                                         $           9.00   $     0.64   $          9.64
606277-6   ANGLICAN DIOCESE HOLDING CORPORATION                    $           9.00   $     0.64   $          9.64
606278-4   SUSAN KEMPER PARKER IRRA                                $          13.50   $     0.95   $         14.45
606279-2   RONALD J STAINES TTEE U/W STANLEY WOLPOFF               $          22.50   $     1.59   $         24.09
606280-6   THOMAS J S WAXTER JR                                    $          22.50   $     1.59   $         24.09
606283-0   DOUGLAS TREUTING IRRA                                   $          13.50   $     0.95   $         14.45
606285-7   JOEL A SMITH                                            $          13.50   $     0.95   $         14.45
606286-5   JEFFERY TODD EDGE SEP                                   $           9.00   $     0.64   $          9.64
606287-3   MR STEVEN BERMAN TTEE BY NINA BERMAN                    $          13.50   $     0.95   $         14.45
606288-1   MR STEVEN BERMAN TTEE BY HOLLY BERMAN                   $          22.50   $     1.59   $         24.09
606289-0   SUSAN W LEIBOWITZ                                       $          13.50   $     0.95   $         14.45
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 63 of 85 Page ID
                                     #:70791
Claim #    Claimant                                                Damages          PJI            Damages + PJI
606290-3   MR LEO W PIERCE JR TTEE ALEXANDRA R PIERCE 2006 TRUST $         144.00   $      10.17   $       154.17
606291-1   MR LEO W PIERCE JR TTEE JULIA S PIERCE 2009 TRUST       $       144.00   $      10.17   $       154.17
606292-0   MR LEO W PIERCE JR TTEE BY KATE BULLITT PIERCE          $       130.50   $       9.21   $       139.71
606293-8   ELIZABETH ANNE SANFORD                                  $         9.00   $       0.64   $          9.64
606294-6   MORTON BLOCK SEP                                        $         9.00   $       0.64   $          9.64
606295-4   DAVID C SANFORD                                         $        27.00   $       1.91   $         28.91
606299-7   MERYLS 401K PLAN                                        $        18.00   $       1.27   $         19.27
606300-4   JOHN BRENNAN AND MELISSA CLARK JTWROS                   $        27.00   $       1.91   $         28.91
606301-2   JEFFREY NOVAK AND MARYANN NOVAK JTWROS                  $        13.50   $       0.95   $         14.45
606302-0   PATRICIA L CHAPMAN TTEE BY PATRICIA CHAPMAN             $        13.50   $       0.95   $         14.45
606303-9   H CRAIG TREIBER IRA                                     $        67.50   $       4.77   $         72.27
606305-5   DENNIS M PATRICK TTEE BY VERONICA PATRICK               $        18.00   $       1.27   $         19.27
606306-3   CAROLYN B PFEIFER IRA                                   $        31.50   $       2.22   $         33.72
606307-1   CARLA J MURRAY RRA                                      $        18.00   $       1.27   $         19.27
606309-8   CHRISTOPHER PITINO                                      $     1,800.00   $     127.08   $     1,927.08
606311-0   THOMAS E BROWN JR IRA                                   $        13.50   $       0.95   $         14.45
606312-8   SOTIRIOS D BASILAKOS IRRA                               $        13.50   $       0.95   $         14.45
606313-6   MARIAN L BRICKWEDEL TTEE BY MARIAN L BRICKWEDEL         $        18.00   $       1.27   $         19.27
606317-9   CHARLES ROBERT HART AND SANDRA HILE HART JTWROS         $       675.00   $      47.66   $       722.66
606318-7   CHRISTIAN B SCHOEN IRA                                  $       112.50   $       7.94   $       120.44
606323-3   EDWARD STOLARZ IRA                                      $        22.50   $       1.59   $         24.09
606325-0   MARC KEMENY SEP                                         $         9.00   $       0.64   $          9.64
606326-8   FBO EMMA OLSEN                                          $         9.00   $       0.64   $          9.64
606327-6   NANCY W REEVE IRA                                       $        13.50   $       0.95   $         14.45
606329-2   A JOHN GALIANI AND NANCY GALIANI JTWROS                 $       900.00   $      63.54   $       963.54
606330-6   ROCK A DAVIS TTEE BY ROCK A DAVIS                       $       112.50   $       7.94   $       120.44
606331-4   MEDICAL EYE ASSOCIATES INC PSP                          $         9.00   $       0.64   $          9.64
606332-2   FRED BATTAH                                             $        45.00   $       3.18   $         48.18
606333-0   THOMAS J VENUTO                                         $       450.00   $      31.77   $       481.77
606334-9   HELEN L DILLON AND BY HELEN L DILLON                    $        27.00   $       1.91   $         28.91
606335-7   MR JOHN P SPILLANE TTEE BY EUGENE SPILLANE              $         9.00   $       0.64   $          9.64
606336-5   NANCY E FORTENBERY                                      $         4.50   $       0.32   $          4.82
606337-3   DOROTHY MARKERT                                         $       450.00   $      31.77   $       481.77
606340-3   BERTRAND SECOUSSE TTEE BY BERTRAND SECOUSSE             $         9.00   $       0.64   $          9.64
606343-8   LAUREN M HARTMAN IRRA                                   $         9.00   $       0.64   $          9.64
606344-6   COLIN WATTS IRRA                                        $        27.00   $       1.91   $         28.91
606345-4   JUDITH TAYLOR DCSD                                      $        67.50   $       4.77   $         72.27
606346-2   LAURIE HAYDEN                                           $        13.50   $       0.95   $         14.45
606347-0   JOSEPH J AVERSA                                         $        13.50   $       0.95   $         14.45
606348-9   HAL J PERLOFF IRA                                       $         9.00   $       0.64   $          9.64
606351-9   GABRIELLA MAURER IRRA                                   $       450.00   $      31.77   $       481.77
606354-3   RACHEL V SWEET-MARTIN TTEE BY RACHEL V SWEET-MARTIN $            36.00   $       2.54   $         38.54
606358-6   MR MARCUS M JOHNS TTEE U/W JOHN E JOHNS SR              $         4.50   $       0.32   $          4.82
606359-4   GERARD WINN IRA                                         $        72.00   $       5.08   $         77.08
606360-8   MRS EVELYN D GLABICKY TTEE CHRISTOPHER GLABICKY IRRV TR $        13.50   $       0.95   $         14.45
606363-2   WILLIAM TRAVIS JACKSON SEP                              $       112.50   $       7.94   $       120.44
606364-0   KENNETH V LEONE                                         $        31.50   $       2.22   $         33.72
606367-5   MRS FOAZIA SIDDIQ                                       $         9.00   $       0.64   $          9.64
606369-1   PAUL R KIESEL                                           $        18.00   $       1.27   $         19.27
606371-3   MICHAEL BIEDRZYCKI                                      $     1,350.00   $      95.31   $     1,445.31
606372-1   STEVEN J MAYER C/F ALEXIS R MAYER UTMA/NJ UNTIL AGE 21 $          9.00   $       0.64   $          9.64
606373-0   KYLA KRAMAN GALLI                                       $         9.00   $       0.64   $          9.64
606375-6   RODOLFO CASASOLA AND JILL MARKER CASASOLA JTWROS        $       450.00   $      31.77   $       481.77
606376-4   RICHARD T O'REILLY JR                                   $        18.00   $       1.27   $         19.27
606377-2   BRIAN F O'REILLY                                        $        40.50   $       2.86   $         43.36
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 64 of 85 Page ID
                                     #:70792
Claim #    Claimant                                              Damages            PJI           Damages + PJI
606378-0   CHRISTOPHER J SCHMIDT RRA                             $          13.50   $      0.95   $         14.45
606379-9   CYNTHIA S WISEMAN TOD BENEFICIARIES ON FILE           $          76.50   $      5.40   $         81.90
606380-2   RICHARD K MACAULAY AND TERI L MACAULAY JTWROS TOD BE $           27.00   $      1.91   $         28.91
606381-0   DAVID PIERIE IRA                                      $          31.50   $      2.22   $         33.72
606382-9   COLLIER F BLACK IRA                                   $          13.50   $      0.95   $         14.45
606383-7   WILLIAM KRONENBERG III TTEE BY WILLIAM KRONENBERG II  $          72.00   $      5.08   $         77.08
606384-5   REGINA MCCLELLAN & EDYE CORREN                        $           4.50   $      0.32   $          4.82
606385-3   BRANT D DAHLFORS AND NANCY E OF THE DAHLFORS FAMILY T $          40.50   $      2.86   $         43.36
606386-1   HOWARD L. ROSENFELD BASIC                             $          31.50   $      2.22   $         33.72
606387-0   TODD H CHASE AND REBECCA JOHNSON CHASE JTWROS         $         450.00   $     31.77   $       481.77
606389-6   MITCHELL S ASKENAS IRA                                $          18.00   $      1.27   $         19.27
606390-0   JANE L MARX                                           $          13.50   $      0.95   $         14.45
606391-8   ALBERT COTUGNO JR AND TAMRA COTUGNO JTWROS            $         112.50   $      7.94   $       120.44
606392-6   RICHARD F WILLIAMS AND KARA P WILLIAMS JTWROS         $          13.50   $      0.95   $         14.45
606394-2   ERIN O'TOOLE                                          $           9.00   $      0.64   $          9.64
606395-0   GLORIA MURPHY TOD BENEFICIARIES ON FILE               $          18.00   $      1.27   $         19.27
606396-9   HOWARD THOMAS EICHENSTEIN IRRA                        $          13.50   $      0.95   $         14.45
606398-5   WILLIAM J WILKINSON SEP                               $         472.50   $     33.36   $       505.86
606400-0   RICHARD L MCBRIDE TTEE BY RICHARD L MCBRIDE           $           9.00   $      0.64   $          9.64
606401-9   MARK B MITSKOVSKI IRRA                                $          22.50   $      1.59   $         24.09
606403-5   JAMES C LOOMIS IRA                                    $         112.50   $      7.94   $       120.44
606404-3   JACLYN R ALTMAN TTEE BY DANIEL ALTMAN                 $          63.00   $      4.45   $         67.45
606405-1   FBO CHRISTY A KENDELL                                 $          27.00   $      1.91   $         28.91
606406-0   AMY L LEMERY TTEE AMY L LEMERY LIVING TRUST           $          13.50   $      0.95   $         14.45
606407-8   AMY K WILFERT TTEE GST EX 3/7/02                      $          22.50   $      1.59   $         24.09
606408-6   AMY K WILFERT TTEE GST EX 3/7/02                      $          49.50   $      3.49   $         52.99
606409-4   CONSTANCE OEHMLER                                     $          18.00   $      1.27   $         19.27
606410-8   JOHN BASSETT IRRA                                     $          13.50   $      0.95   $         14.45
606411-6   GREATER WASHINGTON COMM FOUNDA                        $           9.00   $      0.64   $          9.64
606412-4   LYNN R WOOD DCSD                                      $          13.50   $      0.95   $         14.45
606413-2   SHMUEL ALON IRA                                       $          18.00   $      1.27   $         19.27
606417-5   ALLAN GAAN IRRA                                       $          22.50   $      1.59   $         24.09
606418-3   MABEL R BERRY                                         $          13.50   $      0.95   $         14.45
606421-3   CURTIS W OLSEN IRA                                    $          13.50   $      0.95   $         14.45
606422-1   JAMES GERBER IRRA                                     $           9.00   $      0.64   $          9.64
606423-0   KAREN G FEEHAN                                        $          18.00   $      1.27   $         19.27
606424-8   JAMES C SPAVINS AND CINDA SPAVINS JTWROS              $          45.00   $      3.18   $         48.18
606425-6   MRS MARIANNE REALE IRRA                               $           9.00   $      0.64   $          9.64
606426-4   BETTY M REITZLER IRRA                                 $          13.50   $      0.95   $         14.45
606427-2   PATRICIA A. HOWARD IRRA                               $          13.50   $      0.95   $         14.45
606430-2   MR ANTHONY L PELLEGRINI IRRA                          $           9.00   $      0.64   $          9.64
606431-0   ERNEST S KUH DCSD                                     $          40.50   $      2.86   $         43.36
606434-5   RIDVAN AKKURT AND TOD BENEFICIARIES ON FILE           $         787.50   $     55.60   $       843.10
606435-3   SOCIETY FOR TECHNICAL COMM PLEDGE COLLATERAL TO BANK $            4.50   $      0.32   $          4.82
606437-0   DAVID FORBES                                          $         450.00   $     31.77   $       481.77
606441-8   RICHARD MARK DEMOSS TTEE DEMOSS GRAT 2006-2035 TRUST $          202.50   $     14.30   $       216.80
606444-2   CARMINE DEMARZO CJ ADVISOR                            $         450.00   $     31.77   $       481.77
606446-9   MRS JO ANNE MAKELY TTEE BY RICHARD MAKELY             $          13.50   $      0.95   $         14.45
606453-1   LEO KADEN IRRA                                        $          18.00   $      1.27   $         19.27
606454-0   KANSAS NEA EMPL CONTRIBUTORY PENSION TRUST            $          63.00   $      4.45   $         67.45
606455-8   REX G MAUGHAN TTEE BY REX G MAUGHAN ET AL             $          13.50   $      0.95   $         14.45
606456-6   ERIC A MILCH IRA                                      $          90.00   $      6.35   $         96.35
606458-2   STEVEN P CORDERO IRRA                                 $          22.50   $      1.59   $         24.09
606460-4   JILL CHAMPTALOUP IRRA                                 $          27.00   $      1.91   $         28.91
606461-2   CH SCHWAB BK TTEE FAEGRE BAKER                        $           4.50   $      0.32   $          4.82
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 65 of 85 Page ID
                                     #:70793
Claim #    Claimant                                                   Damages            PJI           Damages + PJI
606464-7   MARY ALICE H PATTILLO TTEE BY ANDREW G PATTILLO JR         $           4.50   $      0.32   $          4.82
606465-5   DEANNA S PARAMORE TTEE DEANNA S PARAMORE TRUST             $         360.00   $     25.42   $       385.42
606467-1   HERBERT H. & GRACE A. DOW FOUNDATION                       $         157.50   $     11.12   $       168.62
606468-0   MIDLAND KINGS DAUGHTERS ENDOWMENT FUND                     $          27.00   $      1.91   $         28.91
606469-8   ARMIN & RENEE WESSEL TTEES R.A. WESSEL TR UA 4/25/00 TIC   $          18.00   $      1.27   $         19.27
606470-1   AMALFE BROTHERS PROFIT SHARING PLAN                        $           4.50   $      0.32   $          4.82
606471-0   JUDY E NATHAN AND ANDREW FUSCO JTWROS                      $          18.00   $      1.27   $         19.27
606473-6   SIVIRI HOLDINGS LLC                                        $           4.50   $      0.32   $          4.82
606474-4   JUSTIN N MC FARLANE TOD BENEFICIARIES ON FILE              $           4.50   $      0.32   $          4.82
606475-2   TIMOTHY FITZGERALD                                         $          13.50   $      0.95   $         14.45
606479-5   MICHAEL STROUD                                             $           4.50   $      0.32   $          4.82
606480-9   BARBARA A SATINSKY RRA                                     $           4.50   $      0.32   $          4.82
606481-7   BARBARA A SATINSKY IRRA                                    $           4.50   $      0.32   $          4.82
606482-5   JOANNA GORDON IRA                                          $          13.50   $      0.95   $         14.45
606483-3   PETER FRASCA                                               $          13.50   $      0.95   $         14.45
606484-1   JEROME T GOLINVAUX TTEE BY CHARLOTTE GOLINVAUX             $           9.00   $      0.64   $          9.64
606485-0   ROBERT G WALKER RRA                                        $          13.50   $      0.95   $         14.45
606486-8   GLENN M MEDIAMOLLE                                         $         108.00   $      7.62   $       115.62
606487-6   JAMES A BRADNEY IRA                                        $          13.50   $      0.95   $         14.45
606488-4   DANIEL MARCO IRRA                                          $           9.00   $      0.64   $          9.64
606489-2   DSS ENTERPRISES LLC                                        $          13.50   $      0.95   $         14.45
606490-6   SKYLAR ENTERPRISES LLC                                     $          13.50   $      0.95   $         14.45
606491-4   ROBERT SEIDENBERG F/B/O BANA AND/OR ASSIGNS                $          13.50   $      0.95   $         14.45
606492-2   EDITH SEIDENBERG TTEE ROBERT SEIDENBERG TTEE ARTICLE V     $          13.50   $      0.95   $         14.45
606494-9   GARY N FORSYTH IRA                                         $          13.50   $      0.95   $         14.45
606499-0   BRADER AG INC SRA                                          $          36.00   $      2.54   $         38.54
606501-5   MICHAEL L ELSTIEN AND CAROL URFER ELSTIEN TIC SV           $          18.00   $      1.27   $         19.27
606502-3   PETER MCLETCHIE IRA                                        $          31.50   $      2.22   $         33.72
606506-6   SHERRY A NOTTINGHAM RRA                                    $           9.00   $      0.64   $          9.64
606508-2   TERRY L MEADE                                              $           9.00   $      0.64   $          9.64
606509-0   SARAH NELL H WALSH                                         $          13.50   $      0.95   $         14.45
606510-4   CEM SUPPLY INC                                             $          31.50   $      2.22   $         33.72
606511-2   ROBERT J GASTFRIEND MD PENSION/PROFIT SHARING              $          54.00   $      3.81   $         57.81
606512-0   NATHAN MARKS AND CARYL MARKS JTWROS                        $           9.00   $      0.64   $          9.64
606513-9   KIM DARIA CORSINI SEP                                      $          13.50   $      0.95   $         14.45
606514-7   SCOTT H STEWART                                            $          76.50   $      5.40   $         81.90
606515-5   JENNIFER LINN                                              $          13.50   $      0.95   $         14.45
606516-3   JORDANNA BAILKIN                                           $          27.00   $      1.91   $         28.91
606517-1   MICHELLE MILLER                                            $          58.50   $      4.13   $         62.63
606518-0   DREW CREVELLO                                              $           9.00   $      0.64   $          9.64
606519-8   BRIAN D PERKINS AND LOIS PERKINS JTWROS                    $         108.00   $      7.62   $       115.62
606520-1   LUCAS HOFFMANN-MARTON                                      $          31.50   $      2.22   $         33.72
606521-0   ARON HOFFMANN-MARTON                                       $          31.50   $      2.22   $         33.72
606522-8   OLIVER HOFFMANN-MARTON                                     $          27.00   $      1.91   $         28.91
606523-6   LIAT RACHEL BERDUGO                                        $          22.50   $      1.59   $         24.09
606524-4   TINA KAMPPINEN IRRA                                        $          22.50   $      1.59   $         24.09
606525-2   LOUIS RUBINFIELD IRRA                                      $          31.50   $      2.22   $         33.72
606526-0   NANCY L SIMON IRA                                          $          13.50   $      0.95   $         14.45
606527-9   MICHAL L BERDUGO                                           $           9.00   $      0.64   $          9.64
606528-7   MICHELE ITALIANO PERLA TTEE U/W MARY J ITALIANO            $          13.50   $      0.95   $         14.45
606529-5   ALYSSA R DEVINE                                            $          13.50   $      0.95   $         14.45
606530-9   ARIAN J RADMAND                                            $          13.50   $      0.95   $         14.45
606531-7   GEORGE RUSS AND DEBORAH J RUSS JTWROS                      $          45.00   $      3.18   $         48.18
606532-5   DARA BERGER TTEE JESSICA BERGER 2008 TRUST                 $          18.00   $      1.27   $         19.27
606534-1   CAROL E CLARK IRA                                          $          13.50   $      0.95   $         14.45
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 66 of 85 Page ID
                                     #:70794
Claim #    Claimant                                              Damages          PJI            Damages + PJI
606535-0   COLLEEN ERICKSON IRRA                                 $        13.50   $       0.95   $         14.45
606536-8   AMY M DONOHUE                                         $         4.50   $       0.32   $          4.82
606539-2   PER MAR SECURITY AND RESEARCH CORP                    $       562.50   $      39.71   $       602.21
606540-6   DAVENPORT SURGICAL GR PC 401K PSP                     $       211.50   $      14.93   $       226.43
606541-4   DOUGLAS A BRACE IRRA                                  $        76.50   $       5.40   $         81.90
606542-2   MISS LINDA M MILLER TOD BENEFICIARIES ON FILE         $        18.00   $       1.27   $         19.27
606543-0   GREG A EGBERS IRA                                     $       112.50   $       7.94   $       120.44
606546-5   SAINT BENEDICT CENTER                                 $        45.00   $       3.18   $         48.18
606547-3   JAMES C SHARP AND KAREN SHARP JTWROS                  $        13.50   $       0.95   $         14.45
606548-1   JACOB E GUBLO                                         $        90.00   $       6.35   $         96.35
606549-0   ROBERT STEVENS AND TERESA G HORTON-STEVENS ATBE       $       234.00   $      16.52   $       250.52
606552-0   PETER MARATTA AND LINDA SERABIAN JTWROS IXIS DOM EQ C $        18.00   $       1.27   $         19.27
606553-8   MARK MATAN TTEE BY MARK MATAN                         $       450.00   $      31.77   $       481.77
606554-6   MR DAVE SMITH IRA                                     $       450.00   $      31.77   $       481.77
606555-4   DAVID JELKOVAC AND JEAN MACALUSO JTWROS               $        13.50   $       0.95   $         14.45
606557-0   RYAN P MCGUIRE                                        $       450.00   $      31.77   $       481.77
606558-9   HARRY BUSSEY JR                                       $       562.50   $      39.71   $       602.21
606561-9   THE DAVID AND CAROL VAN ANDEL FAMILY FOUNDATION       $        45.00   $       3.18   $         48.18
606562-7   MR STEPHEN A VAN ANDEL TTEE BY MR STEPHEN A VAN ANDEL $     1,125.00   $      79.43   $     1,204.43
606563-5   DAVID L VAN ANDEL TTEE BY DAVID L VAN ANDEL           $       103.50   $       7.31   $       110.81
606564-3   FOUNDATION AT NEW JERSEY INSTITUTE OF TECHNOLOGY      $       540.00   $      38.12   $       578.12
606565-1   THE STEVE & AMY VAN ANDEL FOUNDATION                  $       360.00   $      25.42   $       385.42
606566-0   JVA ENTERPRISES CAPITAL LLC                           $     1,777.50   $     125.49   $     1,902.99
606567-8   VA CAPITAL LLC                                        $     2,002.50   $     141.38   $     2,143.88
606572-4   KATHLEEN S BRADY DCSD                                 $       697.50   $      49.24   $       746.74
606573-2   BENEDICTINE WOMEN OF MADISON                          $       157.50   $      11.12   $       168.62
606575-9   GEORGE E SMITH III IRA                                $       112.50   $       7.94   $       120.44
606576-7   PHILIP C STOOPS IRA                                   $         4.50   $       0.32   $          4.82
606577-5   LINDA ROSNER DECD IRA                                 $         4.50   $       0.32   $          4.82
606578-3   BRUCE A KATZEN AND DIANE W KATZEN ATBE                $        36.00   $       2.54   $         38.54
606582-1   MR ALBERT P DORINSKY TOD BENEFICIARIES ON FILE        $         9.00   $       0.64   $          9.64
606584-8   PAUL D FAUSER AND KRISTINE FAUSER JTWROS              $       135.00   $       9.53   $       144.53
606585-6   TROY R LINDAMAN AND DIANE S LINDAMAN JTWROS           $       607.50   $      42.89   $       650.39
606587-2   DOMENICO SEDDIO IRA                                   $        13.50   $       0.95   $         14.45
606588-0   NMJ LLC                                               $        45.00   $       3.18   $         48.18
606591-0   DAVID ROSENBLUM IRRA                                  $         9.00   $       0.64   $          9.64
606592-9   MARTA BECKER AND CHARLES BECKER JTWROS                $        27.00   $       1.91   $         28.91
606594-5   WILLIAM PATRICK DICKSON IRA                           $         4.50   $       0.32   $          4.82
606595-3   CAROL DUNCAN TTEE PLEDGED TO ML LENDER                $         4.50   $       0.32   $          4.82
606596-1   FBO DANNY DING-YU LIU                                 $        22.50   $       1.59   $         24.09
606597-0   UNIVERSITY OF AZ ALUMNI ASSOC ALUMNI MEMBERSHIP RESE $         22.50   $       1.59   $         24.09
606598-8   UNIVERSITY OF ARIZ ALUMNI ASSC OPERATING RESERVE      $         9.00   $       0.64   $          9.64
606599-6   DONALD & MICHELLE GOODRUM TTEE BY DONALD R GOODRUM$             9.00   $       0.64   $          9.64
606602-0   FRANCES T CHAR IRA                                    $        22.50   $       1.59   $         24.09
606603-8   SAN JOAQUIN VALLEY NEONATAL                           $         4.50   $       0.32   $          4.82
606604-6   BRUCE SOLOMON IRA                                     $         9.00   $       0.64   $          9.64
606605-4   NIKITAS J TRIPODES DCSD AND DENA TRIPODES JTWROS      $        13.50   $       0.95   $         14.45
606607-0   STEPHEN & ELIZABETH BAUER PLEDGED TO ML LENDER        $        18.00   $       1.27   $         19.27
606608-9   RONALD L RIEBEL DCSD IRRA                             $        22.50   $       1.59   $         24.09
606609-7   SHERRY BELL SEP                                       $        27.00   $       1.91   $         28.91
606611-9   ALLEN L SHEER MD TTEE BY ALLEN L SHEER MD             $        36.00   $       2.54   $         38.54
606613-5   LINDA A EDWARDS IRRA                                  $        18.00   $       1.27   $         19.27
606614-3   ERNEST J EDWARDS IRRA                                 $        27.00   $       1.91   $         28.91
606615-1   WILLIAM H LAMBERT TTEE BY ELIA R LAMBERT              $        40.50   $       2.86   $         43.36
606617-8   SANDRA J KHOURY                                       $       180.00   $      12.71   $       192.71
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 67 of 85 Page ID
                                     #:70795
Claim #    Claimant                                                Damages            PJI           Damages + PJI
606618-6   WILLIAM ROSEN IRRA                                      $         225.00   $     15.89   $       240.89
606619-4   WILLIAM ROSEN TTEE BY WILLIAM ROSEN                     $         180.00   $     12.71   $       192.71
606621-6   UROLOGICAL ASSOCIATES PC 401K                           $         202.50   $     14.30   $       216.80
606622-4   UROLOGICAL ASSOCIATES PC 401K                           $          90.00   $      6.35   $         96.35
606623-2   UROLOGICAL ASSOCIATES PC 401K                           $         180.00   $     12.71   $       192.71
606624-0   ANESTHESIA & ANALGESIA PC 401K FAO DR JOHNNY E BRIAN JR $          99.00   $      6.99   $       105.99
606625-9   ANESTHESIA & ANALGESIA PC 401K                          $          31.50   $      2.22   $         33.72
606626-7   MR DENNIS A BOWMAN TOD BENEFICIARIES ON FILE            $         225.00   $     15.89   $       240.89
606627-5   TARA SELMAN IRA                                         $          13.50   $      0.95   $         14.45
606630-5   MR JEFFREY A WALTERS                                    $         153.00   $     10.80   $       163.80
606631-3   DEREK F BENEDETTO AND FARRAH S BENEDETTO TIC            $         225.00   $     15.89   $       240.89
606632-1   DANIEL HARTLEY                                          $          22.50   $      1.59   $         24.09
606633-0   CARLA E VIGNATO IRA                                     $           9.00   $      0.64   $          9.64
606634-8   HERBERT I COHEN DDS IRA                                 $          36.00   $      2.54   $         38.54
606635-6   MR TED G GAMERMAN IRA                                   $          13.50   $      0.95   $         14.45
606636-4   DEREK CREVELLO AND ALLISON MOYER CREVELLO JTWROS        $          13.50   $      0.95   $         14.45
606637-2   MIDLAND KINGS DAUGHTERS ENDOWMENT FUND                  $          27.00   $      1.91   $         28.91
606638-0   DANIEL A SZAJNA TOD BENEFICIARIES ON FILE               $         112.50   $      7.94   $       120.44
606639-9   JEFFREY STAHL IRA                                       $          22.50   $      1.59   $         24.09
606640-2   KAREN STAHL IRA                                         $          22.50   $      1.59   $         24.09
606641-0   KRISTIN C RINDEN IRRA                                   $          40.50   $      2.86   $         43.36
606642-9   ANDREW A RUNDLE AND STEPHANIE RUNDLE JTWROS             $           9.00   $      0.64   $          9.64
606645-3   JANE L TOWNSEND BRITTON IRRA                            $           9.00   $      0.64   $          9.64
606646-1   DANIEL SCHWARTZ IRA                                     $          27.00   $      1.91   $         28.91
606648-8   ADRIENNE KING NORTON IRA                                $          76.50   $      5.40   $         81.90
606649-6   MERYL COHEN IRA                                         $          40.50   $      2.86   $         43.36
606650-0   WILLIAM R CHASE IRA                                     $          18.00   $      1.27   $         19.27
606651-8   ROBERT A SORG TTEE BY ADELE SORG                        $          63.00   $      4.45   $         67.45
606652-6   DR BASIL S ABEYSEKERA IRRA                              $           4.50   $      0.32   $          4.82
606653-4   BRIGHTON EGGERT PHARMACY SRA                            $          63.00   $      4.45   $         67.45
606656-9   MRS NANCY M HARRIS TOD BENEFICIARIES ON FILE            $         360.00   $     25.42   $       385.42
606657-7   JOHN N SEKAS TTEE BY JOHN N SEKAS                       $          49.50   $      3.49   $         52.99
606659-3   SPRING VALLEY ACADEMY                                   $           9.00   $      0.64   $          9.64
606660-7   MERYLEE WERTHAN JOST TTEE DIRK SIMPSON TTEE U/W CHAR $             45.00   $      3.18   $         48.18
606661-5   ALFRED A GOLLATZ TTEE BY MR LARRY M BEANS               $          27.00   $      1.91   $         28.91
606662-3   DANIEL R BERDUGO                                        $          31.50   $      2.22   $         33.72
606663-1   JAMES T BERGER IRRA                                     $          13.50   $      0.95   $         14.45
606664-0   SCOTT SHOHEN IRRA                                       $           9.00   $      0.64   $          9.64
606665-8   LANCE LACHEEN AND ANN LACHEEN JTWROS                    $          13.50   $      0.95   $         14.45
606666-6   ROBERT C HUSS IRRA                                      $           9.00   $      0.64   $          9.64
606667-4   IRREV TR OF PENNY WEINER                                $          99.00   $      6.99   $       105.99
606668-2   IRREV TR OF PENNY WEINER                                $          94.50   $      6.67   $       101.17
606669-0   MRS PENNY WEINER IRA                                    $          81.00   $      5.72   $         86.72
606670-4   JACLYN R ALTMAN TTEE BY MAXWELL ALTMAN                  $         135.00   $      9.53   $       144.53
606671-2   MR ARTHUR H WEINER TTEE                                 $           9.00   $      0.64   $          9.64
606672-0   MR STEVEN BERMAN TTEE BY LEE R BERMAN                   $          18.00   $      1.27   $         19.27
606673-9   JEFFREY D HUTTON                                        $           9.00   $      0.64   $          9.64
606674-7   JEFFREY L RAUSCH AND DIANE M RAUSCH JTWROS              $          22.50   $      1.59   $         24.09
606675-5   RANDI MARIE HOFFMANN TTEE BY VALERIE HOFFMANN           $          13.50   $      0.95   $         14.45
606676-3   SANJAY MISRA IRRA                                       $           4.50   $      0.32   $          4.82
606678-0   H JOE SHELBY DECD IRA                                   $          45.00   $      3.18   $         48.18
606679-8   H JOE SHELBY DECD IRA                                   $          45.00   $      3.18   $         48.18
606681-0   ALVIN D HALL TTEE BY ALVIN D HALL                       $          63.00   $      4.45   $         67.45
606682-8   WILLIAM KRAMAN                                          $          13.50   $      0.95   $         14.45
606684-4   WILLIAM CARLTON STILLSON AND BARBARA A STILLSON JTWRO $           225.00   $     15.89   $       240.89
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 68 of 85 Page ID
                                     #:70796
Claim #    Claimant                                                  Damages            PJI           Damages + PJI
606685-2   KENNETH E LAWRENCE IRRA                                   $           9.00   $      0.64   $          9.64
606686-0   PATRICIA M LAWRENCE IRRA                                  $           9.00   $      0.64   $          9.64
606687-9   JANE A FORBES SALTONSTALL IRA                             $          27.00   $      1.91   $         28.91
606688-7   JILL MYERS IRA                                            $           9.00   $      0.64   $          9.64
606689-5   DAVID S LINDSTROM TTEE U/W MALCOLM S LINDSTROM            $          40.50   $      2.86   $         43.36
606690-9   NANCY LINDSTROM                                           $          22.50   $      1.59   $         24.09
606691-7   ROBERT E HOLMES JR IRRA                                   $           4.50   $      0.32   $          4.82
606692-5   ROBERT M NOWAK TTEE BY ROBERT M NOWAK                     $          13.50   $      0.95   $         14.45
606694-1   LOVELIA S VESTFAL TTEE BY LOVELIA S VESTFAL               $           9.00   $      0.64   $          9.64
606695-0   JACK DAVIES IRRA                                          $           9.00   $      0.64   $          9.64
606700-0   JOHN N OERTEL AND KATHLEEN F OERTEL JTWROS                $          13.50   $      0.95   $         14.45
606701-8   MILLER BOSKUS LACK ARCHITECTS PA 401K PROFIT SHARING PL   $           4.50   $      0.32   $          4.82
606705-0   GAIL M COLLINS IRA                                        $          13.50   $      0.95   $         14.45
606709-3   PETER L SHELDON                                           $         450.00   $     31.77   $       481.77
606711-5   HELEN B MOREY RRA                                         $           9.00   $      0.64   $          9.64
606716-6   SHAWN S CROOKS AND SHANNON K CROOKS ATBE                  $          13.50   $      0.95   $         14.45
606719-0   JAMES QUIRK DCSD IRA                                      $          13.50   $      0.95   $         14.45
606720-4   MARILYN B ROSS                                            $          45.00   $      3.18   $         48.18
606722-0   ROBERT STEWART                                            $           4.50   $      0.32   $          4.82
606724-7   BRIDGET L MURPHY TTEE LINDA DUFFY TR DTD 8/30/08          $          67.50   $      4.77   $         72.27
606725-5   JASON R LATENDRESSE IRRA                                  $           9.00   $      0.64   $          9.64
606726-3   RITA A ROBINSON IRA                                       $          27.00   $      1.91   $         28.91
606727-1   MERVYN BENJET AND ROSALIND BENJET TIC                     $          49.50   $      3.49   $         52.99
606728-0   HOYT H THOMAS IRRA                                        $          45.00   $      3.18   $         48.18
606730-1   JANE A FORBES SALTONSTALL TTEE BY JANE A FORBES SALTONS   $          27.00   $      1.91   $         28.91
606731-0   KRISTEN ANDERSON HOLOVNIA IRA                             $          31.50   $      2.22   $         33.72
606732-8   HERBERT H. & GRACE A. DOW FOUNDATION                      $         513.00   $     36.22   $       549.22
606736-0   EVELYN M MOREHEAD IRRA                                    $           9.00   $      0.64   $          9.64
606740-9   KAZUTO NITAHARA & JOAN GILL TRUSTEES-DC ELECTRIC INC 40   $         355.50   $     25.10   $       380.60
606743-3   SUSAN A OKULA RRA                                         $          45.00   $      3.18   $         48.18
606745-0   JOHN WONG TTEE BY TEDDY WONG                              $          54.00   $      3.81   $         57.81
606746-8   FERSTLER HOLDINGS LP                                      $         238.50   $     16.84   $       255.34
606747-6   BREP 1 PARTNERSHIP                                        $          54.00   $      3.81   $         57.81
606748-4   MR RICHARD G ONDREY IRRA                                  $           4.50   $      0.32   $          4.82
606749-2   JEFFREY P CRANDALL AND LENA U CRANDALL JTWROS             $          22.50   $      1.59   $         24.09
606752-2   J FORBES SALTONSTA TTEE BY JANE A FORBES SALTONSTALL      $          27.00   $      1.91   $         28.91
606753-0   KENNETH J KAUFMAN TTEE BY KENNETH J KAUFMAN               $         450.00   $     31.77   $       481.77
606756-5   PETER EUGENE SCHICK JR TTEE BY ELEANORE SCHICK            $           9.00   $      0.64   $          9.64
606758-1   SUSAN BARSTEIN TOD BENEFICIARIES ON FILE                  $         112.50   $      7.94   $       120.44
606761-1   JAMES R LESKODY TTEE BY MICHAEL SKURNIK                   $          22.50   $      1.59   $         24.09
606762-0   JAMES S IVANCSO IRRA                                      $          13.50   $      0.95   $         14.45
606764-6   AUDREY K TSAO F/B/O BANA AND/OR ASSIGNS                   $          22.50   $      1.59   $         24.09
606765-4   LINDA R DUFFY TTEE BY MICHAEL DUFFY                       $         247.50   $     17.47   $       264.97
606766-2   MRS JANE C.I. HIRSH TTEE HOWARD J HIRSH TTEE              $         144.00   $     10.17   $       154.17
606767-0   JOAN T BURKE IRA                                          $           9.00   $      0.64   $          9.64
606768-9   TIMOTHY C WHITELEY                                        $         900.00   $     63.54   $       963.54
606769-7   THOMAS W HOPPENJAN IRA                                    $          90.00   $      6.35   $         96.35
606774-3   MR ERIC L REED AND MRS CHRISTINE L REED JTWROS            $           9.00   $      0.64   $          9.64
606775-1   ROBERT D. LOUGHNEY IRRA                                   $          36.00   $      2.54   $         38.54
606779-4   JAMES A WOODRUFF III TTEE BY JAMES A WOODRUFF III         $         225.00   $     15.89   $       240.89
606782-4   KATHLEEN W GLASSIE AND RICHARD J ZIENOWICZ MD JTWROS      $          18.00   $      1.27   $         19.27
606783-2   DANIEL B STERN TTEE BY DANIEL B STERN                     $         900.00   $     63.54   $       963.54
606786-7   TRAVIS L PEDERSON TTEE BY RONALD L PEDERSON               $         450.00   $     31.77   $       481.77
606788-3   GEMINI ASSET MANAGEMENT                                   $         450.00   $     31.77   $       481.77
606790-5   EXCELSOR INVESTMENTS LLC                                  $         360.00   $     25.42   $       385.42
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 69 of 85 Page ID
                                     #:70797
Claim #    Claimant                                              Damages            PJI           Damages + PJI
606791-3   EXCELSOR INVESTMENTS LLC                              $          63.00   $      4.45   $         67.45
606792-1   EXCELSOR INVESTMENTS LLC                              $          63.00   $      4.45   $         67.45
606793-0   STEVEN J FLESCH TTEE BY STEVEN J FLESCH               $         225.00   $     15.89   $       240.89
606796-4   CHRISTINE KIM                                         $          13.50   $      0.95   $         14.45
606797-2   KEN A SMITH IRA                                       $           9.00   $      0.64   $          9.64
606798-0   PANEENDRA TIRUPATHI IRRA                              $         117.00   $      8.26   $       125.26
606800-6   LINDA A EDWARDS IRRA                                  $           4.50   $      0.32   $          4.82
606801-4   ERNEST J EDWARDS IRRA                                 $           9.00   $      0.64   $          9.64
606803-0   SYLVIA REUBEN IRA                                     $          18.00   $      1.27   $         19.27
606804-9   MRS MARILYN M MALCOM DCSD TOD BENEFICIARIES ON FILE   $         112.50   $      7.94   $       120.44
606805-7   DAVID STEIL AND JANA L STEIL JTWROS                   $         180.00   $     12.71   $       192.71
606806-5   RICHARD ZIRKELBACH IRRA                               $          13.50   $      0.95   $         14.45
606808-1   P. ANN FUTTER LOMELI RRA                              $          18.00   $      1.27   $         19.27
606809-0   ANDREW PAAR WELLS                                     $          31.50   $      2.22   $         33.72
606810-3   RICHARD KRETER AND EVELYN KRETER JTWROS               $          13.50   $      0.95   $         14.45
606813-8   NON REMOVABLE MILLE LACS BAND                         $          72.00   $      5.08   $         77.08
606814-6   FRONTIER TRUST CO FSB TTEE J&B EQUIP CO               $           9.00   $      0.64   $          9.64
606819-7   JOHNSON FAMILY FOUNDATION                             $          31.50   $      2.22   $         33.72
606820-0   GERALDINE DOYLE IRA                                   $          18.00   $      1.27   $         19.27
606821-9   JEFFREY H FISCHER TOD BENEFICIARIES ON FILE           $          27.00   $      1.91   $         28.91
606822-7   WILLIAM R CHASE IRA                                   $          13.50   $      0.95   $         14.45
606823-5   SIMONE K. SCHUTZ TTEE BY DEAN N. KOETZ                $           9.00   $      0.64   $          9.64
606824-3   ALLAN E KOFF DCSD IRA                                 $          22.50   $      1.59   $         24.09
606825-1   KIMBERLY BARTLETT                                     $           9.00   $      0.64   $          9.64
606826-0   RUSSELL T HAUER TTEE BY SALLY W CASTLE                $          58.50   $      4.13   $         62.63
606827-8   MRS VALERIE FANNON COOPER IRA                         $         450.00   $     31.77   $       481.77
606828-6   THOMAS A LEE III TTEE BY ALANE A BECKET               $         108.00   $      7.62   $       115.62
606831-6   FRANK L BERRY AND NANCY L BERRY JTWROS                $           9.00   $      0.64   $          9.64
606832-4   ANDREW J LUNDT TOD BENEFICIARIES ON FILE              $          27.00   $      1.91   $         28.91
606833-2   TERRI L. LATENDRESSE IRA                              $           4.50   $      0.32   $          4.82
606834-0   BENJAMIN E MURPHY AND WILLIAM H MURPHY JTWROS         $           9.00   $      0.64   $          9.64
606835-9   WILLIAM H MURPHY C/F CATHERINE J MURPHY UTMA/WI UNT   $           9.00   $      0.64   $          9.64
606838-3   LOIS M MARTIN SEP                                     $          81.00   $      5.72   $         86.72
606839-1   ST. MARY'S OF MICHIGAN FOUNDATION                     $          67.50   $      4.77   $         72.27
606840-5   JEFF LEE TOD BENEFICIARIES ON FILE                    $          45.00   $      3.18   $         48.18
606841-3   GILBERT R SEROTA IRRA                                 $          27.00   $      1.91   $         28.91
606842-1   STEVE M DICKSON AND JULIE K PRUNELLA JTWROS           $          22.50   $      1.59   $         24.09
606843-0   ASTRO CHEMICAL CO INC PROFIT SHARING PLAN             $          54.00   $      3.81   $         57.81
606844-8   CRYSTAL DAWN LAUTRUP                                  $         135.00   $      9.53   $       144.53
606845-6   MARY E BRENNER TTEE BY MARY E BRENNER                 $           4.50   $      0.32   $          4.82
606847-2   CHRISTINE W RYAN SEP                                  $          13.50   $      0.95   $         14.45
606850-2   MR MARK S DICHTER RRA                                 $         225.00   $     15.89   $       240.89
606853-7   JOAN K STEEVES TTEE AMENDED AS OF 7/20/2007           $         315.00   $     22.24   $       337.24
606856-1   CULTIVATE OPTIMUM OPPORTUNITIE                        $           4.50   $      0.32   $          4.82
606857-0   JOSEPH FALKSON IRA                                    $         112.50   $      7.94   $       120.44
606869-3   DAVID J PIAZZA MD IRA                                 $           9.00   $      0.64   $          9.64
606870-7   DAVID J PIAZZA MD IRA                                 $          27.00   $      1.91   $         28.91
606871-5   DR KANG KIEL KIM IRRA                                 $          27.00   $      1.91   $         28.91
606872-3   DAVID E LANNIK MD IRRA                                $           9.00   $      0.64   $          9.64
606873-1   ANN O CARSWELL IRRA                                   $           4.50   $      0.32   $          4.82
606874-0   PETZ ENTERPRISES INC.                                 $          13.50   $      0.95   $         14.45
606875-8   ASCENSUS TRUST CO FSB TTEE CARLOS A CADENA DPM PC     $          13.50   $      0.95   $         14.45
606876-6   MARK MULVIHILL IRA                                    $           9.00   $      0.64   $          9.64
606877-4   ALABAMA SELF-INSURED WORKER'S COMPENSATION FUND       $          40.50   $      2.86   $         43.36
606878-2   JOHN B WHINREY IRRA                                   $           9.00   $      0.64   $          9.64
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 70 of 85 Page ID
                                     #:70798
Claim #    Claimant                                                 Damages            PJI           Damages + PJI
606879-0   SHEILA FAYE NALLEY IRRA                                  $           4.50   $      0.32   $          4.82
606880-4   CHERYL L ENGLE TTEE BY CHERYL L ENGLE 2019 DECLARATION O $           9.00   $      0.64   $          9.64
606881-2   EDWIN K. CHAN MD PC                                      $           4.50   $      0.32   $          4.82
606882-0   JOHN J MCGREEVY                                          $          45.00   $      3.18   $         48.18
606883-9   GARY J EVERETT IRA                                       $           4.50   $      0.32   $          4.82
606885-5   JULIA L MULLANEY                                         $           4.50   $      0.32   $          4.82
606886-3   RICHARD H GERRARD TTEE BY RICHARD H GERRARD              $           4.50   $      0.32   $          4.82
606887-1   RICHARD H. GERRARD IRA                                   $           4.50   $      0.32   $          4.82
606889-8   MICHAEL S MEADOWS AND LEXY J MEADOWS JTWROS TOD BEN$                13.50   $      0.95   $         14.45
606890-1   JEFFREY K SKEEN AND LAURA S SKEEN JTWROS                 $          36.00   $      2.54   $         38.54
606891-0   MR ARTHUR H COLLIER AND MRS DOROTHY A COLLIER ATBE       $          18.00   $      1.27   $         19.27
606892-8   ROBERT J BERTRAND IRRA                                   $          22.50   $      1.59   $         24.09
606893-6   ARTI R KALYANPUR                                         $          18.00   $      1.27   $         19.27
606894-4   MISS CAROL L CAHILL IRA                                  $           9.00   $      0.64   $          9.64
606895-2   LAURENCE A KUTINSKY AND MRS DIANE KUTINSKY JTWROS        $          13.50   $      0.95   $         14.45
606896-0   ELIZABETH A CUSHMAN TTEE BY K CUSHMAN ET AL              $           9.00   $      0.64   $          9.64
606899-5   STACEY D STEELE TTEE 2013 STACEY D. STEELE TRUST         $          40.50   $      2.86   $         43.36
606900-2   LOUISE N FRYE TTEE BY LOUISE N FRYE                      $           4.50   $      0.32   $          4.82
606902-9   MRS PENINAH C BERDUGO TTEE BY MR ALBERT BERDUGO          $           9.00   $      0.64   $          9.64
606903-7   MRS PENINAH C BERDUGO TTEE BY MR ALBERT BERDUGO          $           9.00   $      0.64   $          9.64
606904-5   MRS PENINAH C BERDUGO TTEE BY MR ALBERT BERDUGO          $           9.00   $      0.64   $          9.64
606905-3   LOIS M MARTIN DEFINED BENEFIT PLAN                       $           4.50   $      0.32   $          4.82
606906-1   MARIA DUNAWAY                                            $          17.41   $      1.23   $         18.64
606907-0   DOROTHY V WHITICAR TTEE AEB TRUST                        $           4.50   $      0.32   $          4.82
606908-8   WILLIAM R MONK SEP                                       $           9.00   $      0.64   $          9.64
606909-6   HELEN W LAWRENCE TTEE BY HELEN W LAWRENCE                $           9.00   $      0.64   $          9.64
606910-0   LISA A SPROTT                                            $          18.00   $      1.27   $         19.27
606912-6   TODD WHITAKER DEFINED BENEFIT                            $          40.50   $      2.86   $         43.36
606913-4   L KATHERINE BAYNE IRA                                    $           4.50   $      0.32   $          4.82
606914-2   SHAWN RICE                                               $          22.50   $      1.59   $         24.09
606915-0   RUTH A PICKERING TOD BENEFICIARIES ON FILE               $           9.00   $      0.64   $          9.64
606916-9   CHRISTOPHER J HUNTER IRA                                 $           9.00   $      0.64   $          9.64
606917-7   CARP FAMILY REALTY LLC                                   $          13.50   $      0.95   $         14.45
606918-5   RENE M JOHNSON C/F CAROLINE A JOHNSON UTMA/NJ UNTIL A $              9.00   $      0.64   $          9.64
606919-3   RENE M JOHNSON C/F SAMANTHA K JOHNSON UGMA/NJ            $           9.00   $      0.64   $          9.64
606920-7   BRIAN D ROSENTHAL IRA                                    $           9.00   $      0.64   $          9.64
606922-3   EDITH D TAYLOR IRA                                       $          13.50   $      0.95   $         14.45
606923-1   MRS JUDITH A BACHRACH TTEE JUDITH A. BACHRACH DESC TRU $             9.00   $      0.64   $          9.64
606924-0   DEBRA L PIAZZA TTEE BY DEBRA L PIAZZA                    $          13.50   $      0.95   $         14.45
606925-8   FRANK W BAIER IRRA                                       $          18.00   $      1.27   $         19.27
606926-6   SCOTT SAMUEL KLEIN IRA                                   $           9.00   $      0.64   $          9.64
606927-4   FRED B BERMAN TTEE BY BLAIR BERMAN                       $          22.50   $      1.59   $         24.09
606928-2   FRED B BERMAN TTEE BY SCOTT BERMAN                       $          27.00   $      1.91   $         28.91
606929-0   SCOTT WILLIAMSON BASIC                                   $           9.00   $      0.64   $          9.64
606930-4   WENDY HOWELL HOGAN TTEE BY ROBERT HOGAN                  $          40.50   $      2.86   $         43.36
606931-2   BARBARA R WARNER IRA                                     $          22.50   $      1.59   $         24.09
606932-0   EVELYN FIORE TOD BENEFICIARIES ON FILE                   $           4.50   $      0.32   $          4.82
606933-9   JAMES G SELKIRK TOD BENEFICIARIES ON FILE                $         157.50   $     11.12   $       168.62
606934-7   PHYLLIS J DROHER TTEE BY PHYLLIS J DROHER                $           9.00   $      0.64   $          9.64
606935-5   GLORIA BROWN ET AL RICHARD BROWN REV DEED OF TR          $          18.00   $      1.27   $         19.27
606936-3   JONATHAN JAY BELDING IRA                                 $          31.50   $      2.22   $         33.72
606937-1   ANN SATTERTHWAITE IRA                                    $          13.50   $      0.95   $         14.45
606939-8   MARTIN E LEVINE AND ELLEN LEVINE JTWROS                  $           9.00   $      0.64   $          9.64
606940-1   TAMARA L LEWIS IRRA                                      $         225.00   $     15.89   $       240.89
606942-8   STEVEN H MEZER AND KAREN S MEZER JTWROS                  $           4.50   $      0.32   $          4.82
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 71 of 85 Page ID
                                     #:70799
Claim #    Claimant                                                Damages          PJI            Damages + PJI
606943-6   RUDOLPH RASSO IRRA                                      $        54.00   $       3.81   $         57.81
606944-4   CAROLINE A PASIERB TOD BENEFICIARIES ON FILE            $        90.00   $       6.35   $         96.35
606945-2   DONALD N CAMPAGNA TTEE OF THE BY RUTH ANN CAMPAGNA $             54.00   $       3.81   $         57.81
606946-0   DAVID R WALKER TTEE BY DAVID R WALKER ET AL             $       639.00   $      45.11   $       684.11
606947-9   DR ELLIS P HYMAN TTEE BY DR ELLIS P HYMAN               $        18.00   $       1.27   $         19.27
606948-7   MR DOMINIC COLAIZZO DCSD AND MRS RACHAEL COLAIZZO JT $           13.50   $       0.95   $         14.45
606951-7   FOGLIA FAMILY FOUNDATION                                $       166.50   $      11.76   $       178.26
606952-5   WEERAPAN KUYAKANON BASIC                                $        31.50   $       2.22   $         33.72
606954-1   LINDA J COWDEN                                          $         9.00   $       0.64   $          9.64
606957-6   RHONDA L VAN CAMP                                       $        13.50   $       0.95   $         14.45
606958-4   PATRICIA K MASTERS                                      $        13.50   $       0.95   $         14.45
606960-6   JANETTE L. BOYD IRA                                     $         9.00   $       0.64   $          9.64
606965-7   YIAKAS FAMILY FOUNDATION                                $         9.00   $       0.64   $          9.64
606966-5   ROBERT G BUTLER DCSD IRRA                               $       450.00   $      31.77   $       481.77
606967-3   VICTOR A MASSAGLI TTEE UAD 02211990 MASSAGLI FAM TST $            9.00   $       0.64   $          9.64
606968-1   PAUL C BUCK JR TOD BENEFICIARIES ON FILE                $       189.00   $      13.34   $       202.34
606969-0   MS CHRISTINE APPLEQUIST                                 $        67.50   $       4.77   $         72.27
606970-3   JERZY MACIOSZEK IRRA                                    $         4.50   $       0.32   $          4.82
606972-0   ANDREW J GOLDBERGER                                     $       450.00   $      31.77   $       481.77
606974-6   WILLIAM ALLEN SEAGRAVES RRA                             $        90.00   $       6.35   $         96.35
606976-2   PAUL A CATALANO IRA                                     $        85.50   $       6.04   $         91.54
606977-0   MRS NICOLE G BERRY TOD BENEFICIARIES ON FILE            $        18.00   $       1.27   $         19.27
606978-9   DONNA C LEDDY                                           $         4.50   $       0.32   $          4.82
606979-7   WILLIAM M BROWN                                         $        13.50   $       0.95   $         14.45
606980-0   GRISELDA B APPLE RRA                                    $         4.50   $       0.32   $          4.82
606983-5   MR JOHN A STALL TTEE BY MR JOHN A STALL                 $       225.00   $      15.89   $       240.89
606986-0   LAWRENCE A MARINO AND TOD BENEFICIARIES ON FILE         $       675.00   $      47.66   $       722.66
606987-8   MRS REBECCA KAUFMAN TTEE BY MRS REBECCA KAUFMAN         $       450.00   $      31.77   $       481.77
606988-6   MARY M MCDONALD TTEE BY MARY M MCDONALD                 $       234.00   $      16.52   $       250.52
606989-4   MR SAMANT SHARMA                                        $       450.00   $      31.77   $       481.77
606995-9   LESLIE J STRAJACK TTEE BY LESLIE J STRAJACK             $       180.00   $      12.71   $       192.71
606996-7   RONALD ROBERTS IRA                                      $        27.00   $       1.91   $         28.91
606997-5   JOHN H WEIMAN IRRA                                      $        31.50   $       2.22   $         33.72
606999-1   UROLOGICAL ASSOCIATES PC                                $        45.00   $       3.18   $         48.18
607005-1   JOSEPH B ORI                                            $       450.00   $      31.77   $       481.77
607006-0   MR MICHAEL P MUSA IRA                                   $       742.50   $      52.42   $       794.92
607007-8   MR MICHAEL P MUSA                                       $     7,042.50   $     497.21   $     7,539.71
607010-8   STEPHEN B O'NAN IRA                                     $         4.50   $       0.32   $          4.82
607011-6   LINDA M CATES TTEE BY LINDA M CATES                     $         4.50   $       0.32   $          4.82
607012-4   GORDON M COLEMAN IRRA                                   $         9.00   $       0.64   $          9.64
607013-2   PAUL R DAVIS AND COLLEEN DAVIS TIC F/B/O BANA AND/OR AS $         9.00   $       0.64   $          9.64
607014-0   JOEL J RIMLINGER IRRA                                   $         4.50   $       0.32   $          4.82
607016-7   AMIT VERMA IRRA                                         $       225.00   $      15.89   $       240.89
607017-5   MRS JANE C.I. HIRSH TTEE HOWARD J HIRSH TTEE            $       144.00   $      10.17   $       154.17
607018-3   MEG FOSTER                                              $        18.00   $       1.27   $         19.27
607019-1   NMJ LIMITED PARTNERSHIP                                 $        45.00   $       3.18   $         48.18
607022-1   C. LORI BLACKWELL SEP                                   $        67.50   $       4.77   $         72.27
607024-8   MRS KATHLEEN S BRADY IRA                                $       697.50   $      49.24   $       746.74
607027-2   BRIEN K WASSMAN IRRA                                    $         4.50   $       0.32   $          4.82
607028-0   DAVID J VANVALKENBURG TTEE BY DAVID VANVALKENBURG ET $          900.00   $      63.54   $       963.54
607029-9   PETER J CARLSON AND HEATHER CARLSON JTWROS              $       270.00   $      19.06   $       289.06
607030-2   ALBERT ANDREWS TTEE ALICE H KULLMAN TTEE U/W THOMAS $            72.00   $       5.08   $         77.08
607031-0   DEAN COCHRANE IRA                                       $        18.00   $       1.27   $         19.27
607032-9   KENNETH C JOHNSON TTEE THE JOHNSON TRUST                $         9.00   $       0.64   $          9.64
607033-7   JOHN H LAKE AND KATHLYN L LAKE JTWROS                   $       211.50   $      14.93   $       226.43
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 72 of 85 Page ID
                                     #:70800
Claim #    Claimant                                                Damages            PJI           Damages + PJI
607034-5   CAROLINE J BRADING TTEE BY CAROLINE J BRADING           $           9.00   $      0.64   $          9.64
607036-1   DEBBORAH H ROSE IRRA                                    $           4.50   $      0.32   $          4.82
607038-8   JAMES G GIBSON                                          $         225.00   $     15.89   $       240.89
607040-0   CHARLES J MORALES IRRA                                  $           9.00   $      0.64   $          9.64
607041-8   EDWIN EMPAYNADO IRRA                                    $           4.50   $      0.32   $          4.82
607046-9   MICHAEL V WILLIAMS TTEE BY MS MARTHA E WILLIAMS         $          18.00   $      1.27   $         19.27
607047-7   JEANETTE L. WILLIAMS TTEE BY MS MARTHA E WILLIAMS       $          18.00   $      1.27   $         19.27
607048-5   HANNAH GREENSTEIN                                       $           4.50   $      0.32   $          4.82
607051-5   LAUREL SALVO ANDRETTA TTEE BY VINCENT J ANDRETTA III    $          36.00   $      2.54   $         38.54
607052-3   NADY MAOUAD IRA                                         $          27.00   $      1.91   $         28.91
607053-1   NADY MAOUAD                                             $          76.50   $      5.40   $         81.90
607054-0   JAD MAOUAD IRA                                          $          27.00   $      1.91   $         28.91
607055-8   CARMINE DEMARZO                                         $         450.00   $     31.77   $       481.77
607057-4   PAULETTE P PITT TOD BENEFICIARIES ON FILE               $           4.50   $      0.32   $          4.82
607058-2   ROBERT C STROMMER IRRA                                  $          13.50   $      0.95   $         14.45
607063-9   KOM AUTOMATION 401K ACCOUNT                             $          22.50   $      1.59   $         24.09
607065-5   ELIZABETH BRADLEY IRA                                   $          85.50   $      6.04   $         91.54
607066-3   DREW STEIN MD DREW STEIN MD PLLC RET TR                 $          13.50   $      0.95   $         14.45
607067-1   RANDI MARIE HOFFMANN TTEE HOFFMANN SETTLEMENT TRUS $                9.00   $      0.64   $          9.64
607068-0   PATRICIA MCQUADE IRA                                    $           9.00   $      0.64   $          9.64
607069-8   CHERYL B SPIRA IRRA                                     $           9.00   $      0.64   $          9.64
607070-1   JOE D BARNARD IRRA                                      $           4.50   $      0.32   $          4.82
607071-0   ROY GEORGE TTEE BY ROY GEORGE ET AL                     $           4.50   $      0.32   $          4.82
607072-8   POSITIVE ENERGY INVESTMENTS LLC 401K PSP                $           4.50   $      0.32   $          4.82
607073-6   JEFFREY M WALTNER IRRA                                  $           4.50   $      0.32   $          4.82
607074-4   CHERYL SOULT TTEE BY CHERYL SOULT                       $          13.50   $      0.95   $         14.45
607075-2   FREDRICK C MARTIN IRA                                   $           4.50   $      0.32   $          4.82
607076-0   BELLEVA SUE JOHNSON IRRA                                $           4.50   $      0.32   $          4.82
607077-9   KENNETH W SPARKS IRRA                                   $           4.50   $      0.32   $          4.82
607078-7   GLENN ROBINSON IRRA                                     $           4.50   $      0.32   $          4.82
607079-5   DENNIS DUNKELGOD IRRA                                   $           4.50   $      0.32   $          4.82
607081-7   DON L LAYMAN IRA                                        $          13.50   $      0.95   $         14.45
607082-5   EDWARD KRON TTEE BY SELMA KRON                          $           9.00   $      0.64   $          9.64
607083-3   EDWARD KRON TTEE BY SELMA KRON                          $           9.00   $      0.64   $          9.64
607084-1   TERRILL E WILLIAMS IRRA                                 $          13.50   $      0.95   $         14.45
607085-0   LAUREN DAVIS AND CRAIG NOVAK JTWROS                     $           9.00   $      0.64   $          9.64
607086-8   AMANDA DENLINGER AND CRAIG NOVAK JTWROS                 $           9.00   $      0.64   $          9.64
607090-6   RICHARD A RICE IRA                                      $           9.00   $      0.64   $          9.64
607092-2   ADAM G HYATT IRRA                                       $           9.00   $      0.64   $          9.64
607094-9   BILLY R JOHNSON IRRA                                    $           4.50   $      0.32   $          4.82
607096-5   BARBARA S FORD AND ANNETTE FORD HARPER JTWROS           $           9.00   $      0.64   $          9.64
607098-1   MR MYRON KIMBALL IRA                                    $          13.50   $      0.95   $         14.45
607099-0   BETTY KIMBALL IRA                                       $           4.50   $      0.32   $          4.82
607101-5   ROBERT K HO IRRA                                        $          36.00   $      2.54   $         38.54
607102-3   ELIZABETH A GRISAFFI TTEE THE ELIZABETH LAMBERT FAM TST $           9.00   $      0.64   $          9.64
607103-1   BRUCE BORMANN AND KRISTIE BORMANN TIC                   $           9.00   $      0.64   $          9.64
607104-0   DR SAMIR B LAPSIWALA AND MRS KAUSHAL S LAPSIWALA TIC $              4.50   $      0.32   $          4.82
607105-8   WETA PHILLIPS                                           $           4.50   $      0.32   $          4.82
607106-6   ANN MCDONALD                                            $          13.50   $      0.95   $         14.45
607107-4   WILLIAM R CAMPBELL IRA                                  $           4.50   $      0.32   $          4.82
607109-0   LINDA S NORTHERN IRA                                    $           9.00   $      0.64   $          9.64
607116-3   ROSEMARY W NOTHWANGER IRA                               $           9.00   $      0.64   $          9.64
607118-0   DIANE W SCHROEDER IRRA                                  $          13.50   $      0.95   $         14.45
607119-8   FREDERICK H SCHROEDER IRRA                              $           9.00   $      0.64   $          9.64
607120-1   DOROTHY M MAHNKE-BAKER IRA                              $          45.00   $      3.18   $         48.18
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 73 of 85 Page ID
                                     #:70801
Claim #    Claimant                                              Damages          PJI           Damages + PJI
607121-0   BRUCE R WILDMAN RRA                                   $       450.00   $     31.77   $       481.77
607133-3   RITA G RICH TOD BENEFICIARIES ON FILE                 $        18.00   $      1.27   $         19.27
607143-0   SANDY RIDGE CONSOLIDATED LLC                          $       450.00   $     31.77   $       481.77
607144-9   MARY M MANNING                                        $       675.00   $     47.66   $       722.66
607145-7   DEAN A GUYETTE IRRA                                   $        67.50   $      4.77   $         72.27
607146-5   MRS LINDA R DUFFY IRA                                 $        67.50   $      4.77   $         72.27
607149-0   MISS TERRI M JAMES                                    $       135.00   $      9.53   $       144.53
607150-3   BONNIE B KAZAM MD PA PROFIT SHARING                   $       225.00   $     15.89   $       240.89
607154-6   DR STUART W STOLOFF TTEE THE STOLOFF FAMILY TRUST     $     1,350.00   $     95.31   $     1,445.31
607157-0   MR DAVID W SMITH IRRA                                 $       450.00   $     31.77   $       481.77
607159-7   PAULINE OCCHIPINTI TOD BENEFICIARIES ON FILE          $       157.50   $     11.12   $       168.62
607162-7   BRIAN PONDER                                          $       337.50   $     23.83   $       361.33
607165-1   SHERI BRANDT                                          $       675.00   $     47.66   $       722.66
607166-0   JAMES L ROSE AND LAURA MILLER ROSE JTWROS             $       225.00   $     15.89   $       240.89
607170-8   CARTER BOEHM                                          $       450.00   $     31.77   $       481.77
607171-6   CHICAGO INVESTORS XI LLC                              $       225.00   $     15.89   $       240.89
607172-4   WILLIAM KAHL IRRA                                     $        13.50   $      0.95   $         14.45
607175-9   MR JAMES D ELLIS AND MRS KRISTINE A ELLIS TIC         $        40.50   $      2.86   $         43.36
607177-5   MARVIN A KAMINSKA TTEE BY MARVIN A KAMINSKA ET AL     $        13.50   $      0.95   $         14.45
607181-3   MR MARK C CARLSON IRRA                                $        18.00   $      1.27   $         19.27
607182-1   DR JEFFREY S WALKER IRRA                              $        13.50   $      0.95   $         14.45
607183-0   CRAIG L BATCHELOR                                     $         9.00   $      0.64   $          9.64
607184-8   GLENN & SHARON NOTICE TTEES BY GLENN S NOTICE         $        45.00   $      3.18   $         48.18
607185-6   CRAIG L BATCHELOR IRA                                 $        49.50   $      3.49   $         52.99
607186-4   JONATHAN W HURWITCH AND SUSAN HURWITCH JTWROS         $       225.00   $     15.89   $       240.89
607187-2   JOANN M STEIL TTEE BY JOANN M STEIL                   $        90.00   $      6.35   $         96.35
607188-0   CHRISTINE L SANTILLI IRRA                             $        54.00   $      3.81   $         57.81
607190-2   MARTY E DIERCKS CYNTHIA J DIERCKS                     $        22.50   $      1.59   $         24.09
607191-0   ANITA M ZEMBA-SCHADT IRRA                             $        58.50   $      4.13   $         62.63
607192-9   JOYCE BOWMAN                                          $        67.50   $      4.77   $         72.27
607193-7   UROLOGICAL ASSOCIATES PC. CASH BALANCE PENSION TRUST $         45.00   $      3.18   $         48.18
607194-5   MR ROBERT WELLS IRRA                                  $       135.00   $      9.53   $       144.53
607195-3   DR PATRICK T O'BRIEN DDS RRA                          $       157.50   $     11.12   $       168.62
607197-0   CHRIS A SEBASTIAN                                     $        90.00   $      6.35   $         96.35
607198-8   LISA M HELF TOD BENEFICIARIES ON FILE                 $       391.50   $     27.64   $       419.14
607200-3   LAUREL SALVO ANDRETTA IRA                             $        18.00   $      1.27   $         19.27
607204-6   KARL J WEBER TOD BENEFICIARIES ON FILE                $        90.00   $      6.35   $         96.35
607208-9   JENNIFER M PLAUS                                      $        49.50   $      3.49   $         52.99
607213-5   ANDREA KISH IRA                                       $        13.50   $      0.95   $         14.45
607215-1   BETH ANN STYVE TTEE BY BETH ANN STYVE                 $        27.00   $      1.91   $         28.91
607216-0   MICHAEL B STYVE TTEE BY MICHAEL B STYVE               $        18.00   $      1.27   $         19.27
607217-8   MICHAEL B STYVE TTEE BY MICHAEL B STYVE               $        18.00   $      1.27   $         19.27
607218-6   MICHAEL B STYVE TTEE BY MICHAEL B STYVE               $        18.00   $      1.27   $         19.27
607225-9   ROCHELLE JOYCE WILDMAN TTEE BY ROCHELLE J WILDMAN SLF $       310.50   $     21.92   $       332.42
607228-3   LARRY A PROCHNOW IRA                                  $       225.00   $     15.89   $       240.89
607229-1   JOHNNY C TAYLOR JR F/B/O BANA AND/OR ASSIGNS          $       112.50   $      7.94   $       120.44
607231-3   WARREN J WILLIAMSON AND SALLIE S WILLIAMSON TIC       $         9.00   $      0.64   $          9.64
607233-0   S & J HOLDING GROUP LLC                               $         4.50   $      0.32   $          4.82
607234-8   SPRING PARK SURGERY CENTER LLC HEATHER HILGENDORF-COO$         67.50   $      4.77   $         72.27
607235-6   WEERAPAN KUYAKANON BASIC                              $        31.50   $      2.22   $         33.72
607237-2   MARION S COOK                                         $       454.50   $     32.09   $       486.59
607239-9   N JANE PIERCE AND HOYT H THOMAS COM PROP              $        45.00   $      3.18   $         48.18
607242-9   JOAN B PRATT AND LYNNE A BERRY JTWROS                 $        13.50   $      0.95   $         14.45
607243-7   MICHAEL L BEATO AND JACQUELINE B WALKER JTWROS        $        18.00   $      1.27   $         19.27
607245-3   DR MICHAEL C TRUEBLOOD MD IRA                         $       450.00   $     31.77   $       481.77
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 74 of 85 Page ID
                                     #:70802
Claim #    Claimant                                                  Damages          PJI            Damages + PJI
607252-6   GERALD MIZEL IRA                                          $       202.50   $      14.30   $       216.80
607253-4   MR JEFFREY A WALTERS                                      $       153.00   $      10.80   $       163.80
607257-7   HELEN DAMOUNI AND FADI E DAMOUNI JTWROS                   $        90.00   $       6.35   $         96.35
607260-7   GREGG A MARANO AND JENNIFER MARANO JTWROS                 $       225.00   $      15.89   $       240.89
607262-3   PAMELA SORROW IRA                                         $        36.00   $       2.54   $         38.54
607263-1   CHARLES R CONN III TTEE BY CHARLES R CONN III ET AL       $       225.00   $      15.89   $       240.89
607268-2   WALLACE G SERPAS III AND ROSALIA O SERPAS TIC             $     1,125.00   $      79.43   $     1,204.43
607271-2   GERALD AND DENISE REED TTEES REED FAMILY TRUST            $        18.00   $       1.27   $         19.27
607273-9   STEVE M DICKSON AND JULIE K PRUNELLA JTWROS               $        22.50   $       1.59   $         24.09
607274-7   ACHYUT V SETLUR TTEE BY ACHYUT V SETLUR                   $        22.50   $       1.59   $         24.09
607275-5   KIMBERLY W MCCULLOUGH IRA                                 $        13.50   $       0.95   $         14.45
607280-1   AVP REALTY HOLDINGS INC                                   $        31.50   $       2.22   $         33.72
607281-0   DAVID SHAPIRO                                             $        22.50   $       1.59   $         24.09
607282-8   MARCI L ZWEIFEL TTEE BY ALVIN O BUTLER                    $         4.50   $       0.32   $          4.82
607283-6   DINESH NANIK ISRANI & ANJALI BY DINESH NANIK ISRANI ET AL $        27.00   $       1.91   $         28.91
607284-4   COLLEGE OF THE DESERT FOUNDATION-ENDOWMENT                $        58.50   $       4.13   $         62.63
607286-0   DINESH N ISRANI TTEE BY DINESH N ISRANI ET AL             $        18.00   $       1.27   $         19.27
607288-7   JONATHAN W HURWITCH AND SUSAN F HURWITCH JTWROS           $       225.00   $      15.89   $       240.89
607291-7   SHILVOCK CO INC PROFIT SHARING TRUST                      $       112.50   $       7.94   $       120.44
607294-1   CLEVE L CAMPBELL IRRA                                     $       225.00   $      15.89   $       240.89
607298-4   ROBERT HOWARD                                             $       450.00   $      31.77   $       481.77
607299-2   JEFF FLIT IRRA                                            $       112.50   $       7.94   $       120.44
607301-8   MARY LOU WAHL IRRA                                        $       112.50   $       7.94   $       120.44
607303-4   WHIPPOORWILL CAPITAL LLC                                  $       225.00   $      15.89   $       240.89
607304-2   JOHN J. GUARNIERI                                         $       414.00   $      29.23   $       443.23
607305-0   JOHN CALIGIURI F/B/O BANA AND/OR ASSIGNS                  $     1,800.00   $     127.08   $     1,927.08
607306-9   SAMUEL D HOLMES                                           $       112.50   $       7.94   $       120.44
607307-7   MR JOHN D SHLESINGER IRRA                                 $       112.50   $       7.94   $       120.44
607308-5   EDWIN J RIGAUD IRRA                                       $       202.50   $      14.30   $       216.80
607309-3   KYLE QUINN                                                $       450.00   $      31.77   $       481.77
607310-7   SUSAN BARSTEIN TOD BENEFICIARIES ON FILE                  $       450.00   $      31.77   $       481.77
607311-5   FRANCES L DAVIS TTEE AMENDED 06/19/2009 BY FRANCES L DA $          40.50   $       2.86   $         43.36
607315-8   DAVID N KEENE JR TTEE BY LISA C KEENE ET AL               $       112.50   $       7.94   $       120.44
607317-4   STEVEN BROD TOD BENEFICIARIES ON FILE                     $        90.00   $       6.35   $         96.35
607319-0   KERNEY L BARNETT IRA                                      $       630.00   $      44.48   $       674.48
607321-2   DALE L HANSON                                             $        13.50   $       0.95   $         14.45
607322-0   DAVIS FAMILY OFFICE INC                                   $       787.50   $      55.60   $       843.10
607326-3   ANDREW C MATTHEWS AND CHRISTINA A MATTHEWS JTWROS $               450.00   $      31.77   $       481.77
607327-1   MR RICK A THOMPSON IRRA                                   $       135.00   $       9.53   $       144.53
607328-0   RAY C SEYS IRRA                                           $        31.50   $       2.22   $         33.72
607331-0   STEVE NORRIS IRRA                                         $       112.50   $       7.94   $       120.44
607335-2   RONALD B ARON IRRA                                        $        13.50   $       0.95   $         14.45
607336-0   ELIZABETH A SCHILL                                        $         4.50   $       0.32   $          4.82
607337-9   RUTH H CARVER                                             $        13.50   $       0.95   $         14.45
607338-7   PATRICIA M MURPHEY-GORDON TTEE BY PATRICIA M MURPHEY $              4.50   $       0.32   $          4.82
607339-5   JOHN W WATSON III IRA                                     $        22.50   $       1.59   $         24.09
607340-9   RICHARD J JEHLE IRRA                                      $        36.00   $       2.54   $         38.54
607343-3   MR JAMES D ELLIS IRA                                      $        40.50   $       2.86   $         43.36
607344-1   THOMAS PEKICH IRA                                         $       337.50   $      23.83   $       361.33
607346-8   JOSEPH SCHWARTZ SEP                                       $       198.00   $      13.98   $       211.98
607349-2   TOLESCO LLC.                                              $        22.50   $       1.59   $         24.09
607350-6   NMJ LLC                                                   $        45.00   $       3.18   $         48.18
607351-4   JAMES R LESKODY TTEE BY MICHAEL SKURNIK                   $        22.50   $       1.59   $         24.09
607352-2   COLLEGE SAVINGS PLAN - ME                                 $        27.00   $       1.91   $         28.91
607353-0   JUDITH ANN TAYLOR IRA                                     $        67.50   $       4.77   $         72.27
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 75 of 85 Page ID
                                     #:70803
Claim #    Claimant                                              Damages          PJI            Damages + PJI
607354-9   BARBARA A SATINSKY TOD BENEFICIARIES ON FILE          $         4.50   $       0.32   $          4.82
607355-7   CHRISTOPHER W BIRD IRA                                $        13.50   $       0.95   $         14.45
607357-3   THOMAS N SHOPOFF IRA                                  $       112.50   $       7.94   $       120.44
607358-1   MR THOMAS NICK SHOPOFF                                $       112.50   $       7.94   $       120.44
607359-0   BRIAN A BUTLER IRRA                                   $        18.00   $       1.27   $         19.27
607360-3   BRIAN A & KELLY S BUTLER TTEES BY BRIAN A BUTLER      $        18.00   $       1.27   $         19.27
607361-1   MICHAEL J SAUER SEP                                   $        27.00   $       1.91   $         28.91
607366-2   WILLIAM KRONENBERG III IRA                            $        72.00   $       5.08   $         77.08
607373-5   SCOTT D MILLER IRA                                    $        54.00   $       3.81   $         57.81
607375-1   DEBRA EHRLICH IRRA                                    $         9.00   $       0.64   $          9.64
607378-6   ELEANOR CHANG TTEE BY ELEANOR CHANG                   $        67.50   $       4.77   $         72.27
607379-4   PAUL HOWARD TTEE PAUL HOWARD DECL OF TR               $         9.00   $       0.64   $          9.64
607380-8   JOSEPH V ROVITO IRRA                                  $        13.50   $       0.95   $         14.45
607381-6   FBO ANTHONY C CAREY                                   $        13.50   $       0.95   $         14.45
607382-4   JEFFREY E SPINZIG SEP                                 $        27.00   $       1.91   $         28.91
607383-2   JOSHUA A PEARLMAN IRA                                 $        18.00   $       1.27   $         19.27
607386-7   MS LISA ROSE UVANNI IRRA                              $        13.50   $       0.95   $         14.45
607388-3   RUSSELL J SMITH AND JUDITH H SMITH JTWROS             $        22.50   $       1.59   $         24.09
607390-5   AMY STEPNOWSKI AND JEFFREY A DOMINICK JTWROS          $         9.00   $       0.64   $          9.64
607393-0   WILLIAM F LUCCI JR TTEE BY WILLIAM F LUCCI JR ET AL   $        18.00   $       1.27   $         19.27
607395-6   DAVID S ROGERS                                        $       900.00   $      63.54   $       963.54
607399-9   FINNERTY ECONOMIC CNSLTNG LLC PROFIT SHARING PLAN     $        49.50   $       3.49   $         52.99
607402-2   THOMAS C SCHULER TTEE BY THOMAS C SCHULER             $       450.00   $      31.77   $       481.77
607403-0   DIANE C SCHULER TTEE BY DIANE C SCHULER               $       450.00   $      31.77   $       481.77
607405-7   JOSEPH M SCHUDA IRA                                   $         4.50   $       0.32   $          4.82
607410-3   MONICA THOMAS KNORR                                   $        94.50   $       6.67   $       101.17
607411-1   JOHN MOORE IRA                                        $        13.50   $       0.95   $         14.45
607412-0   STEPHEN JAY MERVINE IRRA                              $         9.00   $       0.64   $          9.64
607413-8   ALAN S KRISTALL TTEE BY DELANO DE WINDT               $         9.00   $       0.64   $          9.64
607414-6   JESSECA R.F. COCKSON IRA                              $         9.00   $       0.64   $          9.64
607415-4   MR MARC DEBAPTISTE TTEE BY MR MARC DEBAPTISTE         $        22.50   $       1.59   $         24.09
607417-0   THE B & W FAMILY FOUNDATION INC.                      $        58.50   $       4.13   $         62.63
607418-9   JOHN WESTON DDS IRA                                   $       225.00   $      15.89   $       240.89
607423-5   WALTER DONOVAN IRA                                    $     2,250.00   $     158.85   $     2,408.85
607424-3   MRS JANE C.I. HIRSH                                   $       144.00   $      10.17   $       154.17
607425-1   NAMRATA & MUKESH NARANG TTEES BY NAMRATA NARNAG       $       202.50   $      14.30   $       216.80
607427-8   RON ROSSITER REALTY INC MONEY PURCHASE PLAN           $       225.00   $      15.89   $       240.89
607429-4   JAMES F EGAN AND MARIANNE P EGAN JTWROS               $        76.50   $       5.40   $         81.90
607433-2   DR CLARENCE S DAVIS III IRRA                          $        13.50   $       0.95   $         14.45
607436-7   FRANCES A WURSTER TTEE BY JOHN J WURSTER              $        18.00   $       1.27   $         19.27
607438-3   JEANNINE A BEERMAN                                    $         4.50   $       0.32   $          4.82
607439-1   ALAN W STUART IRA                                     $         4.50   $       0.32   $          4.82
607440-5   STAR ANESTHESIA                                       $        45.00   $       3.18   $         48.18
607444-8   BARRY N MARKITELL RRA                                 $        13.50   $       0.95   $         14.45
607446-4   SPIEGEL & MCDIARMID                                   $         9.00   $       0.64   $          9.64
607448-0   ARTHUR D AND DIANNA L HURTADO FOUNDATION              $         4.50   $       0.32   $          4.82
607452-9   JEFF FLIT AND ANGELA FLIT JTWROS                      $       157.50   $      11.12   $       168.62
607453-7   ROBERT D BOWERS                                       $        13.50   $       0.95   $         14.45
607454-5   JERRY RAIDER IRRA                                     $        26.53   $       1.87   $         28.40
607458-8   BRENT WOLGAST TTEE BY LYNN R WOLGAST                  $        22.50   $       1.59   $         24.09
607460-0   SALLY A STEVENS TOD BENEFICIARIES ON FILE             $         9.00   $       0.64   $          9.64
607462-6   MICHAEL P DUGGAN TOD BENEFICIARIES ON FILE            $        27.00   $       1.91   $         28.91
607463-4   BARRY N MARKITELL IRA                                 $        13.50   $       0.95   $         14.45
607464-2   ROBERT G LAMB RRA                                     $       252.00   $      17.79   $       269.79
607465-0   NICHOLAS V AUGELLI                                    $       405.00   $      28.59   $       433.59
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 76 of 85 Page ID
                                     #:70804
Claim #    Claimant                                             Damages            PJI           Damages + PJI
607473-1   PHILADELPHIA BAR ASSOCIATION                         $           4.50   $      0.32   $          4.82
607480-4   RANDAL L GOODWIN AND GRACE GOODWIN JTWROS            $         225.00   $     15.89   $       240.89
607481-2   BOB L HAGLE TTEE BY BOB L HAGLE ET AL                $         450.00   $     31.77   $       481.77
607486-3   ROBERT A MONAT IRA                                   $          13.50   $      0.95   $         14.45
607488-0   JAMIE RENEE HOLLEY                                   $           9.00   $      0.64   $          9.64
607489-8   MATTHEW CURT OMLANSKY SEP                            $          13.50   $      0.95   $         14.45
607490-1   MR JEFFREY A WALTERS IRRA                            $         153.00   $     10.80   $       163.80
607493-6   GIACOMO ANTONINI TTEE BY GIACOMO ANTONINI            $           9.00   $      0.64   $          9.64
607497-9   DR STEVEN T BROWER IRRA                              $           4.50   $      0.32   $          4.82
607499-5   JOSH CURRENCE IRRA                                   $         225.00   $     15.89   $       240.89
607506-1   JAMES W STOVALL AND CRYSTAL R STOVALL JTWROS         $         450.00   $     31.77   $       481.77
607507-0   HOSPICE OF DAYTON FOUNDATION                         $         117.00   $      8.26   $       125.26
607508-8   AARON F GLAZER SEP SEP                               $          31.50   $      2.22   $         33.72
607509-6   ADRIENNE DALOISE IRRA                                $         126.00   $      8.90   $       134.90
607514-2   FBO JOHN E WILHELM PROFIT SHARING PLAN               $          18.00   $      1.27   $         19.27
607519-3   ANDREW J GOLDBERGER                                  $         450.00   $     31.77   $       481.77
607531-2   BROTHERHOOD OF LOCOMOTIVE ENGINEERS AND TRAINMEN $              63.00   $      4.45   $         67.45
607615-7   BARBARA ANN GOETTIG IRA                              $          99.00   $      6.99   $       105.99
607616-5   DAVID A RINDEN IRA                                   $          54.00   $      3.81   $         57.81
607617-3   MS CARMEN R UPTON AND MR RONALD UPTON JTWROS         $          13.50   $      0.95   $         14.45
607618-1   SANDRA AUSTERN FINKELSTEIN                           $          13.50   $      0.95   $         14.45
607622-0   CORY & RENEE STIRLING TTEES RY RENEE STIRLING        $          54.00   $      3.81   $         57.81
607624-6   GIL W LONG TTEE BY GIL W LONG ET AL                  $          13.50   $      0.95   $         14.45
607625-4   KAREN BRIDGES TOD BENEFICIARIES ON FILE              $         571.50   $     40.35   $       611.85
607627-0   DOUG WERTZ IRA                                       $          18.00   $      1.27   $         19.27
607628-9   JANET WERTZ IRA                                      $          13.50   $      0.95   $         14.45
607629-7   FBO STEVEN H HODSON SOLE AND SEPERATE PROPERTY       $         607.50   $     42.89   $       650.39
607630-0   MR TIMOTHY DAVID FERNAU RRA                          $          13.50   $      0.95   $         14.45
607632-7   H. ALAN FRANK DCSD TTEE BY H. ALAN FRANK             $         900.00   $     63.54   $       963.54
607633-5   ANGELA FLIT IRRA                                     $          62.10   $      4.38   $         66.48
607635-1   ST. VINCENT ANDERSON REGIONAL HOSPITAL INC.          $          40.50   $      2.86   $         43.36
607640-8   MICHAEL MCSWEENEY AND JAMES C SLUSSER JTWROS TOD BE $           18.00   $      1.27   $         19.27
607641-6   JOSEPH I DOUAI IRRA                                  $           4.50   $      0.32   $          4.82
607642-4   ELEANORE HEDWIG SCHICK IRA                           $           9.00   $      0.64   $          9.64
607643-2   STEVEN P CORDERO IRRA                                $          22.50   $      1.59   $         24.09
607644-0   ELLEN HACAJ DCSD IRA                                 $           9.00   $      0.64   $          9.64
607645-9   JAMES C HARRISON PER. REP EST OF MARLA B HARRISON    $          13.50   $      0.95   $         14.45
607646-7   FBO TOBI LEVINE LORD ABBETT VALUE VI                 $          13.50   $      0.95   $         14.45
607647-5   DARA NEAR                                            $          18.00   $      1.27   $         19.27
607648-3   JAMES J. CAVA AND LAURA B. CAVA JTWROS               $         900.00   $     63.54   $       963.54
607652-1   EMERALD INTERNATIONAL CORP PSP AND PENSION PLAN TRUS $         450.00   $     31.77   $       481.77
607656-4   KATHLEEN A MORALES AND CHARLES J MORALES JTWROS      $           9.00   $      0.64   $          9.64
607657-2   JUSTIN KAPLAN AND SARI KAPLAN JTWROS                 $           9.00   $      0.64   $          9.64
607658-0   CAROL G SONNEFELD IRA                                $           4.50   $      0.32   $          4.82
607659-9   CATHY JOHNSON IRRA                                   $           9.00   $      0.64   $          9.64
607660-2   LAUREN SANFORD                                       $          18.00   $      1.27   $         19.27
607661-0   THE DIBNER CHARITABLE TRUST OF MASSACHUSETTS         $          63.00   $      4.45   $         67.45
607662-9   JESSICA TRUONG IRRA                                  $          99.00   $      6.99   $       105.99
607663-7   RETIREMENT PLAN FOR THE EMP OF THE HAWAIIAN HUMANE S $           9.00   $      0.64   $          9.64
607665-3   GIL W LONG TTEE BY GIL W LONG ET AL                  $          13.50   $      0.95   $         14.45
607666-1   TIMOTHY D LAROCHE                                    $          45.00   $      3.18   $         48.18
607667-0   MR JAMES E JOHNSON DCSD MRS MARLA J JOHNSON AND L M $           90.00   $      6.35   $         96.35
607669-6   MR BRIAN D BOYLE                                     $          18.00   $      1.27   $         19.27
607670-0   DUANE L HARMS IRRA                                   $          36.00   $      2.54   $         38.54
607674-2   NORMAN D JOHNSON DCSD TTEE BY NORMAN JOHNSON ET AL $            22.50   $      1.59   $         24.09
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 77 of 85 Page ID
                                     #:70805
Claim #    Claimant                                                Damages          PJI            Damages + PJI
607675-0   RONALD SHIPPEL DCSD IRRA                                $       225.00   $      15.89   $       240.89
607676-9   BROTHERHOOD OF LOCOMOTIVE ENGINEERS AND TRAINMEN $               13.50   $       0.95   $         14.45
607677-7   NORTH ATLANTIC GLOBAL LLC                               $       900.00   $      63.54   $       963.54
607678-5   RUSSELL E BROWN IRRA                                    $        31.50   $       2.22   $         33.72
607679-3   WILLIAM L CHRISTY IRRA                                  $        45.00   $       3.18   $         48.18
607680-7   KIMBERLY A OVERHOLT IRA                                 $        13.50   $       0.95   $         14.45
607681-5   JOSEPH A SCHADT                                         $        45.00   $       3.18   $         48.18
607682-3   DUANE L HARMS AND DIANE L HARMS JTWROS                  $        45.00   $       3.18   $         48.18
607683-1   ASCENSION ST. MARY'S FOUNDATION                         $        67.50   $       4.77   $         72.27
607684-0   ROBERT M NOWAK TTEE BY MRS SUSAN B NOWAK                $        13.50   $       0.95   $         14.45
607685-8   ROBERT T DRAPER AND LISA E DRAPER JTWROS                $        54.00   $       3.81   $         57.81
607686-6   STEVEN BROD TOD BENEFICIARIES ON FILE                   $        90.00   $       6.35   $         96.35
607687-4   NOAM BARDIN TTEE BY NOAM BARDIN ET AL                   $       675.00   $      47.66   $       722.66
607688-2   GARY FRAZIER AND ANNA FRAZIER ATBE                      $       450.00   $      31.77   $       481.77
607689-0   ANGELA L GLYNN IRRA                                     $        31.50   $       2.22   $         33.72
607690-4   JASON D GLYNN AND ANGELA L GLYNN JTWROS                 $        45.00   $       3.18   $         48.18
607691-2   ANASTASIA J LUNDT                                       $        18.00   $       1.27   $         19.27
607692-0   LINDA L EGBERS IRRA                                     $        85.50   $       6.04   $         91.54
607694-7   BRAD H KASSMANN AND MICHELLE R KASSMANN JTWROS          $        31.50   $       2.22   $         33.72
607695-5   SUZANNE M REED AND TYSON ARDO JTWROS                    $        22.50   $       1.59   $         24.09
607696-3   LANEY V PITSTICK                                        $        27.00   $       1.91   $         28.91
607699-8   ARI ALEXANDER SHANDLING IRA                             $        27.00   $       1.91   $         28.91
607703-0   MR JEFFREY SHERWIN AND AMANDA BROOKE SHERWIN JTWRO $              9.00   $       0.64   $          9.64
607704-8   MR THOMAS WROE                                          $         4.50   $       0.32   $          4.82
607706-4   WEST END SYNAGOGUE                                      $         4.50   $       0.32   $          4.82
607707-2   SUZANNE SHAFER IRA                                      $        81.00   $       5.72   $         86.72
607710-2   BRYNA BERMAN C/F MICHAEL BERMAN UGMA/PA                 $        27.00   $       1.91   $         28.91
607711-0   STEVE M DICKSON AND JULIE K PRUNELLA JTWROS             $        22.50   $       1.59   $         24.09
607712-9   ASCENSION ST. MARY'S FOUNDATION                         $        67.50   $       4.77   $         72.27
607713-7   JEFF FLIT IRRA                                          $       112.50   $       7.94   $       120.44
607714-5   MR MARVIN H BLASSINGALE IRRA                            $        18.00   $       1.27   $         19.27
607715-3   SALLY L BLODGETT IRA                                    $        13.50   $       0.95   $         14.45
607716-1   MARGUERITE L CALLAHAN RRA                               $         9.00   $       0.64   $          9.64
607720-0   GARY C BLODGETT IRA                                     $         9.00   $       0.64   $          9.64
607721-8   MARTHA WACHTEL JOLICOEUR P.A.                           $        22.50   $       1.59   $         24.09
607722-6   THE DIBNER CHARITABLE TRUST OF MASSACHUSETTS            $        63.00   $       4.45   $         67.45
607724-2   LANEY V PITSTICK                                        $        27.00   $       1.91   $         28.91
607725-0   ROBERT T DRAPER TTEE BY ROBERT T DRAPER                 $        54.00   $       3.81   $         57.81
607728-5   VANCE T BUFALO IRA                                      $         9.00   $       0.64   $          9.64
607729-3   ALLAN E KOFF DCSD IRA                                   $        22.50   $       1.59   $         24.09
607731-5   H ALAN FRANK DCSD TTEE BY H ALAN FRANK                  $       900.00   $      63.54   $       963.54
607734-0   MELINDA J TOSCANO                                       $         9.00   $       0.64   $          9.64
607735-8   PETER S TREIBER TTEE BY LORA B TREIBER ET AL            $         9.00   $       0.64   $          9.64
607736-6   PETER S TREIBER TTEE BY LORA B TREIBER ET AL            $         4.50   $       0.32   $          4.82
607737-4   PETER S TREIBER TTEE BY H CRAIG TREIBER ET AL           $         4.50   $       0.32   $          4.82
607738-2   EDWARD STOLARZ AND CAROL STOLARZ JTWROS                 $        22.50   $       1.59   $         24.09
607739-0   SHERI BRANDT                                            $       675.00   $      47.66   $       722.66
607740-4   ALFRED A GOLLATZ TTEE BY MR LARRY M BEANS GRAT F/B/O LA $        13.50   $       0.95   $         14.45
607743-9   WALTER C DONOVAN TTEE BY WALTER C DONOVAN               $     2,250.00   $     158.85   $     2,408.85
607752-8   GIACOMO ANTONINI AND HELENE BERE ANTONINI DCSD TIC      $         9.00   $       0.64   $          9.64
607756-0   MICHAEL J SAUER IRA                                     $        27.00   $       1.91   $         28.91
607757-9   FERSTLER HOLDINGS L.P.                                  $       238.50   $      16.84   $       255.34
607759-5   ANDREW PAAR WELLS                                       $        31.50   $       2.22   $         33.72
607760-9   GIACOMO ANTONINI IRA                                    $         9.00   $       0.64   $          9.64
607761-7   DAVID A RINDEN TTEE BY DAVID A RINDEN ET AL             $        54.00   $       3.81   $         57.81
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 78 of 85 Page ID
                                     #:70806
Claim #    Claimant                                                 Damages          PJI            Damages + PJI
607762-5   JAKUB VORACEK                                            $       148.50   $      10.48   $       158.98
607768-4   DR ROBERT M NOWAK TTEE BY DR ROBERT M NOWAK              $        13.50   $       0.95   $         14.45
607769-2   AMBERWOOD PRODUCTS INC PROFIT SHARING PLAN               $        22.50   $       1.59   $         24.09
607773-0   ROBERT T DRAPER IRA                                      $        54.00   $       3.81   $         57.81
607775-7   ADANA M TAYLOR IRA                                       $        13.50   $       0.95   $         14.45
607776-5   CHARLES ROBERT HART AND SANDRA HILE HART JTWROS          $       675.00   $      47.66   $       722.66
607780-3   GIACOMO ANTONINI TTEE BY GIACOMO ANTONINI                $         9.00   $       0.64   $          9.64
607782-0   DANE CARLSON                                             $         9.00   $       0.64   $          9.64
607783-8   BARRY ROSS IRRA                                          $        13.50   $       0.95   $         14.45
607784-6   JOHN PIEPOLI IRRA                                        $        13.50   $       0.95   $         14.45
607785-4   UNIVERSITY OF ARIZ ALUMNI ASSC ALUMNI RESERVE FUND RIC   $        54.00   $       3.81   $         57.81
607786-2   CHARLES J MORALES IRRA                                   $         9.00   $       0.64   $          9.64
607787-0   KATHLEEN A MORALES IRA                                   $         9.00   $       0.64   $          9.64
607788-9   LARRY L MARTIN IRA                                       $         9.00   $       0.64   $          9.64
607791-9   MR THOMAS GREISS                                         $       171.00   $      12.07   $       183.07
607794-3   THOMAS HALLETT AND HEATHER HALLETT TIC                   $       225.00   $      15.89   $       240.89
607795-1   JAMES L BAKER TTEE WILLIAM BAKER CRDT SHLTR TRST         $        27.00   $       1.91   $         28.91
607796-0   JAMES L BAKER TTEE BY PATRICIA R BAKER                   $        18.00   $       1.27   $         19.27
607798-6   RICHARD L MCBRIDE TTEE BY RICHARD L MCBRIDE              $         9.00   $       0.64   $          9.64
607799-4   ROBIN S LINDEMAN                                         $       450.00   $      31.77   $       481.77
607800-1   LINDA A CARDEN                                           $        18.00   $       1.27   $         19.27
607803-6   KATHLEEN A MORALES IRA                                   $         9.00   $       0.64   $          9.64
607804-4   MR JEFFREY SHERWIN RRA                                   $         9.00   $       0.64   $          9.64
607806-0   STEPHEN AND FAITH KAMINS TTEES BY STEPHEN KAMINS         $       450.00   $      31.77   $       481.77
607807-9   KAREN & ROBERT GREGORY TTEES PLEDGED TO ML LENDER        $        45.00   $       3.18   $         48.18
607808-7   PATRICIA L OGDEN IRRA                                    $         9.00   $       0.64   $          9.64
607809-5   NADY MAOUAD IRA                                          $        27.00   $       1.91   $         28.91
607810-9   NADY MAOUAD                                              $        76.50   $       5.40   $         81.90
607812-5   LANEY V PITSTICK OR SURVIVORSHIP MARITAL PROPERTY        $        27.00   $       1.91   $         28.91
607817-6   UNIVERSITY OF ARIZ ALUMNI ASSC OPERATING RESERVES        $        54.00   $       3.81   $         57.81
607820-6   FELBRO INC NON-UNION TST PSP                             $        18.00   $       1.27   $         19.27
607822-2   CLIFFORD LUSTER AND JILL RITTER TIC                      $         9.00   $       0.64   $          9.64
608003-0   ALJO L SCHERF TTEE BY ALJO L SCHERF                      $         9.00   $       0.64   $          9.64
608004-9   MAUGHAN TR REX SEP PROP RUTH G MAUGHAN TTEE              $        13.50   $       0.95   $         14.45
608006-5   CLIFFORD LUSTER AND JILL RITTER TIC                      $         9.00   $       0.64   $          9.64
608007-3   MIDLAND KINGS DAUGHTERS ENDOWM ENT FUND                  $        27.00   $       1.91   $         28.91
608009-0   NAMRATA & MUKESH NARANG TTEES BY NAMRATA NARNAG          $       202.50   $      14.30   $       216.80
608012-0   HELENE FINEBERG IRRA                                     $         9.00   $       0.64   $          9.64
608017-0   ALESSIO LEASING INC. PROFIT SHARING PLAN                 $         4.50   $       0.32   $          4.82
608019-7   JOHN W LENT DCSD IRA                                     $       112.50   $       7.94   $       120.44
608025-1   MIDLAND KINGS DAUGHTERS ENDOWMENT FUND                   $        27.00   $       1.91   $         28.91
608027-8   KURT EYMAN IRA                                           $        13.50   $       0.95   $         14.45
608029-4   LYDELL JEWELRY DES. SIMPLE SRA                           $       900.00   $      63.54   $       963.54
608030-8   MR MICHAEL P MUSA                                        $     6,030.00   $     425.72   $     6,455.72
608031-6   HOYT H THOMAS IRRA                                       $        45.00   $       3.18   $         48.18
608032-4   STEVE M DICKSON AND JULIE K PRUNELLA JTWROS              $        22.50   $       1.59   $         24.09
608035-9   WILLIAM L CHRISTY IRRA                                   $        45.00   $       3.18   $         48.18
608041-3   CAROL H BERG DCSD IRA                                    $        13.50   $       0.95   $         14.45
608043-0   STEVEN A TERRY TOD BENEFICIARIES ON FILE                 $       112.50   $       7.94   $       120.44
608044-8   NICHOLAS BLAKE WEBB IRRA                                 $        13.50   $       0.95   $         14.45
608047-2   REX G MAUGHAN CHERRY PROPERTIES LLC                      $        13.50   $       0.95   $         14.45
608048-0   LINDA EGBERS SEP                                         $        81.00   $       5.72   $         86.72
608050-2   STEVEN P CORDERO AND KAREN A CORDERO JTWROS F/B/O BA     $        22.50   $       1.59   $         24.09
608052-9   ROBERT D. LOUGHNEY IRA                                   $        36.00   $       2.54   $         38.54
608053-7   HOYT H THOMAS IRRA                                       $        45.00   $       3.18   $         48.18
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 79 of 85 Page ID
                                     #:70807
Claim #    Claimant                                                  Damages          PJI                Damages + PJI
608057-0   BIOTECHNOLOGY PROFUND PRI USD                             $    59,494.50   $       4,200.35   $    63,694.85
608058-8   HEALTHCARE PROFUND PRI USD                                $     2,970.00   $         209.68   $     3,179.68
608059-6   VP BIOTECHNOLOGY PROFUND PRI USD                          $    10,314.00   $         728.18   $    11,042.18
608060-0   VP HEALTHCARE PROFUND PRI USD                             $     3,105.00   $         219.22   $     3,324.22
608061-8   SMALL-CAP PROFUND PRI USD                                 $       472.50   $          33.36   $       505.86
608065-0   COLUMBIA TRUST SMALL AND MID CAP GROWTH FUND              $       688.50   $          48.61   $       737.11
608068-5   COLUMBIA VARIABLE PORTFOLIO - SMALL COMPANY GROWTH $            3,298.50   $         232.88   $     3,531.38
608069-3   COLUMBIA GLOBAL OPPORTUNITIES FUND - INTERNATIONAL D $          4,059.00   $         286.57   $     4,345.57
608070-7   COLUMBIA INTERNATIONAL VALUE FUND                         $     3,888.00   $         274.50   $     4,162.50
608071-5   COLUMBIA OVERSEAS VALUE FUND                              $    15,066.00   $       1,063.67   $    16,129.67
608072-3   VARIABLE PORTFOLIO - PARTNERS SMALL CAP GROWTH FUND $          39,870.00   $       2,814.85   $    42,684.85
608073-1   COLUMBIA CAPITAL ALLOCATION AGGRESSIVE PORTFOLIO - DIS $          675.00   $          47.66   $       722.66
608074-0   COLUMBIA CAPITAL ALLOCATION CONSERVATIVE PORTFOLIO - $            157.50   $          11.12   $       168.62
608075-8   COLUMBIA CAPITAL ALLOCATION MODERATE PORTFOLIO - DISC $         1,350.00   $          95.31   $     1,445.31
608076-6   COLUMBIA CAPITAL ALLOCATION MODERATE AGGRESSIVE POR $           1,350.00   $          95.31   $     1,445.31
608077-4   COLUMBIA CAPITAL ALLOCATION MODERATE CONSERVATIVE P $             270.00   $          19.06   $       289.06
608078-2   COLUMBIA VARIABLE PORTFOLIO - U.S. EQUITIES FUND - DISCIP $     9,675.00   $         683.06   $    10,358.06
608081-2   COLUMBUS CIRCLE SMID GROWTH                               $    22,968.00   $       1,621.56   $    24,589.56
608082-0   SSGA RUSSELL 2000                                         $       229.50   $          16.20   $       245.70
608086-3   EQ SMALL COMPANY INDEX PORTFOLIO                          $     4,950.00   $         349.47   $     5,299.47
608088-0   EQ ADVISORS TRUST - EQ/CAPITAL GUARDIAN RESEARCH PORT $        82,800.00   $       5,845.74   $    88,645.74
608089-8   EQ ADVISORS TRUST - MULTIMANAGERMID CAP GROWTH POR $            4,824.00   $         340.58   $     5,164.58
608091-0   EQ ADVISORS TRUST- AXA LARGE CAP CORE MANAGED VOLATIL $        63,450.00   $       4,479.61   $    67,929.61
608092-8   EQ ADVISORS TRUST - AXA/MORGAN STANLEY SMALL CAP GRO $          1,314.00   $          92.77   $     1,406.77
608093-6   AXA/AB SMALL CAP GROWTH PORTFOLIO- ACTIVE                 $   154,467.00   $      10,905.48   $   165,372.48
608094-4   EQ ADVISORS TRUST- MULTIMANAGERMID CAP GROWTH PORT $              252.00   $          17.79   $       269.79
608095-2   EQ ADVISORS TRUST- AXA FRANKLIN SMALL CAP VALUE MANAG $           463.50   $          32.72   $       496.22
608096-0   EQ ADVISORS TRUST-AXA 2000 MANAGED VOLATILITY PORTFO $         18,634.50   $       1,315.61   $    19,950.11
608097-9   EQ ADVISORS TRUST- ATM SMALL CAP MANAGED VOLATILITY P $         1,458.00   $         102.94   $     1,560.94
608098-7   AXA OFFSHORE MULTIMANAGER FUNDSTRUST - AXA OFFSHOR $            2,151.00   $         151.86   $     2,302.86
608099-5   AXA OFFSHORE MULTIMANAGER FUNDS TRUST - AXA OFFSHOR $              99.00   $           6.99   $       105.99
608100-2   AXA OFFSHORE MULTIMANAGER FUNDS TRUST-AXA OFFSHORE $              657.00   $          46.38   $       703.38
608109-6   JPMBLSA RE CAPITAL GROUP GLOBAL EQUITY FUND (LUX)         $   128,700.00   $       9,086.31   $   137,786.31
608110-0   CAPITAL GROUP GLOBAL EQUITY FUND(AU)                      $    13,950.00   $         984.88   $    14,934.88
608111-8   CAPITAL GROUP US EQUITY TRUST (US)                        $    14,850.00   $       1,048.42   $    15,898.42
608112-6   CAPITAL GROUP US EQUITY COMMON TRUST (US)                 $     6,300.00   $         444.78   $     6,744.78
608113-4   CAPITAL GROUP GLOBAL EQUITY COMMON TRUST (US)             $    34,650.00   $       2,446.31   $    37,096.31
608114-2   NEW PERSPECTIVE FUND                                      $ 2,231,608.50   $     157,553.11   $ 2,389,161.61
608115-0   CARPENTER TECHNOLOGY EMERALD ADVISORS                     $     3,757.50   $         265.28   $     4,022.78
608117-7   DELTA MASTER TRUST - LEE MUNDER US SMID                   $    52,699.50   $       3,720.62   $    56,420.12
608118-5   PILOTS D&S TRUST - LEE MUNDER US SMID                     $     6,025.50   $         425.40   $     6,450.90
608119-3   DFW INTL AIRPORT RET PLAN M/T - FRED ALGER                $       247.50   $          17.47   $       264.97
608120-7   ENTERGY-ALLIANCEBERNSTEIN                                 $    33,070.50   $       2,334.80   $    35,405.30
608121-5   GEORGIA POWER CLARIVEST ASSET MGMT LLC                    $       463.50   $          32.72   $       496.22
608127-4   IBM: D.E. SHAW & CO. LP                                   $     4,050.00   $         285.93   $     4,335.93
608128-2   VANTAGEPOINT MID/SMALL COMPANY INDEX FUND - HOLDING $           1,795.50   $         126.76   $     1,922.26
608129-0   VANTAGEPOINT BROAD MARKET INDEX FUND - HOLDINGS SLEE $            747.00   $          52.74   $       799.74
608130-4   LGIASUPER RE: COLUMBUS CIRCLE SMID                        $    12,019.50   $         848.59   $    12,868.09
608131-2   MCKESSON CORP RETIREMENT PLAN WEATHERBIE CAPITAL LLC $          2,448.00   $         172.83   $     2,620.83
608133-9   MABSTOA/TIME SQUARE CAPITAL MGMT                          $     1,350.00   $          95.31   $     1,445.31
608134-7   NAT FUEL WESTFIELD CAPITAL                                $     4,320.00   $         304.99   $     4,624.99
608135-5   STATE OF NEW MEXICO SMALL MID CAP TRANSITION              $     3,172.50   $         223.98   $     3,396.48
608136-3   NM SIC - BLACKROCK                                        $     4,545.00   $         320.88   $     4,865.88
608137-1   NYSCRF/NICHOLAS INVESTMENT PARTNERS                       $     4,896.00   $         345.66   $     5,241.66
608140-1   NYSIF WORKERS COMPENSATION EQUITY FUND II                 $     5,400.00   $         381.24   $     5,781.24
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 80 of 85 Page ID
                                     #:70808
Claim #    Claimant                                               Damages          PJI               Damages + PJI
608141-0   CITY OF PHILA PERS - RHUMBLINE RUSSELL 2000 GROWTH     $       337.50   $         23.83   $       361.33
608142-8   CITY OF PHILA PERS - EMERALD SCG                       $     2,596.50   $        183.31   $     2,779.81
608145-2   PROSHARES TRUST - PROSHARES ULTRAPRO RUSSELL 2000 F/B/ $    11,560.50   $        816.18   $    12,376.68
608146-0   PROSHARES TRUST - PROSHARES HEDGE REPLICATION F/B/O DE $       108.00   $          7.62   $       115.62
608148-7   PROSHARES TRUST - ULTRA HEALTH CARE PROSHARES F/B/O DE $     8,235.00   $        581.40   $     8,816.40
608149-5   PROSHARES TRUST - ULTRA RUSSELL 2000 GROWTH PROSHARE $         922.50   $         65.13   $       987.63
608151-7   JPMC RET PLAN - COLUMBUS CIRCLE SMALL CAP GROWTH       $     1,170.00   $         82.60   $     1,252.60
608154-1   SIEMENS SAVINGS PLANS - WELLINGTON SMALL CAP GROWTH $        9,792.00   $        691.32   $    10,483.32
608155-0   SIEMENS SAVINGS PLAN - VOYA SMALL CAP GROWTH           $    17,325.00   $      1,223.16   $    18,548.16
608156-8   SIEMENS PENSION PLANS - WELLINGTON SM CAP GROWTH       $       810.00   $         57.19   $       867.19
608157-6   SIEMENS PENSION PLAN - VOYA SMALL CAP GROWTH           $     1,462.50   $        103.25   $     1,565.75
608158-4   STATE INSURANCE FUND CORPORATION OF PUERTO RICO FORT $       3,352.50   $        236.69   $     3,589.19
608160-6   SOUTHERN COMPANY CLARIVEST                             $    24,750.00   $      1,747.37   $    26,497.37
608162-2   STATE FARM LIFE INSURANCE COMPANY CAPITAL GUARDIAN U $      54,450.00   $      3,844.21   $    58,294.21
608163-0   STATE FARM MF TRUST - SMALL CAP INDEXFD - NORTHERN TRU $     1,935.00   $        136.61   $     2,071.61
608164-9   STCA FRONTIER CAPITAL MGT SMALL CAP GROWTH             $     3,780.00   $        266.87   $     4,046.87
608165-7   STCA SMALL CAP TRANSITION ACCOUNT PLEASE FORWARD ALL $       3,559.50   $        251.30   $     3,810.80
608173-8   VERMONT PENSION INVESTMENT COMMITTEE - SSGA RUSSELL $        1,192.50   $         84.19   $     1,276.69
608175-4   STATE OF WYOMING - STATE STREET GLOBAL ADVISORS - DOM $      4,050.00   $        285.93   $     4,335.93
608177-0   MILA WELFARE - FRED ALGER                              $        45.00   $          3.18   $         48.18
608178-9   MILA PENSION - FRED ALGER MGMT INC                     $       157.50   $         11.12   $       168.62
608180-0   OMRF-DB-TIMESSQUARE-SMID-G                             $       900.00   $         63.54   $       963.54
608186-0   CB LONDON I/N/O ILIM FUNDS PLC-                        $     3,609.00   $        254.80   $     3,863.80
608190-8   A&B DB - ML PALISADE                                   $       544.50   $         38.44   $       582.94
608195-9   PRINCE GEORGES COUNTY FIRE SERVICE PENSION PLAN        $       936.00   $         66.08   $     1,002.08
608196-7   PRINCE GEORGES COUNTY POLICE PENSION PLAN              $     2,371.50   $        167.43   $     2,538.93
608197-5   PARTNERS HEALTHCARE SYSTEM INC                         $    14,287.50   $      1,008.71   $    15,296.21
608199-1   MASTER TRUST FOR CERTAIN TAX-QUALIFIED BECHTEL RETIREM $       450.00   $         31.77   $       481.77
608200-9   ISHARES U.S. HEALTHCARE ETF                            $    84,784.50   $      5,985.84   $    90,770.34
608201-7   ISHARES DOW JONES U.S. ETF                             $     4,275.00   $        301.82   $     4,576.82
608202-5   ISHARES MORNINGSTAR MID-CAP GROWTH ETF                 $    14,580.00   $      1,029.36   $    15,609.36
608203-3   ISHARES CORE S+P U.S. GROWTH ETF                       $       747.00   $         52.74   $       799.74
608204-1   ISHARES RUSSELL 3000 ETF                               $     2,839.50   $        200.47   $     3,039.97
608205-0   ISHARES RUSSELL 2000 GROWTH ETF                        $   144,517.50   $     10,203.04   $   154,720.54
608206-8   ISHARES RUSSELL 2000 ETF                               $   289,796.90   $     20,459.86   $   310,256.76
608207-6   ISHARES CORE S+P U.S. TOTAL MARKET INDEX ETF           $       315.00   $         22.24   $       337.24
608208-4   TEACHERS' RETIREMENT SYSTEM OF THE STATE OF ILLINOIS   $    23,337.00   $      1,647.61   $    24,984.61
608209-2   TEACHERS' RETIREMENT SYSTEM OF THE STATE OF ILLINOIS   $        90.00   $          6.35   $         96.35
608210-6   SCHOOL SISTERS OF NOTRE DAME COOPERATIVE INVESTMENT $        1,012.50   $         71.48   $     1,083.98
608211-4   HARBOR CAPITAL GROUP TRUST FOR DEFINED BENEFIT PLANS $       3,262.50   $        230.33   $     3,492.83
608212-2   KAISER PERMANENTE GROUP TRUST                          $     2,700.00   $        190.62   $     2,890.62
608213-0   KAISER PERMANENTE GROUP TRUST                          $    17,716.50   $      1,250.80   $    18,967.30
608214-9   BEAUMONT HEALTH MASTER RETIREMENT TRUST                $     3,051.00   $        215.40   $     3,266.40
608215-7   BEAUMONT HEALTH                                        $     1,525.50   $        107.70   $     1,633.20
608216-5   STATE OF MICHIGAN                                      $    16,650.00   $      1,175.50   $    17,825.50
608217-3   KAISER FOUNDATION HOSPITALS                            $     1,170.00   $         82.60   $     1,252.60
608218-1   KAISER FOUNDATION HOSPITALS                            $    69,228.00   $      4,887.54   $    74,115.54
608219-0   STATE STREET DYNAMIC SMALL CAP FUND                    $       279.00   $         19.70   $       298.70
608220-3   SSGA ENHANCED SMALL CAP FUND                           $     4,207.50   $        297.05   $     4,504.55
608221-1   KEVA                                                   $    10,260.00   $        724.36   $    10,984.36
608222-0   ABU DHABI INVESTMENT AUTHORITY                         $     2,592.00   $        183.00   $     2,775.00
608223-8   JOHNSON + JOHNSON UK GROUP RETIREMENT PLAN             $    36,900.00   $      2,605.17   $    39,505.17
608224-6   THE UCI FOUNDATION                                     $     1,867.50   $        131.85   $     1,999.35
608225-4   J+J PENSION FUND OFP                                   $    24,300.00   $      1,715.60   $    26,015.60
608226-2   ARKANSAS TEACHER RETIREMENT SYSTEM                     $    26,550.00   $      1,874.45   $    28,424.45
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 81 of 85 Page ID
                                     #:70809
Claim #    Claimant                                                Damages          PJI                Damages + PJI
608227-0   OREGON PUBLIC EMPLOYEES RETIREMENT SYSTEM               $       904.50   $          63.86   $       968.36
608228-9   TRUSTEES OF BOSTON COLLEGE                              $    18,949.50   $       1,337.85   $    20,287.35
608229-7   SEARS HOLDINGS 401(K) SAVINGS PLAN                      $       427.50   $          30.18   $       457.68
608230-0   BAE MASTER PENSION INVESTMENT TRUST                     $     3,600.00   $         254.16   $     3,854.16
608231-9   SWARTHMORE COLLEGE                                      $     4,050.00   $         285.93   $     4,335.93
608232-7   PRINCIPAL GLOBAL INVESTORS COLLECTIVE INVESTMENT TRUST $     18,612.00   $       1,314.02   $    19,926.02
608233-5   MCKINLEY CAPITAL MANAGEMENT INC. 401K SAVINGS PLAN      $        18.00   $           1.27   $         19.27
608234-3   UNITED TECHNOLOGIES CORPORATION EMPLOYEE SAVINGS PL $         2,700.00   $         190.62   $     2,890.62
608235-1   DIGNITY HEALTH                                          $     3,960.00   $         279.58   $     4,239.58
608236-0   DIGNITY HEALTH RETIREMENT PLAN TRUST                    $     5,512.50   $         389.19   $     5,901.69
608237-8   21ST CENTURY FOX AMERICA INC. MASTER TRUST              $        90.00   $           6.35   $         96.35
608238-6   BLACKROCK ASSET MANAGEMENT SCHWEIZ AG ON BEHALF OF $            567.00   $          40.03   $       607.03
608239-4   BAE SYSTEMS EMPLOYEES SAVINGS AND INVESTMENT PLAN       $     8,100.00   $         571.87   $     8,671.87
608240-8   THE J PAUL GETTY TRUST                                  $     3,195.00   $         225.57   $     3,420.57
608241-6   CONAGRA FOODS MASTER PENSION TRUST                      $     2,250.00   $         158.85   $     2,408.85
608242-4   CAREFIRST INC. RETIREMENT PLAN TRUST                    $       216.00   $          15.25   $       231.25
608243-2   CAREFIRST INC. RETIREMENT PLAN TRUST                    $       184.50   $          13.03   $       197.53
608244-0   SERVICE BENEFIT PLAN ADMINISTRATIVE SERVICES CORPORATIO$         22.50   $           1.59   $         24.09
608245-9   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $        2,313.00   $         163.30   $     2,476.30
608247-5   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $       31,950.00   $       2,255.69   $    34,205.69
608248-3   STATE STREET RUSSELL SMALL CAP COMPLETENESS INDEX NON $         450.00   $          31.77   $       481.77
608249-1   STATE STREET MSCI USA SMALL CAP INDEX SECURITIES LENDING$       759.25   $          53.60   $       812.85
608250-5   STATE STREET RUSSELL 2000 GROWTH INDEX SECURITIES LEND $     10,350.00   $         730.72   $    11,080.72
608251-3   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $        1,350.00   $          95.31   $     1,445.31
608252-1   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $        1,350.00   $          95.31   $     1,445.31
608253-0   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $       12,172.50   $         859.39   $    13,031.89
608254-8   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $        1,800.00   $         127.08   $     1,927.08
608255-6   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $        2,700.00   $         190.62   $     2,890.62
608256-4   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $       27,900.00   $       1,969.76   $    29,869.76
608258-0   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $        1,655.00   $         116.84   $     1,771.84
608259-9   STATE STREET RUSSELL 3000 INDEX SECURITIES LENDING COMM$      3,150.00   $         222.39   $     3,372.39
608261-0   STATE STREET U.S. EXTENDED MARKET INDEX SECURITIES LEND $       450.00   $          31.77   $       481.77
608262-9   STATE STREET U.S. SMALL CAP ENHANCED SECURITIES LENDING $     3,078.00   $         217.31   $     3,295.31
608263-7   UAW RETIREE MEDICAL BENEFITS TRUST                      $       189.00   $          13.34   $       202.34
608265-3   MERCY HEALTH                                            $       450.00   $          31.77   $       481.77
608266-1   ISHARES VII PLC                                         $    16,369.20   $       1,155.68   $    17,524.88
608267-0   BOSTON RETIREMENT SYSTEM                                $    13,905.00   $         981.70   $    14,886.70
608268-8   EMPLOYEES RETIREMENT PLAN OF THE NATIONAL EDUCATION $         3,775.50   $         266.55   $     4,042.05
608269-6   FEDEX CORPORATION EMPLOYEES PENSION TRUST               $     3,645.00   $         257.34   $     3,902.34
608270-0   UAW RETIREE MEDICAL BENEFITS TRUST                      $       400.50   $          28.28   $       428.78
608271-8   STATE OF MINNESOTA                                      $     3,235.50   $         228.43   $     3,463.93
608272-6   STATE OF MINNESOTA                                      $    45,765.00   $       3,231.04   $    48,996.04
608273-4   UAW RETIREE MEDICAL BENEFITS TRUST                      $       598.50   $          42.25   $       640.75
608274-2   PARTNERS HEALTHCARE MASTER TRUST FOR ERISA ASSETS       $     6,664.50   $         470.52   $     7,135.02
608275-0   AMERICAN FUNDS INSURANCE SERIES GROWTH FUND             $    19,377.00   $       1,368.03   $    20,745.03
608276-9   THE NEW ECONOMY FUND                                    $ 2,900,304.00   $     204,763.48   $ 3,105,067.48
608277-7   THE GROWTH FUND OF AMERICA                              $ 7,269,669.00   $     513,243.68   $ 7,782,912.68
608278-5   HERITAGE AND STABILISATION FUND                         $    11,250.00   $         794.26   $    12,044.26
608279-3   HALLMARK CARDS INCORPORATED MASTER TRUST                $     5,400.00   $         381.24   $     5,781.24
608280-7   MERCER US SMALL/MID CAP EQUITY FUND                     $    18,292.50   $       1,291.46   $    19,583.96
608281-5   SCHWAB INSTITUTIONAL TRUST FUNDS                        $    10,575.00   $         746.60   $    11,321.60
608282-3   LOOMIS SAYLES SMID GROWTH FUND L.P.                     $       297.00   $          20.97   $       317.97
608285-8   MASSMUTUAL SELECT SMALL CAP GROWTH EQUITY FUND          $    13,864.50   $         978.84   $    14,843.34
608286-6   MML SMALL CAP GROWTH EQUITY FUND                        $     4,693.50   $         331.36   $     5,024.86
608287-4   MASSMUTUAL SELECT BLACKROCK GLOBAL ALLOCATION FUND $          1,377.00   $          97.22   $     1,474.22
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 82 of 85 Page ID
                                     #:70810
Claim #    Claimant                                                Damages          PJI               Damages + PJI
608288-2   TRANSAMERICA BLACKROCK GLOBAL ALLOCATION VP             $     2,947.50   $        208.10   $     3,155.60
608289-0   MM RUSSELL 2000 SMALL CAP INDEX FUND                    $     2,758.50   $        194.75   $     2,953.25
608290-4   SPDR RUSSELL 2000 ETF                                   $     2,218.50   $        156.63   $     2,375.13
608291-2   SPDR RUSSELL 3000 ETF                                   $       162.00   $         11.44   $       173.44
608292-0   SPDR S&P BIOTECH ETF                                    $   201,529.11   $     14,228.10   $   215,757.21
608293-9   SPDR S AND P 1000 ETF                                   $       675.00   $         47.66   $       722.66
608294-7   JOHN HANCOCK FINANCIAL SERVICES INC. PENSION PLAN       $     3,190.50   $        225.25   $     3,415.75
608296-3   JOHNSON AND JOHNSON PENSION + SAVINGS PLANS MASTER T $       10,350.00   $        730.72   $    11,080.72
608297-1   JOHNSON AND JOHNSON PENSION + SAVINGS PLANS MASTER T $       28,350.00   $      2,001.53   $    30,351.53
608298-0   CONSOLIDATED EDISON RETIREMENT PLAN                     $     1,350.00   $         95.31   $     1,445.31
608299-8   BAXTER INTERNATIONAL INC. AND SUBSIDIARIES PENSION TRUS $       855.00   $         60.36   $       915.36
608301-3   MARIN COUNTY EMPLOYEES RETIREMENT ASSOCIATION           $     2,137.50   $        150.91   $     2,288.41
608302-1   MUNICIPAL EMPLOYEES' RETIREMENT SYSTEM OF MICHIGAN $         17,730.00   $      1,251.75   $    18,981.75
608303-0   MONTANA BOARD OF INVESTMENTS                            $     7,429.50   $        524.53   $     7,954.03
608304-8   MONTANA BOARD OF INVESTMENTS                            $     3,600.00   $        254.16   $     3,854.16
608305-6   NEW YORK CITY RETIREMENT SYSTEMS                        $     6,300.00   $        444.78   $     6,744.78
608306-4   NEW YORK CITY RETIREMENT SYSTEMS                        $     3,843.00   $        271.32   $     4,114.32
608307-2   NEW YORK CITY RETIREMENT SYSTEMS                        $     1,638.00   $        115.64   $     1,753.64
608308-0   NEW YORK CITY RETIREMENT SYSTEMS                        $     2,250.00   $        158.85   $     2,408.85
608309-9   NEW YORK CITY RETIREMENT SYSTEMS                        $     1,966.50   $        138.84   $     2,105.34
608310-2   NEW YORK CITY RETIREMENT SYSTEMS                        $     1,971.00   $        139.15   $     2,110.15
608311-0   NEW YORK CITY RETIREMENT SYSTEMS                        $     4,050.00   $        285.93   $     4,335.93
608312-9   NEW YORK CITY RETIREMENT SYSTEMS                        $    15,021.00   $      1,060.49   $    16,081.49
608313-7   NEW YORK CITY RETIREMENT SYSTEMS                        $     1,503.00   $        106.11   $     1,609.11
608314-5   NEW YORK CITY RETIREMENT SYSTEMS                        $     7,564.50   $        534.06   $     8,098.56
608315-3   NEW YORK CITY RETIREMENT SYSTEMS                        $     9,733.50   $        687.19   $    10,420.69
608316-1   NEW YORK CITY RETIREMENT SYSTEMS                        $     1,422.00   $        100.39   $     1,522.39
608317-0   NEW YORK CITY RETIREMENT SYSTEMS                        $     2,731.50   $        192.85   $     2,924.35
608318-8   NORTHROP GRUMMAN PENSION MASTER TRUST                   $    29,605.50   $      2,090.17   $    31,695.67
608319-6   STATE OF NEW JERSEY COMMON PENSION FUND D               $    48,748.50   $      3,441.68   $    52,190.18
608320-0   NATIONAL PENSION SERVICE                                $     7,627.50   $        538.51   $     8,166.01
608321-8   COSMOPOLITAN INVESTMENT FUND                            $     3,789.00   $        267.51   $     4,056.51
608322-6   PRINCIPAL LIFE INSURANCE COMPANY                        $     7,785.00   $        549.63   $     8,334.63
608323-4   MASSACHUSETTS BAY TRANSPORTATION AUTHORITY RETIREME $         9,756.00   $        688.78   $    10,444.78
608324-2   THE WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION-M$         16,425.00   $      1,159.62   $    17,584.62
608325-0   SSGA SPDR ETFS EUROPE II PUBLIC LIMITED COMPANY         $       540.00   $         38.12   $       578.12
608326-9   SSGA SPDR ETFS EUROPE II PUBLIC LIMITED COMPANY         $     1,786.50   $        126.13   $     1,912.63
608327-7   SSGA SPDR ETFS EUROPE II PUBLIC LIMITED COMPANY         $        31.50   $          2.22   $         33.72
608328-5   SSGA SPDR ETFS EUROPE II PUBLIC LIMITED COMPANY         $        72.00   $          5.08   $         77.08
608330-7   CALIFORNIA PUBLIC EMPLOYEES' RETIREMENT SYSTEM          $    11,947.50   $        843.50   $    12,791.00
608331-5   TEACHER RETIREMENT SYSTEM OF TEXAS                      $     3,114.00   $        219.85   $     3,333.85
608332-3   TEACHER RETIREMENT SYSTEM OF TEXAS                      $       265.50   $         18.74   $       284.24
608333-1   SCANA CORPORATION RETIREMENT PLAN                       $     2,412.00   $        170.29   $     2,582.29
608334-0   UNIVERSITY OF NEVADA LAS VEGAS FOUNDATION               $     1,165.50   $         82.29   $     1,247.79
608335-8   UAW RETIREE MEDICAL BENEFITS TRUST                      $     5,850.00   $        413.01   $     6,263.01
608336-6   UAW RETIREE MEDICAL BENEFITS TRUST                      $     2,943.00   $        207.78   $     3,150.78
608337-4   UAW RETIREE MEDICAL BENEFITS TRUST                      $       450.00   $         31.77   $       481.77
608339-0   MERCY HEALTH RETIREMENT TRUST                           $       450.00   $         31.77   $       481.77
608340-4   DEERFIELD ACADEMY                                       $     1,935.00   $        136.61   $     2,071.61
608341-2   THE WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION M $        27,072.00   $      1,911.30   $    28,983.30
608342-0   THE WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION M $         2,515.50   $        177.60   $     2,693.10
608343-9   THE WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION M $        15,570.00   $      1,099.25   $    16,669.25
608344-7   THE WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION M $         9,153.00   $        646.21   $     9,799.21
608345-5   WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION MULT $          6,615.00   $        467.02   $     7,082.02
608346-3   WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION MULT $          2,790.00   $        196.98   $     2,986.98
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 83 of 85 Page ID
                                     #:70811
Claim #    Claimant                                             Damages          PJI                Damages + PJI
608347-1   WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION MULT $      55,255.50   $       3,901.08   $    59,156.58
608348-0   WELLINGTON TRUST COMPANY NATIONAL ASSOCIATION MULT $       3,735.00   $         263.69   $     3,998.69
608349-8   TRUTH INITIATIVE FOUNDATION                          $     2,047.50   $         144.55   $     2,192.05
608350-1   THE YAWKEY FOUNDATION II                             $       967.50   $          68.31   $     1,035.81
608351-0   CITY OF WARWICK                                      $     1,575.00   $         111.20   $     1,686.20
608352-8   HAMILTON HEALTH CARE SYSTEM INC.                     $       742.50   $          52.42   $       794.92
608353-6   HAMILTON HEALTH CARE SYSTEM INC.                     $     3,622.50   $         255.75   $     3,878.25
608354-4   MERCER REDSTONE BALANCED FUND                        $    11,826.00   $         834.92   $    12,660.92
608355-2   STATE STREET GLOBAL ADVISORS TRUST COMPANY INVESTMEN $    18,900.00   $       1,334.35   $    20,234.35
608356-0   STATE STREET TOTAL RETURN V.I.S. FUND                $       189.00   $          13.34   $       202.34
608359-5   ^MPS IRREVOCABLE TRUST I                             $       112.50   $           7.94   $       120.44
608360-9   WILLY & KAREN ^CHUNG JTWROS                          $       450.00   $          31.77   $       481.77
608362-5   VINCENT & EILEEN ^FERRANTI JT                        $       225.00   $          15.89   $       240.89
608363-3   JON K. DWIGHT                                        $       337.50   $          23.83   $       361.33
608364-1   JUDITH G. EDERSHEIM                                  $       225.00   $          15.89   $       240.89
608365-0   LEE ^RUBENSTEIN                                      $       112.50   $           7.94   $       120.44
608370-6   ^LOOKOUT FOUNDATION INC                              $        99.00   $           6.99   $       105.99
608372-2   ^MERRIAM 2004 GRAT                                   $        27.00   $           1.91   $         28.91
608373-0   ^MERRIAM 2004 GRAT                                   $        27.00   $           1.91   $         28.91
608374-9   PURITAN FUND                                         $   570,163.50   $      40,253.94   $   610,417.44
608378-1   SELECT HEALTH                                        $ 3,099,645.00   $     218,837.09   $ 3,318,482.09
608379-0   FIDELITY INDEPENDENCE FUND                           $   111,195.00   $       7,850.44   $   119,045.44
608381-1   OTC FUND                                             $ 1,073,646.00   $      75,800.15   $ 1,149,446.15
608382-0   SELECT BIOTECHNOLOGY                                 $   410,368.50   $      28,972.30   $   439,340.80
608383-8   VIP HEALTHCARE                                       $   355,050.00   $      25,066.78   $   380,116.78
608385-4   VIP II ASSET MANAGER GROWTH                          $     4,950.00   $         349.47   $     5,299.47
608386-2   FA HEALTH CARE                                       $   949,927.50   $      67,065.54   $ 1,016,993.04
608389-7   VIP II ASSET MANAGER                                 $    13,950.00   $         984.88   $    14,934.88
608390-0   FA BIOTECHNOLOGY FUND                                $   170,356.50   $      12,027.29   $   182,383.79
608392-7   BLUE CHIP GROWTH                                     $   100,800.00   $       7,116.55   $   107,916.55
608395-1   FID. SMALL CAP INDEPENDENCE FUND                     $   181,800.00   $      12,835.21   $   194,635.21
608397-8   SELECT MED. EQUIP. AND SYSTEMS                       $   495,000.00   $      34,947.34   $   529,947.34
608398-6   SPARTAN TOTAL MARKET INDEX                           $    10,183.50   $         718.96   $    10,902.46
608399-4   SPARTAN EXTENDED MARKET INDEX                        $    48,730.50   $       3,440.41   $    52,170.91
608400-1   ADVISOR MID CAP STOCK FUND                           $   171,000.00   $      12,072.72   $   183,072.72
608405-2   FIDELITY SMALL CAP GROWTH FD                         $   193,290.00   $      13,646.41   $   206,936.41
608406-0   VIP DISCIPLINED SMALL CAP PORT                       $     2,281.50   $         161.08   $     2,442.58
608407-9   FID HEALTH CARE CENTRAL FD                           $   428,422.50   $      30,246.93   $   458,669.43
608408-7   SR SM CAP OPP                                        $   691,200.00   $      48,799.20   $   739,999.20
608409-5   FID SM CP ENHANCED INDEX                             $     6,705.00   $         473.38   $     7,178.38
608412-5   FIDELITY SMALL CAP INDEX FUND                        $    18,814.50   $       1,328.32   $    20,142.82
608416-8   FID MSCI HEALTH CARE INDEX ETF                       $    14,409.00   $       1,017.29   $    15,426.29
608417-6   FID SER BLUE CHIP GRWTH FND                          $    46,350.00   $       3,272.34   $    49,622.34
608419-2   MCKESSON PSIP SML CP GRTH                            $    33,772.50   $       2,384.36   $    36,156.86
608422-2   FIAM US BRD MKT INX FD LP                            $     1,057.50   $          74.66   $     1,132.16
608423-0   FIAM TD BL CHIP GROW CP T16842                       $     5,400.00   $         381.24   $     5,781.24
608425-7   DUKE ENERGY ROXBURY SCG                              $    30,181.50   $       2,130.83   $    32,312.33
608427-3   AMEREN CLMBS CIR SMID GR                             $     5,184.00   $         365.99   $     5,549.99
608431-1   JPMORGAN US SMALL CAP GROWTH FUND                    $     1,719.00   $         121.36   $     1,840.36
608432-0   JPM - AMERICA SMALL CAP FUND                         $     1,026.00   $          72.44   $     1,098.44
608433-8   JPMORGAN AMERICAN INVESTMENT TRUST PLC (SMALLER COS $      3,838.50   $         271.00   $     4,109.50
608434-6   JPMORGAN SMALL CAP BLEND FUND                        $     3,321.00   $         234.46   $     3,555.46
608435-4   JPMORGAN SMALL CAP CORE FUND                         $    87,750.00   $       6,195.21   $    93,945.21
608439-7   JPMIT SMALL CAP CORE PORTFOLIO - BNY CUSTODIAN       $    14,400.00   $       1,016.65   $    15,416.65
608442-7   JPMORGAN SMALL CAP GROWTH FUND                       $    27,184.50   $       1,919.24   $    29,103.74
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 84 of 85 Page ID
                                     #:70812
Claim #    Claimant                                                 Damages          PJI              Damages + PJI
608443-5   COMMINGLED PENSION TRUST FUND (U.S. SMALL COMPANY EQ$         22,050.00   $     1,556.75   $    23,606.75
608444-3   COMMINGLED PENSION TRUST FUND (U.S. SMALL CAP EQUITY $         3,037.50   $       214.45   $     3,251.95
608452-4   T.A. U.S. CORE EQUITY 2 PORTFOLIO OF DFA INVESTMENT DIME $    16,947.00   $     1,196.47   $    18,143.47
608453-2   U.S. VECTOR EQUITY PORTFOLIO OF DFA INVESTMENT DIMENS $        1,584.00   $       111.83   $     1,695.83
608454-0   U.S. CORE EQUITY 1 PORTFOLIO OF DFA INVESTMENT DIMENSIO$      45,220.50   $     3,192.60   $    48,413.10
608455-9   U.S. CORE EQUITY 2 PORTFOLIO OF DFA INVESTMENT DIMENSIO$      41,683.50   $     2,942.88   $    44,626.38
608456-7   TAX-MANAGED U.S. EQUITY PORTFOLIO OF DFA INVESTMENT D $       12,321.00   $       869.87   $    13,190.87
608457-5   GLOBAL CORE EQUITY FUND OF DIMENSIONAL FUNDS PLC         $     3,150.00   $       222.39   $     3,372.39
608458-3   MULTI-FACTOR EQUITY FUND                                 $       535.50   $        37.81   $       573.31
608459-1   US LARGE CAP EQUITY                                      $     2,515.50   $       177.60   $     2,693.10
608460-5   DFA AUSTRALIA LIMITED AS RESPONSIBLE ENTITY FOR DIMENSI $      1,350.00   $        95.31   $     1,445.31
608461-3   DIMENSIONAL FUND ADVISORS CANADA ULC SOLELY IN ITS CAP $       1,350.00   $        95.31   $     1,445.31
608462-1   INTERNATIONAL CORE EQUITY FUND OF DIMENSIONAL FUNDS $            238.50   $        16.84   $       255.34
608463-0   VALIC COMPANY I SMALL CAP INDEX FUND                     $     3,150.00   $       222.39   $     3,372.39
608465-6   ARC II SMALL CAP GROWTH FUND                             $     2,803.50   $       197.93   $     3,001.43
608470-2   SEASONS ASSET ALLOCATION DIVERSIFIED GROWTH PORTFOLIO $          445.50   $        31.45   $       476.95
608474-5   VCI HEALTH SCIENCES FUND                                 $    53,784.00   $     3,797.19   $    57,581.19
608475-3   SUNSPECSER SMALL CAP FUND                                $        76.50   $         5.40   $         81.90
608476-1   MSF WAM STRATEGIC BOND OPPORTUNITIES                     $    55,957.50   $     3,950.64   $    59,908.14
608481-8   RUSSELL 2000 INDEX                                       $     2,718.00   $       191.89   $     2,909.89
608482-6   COLONIAL FIRST STATE INVESTMENTS LIMITED                 $    78,300.00   $     5,528.03   $    83,828.03
608483-4   COLONIAL FIRST STATE INVESTMENTS LIMITED                 $    16,200.00   $     1,143.73   $    17,343.73
608485-0   COLONIAL FIRST STATE INVESTMENTS LIMITED                 $     3,622.50   $       255.75   $     3,878.25
608489-3   ACCIDENT COMPENSATION CORPORATION                        $    14,400.00   $     1,016.65   $    15,416.65
608498-2   ICARE - DDA                                              $    20,700.00   $     1,461.43   $    22,161.43
608522-9   UBS (LUX) EQUITY FUND - BIOTECH (USD)                    $    83,412.00   $     5,888.95   $    89,300.95
608527-0   CTC ALTERNATIVE STRATEGIES LTD                           $     4,050.00   $       285.93   $     4,335.93
608534-2   UBS (CH) IF 2 - EQUITIES GLOBAL SMALL CAP PASS II        $     4,500.00   $       317.70   $     4,817.70
608535-0   UBS (CH) IF - EQUITIES GLOBAL SMALL CAP PASS II          $     1,350.00   $        95.31   $     1,445.31
608548-2   HARRIS GRANDCHILDREN'S TRUST                             $       225.00   $        15.89   $       240.89
608551-2   RONIN CAPITAL LLC                                        $       765.00   $        54.01   $       819.01
608557-1   INVERSIONES INVERGASA SAS                                $    35,334.00   $     2,494.60   $    37,828.60
608571-7   SISTERS OF SAINT URSULA                                  $        22.50   $         1.59   $         24.09
608595-4   SIIT SMALL CAP FUND                                      $     1,080.00   $        76.25   $     1,156.25
608596-2   SIMT SMALL CAP FUND/JP MORGAN                            $       292.50   $        20.65   $       313.15
608597-0   SIMT SMALL CAP GROWTH FUND/JP MORGAN                     $     1,471.50   $       103.89   $     1,575.39
608598-9   SIMT SMALL CAP FUND/ALLIANCE                             $    16,632.00   $     1,174.23   $    17,806.23
608599-7   SIIT SMALL CAP FUND/ALLIANCE                             $    14,598.00   $     1,030.63   $    15,628.63
608600-4   SIMT SMALL CAP GROWTH FD/ALLIANCE                        $    11,146.50   $       786.95   $    11,933.45
608601-2   SIIT SMALL/MID CAP/ALLIANCE                              $    42,322.50   $     2,988.00   $    45,310.50
608602-0   SIIT SMALL CAP II FUND/ALLIANCE                          $    10,795.50   $       762.17   $    11,557.67
608603-9   SIIT EXTENDED MARKET INDEX FUND/SSGA                     $     4,050.00   $       285.93   $     4,335.93
608605-5   MW TOPS UCITS FUND                                       $    30,622.47   $     2,161.97   $    32,784.44
608606-3   MWIS TOPS FUND                                           $     6,932.24   $       489.42   $     7,421.66
608607-1   MWIS EUREKA FUND                                         $    94,720.50   $     6,687.33   $   101,407.83
608608-0   MWIS MARKET NEUTRAL TOPS FUND                            $     3,150.00   $       222.39   $     3,372.39
608609-8   MASTER SMALL CAP INDEX SERIES OF QUANTITATIVE MASTER S $      17,865.00   $     1,261.28   $    19,126.28
608610-1   RUSSELL 2000 GROWTH FUND                                 $     3,703.50   $       261.47   $     3,964.97
608611-0   RUSSELL 2500 INDEX FUND                                  $    10,503.00   $       741.52   $    11,244.52
608612-8   RUSSELL 2000 GROWTH FUND B                               $     4,189.50   $       295.78   $     4,485.28
608613-6   RUSSELL 2000 INDEX FUND                                  $    20,272.50   $     1,431.25   $    21,703.75
608614-4   RUSSELL 3000 INDEX FUND                                  $     2,394.00   $       169.02   $     2,563.02
608615-2   EXTENDED EQUITY MARKET FUND                              $     4,473.00   $       315.80   $     4,788.80
608616-0   U.S. EQUITY MARKET FUND                                  $     1,894.50   $       133.75   $     2,028.25
608617-9   EQUITY INDEX PLUS FUND A - CUSTODY SLEEVE                $       571.50   $        40.35   $       611.85
     Case 8:15-cv-00865-DOC-SHK Document 879 Filed 10/29/21 Page 85 of 85 Page ID
                                     #:70813
Claim #    Claimant                                               Damages          PJI               Damages + PJI
608618-7   EXTENDED EQUITY MARKET MASTER FUND B                   $     3,910.50   $        276.08   $     4,186.58
608619-5   RUSSELL 2000 ALPHA TILTS FUND B                        $     1,354.50   $         95.63   $     1,450.13
608620-9   RUSSELL 1000 INDEX PLUS FUND                           $       522.00   $         36.85   $       558.85
608621-7   RUSSELL 2000 INDEX NON-LENDABLE FUND                   $    19,278.00   $      1,361.04   $    20,639.04
608622-5   RUSSELL 1000 DEFENSIVE INDEX PLUS FUND                 $     2,466.00   $        174.10   $     2,640.10
608623-3   RUSSELL 2500 INDEX NON-LENDABLE FUND                   $     3,775.50   $        266.55   $     4,042.05
608624-1   BLACKROCK GLOBAL ALLOCATION COLLECTIVE FUND            $     3,771.00   $        266.24   $     4,037.24
608625-0   BLACKROCK MSCI USA SMALL CAP EQUITY INDEX FUND         $     3,618.00   $        255.43   $     3,873.43
608626-8   MSCI USA SMALL CAP EQUITY INDEX FUND B                 $     3,208.50   $        226.52   $     3,435.02
608627-6   TSF S FUND - SMALL CAP STOCK INDEX INVESTMENT FUND ACC $ 1,107,607.50   $     78,197.86   $ 1,185,805.36
608628-4   RUSSELL 3000 INDEX NON-LENDABLE FUND                   $     2,749.50   $        194.12   $     2,943.62
608629-2   MSCI U.S. IMI INDEX FUND B2                            $     3,802.50   $        268.46   $     4,070.96
608630-6   MSCI WORLD SMALL CAP EQUITY ESG SCREENED INDEX FUND B $      3,424.50   $        241.77   $     3,666.27
608631-4   RUSSELL 2000 ALPHA TILTS FUND                          $    23,980.50   $      1,693.04   $    25,673.54
608633-0   SCHWAB U.S. BROAD MARKET ETF                           $     4,104.00   $        289.75   $     4,393.75
608634-9   SCHWAB U.S. LARGE-CAP ETF                              $    22,428.00   $      1,583.43   $    24,011.43
608635-7   SCHWAB U.S. LARGE-CAP GROWTH ETF                       $    20,565.00   $      1,451.90   $    22,016.90
608636-5   SCHWAB U.S. MID-CAP ETF                                $    66,618.00   $      4,703.28   $    71,321.28
608637-3   DAVID JONAS REVOCABLE TRUST                            $         4.50   $          0.32   $          4.82
608638-1   CRAIG AND BEVERLY ROWELL                               $         4.50   $          0.32   $          4.82
608645-4   JOE AND TRACY LONG                                     $         4.50   $          0.32   $          4.82
608649-7   GREGORY DREYER                                         $         4.50   $          0.32   $          4.82
608679-9   CRICO KY-WEATERBIE SPEC GR EQ                          $     9,144.00   $        645.57   $     9,789.57
